                                 No. 25-1550


               UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT


         NOVARTIS AG; NOVARTIS PHARMACEUTICALS CORPORATION,
                                                Plaintiffs-Appellees,

                                       v.
      NOVADOZ PHARMACEUTICALS LLC; MSN PHARMACEUTICALS INC.;
                MSN LABORATORIES PRIVATE LIMITED,
                                             Defendants-Appellants.


  Appeal from the United States District Court for the District of New Jersey,
                   No. 2:25-cv-00849, Hon. Evelyn Padin


 APPELLEES’ EXPEDITED MOTION FOR STAY PENDING APPEAL
TO RESTORE THE DISTRICT COURT’S PRELIMINARY INJUNCTION


MEGAN K. BANNIGAN                       DEANNE E. MAYNARD
DEBEVOISE & PLIMPTON LLP                SETH W. LLOYD
66 Hudson Boulevard                     MORRISON & FOERSTER LLP
New York, NY 10001                      2100 L Street NW, Suite 900
                                        Washington, DC 20037
ZACH ZHENHE TAN                         Tel.: (202) 887-8740
MORRISON & FOERSTER LLP                 DMaynard@mofo.com
425 Market Street
San Francisco, CA 94105

               Counsel for Plaintiffs-Appellees Novartis AG and
                   Novartis Pharmaceuticals Corporation

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                                          TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... ii

INTRODUCTION .....................................................................................................1

BACKGROUND .......................................................................................................2

         A.       Novartis Invested Substantial Resources Developing
                  ENTRESTO® and Establishing Trade Dresses the Public Trusts
                  and Relies On ........................................................................................2

         B.       MSN Copied Novartis’s Trade Dresses ................................................ 6

         C.       The District Court Preliminarily Enjoined MSN’s “Strikingly
                  Similar” Products ..................................................................................7

         D.       Second Guessing Itself, the District Court Stayed Its Own
                  Injunction, Potentially Allowing MSN to Destroy the Status Quo
                  ...............................................................................................................9

ARGUMENT ...........................................................................................................11

I.       NOVARTIS WILL LIKELY SUCCEED IN DEFENDING THE
         DISTRICT COURT’S PRELIMINARY INJUNCTION ..............................12

         A.       Novartis Established Likely Success on Trade Dress
                  Infringement ........................................................................................12

                  1.        Under a correct application of the law, the record amply
                            supports the district court’s finding of nonfunctionality .......... 12

                  2.        The district court’s stay decision second guessing
                            nonfunctionality misapplied governing law .............................15

         B.       Novartis Established Irreparable Harm ...............................................22

II.      THE EQUITIES AND PUBLIC INTEREST FAVOR PROTECTING
         THE STATUS QUO ......................................................................................25

CONCLUSION ........................................................................................................27
                                    TABLE OF AUTHORITIES

Cases

A. Phillip Randolph Inst. v. Husted,
   907 F.3d 913 (6th Cir. 2018) ..............................................................................11

Am. Greetings Corp. v. Dan-Dee Imports, Inc.,
  807 F.2d 1136 (3d Cir. 1986) .............................................................................17

Boynes v. Limetree Bay Ventures LLC,
  110 F.4th 604 (3d Cir. 2024) ..............................................................................12

Ciba-Geigy Corp. v. Bolar Pharm. Co.,
   747 F.2d 844 (3d Cir. 1984) .........................................................................15, 19

In re Citizens Bank, N.A.,
    15 F.4th 607 (3d Cir. 2021) ................................................................................11

Ezaki Glico Kabushiki Kaisha v. Lotte Int’l Am. Corp.,
   986 F.3d 250 (3d Cir. 2021) ...................................................................13, 17, 22

Favia v. Ind. Univ. of Pa.,
  7 F.3d 332 (3d Cir. 1993) ...................................................................................25

Inwood Lab’ys, Inc. v. Ives Lab’ys, Inc.,
   456 U.S. 844 (1982) ............................................................................................19

Kos Pharms., Inc. v. Andrx Corp.,
  369 F.3d 700 (3d Cir. 2004) ...................................................................23, 26, 27

Nken v. Holder,
  556 U.S. 418 (2009) ............................................................................................11

Opticians Ass’n of Am. v. Indep. Opticians of Am.,
  920 F.2d 187 (3d Cir. 1990) ...................................................................15, 23, 24

OTR Wheel Eng’g, Inc. v. W. Worldwide Servs., Inc.,
  602 F. App’x 669 (9th Cir. 2015) .......................................................................25

Pappan Enters., Inc. v. Hardee’s Food Sys., Inc.,
  143 F.3d 800 (3d Cir. 1998) .........................................................................24, 26

                                                         ii
Publ’ns Int’l, Inc. v. Landoll, Inc.,
  164 F.3d 337 (7th Cir. 1998) ..............................................................................17

Qualitex Co. v. Jacobson Prods. Co.,
  514 U.S. 159 (1995) ..........................................................................13, 15, 18, 19

Rose Art Indus., Inc. v. Swanson,
  235 F.3d 165 (3d Cir. 2000) ...............................................................................12

S&R Corp. v. Jiffy Lube Int'l, Inc.,
  968 F.2d 371 (3d Cir. 1992) ...............................................................................23

Shakeys Pizza Asia Ventures, Inc. v. PCJV USA, LLC,
   2025 WL 1431270 (9th Cir. May 19, 2025) .......................................................23

Shire US Inc. v. Barr Lab’ys, Inc.,
   329 F.3d 348 (3d Cir. 2003) ...............................................................8, 16, 17, 19

Singer Mgmt. Consultants, Inc. v. Milgram,
   650 F.3d 223 (3d Cir. 2011) ...............................................................................12

SK&F, Co. v. Premo Pharm. Lab'ys, Inc.,
  625 F.2d 1055 (3d Cir. 1980) .............................................................................15

Taco-Cabana Int’l, Inc. v. Two Pesos, Inc.,
   932 F.2d 1113 (5th Cir. 1991) ............................................................................17

TrafFix Devices, Inc. v. Mktg. Displays, Inc.,
   532 U.S. 23 (2001) ..............................................................................................13

Wesley-Jessen Div. of Schering Corp. v. Bausch & Lomb Inc.,
  698 F.2d 862 (7th Cir. 1983) ..............................................................................25

Statutes

15 U.S.C. § 1116(a) .................................................................................................23

15 U.S.C. § 1125(a) .......................................................................................8, 12, 17




                                                         iii
Rules

3d Cir. L.A.R. 27.7...................................................................................................11

3d Cir. L.A.R. 8.2.....................................................................................................11

Fed. R. App. P. 8 ................................................................................................10, 11

Other Authorities

20 Moore's Fed. Prac. Civ. § 308.40 (3d ed. 2025) .................................................11

3 McCarthy on Trademarks & Unfair Competition § 24:15 (5th ed. 2025)............ 25

4 McCarthy on Trademarks & Unfair Competition § 30:10 (5th ed. 2025)............ 25

4 McCarthy on Trademarks & Unfair Competition § 30:47 (5th ed. 2025)............ 23




                                                           iv
                                 INTRODUCTION

      This is a quintessential case for preserving the status quo pending appeal so

that this Court will be able to issue a meaningful appellate decision. MSN has made

clear that, absent court intervention, it will imminently launch generic competitors

to Novartis’s life-saving heart-failure treatment ENTRESTO® with nearly identical

size, shape, and color tablets as Novartis’s established trade dress:




Add13. If allowed to launch, MSN will flood the market with look-alike pills,

infringing and significantly affecting the distinctiveness of Novartis’s trade dress;

confusing doctors, patients, and the public; and permanently destroying Novartis’s

ability to control the reputation and goodwill built over nearly a decade.

      The district court recognized this impending irreparable harm to Novartis,

granting a preliminary injunction until it could issue a final decision resolving the

parties’ dispute. Finding “no question that the two trade dresses are strikingly

similar” and that “MSN intended for the pills to look similar,” the district court
ordered MSN not to launch its copycat tablets, particularly because any harm to

MSN from delaying its plans would be self-inflicted. Add13-14, Add18.

      Remarkably, the district court then paved the way for MSN to launch with an

additional decision that stayed its preliminary injunction pending appeal.      To

preserve the status quo—MSN’s infringing generics are not and never have been on

the market—this Court should intervene immediately (at least before the end of the

day on July 15, 2025) by staying that stay pending appeal, thus restoring the

preliminary injunction.

                                BACKGROUND

      A.    Novartis Invested Substantial Resources Developing ENTRESTO®
            and Establishing Trade Dresses the Public Trusts and Relies On

      Novartis is a leading global pharmaceutical company that has spent decades

earning a reputation for life-changing medical treatments.          Add43(¶¶4-5).

ENTRESTO® is a Novartis FDA-approved prescription drug for treating chronic

heart failure. Add50(¶18). Since launching in 2015, ENTRESTO® has been the

only chronic heart-failure treatment that combines the active ingredients valsartan

and sacubitril. Add50(¶19). It is one of Novartis’s top-selling pharmaceuticals and

Novartis has sold more than 600 million tablets in the United States. Add52(¶¶26-

29). Novartis estimates ENTRESTO® has helped over 2.5 million heart-failure

patients in the United States. Add52(¶25).




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       As the number one branded heart-failure treatment prescribed by

cardiologists, ENTRESTO®’s effectiveness has made it a “key reputation driver” for

Novartis. Add51(¶¶20-21); Add67(¶9). Novartis has spent significant time and

effort linking itself to ENTRESTO®, ensuring ENTRESTO® is differentiated in the

marketplace and consumers understand ENTRESTO® is Novartis’s drug. Add63-

64(¶¶16-20).

       Novartis selected the look and feel of the ENTRESTO® tablets to stand out

from other heart-failure medications. Each ENTRESTO® dose comes in a unique

combination of size, shape, and color, with each combination individually

comprising a protectable trade dress, and together making an additional protectable

trio trade dress:




Add51-52(¶¶22, 28); Add62-63(¶¶14-15).

       Since introducing ENTRESTO®, Novartis has exclusively used the same

tablet designs, spent millions on marketing with the tablets’ images, and distributed

millions of samples. Add49-59 (¶¶14, 23, 30-44). For example, Novartis gives

healthcare providers and patients materials highlighting the color, size, and shape of

its ENTRESTO® tablets, individually and as a trio:




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Add233-36; Add53(¶31).

      No other marketed heart-failure products use the same design as the

ENTRESTO® trade dresses, let alone the trio trade dress. Instead, there are a wide

array of sizes, shapes, and colors for pills. Add86(¶12). Both branded and generic

drugs reflect that wide array, and it is common for generic versions of drugs to look

different from their branded counterparts. Add124-25(¶29), Add135(¶52); Add94-

100(¶¶23-24). This is equally true in the chronic heart-failure space, where branded

drugs use many size/shape/color combinations and the corresponding generics use

different combinations:


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Add151-52. In this way, the heart-failure-drug market is similar to markets for other

drugs, where generics, including from defendant Novadoz (owned by MSN), look

distinct from branded counterparts. Add98-100(¶24).

      As MSN’s executive conceded, unlike MSN, other companies seeking

approval to market generic versions of ENTRESTO® made design choices for their

products that differ from Novartis’s. Add256(¶18). One company describes that its

24/26mg tablet will be round instead of the ENTRESTO® oval; another describes

that it will use capsule-shaped tablets for all dosages; and multiple generic

manufacturers describe different color schemes, such as light pink, off white, and

white 24/26mg tablets instead of ENTRESTO®’s violet-white. Add260-61.

      B.     MSN Copied Novartis’s Trade Dresses

      In contrast, MSN deliberately copied Novartis’s protected ENTRESTO® trade

dresses. Relying on FDA’s approval of ENTRESTO®, MSN applied to market

generic valsartan/sacubitril tablets. Add342. Although FDA initially approved

MSN’s application in July 2024, MSN has never been permitted to launch because

its generic products were held to infringe a valid Novartis patent with associated

pediatric-marketing exclusivity. Add342-43. As a result, MSN’s FDA approval can

be effective no earlier than July 16, 2025. Add343-44.




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      After MSN’s initial approval, Novartis learned that MSN’s generic

valsartan/sacubitril tablets are nearly identical to Novartis’s ENTRESTO® tablets,

mirroring all three tablets almost exactly in size, color, and shape:




Add13; Add74-77(¶¶10-16).

      As the district court found, that was no accident: “MSN intended for the pills

to look similar.” Add14. MSN’s executive admitted that “MSN chose colors that

reference the colors used for Entresto pills so that patients taking MSN’s generic

equivalent will be able to rely on visual cues” learned through familiarity with

ENTRESTO®. Add253(¶10).

      C.     The District Court Preliminarily Enjoined MSN’s “Strikingly
             Similar” Products

      To prevent MSN from flooding the market with look-alike tablets that would

irreparably harm Novartis, Novartis secured a preliminary injunction from the

district court narrowly tailored to sales and similar acts involving MSN products

“likely to infringe on Plaintiffs’ trade dress.” Add22.




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      The district court found Novartis was likely to succeed in proving all elements

of trade-dress infringement under the Lanham Act and identical state-law claims:

nonfunctionality, secondary meaning, and likely confusion. Add5-15; 15 U.S.C.

§1125(a). The district court found “[t]here is no question that the two trade dresses

are strikingly similar.” Add3, Add13. On functionality, the district court credited

Novartis’s evidence that the ENTRESTO® designs are “purely based on a desire to

differentiate the tablets from competitors’ trade dress” and not “to improve cost,

quality, or efficacy.” Add6. The district court rejected MSN’s reliance on an

inapposite decision affirming, based on facts specific to ADHD patients, a

determination that the ADHD-drug Adderall’s color and shape was functional.

Add9 (distinguishing Shire v. Barr Lab’ys, 329 F.3d 348 (3d Cir. 2003)). Among

other things, the district court explained that ADHD patients often take different

doses throughout a single day, but “ENTRESTO® patients need not distinguish

between daily doses” because their doses do not vary during a day. Add9. The

district court rejected MSN’s attempt to carve out a special trade dress rule for

generics: “[t]he functionality doctrine cannot stand for the broader proposition that

any distinctive look and feel of a pill means generic brands are free to wholesale

copy them under the guise of ” helping “patients”: “Simply put, MSN could have

just picked different colors. Or different shapes. Or different sizes.” Add9.




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      The district court also found Novartis would be irreparably harmed were MSN

permitted, for the first time, to market its look-alike products while the parties

resolve this trade dress dispute. Add15-18. The district court rejected MSN’s

principal argument—that Novartis had unduly delayed in bringing suit—finding the

at-most “five-month delay” reasonable “given the complexities of this case” and that

MSN has not launched. Add17. The district court found Novartis had established

the classic irreparable harm flowing from “lack of control” over one’s reputation and

goodwill: “a misplaced affiliation with Novartis (and ENTRESTO®) ‘puts at risk

Novartis’s reputation in the event of quality or safety issues with MSN’s generic.’ ”

Add17-18 (citation and brackets omitted); Add125-34(¶¶30-50).

      In contrast with Novartis’s irreparable harm, the district court found any

hardship to MSN would be self-inflicted because “MSN could have distinguished

its pills” but intentionally chose not to. Add18. “[O]n balance,” the district court

found a preliminary injunction warranted. Add18.

      D.     Second Guessing Itself, the District Court Stayed Its Own
             Injunction, Potentially Allowing MSN to Destroy the Status Quo

      After MSN filed a notice of appeal and moved in the district court to stay the

preliminary injunction pending appeal, the district court indicated it was

“considering sua sponte reconsidering its decision” and requested additional

briefing. D.Ct.Dkt.43. After briefing, the district court granted a stay pending




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appeal but expressly declined to reconsider its preliminary-injunction grant. Add24,

Add27.

      The district court’s stay decision did not discuss most of its preliminary-

injunction analysis, including its conclusions on secondary meaning and the

likelihood of confusion.     Add27-28.     Instead, the district court focused on

nonfunctionality and irreparable harm, assessing whether MSN “is likely to succeed

in the merits of its appeal” and whether “temporarily” staying the injunction was

warranted given “the circumstances the parties face pending appeal.” Add24,

Add29, Add35-36. In contrast with its preliminary-injunction reasoning, the district

court embraced MSN’s reliance on Shire’s Adderall holding and MSN’s arguments

for a special trade dress rule for generics. Add29-35. That rationale carried over to

the district court’s view on the likely harm pending appeal. Add35-40. The district

court also emphasized its belief that any harm to Novartis would be “temporally

limited” because “MSN is barred from launching its generic drug product before at

least July 16, 2025,” and the appeal in this trade dress case would be of “limited”

duration. Add39-40.

      Having made clear in its stay and reconsideration briefing that Novartis sought

to maintain the preliminary injunction pending appeal, Novartis now seeks that relief

here. Fed. R. App. P. 8(a)(1). At the least, given the district court’s grant of MSN’s




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stay-pending-appeal request, any further request in that court would be

impracticable. Id. 8(a)(2)(A).

                                    ARGUMENT

      This Court has authority to stay any district court order and/or restore an

injunction pending appeal, and to do so on an expedited basis. Fed. R. App. P. 8(a);

Nken v. Holder, 556 U.S. 418, 426-27 (2009); 3d Cir. L.A.R. 8.2, 27.7. Courts

consider such interim relief “de novo, without deference to the district court’s ruling

on any request for a stay.” 20 Moore’s Fed. Prac. Civ. §308.40 (2025); A. Phillip

Randolph Inst. v. Husted, 907 F.3d 913, 917 (6th Cir. 2018) (de novo review because

“not reviewing” district court’s decision on stay/injunction). Courts balance four

factors, with the first two generally “the most critical”: (1) likely success on appeal;

(2) whether the movant will be irreparably harmed absent relief; (3) whether relief

would substantially injure the non-movant; and (4) the public interest. In re Citizens

Bank, 15 F.4th 607, 615 (3d Cir. 2021). The point is to decide whether “interim

relief” is needed to avoid turning the appeal into “an ‘idle ceremony.’ ” Nken, 556

U.S. 426-27.

      Here, all four factors favor preserving the status quo pending appeal: MSN

has never been permitted to launch its look-alike products.




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I.    NOVARTIS WILL LIKELY SUCCEED IN DEFENDING THE
      DISTRICT COURT’S PRELIMINARY INJUNCTION

      A movant demonstrates likely success warranting interim relief by showing a

“reasonable chance, or probability, of winning” on the merits, which need not be

“more likely than not.” Singer Mgmt. Consultants v. Milgram, 650 F.3d 223, 229

(3d Cir. 2011) (en banc). Here, the merits are MSN’s appeal of the district court’s

grant of a preliminary injunction. This Court will review that grant for “abuse of

discretion,” assessing underlying factual findings “for clear error” and “legal

conclusions de novo.” Boynes v. Limetree Bay Ventures, 110 F.4th 604, 609 (3d Cir.

2024). Under that or any standard, Novartis has more than a reasonable chance of

prevailing on appeal.

      A.     Novartis Established Likely Success on Trade Dress Infringement

             1.     Under a correct application of the law, the record amply
                    supports the district court’s finding of nonfunctionality

      Trademark law offers protection for a product’s “trade dress,” including its

“overall appearance” based on “such features as size, shape, [and] color.” Rose Art

Indus. v. Swanson, 235 F.3d 165, 171 (3d Cir. 2000); 15 U.S.C. §1125(a). When

relying on product appearance, a plaintiff proves trade dress infringement by

showing its trade dress (i) is “ ‘nonfunctional’ ” and (ii) has “ ‘acquired

distinctiveness’ ” or secondary meaning, and (iii) the “ ‘defendant’s use of plaintiff’s

trade dress is likely to cause consumer confusion.’ ” Rose, 235 F.3d at 172.



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      The dispute here is nonfunctionality, which the district court found in granting

a preliminary injunction but then second guessed in granting a stay pending appeal.

The Supreme Court “recognizes several ways to show that a product feature is

functional” or nonfunctional. Ezaki Glico Kabushiki Kaisha v. Lotte Int’l, 986 F.3d

250, 257 (3d Cir. 2021). A feature might be shown to be nonfunctional “for instance

by showing that it is merely an ornamental, incidental, or arbitrary aspect of the

device.” TrafFix Devices v. Mktg. Displays, 532 U.S. 23, 30 (2001). And “‘in

general terms’” a feature might be shown to be functional by showing it “‘is essential

to the use or purpose of the article’” or “‘affects the cost or quality of the article.’”

Id. at 32 (brackets and citation omitted).

      The inquiry focuses on “the particular design chosen for feature(s)”

comprising the plaintiff’s trade dress. Ezaki, 986 F.3d at 257 (whether “ ‘particular

shape and form’ chosen” are nonfunctional). For example, although “us[ing] some

color” for ironing-board pads is useful “to avoid noticeable stains,” the question is

whether there is a functional reason to use the plaintiff’s chosen color over other

“ ‘equally useable’ ” colors. Qualitex v. Jacobson Prods., 514 U.S. 159, 166 (1995)

(Supreme Court’s emphasis; citation omitted); Ezaki, 986 F.3d at 257 (same). Even

so, the nonfunctionality inquiry examines the trade dress as a whole, not whether

each element in isolation is nonfunctional. Ezaki, 986 F.3d at 257.




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      As the district court’s grant of the preliminary injunction makes clear,

Novartis has more than a reasonable chance of establishing nonfunctionality of the

ENTRESTO® trade dresses—each pill’s appearance based on its combined size,

color, and shape, as well as the trio’s overall appearance. Add5-10. Novartis

submitted unrebutted evidence that its design choices were rooted in setting its pills

apart from other heart-failure drugs, not in functional concerns. Add63-64(¶¶16-

20). Pharmaceutical companies know that “pill appearance can be an important

element of pharmaceutical branding” and color especially is “an important means of

creating brand value.” Add89-93(¶¶12-16); Add61-62(¶¶9-12). Novartis achieved

its goal—the oval-shaped pills, sizes, and violet-white, pale yellow, and light pink

colors of ENTRESTO® are unique among marketed chronic heart-failure drugs:




Add63(¶¶16-18); Add177-78 (other examples).




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      This Court has long recognized that similar “arbitrarily chosen” pill designs

are nonfunctional and hence eligible for protection. Ciba-Geigy v. Bolar Pharm.,

747 F.2d 844, 850-51 (3d Cir. 1984). Ciba-Geigy affirmed nonfunctionality where

“no medical or business considerations compelled” the plaintiff’s choice of “blue &

white and pink & white capsules” in the “size and shape” chosen. Id. at 850.

Anticipating the Supreme Court’s later reasoning in Qualitex, this Court explained:

“ ‘that a manufacturer uses different colors to distinguish between its own products

does not make those particular colors functional.’ ” Id. at 850-51 (quoting district

court approvingly).      Ciba-Geigy followed SK&F v. Premo Pharmaceutical

Laboratories, 625 F.2d 1055 (3d Cir. 1980).             There, this Court affirmed

nonfunctionality of the “arbitrary” choice to use bi-colored capsules for a diuretic,

given “ample evidence that neither the capsule form nor the color combination

reflects any industry practice for the identification of diuretics.” Id. at 1064-65.

             2.     The district court’s stay decision second guessing
                    nonfunctionality misapplied governing law

      In its stay decision, the district court wrongly overlooked the clear parallels

between this case and Ciba-Geigy, SK&F, and other decisions finding

nonfunctionality and, with no new record evidence or change in law, questioned its

nonfunctionality finding. Add30-35. Because both its new rationales rest on

“obvious error[s] in applying the law” and “serious mistake[s] in considering the

proof,” neither undermines Novartis’s likely appellate success. Opticians Ass’n v.

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Indep. Opticians, 920 F.2d 187, 192 (3d Cir. 1990) (reversing preliminary-injunction

denial in these circumstances).

      First, Novartis will likely succeed in showing that the district court, in

assessing whether ENTRESTO®’s trio of pill designs as a whole is nonfunctional,

applied the law correctly in granting the preliminary injunction and incorrectly in its

stay decision. Compare Add9 (distinguishing Shire, 329 F.3d 348), with Add30-31

(analogizing to Shire).      According to unrebutted evidence, patients using

ENTRESTO® have no need to distinguish dosages because they do not take different

dosages throughout the day and thus generally do not even have different dosages

on hand. Add310(¶¶29-32). Although the district court’s stay decision pointed to

initial dosage titration (where dosage levels may increase gradually over a period of

weeks or more) and dosage adjustments, the district court ignored its prior finding

that “ENTRESTO® patients need not distinguish between daily doses, because the

patients remove previous ones from their medication cycle after they adjust to a

different dosage.” Add30-31; Add9 (citing Add310(¶¶31-32)).

      These facts are nothing like those in Shire, which avoided adopting any bright-

line rule about the functionality of pill appearance because such cases depend “on

their facts.” 329 F.3d at 355-59. Unlike here, Shire involved evidence that patients

taking Adderall for ADHD “take multiple daily dosages”; those patients were known

to “overuse visual cues”; and “therapeutically equivalent ADHD products have


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similar visual recognition properties” to the color coding used for Adderall dosages.

Id. at 354. The dearth of remotely similar evidence here means the district court

applied the law correctly the first time, when it distinguished Shire. Add9.

      Second, the district court also legally erred in its stay decision by focusing

only on whether each element of “color, size, and shape” is individually functional.

Add29, Add31-35. Congress was express that in a trade dress case like this, the

question is whether “the matter sought to be protected is not functional.” 15 U.S.C.

§1125(a)(3) (emphasis added). When an asserted trade dress is a combination of

elements, the matter sought to be protected is that combination, not individual

elements: a “combination of non-protectible and distinctive elements may constitute

protectible trade dress.” Am. Greetings v. Dan-Dee Imports, 807 F.2d 1136, 1143

(3d Cir. 1986) (citation omitted); Ezaki, 986 F.3d at 258 (relying on same). Other

courts consistently recognize the same: an “ensemble” of individually “functional

features” may nevertheless be nonfunctional; any other rule would fail because

“[a]ny product, any package, can be decomposed into elements that are not

protectable.” Publ’ns Int’l v. Landoll, 164 F.3d 337, 342 (7th Cir. 1998) (collecting

other circuits’ decisions); Taco-Cabana Int’l v. Two Pesos, 932 F.2d 1113, 1119 (5th

Cir. 1991) (“a particular arbitrary combination of functional features” may “enjoy[]

protection”).




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      Neither the district court nor MSN ever suggested that the particular ensemble

of color, size, and shape that Novartis chose for each individual ENTRESTO® pill

—out of a staggering number of potential combinations—is functional. Add29,

Add31-35; D.Ct.Dkt.13 at 15-16 (MSN summarily addressing color, size, and shape

individually without addressing ensemble as a whole). Only the district court’s

preliminary-injunction decision applied the correct legal standard, concluding

Novartis had established nonfunctionality. Add9. That alone shows Novartis’s

likely appellate success.

      Yet even in considering elements of Novartis’s trade dresses individually, the

district court’s stay decision reached legally and factually unsupported conclusions.

The district court rightly found that “the particular colors that Novartis chose were

not innately functional.” Add31-32 (“no functional reason to have” made Novartis’s

color choices). That should have ended the inquiry, because for color the question

is whether the “particular” color a plaintiff chose is nonfunctional, not whether using

“some color” might generally have a benefit. Qualitex, 514 U.S. at 166.

      Instead of stopping there, the district court concluded that Novartis’s

particular color choices are functional because they are useful for “associat[ing]

MSN’s Drug with Novartis’s product.” Add31-32. No law supports that reasoning,

which wrongly turns a purpose of protecting trade dress—avoiding consumer

confusion—into a reason to deny protection and allow copying. The district court


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thought otherwise by purporting to divine a special rule for generic “drug products,”

which supposedly “differ in nature” from other products. Add32-33. The source of

this supposed special drug rule? A discussion of the procedural history in Inwood

(about an issue expressly not before the Supreme Court) and a passing statement in

Qualitex (which was not about pill design) that “ ‘drug color cases have more to do

with public health policy.’ ” Add32 (citing Inwood Lab’ys v. Ives Lab’ys, 456 U.S.

844, 853 (1982); quoting Qualitex, 514 U.S. at 169). But contrary to the district

court’s rationale, Ciba-Geigy already considered the effect of Inwood on this Court’s

drug-color precedent and affirmed protection for nonfunctional pill designs like

those here, including designs using distinctive colors. Ciba-Geigy, 747 F.2d at

854-55; supra p.15.

      Nor can the district court’s stay rationale be supported by its suggestion that

even if color choice is not initially functional, “colors, once chosen[,] can ‘come to

represent’ ” a pill’s “ ‘ingredients and their effects,’ ” particularly for medications

“taken in seeming perpetuity.” Add32-33 (quoting Shire, 329 F.3d at 358 n.20;

additional citation omitted). The record refutes that conclusion for the ENTRESTO®

trade dresses. Rather than show patients understand ENTRESTO®’s particular

colors to identify ENTRESTO® as heart-failure medication, the evidence shows

heart-failure medications come in all sorts of colors. Supra p.14; accord Qualitex,

514 U.S. at 170 (giving functional color example of “distinguish[ing] a heart pill


                                          19
from a digestive medicine”). And the notion that patients may have learned to

associate ENTRESTO®’s active ingredients (valsartan/sacubitril) with a specific

color is refuted by the fact that ENTRESTO® itself comes in three different colors,

all with the same active ingredients. Add52(¶28); Add62-63(¶15). Plus, instead of

suggesting patients know the active ingredients in ENTRESTO®, the evidence and

the district court’s own undisturbed finding show that what patients know is that

ENTRESTO® pills are from the same, single source. Add10-12; Add322(¶5).

      The record also refutes the district court’s notion of a “routine practice across

the generic industry” of copying a branded drug’s exact appearance to benefit

patients. Add33. The FDA’s “Generic Drugs: Questions & Answers” warns that

“[t]rademark laws in the United States do not allow a generic drug to look exactly

like other drugs already on the market,” and so generic drug “characteristics, such

as colors,” that “do not affect the performance, safety, or effectiveness of the generic

medicine, may be different.” Add243-44. Consistent with that view, many generic

drugs generally, and other proposed generic versions of ENTRESTO® specifically,

differ in appearance from their branded counterparts.                Add124-25(¶29),

Add135(¶52); Add94-100(¶¶23-24). As Novartis’s expert explained, “generics need

not copy the color arrays” nor appearance “across all elements” of “their branded

counterparts.”    Add329-35(¶¶20-21, 25-32); Add340-41 (showing numerous

examples).


                                          20
      The district court’s stay decision cited the Shimer declaration, which mostly

addresses FDA guidance about ensuring generic pills are sized and shaped to be easy

to swallow, not drug colors or appearance.        Add278-81(¶¶37-43). 1     And in

addressing color, the declaration largely offers conclusory, unsupported opinions,

such as whether it “take[s] much imagination” or there is “sound reason” for generic

manufacturers to want to copy a branded drug’s color scheme. Add283-84(¶¶47-

48). Regardless, nothing in that declaration shows patients associate violet-white,

pale yellow, and/or light pink with valsartan and sacubitril, ENTRESTO®’s active

ingredients, let alone that they associate the entire look and feel of the ENTRESTO®

trade dresses with those ingredients. And as shown, other approved generics,

including of ENTRESTO®, do not copy the branded drug’s appearance. Supra

pp.5-6.

      Lacking any evidence about the ENTRESTO® trade dresses’ functionality, the

district court’s stay decision wrongly embraced the unsound rule it had previously

rightly rejected:   that all generic competitors should be entitled to copy the

corresponding branded drug’s trade dress to benefit from associating their generic

with the branded drug. Compare Add9 (rejecting this rule), with Add31-33. Such a

rule would defeat the entire point of trade dress protection: to prevent consumer


      1
            The latest version of the guidance is available at
https://www.fda.gov/media/161902/download. Although it has been updated over
the years, it continues to address only size and shape, not color.

                                        21
confusion and protect the trade dress holder’s control and exclusive use of its brand.

Ezaki, 986 F.3d at 256.        And given FDA’s statements that generic drug

characteristics like color may differ because they do not affect safety or

effectiveness, and the numerous record examples reflecting that reality, such a per

se rule is neither supported by law nor needed as a matter of health policy. Add94-

100(¶¶23-24).

                                       *****

      In short, Novartis is likely to succeed on appeal in defending the grant of a

preliminary injunction here. The district court’s nonfunctionality finding in its

preliminary-injunction decision is well supported and, indeed, compelled by this

record. And its findings (which it never second guessed) that Novartis will likely

succeed on secondary meaning and likelihood of confusion are equally well

supported—including by Novartis’s near-decade of exclusive marketing and sales

that have established the ENTRESTO® trade dresses as designators of source, and

MSN’s own admissions that it deliberately copied those trade dresses. Add10-15;

infra pp.23-24.

      B.     Novartis Established Irreparable Harm

      Novartis will also likely succeed in defending the preliminary injunction

based on the district court’s original finding of irreparable harm, including loss of

control over Novartis’s reputation and goodwill. D.Ct.Dkt.4-1 at 37-38; Add17-18.



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      For starters, the Trademark Modernization Act entitles Novartis to a

“rebuttable presumption” of irreparable harm given Novartis’s showing of likely

infringement under a correct application of functionality law. 15 U.S.C. §1116(a);

Add35; see Kos Pharms. v. Andrx, 369 F.3d 700, 726 (3d Cir. 2004) (enforcing

presumption). Among other things, such a rebuttable presumption protects against

the immediate and irreversible loss of distinctiveness caused by even brief infringing

uses of a protectible trade dress. See McCarthy, McCarthy on Trademarks & Unfair

Competition §30:47 (2025) (elaborating on “fundamentally ‘irreparable’ ” nature of

harms in this context). The burden of overcoming that presumption “is a heavy one,”

which the district court never found MSN to have met. Id.; Add15-17 (rejecting

MSN’s irreparable harm arguments). Novartis’s presumed irreparable harm thus

alone suffices to support Novartis’s request for interim relief. Shakeys Pizza v. PCJV

USA, 2025 WL 1431270, at *2 (9th Cir. May 19, 2025) (affirming preliminary

injunction partly because irreparable-harm presumption unrebutted).

      Novartis showed irreparable harm even without the presumption, as the

district court found in its preliminary-injunction decision. Add17-18. This Court

has long recognized that the “loss of control” over one’s “reputation” is a cognizable

“irreparable injury.” S&R Corp. v. Jiffy Lube, 968 F.2d 371, 378 (3d Cir. 1992);

Opticians, 920 F.2d at 195-96. Here, the district court found (and never questioned)

that ENTRESTO®’s trade dresses had acquired distinctiveness (i.e., secondary


                                         23
meaning) because, “in the minds of the public,” the primary significance of the

ENTRESTO® trade dresses is “to identify the source of the product.” Add10-12

(citation omitted). And the district court found (and never questioned) that sales of

MSN’s “strikingly similar” and “intended” look-alike pills would likely cause

confusion, leading physicians, patients, and the public to mistakenly associate

MSN’s pills with Novartis.      Add12-15; Add253(¶10).        Those uncontroverted

findings, and the ample evidence the district court relied on in making them,

establish that allowing MSN to market its pills would place Novartis’s brand

reputation at MSN’s mercy. Add12-15. That is classic irreparable harm. Opticians,

920 F.2d at 195-96; Pappan Enters. v. Hardee’s, 143 F.3d 800, 805 (3d Cir. 1998).

      Evidence of prescription practices shows additional irreparable harm.

Novartis’s declarants explained how some state laws permit, and even require,

pharmacists to substitute ENTRESTO® with a generic even if healthcare providers

initially represent to patients that they are being prescribed ENTRESTO®. Add69-

70(¶¶24-29). In this context, where a patient may not even “detect a substitution”

has occurred, Novartis would lose its ability to encourage patients to remain with the

branded ENTRESTO® they have grown to trust. Add92-93(¶20), Add100(¶25);

Add136-37(¶¶58-60).

      The district court’s stay decision had no basis for overlooking this evidence

and dismissing Novartis’s likely harms as “speculation.” Add37-39. The district


                                         24
court wrongly criticized Novartis for lacking evidence that MSN’s as-yet

unlaunched drug “actually is defective” and for having its declarants describe

problems that “could ” happen after launch. Add37-39 (district court’s emphasis).

Preliminary injunctions exist to prevent harms before they occur—a “trademark

owner does not have to await the impact of the threatened infringement to obtain

preventive relief.” McCarthy §30:10. Regardless, loss of control alone is irreparable

harm even without evidence that a likely infringer’s product is inferior and/or

defective. Id. §24:15 (trademark owner need not prove inferiority of competing

goods); OTR Wheel Eng’g v. W. Worldwide Servs., 602 F. App’x 669, 672 (9th Cir.

2015); Wesley-Jessen Div. of Schering v. Bausch & Lomb, 698 F.2d 862, 867 (7th

Cir. 1983).

II.   THE EQUITIES AND PUBLIC INTEREST FAVOR PROTECTING
      THE STATUS QUO

      The equities also favor staying the district court’s stay decision and restoring

the preliminary injunction pending appeal, independently or together with

Novartis’s strong showing of likely appellate success. The point of preliminary

relief is “to maintain things in their initial condition so far as possible until after a

full hearing permits final relief.” Favia v. Ind. Univ., 7 F.3d 332, 342 (3d Cir. 1993).

The undisputed initial condition here is that Novartis has exclusive use of its trade

dresses.




                                           25
      Absent this Court’s intervention before July 16, 2025, the district court’s stay

decision will allow alteration of the status quo, effectively granting victory to MSN

by allowing MSN unilaterally to end Novartis’s exclusive use of the ENTRESTO®

trade dresses. In granting the preliminary injunction, the district court correctly

rejected as self-inflicted MSN’s alleged loss of any “first mover advantage” over

other generic manufacturers. Add18; Pappan, 143 F.3d at 806 (“self-inflicted” harm

“weighs in favor of granting” interim relief). Regardless, MSN never supported any

such loss—the only other generic it identified as supposedly planning to launch is

Noratech, which does not even have FDA approval. D.Ct.Dkt.13 at 36-37.

      The public interest favors vindicating Congress’s choice to protect against

likely confusion from trade dress misappropriation: “The most basic public interest

at stake in all Lanham Act cases [is] the interest in prevention of confusion,

particularly as it affects the public interest in truth and accuracy.” Kos, 369 F.3d

at 730. Here, confusion caused by MSN’s look-alike products threatens at-risk

patients, who would want to take ENTRESTO® and will be deprived of autonomy

in treatment choices, including about which drug manufacturer to trust given known

instances of quality differences between generic and branded drugs. Add136-

37(¶¶51-60); Add91-100(¶¶18-25); Add310-12(¶¶33-39); Add327-29(¶¶15-18).

      The lack of choice is amplified because it is well known that, despite sharing

the same active ingredients, generics and branded drugs have different compositions.


                                         26
Add135(¶¶56-57); Add91-92(¶18). Studies have shown some patients perform

better with and thus prefer to continue using the branded drug. Add135(¶¶56-57);

Add91-92(¶18). By selling nearly identical-appearing drugs, MSN will foment

confusion and deprive the public of the option to make that choice and the better

outcomes that at least some patients experience.

      As this Court has recognized in similar circumstances, the district court’s

narrowly tailored injunction protects the public from those risks without blocking

generic competition, because use of “the drug itself” is not enjoined. Kos, 369 F.3d

at 731-32. That injunction should remain in force pending appeal. MSN and others

remain free to do what MSN (through Novadoz) has done with other products:

distribute generic products without copying the branded drug’s appearance. Add98-

100(¶24).

                                       *****

      The parties previously agreed to an expedited briefing schedule and Novartis

is prepared to act as expeditiously as the Court deems appropriate.

                                 CONCLUSION

      This Court should stay the district court’s order staying the preliminary

injunction and restore that injunction pending appeal, immediately or at least before

the end of the day on July 15, 2025.




                                         27
Dated: May 28, 2025                   Respectfully submitted,

                                      /s/ Deanne E. Maynard
MEGAN K. BANNIGAN                     DEANNE E. MAYNARD
DEBEVOISE & PLIMPTON LLP              SETH W. LLOYD
66 Hudson Boulevard                   MORRISON & FOERSTER LLP
New York, NY 10001                    2100 L Street NW, Suite 900
                                      Washington, DC 20037
ZACH ZHENHE TAN                       Tel.: (202) 887-8740
MORRISON & FOERSTER LLP               DMaynard@mofo.com
425 Market Street
San Francisco, CA 94105

              Counsel for Plaintiffs-Appellees Novartis AG and
                  Novartis Pharmaceuticals Corporation




                                     28
ADDENDUM
                                           ADDENDUM
                                       TABLE OF CONTENTS

Preliminary Injunction Opinion (D.Ct.Dkt.32)
      (Mar. 17, 2025) ......................................................................................... Add1

Preliminary Injunction Order (D.Ct.Dkt.33)
      (Mar. 17, 2025) ....................................................................................... Add22

Stay Opinion (D.Ct.Dkt.51)
      (May 23, 2025) ....................................................................................... Add24

Stay Order (D.Ct.Dkt.52)
      (May 23, 2025) ....................................................................................... Add41

Attachments to Plaintiffs’ Motion for Preliminary Injunction (Jan. 31, 2025)

        Miller Declaration (D.Ct.Dkt.4-3) .......................................................... Add42

        Valazza Declaration (D.Ct.Dkt.4-4) ....................................................... Add60

        Ward Declaration (D.Ct.Dkt.4-5) ........................................................... Add65

        Lossignol Declaration (D.Ct.Dkt.4-6) .................................................... Add72

        Robbins Declaration (D.Ct.Dkt.4-10) .................................................... Add81

        Nayeri Declaration (D.Ct.Dkt.4-11) ..................................................... Add113

        Bannigan Declaration (D.Ct.Dkt.4-12) ................................................ Add153

        Exhibit 1 (D.Ct.Dkt.4-13) ..................................................................... Add176

        Exhibit 32 (D.Ct.Dkt.4-44) ................................................................... Add232

        Exhibit 42 (D.Ct.Dkt.4-54) ................................................................... Add235

        Exhibit 96 (D.Ct.Dkt.4-110) ................................................................. Add241




                                                         i
Attachments to Defendants’ Opposition to Plaintiffs’ Motion for Preliminary
      Injunction (Feb. 6, 2025)

       Nithiyanandam Declaration (D.Ct.Dkt.13-7) ....................................... Add250

       Exhibit 1 (D.Ct.Dkt.13-8) ..................................................................... Add259

       Shimer Declaration (D.Ct.Dkt.13-46) .................................................. Add262

Attachments to Plaintiffs’ Reply in Support of Motion for Preliminary Injunction
      (Feb. 10, 2025)

       Nayeri Declaration (D.Ct.Dkt.17-1) ..................................................... Add296

       Robbins Declaration (D.Ct.Dkt.17-2) .................................................. Add319

Final Judgment, In re Entresto (Sacubitril/Valsartan) Pat. Litig.,
       No.1:20-cv-2930 (D. Del. Apr. 1, 2025), ECF1824 ............................. Add342




                                                    ii
Case 2:25-cv-00849-EP-JRA          Document 32       Filed 03/17/25      Page 1 of 21 PageID: 6851

  NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


   NOVARTIS   AG    and   NOVARTIS
   PHARMACEUTICALS CORPORATION,

          Plaintiffs,                                     No. 25cv849 (EP) (JRA)

   v.                                                     OPINION

   NOVADOZ PHARMACEUTICALS LLC, et
   al.,

          Defendants.


  PADIN, District Judge.

         This matter comes before the Court by way of Plaintiffs Novartis AG and Novartis

  Pharmaceuticals Corporation's (together, ''Novartis") motion for a preliminary injunction against

  Defendants MSN Laboratories Private Limited, MSN Pharmaceuticals Inc., and Novadoz

  Pharmaceuticals LLC (collectively, "MSN") for alleged infringement ofNovartis's trademark and

  trade dress rights. D.E. 4 ("Motion" or "Mot."). The Court decides the Motion without oral

  argument. See Fed. R. Civ. P. 78(b); L. Civ. R. 78.l(b). For the reasons set forth below, the Court

  will GRANT in part and DENY in part the Motion.

  I.     BACKGROUND

         Novartis is a pharmaceutical company that manufactures ENTRESTO®, an FDA-approved

  heart failure prescription medication that was launched in 2015. D.E. 1 ,r,r 3, 52-53 ("Compl.").

  It is the number one heart failure brand prescribed by physicians and has helped reduce the risk of




                                               Add1
Case 2:25-cv-00849-EP-JRA         Document 32         Filed 03/17/25    Page 2 of 21 PageID: 6852




  death and hospitalization for over 2.5 million patients. Id ,r 3. Novartis's generic partner is

  Sandoz, which used to be Novartis's wholly-owned generics division prior to its sale. Id ,r 7.

         ENTRESTO® is offered in three doses, each in a unique combination of size, shape, and

  color. Id. ,r 59. The Low Starting Dose, a 24/26 mg dose, is a violet white oval tablet, measuring

  13 .1 mm x 5 .2 mm; the Recommended Starting Dose, a 49/51 mg dose, is a pale yellow oval tablet,

  measuring and 13.1 mm x 5.2 mm; and the Target Dose, a 97/103 mg dose, is a light pink oval

  tablet, measuring 15.1 mm x 6.0 mm. Id Images of the drug show that the face of each pill is

  marked "NVR." D.E. 4-4 ,r 15 ("Valazza Deel.").

         Novartis alleges that MSN will imminently bring to market a generic version of

  ENTRESTO®, under the NOVADOZ name, intending to confuse healthcare providers and

  consumers into believing NOVADOZ is affiliated with Novartis (the "MSN Drug"). Compl. ,r,r

  6-7.

         MSN submitted an Abbreviated New Drug Application ("ANDA") for its generic

  equivalent to ENTRESTO® on July 7, 2019. D.E. 13-7 ,r 3 ("Nithiyanandam Deel."). To be

  eligible for FDA approval through an ANDA, a generic drug must contain the same active

  ingredient(s) of the branded drug, come in the same dosage form, and deliver the same dose. Id

  ,r 4. As a result, the MSN Drug also comes in three tablets: a 24/26 mg tablet, 49/51 mg tablet,
  and a 97/103 mg tablet. Id ,r 5. MSN's 2019 ANDA contained proposed dimensions of the drugs,

  respectively measuring 10 x 4 mm, 13 x 5.10 mm, and 15 x 5.9 mm. Id ,r 6. Images of the MSN




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                                               Add2
Case 2:25-cv-00849-EP-JRA          Document 32               Filed 03/17/25         Page 3 of 21 PageID: 6853




  Drug show that the face of each pill is marked "M." Id The pills are not identical, but strikingly

  similar.


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  Id

         Novartis avers that the physical similarities between NOVADOZ and ENTRESTO®, as

  well as NOVADOZ's name-purportedly intended to invoke a combination of Novartis and

  Sandoz-reflects an intentional effort to deceive the marketplace. Comp1. , 7. The launch of

  NOVADOZ hinges on the lift of an injunction in place in a separate patent appeal pending before

  the Federal Circuit. Id, 89. MSN's counsel has "expressly communicated to Novartis's counsel

  that MSN will seek to launch the MSN Drug in the window between the issuance of the Federal

  Circuit's mandate, and the Delaware District Court's further orders once the case is returned after

  appeal." Id

         Novartis brings claims for trademark infringement, false designation of origin, trade dress

  infringement, and unfair competition. Id ,, 128-205. It argues that patients will face imminent

  health risks as the MSN drugs do not have FDA-approved dosing instructions and will be confused



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                                                    Add3
Case 2:25-cv-00849-EP-JRA            Document 32         Filed 03/17/25      Page 4 of 21 PageID: 6854




  with ENTRESTO®. Mot. at 3. Specifically, the ENTRESTO® label and prescribing information

  directs certain patients to start with a low starting dose, while the MSN drug label and prescribing

  information does not. Id. at 14-15. Novartis argues it will face reputational damage and loss of

  trade in the form oflost sales. Id. at 37.

  II.     PROCEDURAL IDSTORY

          Novartis's Motion also sought a temporary restraining order. Mot. This Court denied

  Novartis's request for temporary restraints but ordered expedited briefing on the preliminary

  injunction motion. D.E. 7. MSN's opposition, D.E. 13 ("Opp'n"), and Novartis's reply, D.E. 17

  ("Reply"), followed.

  III.    LEGAL STANDARD

          "Preliminary injunctions and TROs are extraordinary remedies that are not routinely

  granted." Gentile v. Secs. and Exch. Comm 'n, No. 19-5155, 2019 WL 1091068, at *2 (D.N.J. Mar.

  8, 2019) (citing Kos Pharm., Inc. v. Andrx. Corp., 369 F.3d 700, 708 (3d Cir. 2004)). The decision

  to grant such relief is within the discretion of the district court. eBay Inc. v. MercExchange, L. L. C.,

  547 U.S. 388, 391 (2006).

          The primary purpose of preliminary injunctive relief is "maintenance of the status quo until

  a decision on the merits of a case is rendered." Acierno v. New Castle Cnty., 40 F.3d 645,647 (3d

  Cir. 1994). In order to obtain a TRO or a preliminary injunction, the moving party must show:

              (1) a reasonable probability of eventual success in the litigation, and (2) that it
              will be irreparably injured . . . if relief is not granted . . . . [In addition,] the
              district court, in considering whether to grant a preliminary injunction, should
              take into account, when they are relevant, (3) the possibility of harm to other
              interested persons from the grant or denial of the injunction, and (4) the public
              interest.

  Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (citing Del. River Auth. v.

  Transamerican Trailer Transp., Inc., 501 F.2d 917, 919-20 (3d Cir. 1974)).



                                                     4



                                                  Add4
Case 2:25-cv-00849-EP-JRA           Document 32          Filed 03/17/25      Page 5 of 21 PageID: 6855




          The movant bears the burden of establishing ''the threshold for the first two 'most critical'

  factors .... If these gateway factors are met, a court then considers the remaining two factors and

  determines in its sound discretion if all four factors, taken together, balance in favor of granting

  the requested preliminary relief." Id at 179. A court may issue an injunction to a plaintiff "only

  if the plaintiff produces evidence sufficient to convince the district court that all four factors favor

  preliminary relief." AT&T v. Winback & Conserve Program, Inc., 42 F.3d 1421, 1427 (3d Cir.

  1994) (internal marks and citations omitted); see also P.C. Yonkers, Inc. v. Celebrations the Party

  & Seasonal Superstore, LLC, 428 F.3d 504, 508 (3d Cir. 2005) ("The burden lies with the plaintiff

  to establish every element in its favor, or the grant of a preliminary injunction is inappropriate.").

  IV.    ANALYSIS

         A.       Trade Dress

          "A plaintiff must prove three elements to establish trade dress infringement under the

  Lanham Act: '(1) the allegedly infringing design is nonfunctional; (2) the design is inherently

  distinctive or has acquired secondary meaning; and (3) consumers are likely to confuse the source

  of the plaintiffs product with that of the defendant's product."' Fair Wind Sailing, Inc. v.

  Dempster, 764 F.3d 303, 309 (3d Cir. 2014) (quoting McNeil Nutritionals, LLC v. Heartland

  Sweeteners, LLC, 511 F.3d 350, 357 (3d Cir. 2007)).

                   1.    Novartis has adequately shown the ENTRESTO® trade dress is non-
                         functional

          "A nonfunctional feature is one that 'is unrelated to the consumer demand ... and serves

  merely to identify the source of the product or business."' EBIN New York, Inc. v. Kiss Nail Prods.,

  Inc., No. 23-2369, 2024 WL 1328029, at *6 (D.N.J. Mar. 28, 2024) (quoting Fair Wind, 764 F.3d

  at 311 ). "Conversely, a functional feature is 'one that is essential to the use or purpose of the

  article, affects the cost or quality of the article, or one that, if kept from competitors, would put



                                                     5



                                                  Add5
Case 2:25-cv-00849-EP-JRA           Document 32         Filed 03/17/25      Page 6 of 21 PageID: 6856




  them at a significant non-reputation-related disadvantage."' Id (quoting Fair Wind, 764 F.3d at

  310). In the case of drugs, ''the allegedly nonfunctional element must not enhance efficacy." SK

  & F, Co. v. Premo Pharm. Labs., Inc., 625 F.2d 1055, 1063 (3d Cir. 1980).

         MSN argues that communication of functional information to patients-what drug each

  pill is and what dose it contains-is evidenced by the colors and sizes of the ENTRESTO® pills.

  Opp'n at 13. It further indicates that consistent color-coding systems can reduce therapeutic errors

  in other drug regimens. D.E. 13-40 ,r 53 ("Clark Deel."). Novartis attests that it is unaware of

  "any functional reason why the Low Starting Dose and the Recommended Starting Dose need to

  be smaller than the Target Dose. These sizes could be made uniform without impacting the

  efficacy of the formulation." Valazza Deel. ,r 20. The selection of size and shape of the pills,

  therefore, was purely based on a desire to differentiate the tablets from competitors' trade dresses.

  Id ,r 16. And while ENTRESTO® comes in three doses, patients can progress up from the lower

  doses to the target dose. D.E. 4-11 ,r 17 ("Nayeri Deel."). Patients typically take their tablets twice

  daily, indefinitely, irrespective of the dose on which they begin their regimens. Id ,r 18. There is

  no need to distinguish between daily doses, because once adjusted to a different dosage, patients

  remove the others from their medication cycle. Reply at 4 n.4.

         Novartis's position, in sum, is that the ENTRESTO® Trade Dresses were designed to

  differentiate the drug in the heart failure treatment market, rather than to improve cost, quality, or

  efficacy. Mot. at 17. MSN counters that under Third Circuit precedent, color-coding of drugs to

  convey dosage information is functional. Opp'n at 12 (citing Shire US Inc. v. Barr Labs., Inc.,

  329 F.3d 348 (3d Cir. 2003)).

         On appeal in Shire was the lower court's finding that the color and shape of Adderall is

  non-functional, accepting the position of the generic's manufacturer that the similar color-coding




                                                    6



                                                 Add6
Case 2:25-cv-00849-EP-JRA            Document 32         Filed 03/17/25     Page 7 of 21 PageID: 6857




  and shape of products are meaningful for ADHD patients and enhance efficacy. 329 F.3d at 354.

  The Third Circuit noted other cases crediting testimony bearing on functionality. In Ives Labs.,

  Inc. v. Darby Drug Co., 488 F. Supp. 394 (E.D.N.Y. 1980), 1 for example, the court found that the

  capsule colors of the prescription drug cyclandelate were functional because "many elderly

  patients associate the appearance of their medication with its therapeutic effect," "some patients

  co-mingle their drugs in a single container and then rely on the appearance of the drug to follow

  their doctors' instructions," and "to some limited extent color is also useful to doctors and hospital

  emergency rooms in identifying overdoses of drugs." Id at 398-99. The Supreme Court also

  "commented on the functional nature of the color of medical pills," Shire, 329 F.3d at 358, in

  Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159 (1995). The Court noted there that

  "competitors might be free to copy the color of a medical pill where that color serves to identify

  the kind of medication (e.g., a type of blood medicine) in addition to its source." Qualitex, 514

  U.S. at 169.

         Novartis argues that Shire is distinguishable because it uniquely involved Adderall, a

  controlled substance; patients needed to distinguish between differing doses of Adderall

  throughout the day; and patients with ADHD rely on visual cues in making dosing adjustments.

  Reply at 4. As the lower court did in Shire, this Court will assess and credit testimony as it pertains

  to the facts of this case specifically. For the reasons below, it finds that Shire is distinguishable.

          The parties' experts have competing but overlapping arguments for why a pill's distinctive

  (or similar) appearance is important for patients. Novartis's expert notes that drug shape and color

  can be helpful for patients to identify their prescriptions. D.E. 4-10 ,r 13 ("Robbins Deel."). Drug




  1 The Supreme Court granted certiorari and reversed the judgment of the Second Circuit, which
  had reversed the district court.


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                                                  Add7
Case 2:25-cv-00849-EP-JRA           Document 32         Filed 03/17/25      Page 8 of 21 PageID: 6858




  appearance is particularly important for patients with chronic conditions such as chronic heart

  failure because they are more familiar with an appearance of a medication they take repeatedly,

  over a long period of time, and patients with chronic conditions are more likely to take multiple

  medications relative to others. Id ,I 14. Dr. Mark Robbins proffers that "pill appearance can be

  an important element of pharmaceutical branding," while also noting that images of a pill design

  can reinforce "that visual cues like shape and color" are intended to serve as reference points for

  patients to identify their prescribed medication. Id ,r,r 16-17. MSN's expert, Todd Clark, in a

  roundabout way, makes a similar point: that changes in physical attributes from the branded to

  generic drug can negatively affect therapeutic adherence. Clark Deel. ,r 17. Patients used to

  identifying medication based on visual cues should have the option to switch to generic drugs with

  those same visual cues so as to not disrupt their drug regimen compliance. Id ,I 18. Dr. Robbins

  counters that a noticeable change in pill appearance is an important signal to patients that their

  medication is being switched. Robbins Deel. ,r 18. Clark rebuts that the benefits offered by

  continuity of appearance outweigh the hypothetical downside of potential loss of patient

  autonomy. Clark Deel. ,r 19.

         An MSN executive also explains that in addition to following FDA guidance that generic

  tablets should have similar physical characteristics to their branded equivalents, MSN picked

  colors referencing those used for ENTRESTO® pills so that patients can rely on visual cues to

  identify what drug and dose they are taking. Nithiyanandam Deel. ,r,r 8-10. The MSN Drug's

  shape similarity is justified by way of functionality; ovaloid-shaped pills are easier to swallow and

  more cost-effective to manufacture, and it is industry practice to use larger pills to designate higher

  doses. Id ,r,r 12-13. Nithiyanandam goes on to explain that MSN mirrored the functional features

  of ENTRESTO®, but distinguished them just enough based on the small-font letter markings,




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                                                 Add8
Case 2:25-cv-00849-EP-JRA           Document 32         Filed 03/17/25     Page 9 of 21 PageID: 6859




  marginal size differences, and color-shading distinctions. Id , 15. In sum and substance, MSN

  contends that it had to copy ENTRESTO® for functionality purposes, but stopped just short of

  copying it too much to infringe on the trade dress.

         The Court credits the position that distinctive identifiers of medications can serve as useful

  visual cues for patients, particularly more vulnerable populations such as the elderly or others with

  comorbidities, and that familiarity with a medication to be taken in seeming perpetuity has an

  element of functionality. Simultaneously, the Court is wary of expanding this concern across every

  widely available drug. The functionality doctrine cannot stand for the broader proposition that any

  distinctive look and feel of a pill means generic brands are free to wholesale copy them under the

  guise of ensuring patients, whose medication is prescribed by doctors, know what they are taking.

  Simply put, MSN could have just picked different colors. Or different shapes. Or different sizes.

         The Court understands MSN's reliance on Shire and takes note ofNovartis's omission of

  it from its moving brief. But the Court's diversion from Shire's holding has less to do with the

  fact that a controlled substance was uniquely at issue in that case, and more to do with the practical

  distinctions here. Adderall dosing is more involved. Many patients "may take multiple daily

  dosages of different strength." Shire, 329 F.3d at 354. Safety and compliance is also at greater

  issue in cases of children, whose doses may be dispensed through non-medical intermediaries. Id

  at 355. ENTRESTO® patients need not distinguish between daily doses, because the patients

  remove previous ones from their medication cycle after they adjust to a different dosage. D.E. 17-

  1 ,, 31-32 ("Nayeri Reb. Deel."). They are taking one type of pill in a day.

         As to MSN' s position that similarities in physical attributes between drugs helps reduce

  medication errors, increases therapeutic adherence, and maintains placebo effects, Clark Deel. ,

  50, the Court notes that "regardless of whether the generic is identical in appearance to the brand




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                                                 Add9
Case 2:25-cv-00849-EP-JRA            Document 32 Filed 03/17/25              Page 10 of 21 PageID:
                                            6860



name, the patient ought to be-and usually is-told that a generic medication is now being dispensed."

Boehringer Ingelheim G.m.b.H v. Pharmadyne Labs., 532 F. Supp. 1040, 1047 (D.N.J. 1980).

The patient will be aware of the substitution, id., and the Court is unpersuaded that mirroring-

entirely or substantially-the appearance of a pill so that patients associate their new medication

with the old one means that the initial distinctive appearance is functional. Having found that

Novartis has met its burden in demonstrating that the trade dress is likely not functional, the Court

turns to whether it has done so for secondary meaning. 2

                2.     Novartis has sufficiently demonstrated secondary meaning

       Novartis must next show that "in the minds of the public," the primary significance of the

trade dress is "to identify the source of the product rather than the product itself." Wal-Mart Stores,

Inc. v. Samara Bros., Inc., 529 U.S. 205, 211 (2000) (quoting Inwood Labs., Inc. v. Ives Labs.,

Inc., 456 U.S. 844,851 n.11 (1982)) (internal marks omitted). Courts consider factors such as "the

extent of sales and advertising leading to buyer association, length of use, exclusivity of use, the

fact of copying, customer surveys, customer testimony, the use of the mark in trade journals, the

size of the company, the number of sales, the number of customers, and actual confusion" in

determining whether secondary meaning exists. Ford Motor Co. v. Summit Motor Prods., Inc.,

930 F.2d 277,292 (3d Cir. 1991).

       Novartis has adequately demonstrated the size of the company, the number of sales, and

the number of customers. Id. It is one of the most well-known global pharmaceutical companies



2 The Court does not find that the trade dress is generic.  Opp'n at 16. In trade dress law "the
inquiry into functionality resembles the genericness inquiry in trademark law." Duraco Prods., v.
Joy Plastic Enters., Ltd., 40 F.3d 1431, 1442 (3d Cir. 1994). And the Court agrees with Novartis
that the relevant market is Novartis's competitors. Reply at 6 (citing McNeil Nutritionals, LLC v.
Heartland Sweeteners LLC, 566 F. Supp. 2d 378, 390 (E.D. Pa. 2008)). Obviously, there is a finite
amount of shapes and sizes that pills can come in. Opp'n at 17. But the Court is satisfied that
enough distinctions exist to determine that ENTRESTO® is not generic. Mot. at 18.


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                                               Add10
Case 2:25-cv-00849-EP-JRA           Document 32 Filed 03/17/25             Page 11 of 21 PageID:
                                           6861



with net sales exceeding $45.4 billion in 2023. D.E. 4-3 ,, 6 ("Miller Deel."). It is estimated to

have helped over 284 million people worldwide in 2023. Id As to ENTRESTO® specifically, it

has generated more than $10.5 billion in cumulative net sales in this country between 2015 and

2023. Id, 26. Novartis estimates that over 2.5 million people have used ENTRESTO®to help

with heart failure. Id , 25. MSN's opposition focuses primarily on exclusivity of use and buyer

association, which the Court will address in turn.

       First, although the shape, size, and colors of ENTRESTO® alone do not achieve secondary

meaning, the Court finds that the length and exclusivity of use of the trade dress weighs in

Novartis's favor. ENTRESTO® has been the only drug of its kind available to treat patients with

heart failure for the last nine years. D.E. 4-5, 8. MSN does not dispute this, but instead argues

that because the trade dress consists of ubiquitous sizes, shapes, and colors, these features cannot

be used to identify Novartis. Opp'n at 19. Of course, color alone is not inherently distinctive,

Wal-Mart, 529 U.S. at 212, but MSN seems to just repackage its argument about genericness here.

And color, "in combination with other characteristics," can be protectable.          See Smithkline

Beckman Corp. v. Pennex Prods. Co., Inc., 605 F. Supp. 746, 750 (E.D. Pa. 1985). Under MSN's

theory, no drug could ever receive trade dress protection because there is a finite universe of size,

shape, and color options. ENTRESTO® is "the number one branded treatment for heart failure

prescribed by cardiologists" and has been on the market since 2015. Miller Deel.,, 19-20. The

Court is satisfied that Novartis's continuous marketing of this trade dress weighs in favor of the

exclusivity and length elements. See Ciba-Geigy Corp. v. Bolar Pharm. Co., Inc., 747 F.2d 844,

852 (3d Cir. 1983).

       Second, MSN argues that, despite Novartis's expansive marketing campaign, it has not

adequately shown buyer association with ENTRESTO®. Opp'n at 19-20. Courts do "place




                                                 11



                                              Add11
Case 2:25-cv-00849-EP-JRA            Document 32 Filed 03/17/25              Page 12 of 21 PageID:
                                            6862



particular weight in customer surveys and testimony because, though they 'are not dispositive,

they are the only direct evidence of secondary meaning."' Richardson v. Cascade Skating Rink,

No. 19-8935, 2024 WL 3841942, at *8 (D.N.J. Aug. 16, 2024) (quoting King of Prussia Dental

Assocs., Ltd v. King ofPrussia Dental Care, LLC, No. 19-1688, 2019 WL 2240492, at *12 (E.D.

Pa. May 23, 2019)). Novartis does offer very little by way of direct consumer testimony. But it

does offer testimony that a prescriber "recognize [d] Entresto just by seeing the pills." N ayeri Deel.



       The Court also disagrees with MSN's characterization of Novartis' marketing materials as

highlights of the doses associated with each pill to the exclusion of the pills' source. Opp'n at 20.

Although the marketing materials often provide instructions on how to take the trio of doses, see,

e.g., D.E.s 4-54, 4-55, 4-58, these materials have "routinely featured the [pills'] physical

appearance in pictures as well as described them in words," Ciba-Geigy Corp. v. Bolar Pharm.

Co., Inc., 547 F. Supp. 1095, 1101 (D.N.J. 1982), ajf'd, 747 F.2d 844. The Court fails to see how

instructions on initiating dosing washes away "promotional efforts . . . not only to familiarize"

consumers with the name ENTRESTO®                 "but also with [ENTRESTO®'s] appearance."

Boehringer, 532 F. Supp. at 1056. Accordingly, the Court finds that Novartis has met its burden

and demonstrated the trade dress has likely achieved secondary meaning.

                3.     Likelihood ofconfusion

       To determine the final element of a trade dress infringement claim, courts in this district

use the Third Circuit's ten-factor test, known as the Lapp factors:

            (1) the degree of similarity between the plaintiffs trade dress and the allegedly
            infringing trade dress;
            (2) the strength of the plaintiffs trade dress;
            (3) the price of the goods and other factors indicative of the care and attention
            expected of consumers when making a purchase;


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                                               Add12
Case 2:25-cv-00849-EP-JRA           Document 32 Filed 03/17/25              Page 13 of 21 PageID:
                                           6863



           (4) the length of time the defendant has used its trade dress without evidence
           of actual confusion arising;
           (5) the intent of the defendant in adopting its trade dress;
           (6) the evidence of actual confusion;
           (7) whether the goods, though not competing, are marketed through the same
           channels of trade and advertised through the same media;
           (8) the extent to which the targets of the parties' sales efforts are the same;
           (9) the relationship of the goods in the minds of consumers because of the
           similarity of function;
           (10) other facts suggesting that the consuming public might expect the plaintiff
           to manufacture a product in the defendant's market, or that the plaintiff is likely
           to expand into that market.
McNeil, 511 F.3d at358 (citing Freedom Card, Inc. v. JPMorgan Chase & Co., 432 F.3d 463,471

(3d Cir. 2005), further citing Interpace Corp. v. Lapp, Inc., 721 F.2d 460,463 (3d Cir. 1983)).

       Factors 4 and 6 are neutral because MSN has not yet launched the MSN Drug. Mot. at

27. The Court addresses the remaining factors as follows.

                      a.      Factor 1: degree ofsimilarity
       There is no question that the two trade dresses are strikingly similar.




Comp1. ,r 93.
       This is true despite the different markings on the pills, because "[t]he proper test is 'not

side-by-side comparison' but 'whether the labels create the same overall impression when viewed

separately."' Kos, 369 F.3d at 713 (quoting Fisons Horticulture, Inc. v. Vigoro Indus., Inc., 30

F.3d 466, 477 (3d Cir. 1994)). This factor weighs in favor of Novartis.


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                                             Add13
Case 2:25-cv-00849-EP-JRA           Document 32 Filed 03/17/25            Page 14 of 21 PageID:
                                           6864



                       b.     Factor 2: strength of trade dress
       MSN makes the same arguments regarding functionality and secondary meaning with

respect to the strength of the trade dress. Opp'n at 23. The Court adopts its reasoning regarding

these arguments, supra, Sections IV.A.1-2, and finds this factor favors Novartis.

                       c.     Factor 3: consumer care in purchase
       The Court agrees with MSN that because the products at issue are prescription medications,

the relevant market consists primarily of medical professionals, not consumers. Opp'n at 24; see

AstrazenecaAB v. Dr. Reddy's Labs., Inc., 145 F. Supp. 3d 311,317 (D. Del. 2015). This factor

weighs in favor ofMSN.

                       d      Factor 5: intent to infringe
       Although awareness ofNovartis's trade dresses does not demonstrate bad faith, the Court

still finds this factor weighs in Novartis's favor. The Court already rejected MSN's functionality

argument, supra, Section IV.Al, so it declines to adopt MSN's position that the evidence

unequivocally demonstrates that the similar appearances were driven by functional and regulatory

considerations. Opp'n at 25. While the functionality arguments necessarily overlap with those

demonstrating an interest in providing visual cues to patients shifting from a branded drug to a

generic drug, it does also demonstrate that MSN intended for the pills to look similar. The totality

of the circumstances here results in this factor favoring Novartis. Astrazeneca, 145 F. Supp. 3d at

317.

                       e.     Factors 7-10: competition and overlap
       The Court is persuaded by the District Court of Delaware's analysis in dealing with a

branded product and generic, also finding that "[Novartis] and [MSN] are still competing in the

same market for the same consumers in the first instance, even if [MSN] is ultimately competing

against other generics once the decision to buy a generic has been made." Id at 318. These factors



                                                14



                                             Add14
Case 2:25-cv-00849-EP-JRA            Document 32 Filed 03/17/25             Page 15 of 21 PageID:
                                            6865



weigh in favor ofNovartis. Accordingly, Novartis has demonstrated a likelihood of confusion and

a likelihood to prevail on its trade dress infringement claim.

                4.     Irreparable harm

       "[A] party seeking a preliminary injunction in a Lanham Act case is not entitled to a

presumption of irreparable harm but rather is required to demonstrate that she is likely to suffer

irreparable harm if an injunction is not granted." Ferring Pharm., Inc. v. Watson Pharm., Inc.,

765 F.3d 205, 217 (3d Cir. 2014). 3 Novartis argues that it will suffer irreparable harm through

loss of control over its reputation (if MSN' s drug is defective) and loss of trade in the form of lost

sales (if patients request refills of the MSN Drug, instead ofENTRESTO®). Mot. at 37-38. MSN

counters that Novartis's multi-year delay in bringing this action militates against injunctive relief

and that its reputational harm theory is too speculative. Opp'n at 34-35.

                       a. The delay here does not vitiate irreparable harm
       Third Circuit caselaw "may imply that inexcusable delay"-i.e., not attributable to

negotiations between the parties-"could defeat the presumption of irreparable harm in an

appropriate case[.]" Kos, 369 F.3d at 727. Though the parties dispute the timeline ofNovartis's

knowledge of the MSN Drug's appearance, whether Novartis did in fact delay its request for

injunctive relief is "most relevant for purposes of the Court's consideration of irreparable harm."

Otsuka Pharm. Co., Ltd v. Torrent Pharm. Ltd, Inc., 99 F. Supp. 3d 461,504 (D.N.J. 2015).

       MSN represents that in the course of the parties' patent claim litigation, MSN produced to

Novartis a complete copy of its ANDA, including comparator images of the drugs, in 2020. D.E.

13-2 ,r 21. It also states that it provided Novartis physical samples of MSN's pills for testing in



3Novartis misstates the law on this point, arguing it is entitled to a presumption of irreparable
harm. Mot. at 37. The Third Circuit clarified the standard for irreparable harm in Lanham Act
cases. Groupe SEB USA, Inc. v. Euro-Pro Operating LLC, 774 F.3d 192,203 (3d Cir. 2014).


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                                               Add15
Case 2:25-cv-00849-EP-JRA           Document 32 Filed 03/17/25              Page 16 of 21 PageID:
                                           6866



January 2021. Id 1 22. Nonetheless, MSN avers, Novartis never raised concerns with the

appearance of MSN' s pills. Id 1 23. If this information is accurate, it would assuredly counsel

against a finding of irreparable harm.

       However, Novartis provides further context; the ANDA was produced in that MDL

"confidential[ly] pursuant to Delaware Local Rule 26.2." D.E. 17-3118 (citing D.E. 13-10 at 1).

Delaware Local Rule 26.2 states that if documents are deemed confidential by the producing

parties who have not stipulated to a confidentiality agreement, disclosure is limited to trial counsel

and where appropriate, those who have been admitted pro hac vice, and the individuals remain

''under an obligation to keep such documents confidential and to use them only for the purpose

of litigating the case." (emphasis added).       On September 18, 2020, Judge Stark entered a

protective order in the MDL, designating "abbreviated new drug applications (ANDAs) and related

FDA correspondence, Drug Master Files, test data relating to physical and/or chemical properties,

and materials concerning research and development" as attorneys' eyes only and limiting

disclosure to those designated as a qualified person, including specific people involved in or

retained for the purpose of that litigation. Id 11 11-12. The protective order further limited the

use of protected information to the MDL actions. Id 116.

       True, practically speaking, Novartis has known about the MSN Drug's purported similar

appearance to ENTRESTO® for many years. And the Court is not narve to a multi-district strategy

of litigation based on numerous legal theories to prevent the MSN Drug from hitting the market.

But for purposes of this case, at earliest, someone from Novartis could have learned about the

MSN Drug's physical appearance through a written description of the drug in an exhibit filed in

separate litigation on August 6, 2024. Id 128. At earliest, images of the drug were seen on August




                                                 16



                                              Add16
Case 2:25-cv-00849-EP-JRA            Document 32 Filed 03/17/25            Page 17 of 21 PageID:
                                            6867



9, 2024, during oral argument in the MDL, though even that visual would presumably be covered

by the protective order limiting its use to those actions. Id ,r 29.

       The exhibit describing the MSN Drug's physical appearance is fair game, as it was

produced in Novartis Pharm. Corp. v. Becerra, No. 24-2234, 2024 WL 3823270 (D.D.C. Aug. 13,

2024), which was not constrained by the protective order in the Delaware MDL. A persuasive

argument can be made that a detailed written description of the dimensions, colors, and shapes of

a drug is sufficient for purposes of determining whether a trade dress has been copied.

Nonetheless, given the complexities of this case and the fact that the MSN Drug has not yet gone

to market, the Court does not find the five-month delay precludes a finding of irreparable harm.

Having so found, the Court turns to the actual theory of irreparable harm.

                       b.      Theory ofreputational harm
       "Grounds for irreparable injury include loss of control of reputation, loss of trade, and loss

of goodwill" and irreparable harm "can also be based on the possibility of confusion." S & R Corp.

v. Jiffy Lube Intern., Inc., 968 F.2d 371, 378 (3d Cir. 1992). The Becerra court conducted a well-

reasoned rejection of such a speculative theory of harm ''that a brand-name manufacturer will lose

general customer goodwill due to the deficiencies of a generic competitor." 2024 WL 3823270,

at *6. However, that case involved FDA's approval of the MSN Drug. Instead, the Court is bound

by a recognized theory of irreparable harm of "lack of control which potentially might result in a

damaged reputation." Opticians Ass 'n ofAm. v. Ind Opticians ofAm., 920 F.2d 187, 195 (3d Cir.

1990). Relatedly, although the Court does not find that MSN necessarily intended to create a false

impression that the MSN Drug is an authorized generic, rather than a bioequivalent, it finds the

holding in Astrazeneca persuasive, that a misplaced affiliation with Novartis (and ENTRESTO®)

"puts at risk [Novartis's] reputation in the event of quality or safety issues with [MSN's] generic."




                                                  17



                                               Add17
Case 2:25-cv-00849-EP-JRA          Document 32 Filed 03/17/25            Page 18 of 21 PageID:
                                          6868



2015 WL 7307101, at *5. Accordingly, Novartis has demonstrated a likelihood of irreparable

harm.

                5.    Harm to defendants and public interest

        Having found the "gateway factors" in Novartis's favor, the Court must turn to the

remaining two factors and determine in its discretion if all four balance in favor of granting

injunctive relief. Reilly, 858 F.3d at 179. There is no question that MSN would suffer significant

hardship if enjoined. Opp'n at 36. It would lose its "first mover advantage" and face financial,

research, and development setbacks. Id The Court is also mindful of the societal benefits of

affordable alternatives to brand-name drugs and laments obstacles to such access. See Otsuka, 99

F. Supp. 3d at 507. However, it is axiomatic that "the injury a defendant might suffer if an

injunction were imposed may be discounted by the fact that the defendant brought that injury upon

itself." Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer Pharm. Co., 290

F.3d 578, 596 (3d Cir. 2002).       As noted supra, MSN could have distinguished its pills.

Accordingly, on balance, a preliminary injunction is warranted and the Court will GRANT a

preliminary injunction.

        B.     Trademark Infringement4

                1.    There is no likelihood of confusion with the NOVADOZ mark

        The elements for a trademark infringement claim under the Lanham Act are the same for

those under New Jersey statutory and common law. J&J Snack Foods, Corp. v. Earthgrains Co.,

220 F. Supp. 2d 358,374 (D.N.J. 2002). To establish such a claim, "a plaintiff must show that (1)

it owns the mark; (2) its mark is valid and legally protectable; and (3) the Defendant's use of the




4Trademark infringement and unfair competition share the same elements and analysis.
Checkpoint Sys., Inc. v. Check Point Software Tech., Inc., 269 F.3d 270,279 (3d Cir. 2001).


                                                18



                                             Add18
Case 2:25-cv-00849-EP-JRA           Document 32 Filed 03/17/25            Page 19 of 21 PageID:
                                           6869



mark to identify its goods or services is likely to create confusion concerning the origin of those

goods or services." Id MSN does not contest the first two elements, and instead argues that there

is no likelihood of confusion between the parties' marks. Opp'n at 29. After analyzing the Lapp

factors, the Court agrees. As a threshold matter, Novartis adopts its same position of neutrality on

factors 4 and 6 as argued in its trade dress position. Mot. at 27, 33.

                       a. Factor 1: degree ofsimilarity
       NOVADOZ is likely not confusingly similar to NOVARTIS. Novartis's arguments hinges

on the fact that both words have three syllables, begin and end with similar sounds, and are coined

words. Mot. at 31 (citing Kos, 369 F.3d at 712-15). In cases where the words contained the "same

dominant syllable," they still gave the overall impression of similarity. Sabinsa Corp. v. Creative

Compounds, LLC, 609 F.3d 175, 184 (3d Cir. 2010) (ForsLean and Forsthin gave overall similar

impressions, and notably, the words "lean" and "thin" are interchangeable terms to consumers).

The Court is not persuaded that there is a "similarity between the visual appearance" or aural

similarity of the words NOVADOZ and NOVARTIS. CPC Intern., Inc. v. Caribe Food Distribs.,

731 F. Supp. 660,665 (D.N.J. 1990) (Mazorca and Mazola look and sound alike). The marks are

distinguishable in "'appearance, sound and meaning[]."'         Checkpoint Sys., 269 F.3d at 281

(quoting Harlem Wizards Entm 't Basketball, Inc. v. NBA Props., Inc., 952 F. Supp. 1084, 1096

(D.N.J. 1997)). The Court is also less persuaded that the "Doz" portion of NOVADOZ will be

perceived to derive from Novartis's previous generics division, Sandoz. Mot. at 31. It is satisfied

with MSN's attestation that the name is a combination of "Nova," meaning bright new star, and

"doz," which invokes the word "dose." D.E. 13-2, 5. This factor weighs against Novartis.

                       b.      Factor 2: strength ofmark
       "To evaluate the strength of the mark, courts look at '(1) the mark's distinctiveness or

conceptual strength (the inherent features of the mark) and (2) [the mark's] commercial strength


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                                              Add19
Case 2:25-cv-00849-EP-JRA          Document 32 Filed 03/17/25             Page 20 of 21 PageID:
                                          6870



(factual evidence of marketplace recognition)."' What a Smoke, LLC v. Duracell US. Operations,

Inc., No. 19-16657, 2024 WL 1327976, at *8 (D.N.J. Mar. 27, 2024) (quoting Freedom Card, 432

F.3d at 472). There is no dispute as to the ubiquity of the NOVARTIS trademark, given the

company's massive profits and billions of dollars spent on marketing. Mot. at 32. However, as

MSN points out, many marks begin with ''Nov" or "Nova." Opp'n at 30 (citing D.E. 13-26).

Novartis curiously dismisses third-party uses of the first three or four letters of the NOVARTIS

mark and argues they do not undermine its strength, when it just made the argument that MSN has

infringed because the first four letters of its mark are the same. Reply at 10. The Court is

persuaded that there is enough evidence of third-party use of the prefix "Nov" or "Nova" so as to

diminish the strength of the NOVARTIS mark.           Petro Stopping Ctrs., L.P. v. James River

Petroleum, Inc., 130 F.3d 88, 94 (4th Cir. 1997); D.E. 13-26 (hundreds of trademarks with similar

prefix). This factor weighs against Novartis.

                      c.      Factor 3: consumer care in purchase
       This factor weighs in favor of MSN for the same reasons explained supra, Section

IV.A.3.c.

                      d       Factor 5: intent to i,ifringe
       Novartis also adopts its argument on this element as proffered in its trade dress claim. Mot.

at 27, 33. Previously, Novartis argued that MSN's knowledge of the trade dress demonstrated its

bad faith and intention to copy the design. Id at 27. The Court is unconvinced by Novartis's

argument that MSN "hid" its planned use of NOVADOZ in connection with the MSN Drug by

initially producing a label with the MSN mark. Reply at 11. It is satisfied with MSN' s explanation

for the name for purposes of the preliminary injunction motion, D.E. 13-2 ,r 5, and notes that the

name has been used since 2018. Opp'n at 2. This factor favors MSN.




                                                20



                                             Add20
Case 2:25-cv-00849-EP-JRA           Document 32 Filed 03/17/25             Page 21 of 21 PageID:
                                           6871



                       e.      Factors 7-10: competition and overlap
       The Court adopts its discussion supra, Section IV .A.3 .e and finds these factors weigh in

favor of Novartis, which evens the score. However, given "[t]he single most important factor in

determining likelihood of confusion is mark similarity," which the Court found against Novartis,

on balance, Novartis has not demonstrated a likelihood of confusion. A & H Sportswear, Inc. v.

Victoria's Secret Stores, Inc., 237 F.3d 198, 216 (3d Cir. 2000). Accordingly, the Court finds that

Novartis is not likely to succeed on its trademark infringement claim (and resultingly, its state law

claims) and will DENY its Motion to this extent. 5

V.     CONCLUSION

       For the reasons stated above, the Court will GRANT in part and DENY in part Novartis' s

Motion for Preliminary Injunction. An appropriate Order accompanies this Opinion.




Dated: March 17, 2025
                                                                             Evelyn Padin, U.S.D.J.




5 The Court recognizes that its holding above will enjoin MSN from putting the MSN Drug to
market, functionally enjoining the use of the NOV ADOZ name as well.


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                                              Add21
Case 2:25-cv-00849-EP-JRA          Document 33        Filed 03/17/25     Page 1 of 2 PageID: 6872

 NOT FOR PUBLICATION


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


  NOVARTIS  AG    and  NOVARTIS
  PHARMACEUTICALS CORPORATION,

         Plaintiffs,                                   No. 25cv849 (EP) (JRA)

  V.                                                   ORDER

  NOVADOZ PHARMACEUTICALS LLC, et
  al.,

         Defendants.


        Plaintiffs Novartis AG and Novartis Pharmaceuticals Corporation move for a preliminary

 injunction against Defendants MSN Laboratories Private Limited, MSN Pharmaceuticals Inc., and

 Novadoz Pharmaceuticals LLC for alleged infringement of Plaintiffs' trademark and trade dress

 rights. D.E. 4 ("Motion"). Having reviewed the parties' submissions and all other relevant items

 on the docket, and having determined that oral argument is not necessary,

        IT IS, on this 17th day of March 2025, for the reasons set forth in the accompanying

 Opinion,

        ORDERED that Plaintiffs' Motion for Preliminary Injunction, D.E. 4, is GRANTED in

 part and DENIED in part; and it is further

        ORDERED that Plaintiffs have not demonstrated a likelihood to succeed on the merits of

 their trademark infringement and state law claims; and it is finally

        ORDERED that Defendants are PRELIMINARY ENJOINED from manufacturing,

 producing, distributing, circulating, selling, marketing, offering for sale, advertising, promoting,

 or displaying the MSN Drug, in a manner likely to infringe on Plaintiffs' trade dress.




                                              Add22
Case 2:25-cv-00849-EP-JRA   Document 33   Filed 03/17/25   Page 2 of 2 PageID: 6873




                                                 Evelyn Padin, U.S.D.J.




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                                    Add23
Case 2:25-cv-00849-EP-JRA          Document 51       Filed 05/22/25      Page 1 of 17 PageID: 7101

  NOT FOR PUBLICATION


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


   NOVARTIS   AG    and   NOVARTIS
   PHARMACEUTICALS CORPORATION,

          Plaintiffs,                                     No. 25cv849 (EP) (JRA)

   v.                                                     OPINION

   NOVADOZ PHARMACEUTICALS LLC, et
   al.,

          Defendants.


  PADIN, District Judge.

         This Court granted Plaintiffs Novartis AG and Novartis Pharmaceuticals Corporation's

  (together, "Novartis") motion for a preliminary injunction, D.E. 4 ("PI Motion" or "PI Mot."),

  against Defendants MSN Laboratories Private Limited, MSN Pharmaceuticals Inc., and Novadoz

  Pharmaceuticals LLC (collectively, "MSN") for alleged infringement ofNovartis's trademark and

  trade dress rights. D.E. 32 ("Opinion"). Defendants have appealed that decision to the Third

  Circuit, D.E. 35, and move to stay the preliminary injunction pending that appeal. D.E. 37 ("Stay

  Motion" or "Stay Mot.").

         The Court understands the imperative nature of the matter before it.          After careful

  consideration of the arguments before it and the circumstances the parties face pending appeal

  before the Third Circuit, the Court will GRANT the Stay Motion.

  I.     BACKGROUND

         Novartis is a pharmaceutical company that manufactures ENTRESTO®, an FDA-approved

  heart failure prescription medication that was launched in 2015. D.E. 1 ("Compl.") ,r,r 3, 52-53.

  It is the number one heart failure brand prescribed by physicians and has helped reduce the risk of

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                                               Add24
Case 2:25-cv-00849-EP-JRA          Document 51       Filed 05/22/25      Page 2 of 17 PageID: 7102

  NOT FOR PUBLICATION


  death and hospitalization for over 2.5 million patients. Id ,r 3. Novartis's generics partner is

  Sandoz, which used to be Novartis's wholly-owned generics division prior to its sale. Id ,r 7.

         ENTRESTO® is offered in three doses, each in a unique combination of size, shape, and

  color. Id. ,r 59. The Low Starting Dose, a 24/26 mg dose, is a violet white oval tablet, measuring

  13 .1 mm x 5 .2 mm; the Recommended Starting Dose, a 49/51 mg dose, is a pale yellow oval tablet,

  measuring 13.1 mm x 5.2 mm; and the Target Dose, a 97/103 mg dose, is a light pink oval tablet,

  measuring 15.1 mm x 6.0 mm. Id Images of the drug show that the face of each pill is marked

  "NVR." D.E. 4-4 ("Valazza Deel.") ,r 15.

         Novartis alleges that MSN will imminently bring to market a generic version of

  ENTRESTO®, under the NOVADOZ name, intending to confuse healthcare providers and

  consumers into believing NOVADOZ is affiliated with Novartis (the "MSN Drug"). Compl. ,r,r

  6-7. Novartis avers that the physical similarities between NOVADOZ and ENTRESTO®, as well

  as NOVADOZ's name-purportedly intended to invoke a combination of Novartis and Sandoz-

  reflect an intentional effort to deceive the marketplace. Id ,r 7. The launch of NOVADOZ,

  however, hinges on proceedings before the Federal Circuit. Id ,r 89. Patent barriers also currently

  prevent NOVADOZ and other generics from launching before July 16, 2025. D.E. 49.

         MSN submitted an Abbreviated New Drug Application ("ANDA") for its genenc

  equivalent to ENTRESTO® on July 7, 2019. D.E. 13-7 (''Nithiyanandam Deel.") ,r 3. For an

  ANDA to receive FDA approval, the generic drug product must contain the same active

  ingredient(s) of the branded drug, come in the same dosage form, and deliver the same dose. Id

  ,r 4. As a result, the MSN Drug also comes in three tablets: a 24/26 mg tablet, 49/51 mg tablet,
  and a 97/103 mg tablet. Id ,r 5. MSN's 2019 ANDA contained proposed dimensions of the drug

  products, respectively measuring 10 x 4 mm, 13 x 5.10 mm, and 15 x 5.9 mm. Id ,r 6. Images of



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                                               Add25
Case 2:25-cv-00849-EP-JRA          Document 51              Filed 05/22/25           Page 3 of 17 PageID: 7103

  NOT FOR PUBLICATION

  the MSN Drug show that the face of each pill is marked "M." Id. The pills are not identical, but

  they are similar.


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  Id.

         Novartis brings claims for trademark infringement, false designation of origin, trade dress

  infringement, and unfair competition. Id. ,r,r 128-205. It argues that patients will face imminent

  health risks as the MSN Drug does not have identical FDA-approved dosing instructions and will

  be confused with ENTRESTO®.            PI Mot. at 3.             Specifically, the ENTRESTO® label and

  prescribing information directs certain patients to start with a low starting dose, while the MSN

  Drug label and prescribing information does not. Id. at 14-15. Novartis argues it will face

  reputational damage and loss of trade in the form oflost sales. Id. at 37.

  II.    PROCEDURAL IDSTORY

         Novartis's motion for a preliminary injunction also sought a temporary restraining order.

  PI Mot. This Court denied Novartis's request for temporary restraints but ordered expedited

  briefing on the preliminary injunction motion. D.E. 7. MSN's opposition, D.E. 13 ("PI Opp'n"),

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                                                   Add26
Case 2:25-cv-00849-EP-JRA           Document 51        Filed 05/22/25      Page 4 of 17 PageID: 7104

  NOT FOR PUBLICATION


  and Novartis's reply, D.E. 17 ("PI Reply"), followed. The Court then issued the Opinion. Shortly

  thereafter, MSN moved to stay. Stay Mot. Novartis opposed, D.E. 42 ("Stay Opp'n"), and MSN

  replied, D.E. 44 ("Stay Reply"). 1

  III.   LEGAL STANDARD

         As the standard for a stay or an injunction pending appeal "is essentially the same as that

  for obtaining a preliminary injunction," the Court considers the preliminary injunction factors in

  determining whether to grant the Stay Motion. Conestoga Wood Specialties Corp. v. Secy of U.S.

  Dep't of Health and Human Servs., No. 13-1144, 2013 WL 1277419, at *1 (3d Cir. 2013).

  Novartis was required to demonstrate:

         (1) a likelihood of success on the merits; (2) that it will suffer irreparable harm if
         the injunction is denied; (3) that granting preliminary relief will not result in even
         greater harm to the nonmoving party; and (4) that the public interest favors such
         relief.

  Kos Pharms., Inc. v. Andrx Corp., 369 F.3d 700, 708. (3d Cir. 2004). "[W]hen evaluating whether

  interim equitable relief is appropriate, ' [t]he first two factors of the traditional standard are the

  most critical."' Reilly v. City of Harrisburg, 858 F.3d 173, 179 (3d Cir. 2017) (quoting Nken v.

  Holder, 556 U.S. 418,424 (2009)). But "'[a] plaintiffs failure to establish any element in its favor

  renders a preliminary injunction inappropriate."' Conestoga, 2013 WL 1277419, at *1 (quoting

  NutraSweet Co. v. Vit-Mar Enter., Inc., 176. F.3d 151, 153 (3d Cir. 1999)).

  IV.    ANALYSIS

         The Court first addresses functionality before turning to MSN's primary argument that the

  Court did not implement the proper burden-shifting framework to prove irreparable harm in


  1 The Court also indicated it was considering sua sponte reconsidering its Opinion and provided
  the parties an opportunity to brief the issue. D.E. 43. The parties did so. D.E.s 45-46. The Court
  addresses the Stay Motion and does not sua sponte reconsider its Opinion because "[a]s a general
  rule, the timely filing of a notice of appeal ... divest[s] a district court of its control over those
  aspects of the case involved in the appeal." Venen v. Sweet, 758 F.2d 117, 120 (3d Cir. 1985).
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                                                Add27
Case 2:25-cv-00849-EP-JRA           Document 51        Filed 05/22/25      Page 5 of 17 PageID: 7105

  NOT FOR PUBLICATION


  trademark cases. Stay Mot. at 8. Novartis agrees that the Court applied the wrong framework for

  irreparable harm. Stay Opp'n at 11. The Court also agrees. The Court then addresses whether

  Novartis will suffer irreparable harm if the Court's preliminary injunction is not maintained for

  the time being. The Court finds that Novartis will not suffer irreparable harm if the Court stays its

  preliminary injunction for the pendency ofMSN's appeal. As explained below, the parties' helpful

  reflection of the record in briefing the Stay Motion, the application of the appropriate legal

  framework, and attention to the parties' posture on appeal here in the Third Circuit and before the

  Federal Circuit merit staying this Court's preliminary injunction pending MSN's appeal.

  Therefore, the Court will grant the Stay Motion.

         A. Likelihood of Success on the Merits

         "A plaintiff must prove three elements to establish trade dress infringement under the

  Lanham Act: '(1) the allegedly infringing design is nonfunctional; (2) the design is inherently

  distinctive or has acquired secondary meaning; and (3) consumers are likely to confuse the source

  of the plaintiffs product with that of the defendant's product."' Fair Wind Sailing, Inc. v.

  Dempster, 764 F.3d 303, 309 (3d Cir. 2014) (quoting McNeil Nutritionals, LLC v. Heartland

  Sweeteners, LLC, 511 F.3d 350, 357 (3d Cir. 2007)). This Court is also mindful of the Third

  Circuit's instruction that courts should "caution against the over-extension of trade dress

  protection." Shire US Inc. v. Barr Labs., Inc., 329 F.3d 348, 358 (2003). Trade dress protection

  should extend "only to incidental, arbitrary or ornamental product features which identify the

  product's source." Shire, 329 F.3d at 353. Upon close consideration of the parties' arguments,

  the Court finds that the allegedly infringed design is functional 2 and that Novartis is therefore



  2 The Court recognizes that its holding here is in conflict with its previous holding.  Opinion at 6-
  10. The Court appreciates the parties' close attention to the issues in briefing the Stay Motion and
  notes that courts sometimes get things wrong. See, e.g., Thompson Reuters Enter. Ctr. GmbH v.
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                                                Add28
Case 2:25-cv-00849-EP-JRA           Document 51        Filed 05/22/25      Page 6 of 17 PageID: 7106

  NOT FOR PUBLICATION


  unlikely to succeed on the merits of its trade dress infringement claim on appeal. The Court also

  finds that in any event, Novartis is unlikely to suffer irreparable harm in the absence of injunctive

  relief during the pendency of the appeal.

                 1.      Non-fanctionality

         MSN argues that it is likely to succeed on the merits of its appeal because the Court erred

  in finding non-functionality. Stay Mot. at 17-21. The Court agrees.

         "Trade dress, a subset of trademark, protects distinctive choices (like size, shape, and color)

  that make up 'the overall look of a product."' PIM Brands Inc. v. Haribo ofAm. Inc., 81 F.4th

  317, 321 (3d Cir. 2023) (quoting Ezaki Glico Kabushiki Kaisha v. Lotte Int'/ Am. Corp., 986 F.3d

  250, 255 (3d Cir. 2021)). To be functional, the trade dress as a whole "need only be useful, not

  essential." Ezaki Glico, 986 F.3d at 258. And [t]he question is not whether the product or feature

  is useful, but whether 'the particular shape and form' chosen for that feature is." Id at 257 (quoting

  3 J. Thomas McCarthy, McCarthy on Trademarks and Urifair Competition§ 7:70 (5th ed. 2020)).

         "A nonfunctional feature is one that 'is unrelated to the consumer demand ... and serves

  merely to identify the source of the product or business."' EBIN New York, Inc. v. Kiss Nail Prods.,

  Inc., No. 23-2369, 2024 WL 1328029, at *6 (D.N.J. Mar. 28, 2024) (quoting Fair Wind, 764 F.3d

  at 311 ). "Conversely, a functional feature is 'one that is essential to the use or purpose of the

  article, affects the cost or quality of the article, or one that, if kept from competitors, would put

  them at a significant non-reputation-related disadvantage."' Id (quoting Fair Wind, 764 F.3d at

  310). The Court evaluates the color, size, and shape of ENTRESTO® and finds that all aspects are

  functional.



  Ross Intel. Inc., No. 20-cv-613-SB, 2025 WL 458520, at *1 (D. Del. Feb. 11, 2025) ("A smart
  man knows when he is right; a wise man knows when he is wrong. Wisdom does not always find
  me, so I try to embrace it when it does-even if it comes late, as it did here.").
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                                                Add29
Case 2:25-cv-00849-EP-JRA           Document 51         Filed 05/22/25      Page 7 of 17 PageID: 7107

  NOT FOR PUBLICATION


                            a. Color-Coding and Size

         MSN argues that communication of functional information to patients-what drug each

  pill is and what dose it contains-is evidenced by the colors and sizes of the ENTRESTO® pills.

  PI Opp'n at 13. It further indicates that consistent color-coding systems can reduce therapeutic

  errors in other drug regimens. D.E. 13-40 ("Clark Deel.") ,r 53. On the other hand, Novartis attests

  that it is unaware of "any functional reason why the Low Starting Dose and the Recommended

  Starting Dose need to be smaller than the Target Dose. These sizes could be made uniform without

  impacting the efficacy of the formulation." Valazza Deel. ,r 20. According to Novartis, the

  selection of size and shape of the pills, therefore, was purely based on a desire to differentiate the

  tablets from competitors' trade dresses. Id ,r 16. And while ENTRESTO® comes in three doses,

  patients can progress up from the lower doses to the target dose. D.E. 4-11 (''Nayeri Deel.") ,r 17.

  Patients typically take their tablets twice daily, indefinitely, irrespective of the dose on which they

  begin their regimens. Id ,r 18. According to Novartis, there is no need to distinguish between

  daily doses, because once adjusted to a particular dosage, patients remove the others from their

  medication cycle. PI Reply at 4 n.4.

         Novartis's position, in sum, is that the ENTRESTO® trade dresses were designed to

  differentiate the drug in the heart failure treatment market, rather than to improve cost, quality, or

  efficacy. PI Mot. at 17. MSN counters that under Third Circuit precedent, color-coding of drugs

  to convey dosage information is functional. PI Opp'n at 12 (citing Shire, 329 F.3d 348). Novartis

  does not dispute that the color-coding and size distinctions between dosages is functional but

  instead disputes that the particular colors chosen "do not confer an edge in usefulness." Stay Opp'n

  at 25. The Court agrees with MSN and addresses the particular colors next. See infra IV. A. 1. b.




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                                                 Add30
Case 2:25-cv-00849-EP-JRA           Document 51        Filed 05/22/25       Page 8 of 17 PageID: 7108

  NOT FOR PUBLICATION


         The Court finds that the distinctions between doses-based on color-coding and size-are

  likely functional because patients, physicians, and pharmacists rely on these distinctions of

  ENTRESTO® strengths to distinguish between the three different doses. Stay Reply at 10. The

  Court agrees with MSN that the color-coding and size ofENTRESTO® provides some "degree of

  clinical functionality"-just as Adderall did in Shire-because the record shows that

  ENTRESTO® patients, like Adderall patients, require some initial dosage titration and intermittent

  dosage adjustment. Shire, 329 F.3d at 354 (crediting the record that "color coding of a particular

  preparation of mixed amphetamine salts tablets confers a substantial degree of clinical

  functionality for the patient in the titration/adjustment process"); see also PI Reply at 4 n.4; Nayeri

  Deel., 18; D.E. 17-1 ("Nayeri Rebuttal Deel."), 30.

                            b. The Particular Colors

         Novartis argues that even if using color to distinguish doses is functional, "there is no

  functional reason to use the colors of white-violet, light yellow, and light pink." Stay Opp'n at 25.

  MSN argues that the particular colors are functional because by "using colors similar to those

  Entresto patients had become accustomed to," MSN achieves "the functional benefit of helping

  existing Entresto patients identify MSN's Drug as the correct drug." Stay Reply at 10 n.8.

         The Court recognizes that MSN's identified feature of "helping existing Entresto patients

  identify the correct drug only by using colors similar to those Entresto patients had become

  accustomed to" inures to MSN' s benefit in part because it associates MSN' s Drug with Novartis' s

  product.   The Court agrees that the particular colors that Novartis chose were not innately

  functional. As the Third Circuit explained, "[fJor instance, though ironing-board pads need to use

  some color . . . to avoid noticeable stains, there is no functional reason to use green-gold in

  particular. Though French press coffeemakers need some handle, there is no functional reason to



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                                                 Add31
Case 2:25-cv-00849-EP-JRA             Document 51         Filed 05/22/25        Page 9 of 17 PageID: 7109

  NOT FOR PUBLICATION


  design the particular handle in the shape of a "C." And though armchairs need some armrest, there

  is no functional reason to design the particular armrest as a trapezoid." Ezaki Glico, 986 F.3d at

  257-58.

          But drug products can differ in nature compared to ironing board pads, coffeemakers, and

  armchairs. "[D]rug color cases have more to do with public health policy regarding generic drug

  substitution than with trademark law." Qualitex Co. v. Jacobson Prods. Co., Inc., 514 U.S. 159,

  169 (1995). Although there may have been no functional reason to have chosen violet white, pale

  yellow, and light pink in the first instance, those colors, once chosen can "come to represent to

  large numbers of those taking [the drugs] not its source but its ingredients and their effects." Shire,

  329 F.3d at 358 n.20. Consequently, the colors can become

          functional to patients as well as doctors and hospitals; many elderly patients
          associate color with therapeutic effect; some patients comingle medications in a
          container and rely on color to differentiate one from another; colors are of some, if
          limited, help in identifying drugs in emergency situations; and use of the same color
          for brand name drugs and their generic equivalents helps avoid confusion on the
          part of those responsible for dispensing drugs.

  Inwood Laby's, Inc. v. Ives Laby's, Inc., 456 U.S. 844, 853 (1982).                 As a result, genenc

  manufacturers that fail to mimic the RLD's color scheme can suffer "a significant disadvantage

  because the feature is 'essential to the use or purpose of the article' or 'affects [its] cost or quality."'

  Qualitex Co., 514 U.S. at 169 (quoting Inwood Laby's, Inc., 456 U.S. at 850 n.10). This problem

  is of particular significance for patient populations who suffer from chronic illnesses, regularly

  comingle medications, and depend on a drug product's visual appearance to distinguish their

  medications from one another. See Ives Laby's, Inc. v. Darby Drug Co., Inc., 488 F. Supp. 394,

  399 (E.D.N.Y. 1980). 3



                                 Ives Laby's, Inc. v. Darby Drug Co., 638 F.2d 538 (2d Cir. 1981)
  3 The Second Circuit reversed in

  sub nom., but the Supreme Court in turn reversed the Second Circuit in Inwood Laby 's, Inc. v. Ives
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                                                   Add32
Case 2:25-cv-00849-EP-JRA           Document 51 Filed 05/22/25             Page 10 of 17 PageID:
                                           7110
NOT FOR PUBLICATION


       The Court previously found that ENTRESTO®'s appearance "has an element of

functionality" because it "can serve as useful visual cues for patients" and can provide "familiarity

with a medication to be taken in seeming perpetuity." Opinion at *9. The Court appreciates the

parties' thoughtful attention addressing the Declaration of Martin Shimer, the former Deputy

Director of the FDA's Office of Generic Drugs. D.E. 13-46 ("Shimer Deel."). Shimer explains

that mirroring the color scheme of the RLD helps to "ensure that patients are able to distinguish

doses for similar products using the same functional cues as the color scheme of the branded RLD

that a patient had been accustomed to receiving." Shimer Deel. ,r 47. Shimer further explains that

this is routine practice across the generic industry and helps avoid the uncertainty that would arise

from generics using a different tablet size, shape, or color for their products. Id ,r 48 ("Patients

rely upon visual cues and other distinguishing factors such as color and shape to both identify the

kind of medication they are taking and how many times a day they take that medication.").

       Considering the practical needs of patients with chronic illnesses and comorbidities who

are often comingling multiple medications on a daily basis, the Court departs from the conclusion

it reached in its prior Opinion. Analyzing functionality (or a lack thereof) of the particular colors

of a drug product like ENTRESTO® differs in nature from the functionality of the particular colors

chosen for products such as an ironing board pad. The Court therefore agrees with MSN and finds

that the colors for ENTRESTO® are likely functional.

                          c. Size and Shape

       Relatedly, MSN also argues that the Court failed to address its evidence that it chose the

shape and size of its pills for functional reasons. Stay Mot. at 20; Nithiyanandam Deel. ,r 12




Laby's, Inc., 456 U.S. 844 (1982). On remand from the Supreme Court, the Second Circuit
affirmed the district court. Ives Laby's., Inc. v. Darby Drug Co., Inc., 697 F.2d 291 (2d Cir. 1982).
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                                              Add33
Case 2:25-cv-00849-EP-JRA           Document 51 Filed 05/22/25             Page 11 of 17 PageID:
                                           7111
NOT FOR PUBLICATION


("MSN's pills are ovaloid-shaped because that shape is very easy for patients to swallow. Ovaloid-

shaped pills are also easier and more cost-effective for MSN to manufacture, including because

they allow for a simpler mold design, more efficient use of the mold space, and more efficient

coating and packaging processes. Indeed, hundreds if not thousands of other drug companies

choose that ovaloid shape for their tablets for these functional reasons."). Although the Court

agrees with Novartis that the functionality assessment turns on the plaintiffs trade dress, the Court

nevertheless finds that the ovaloid shape and the size ofNovartis's drug product are functional.

       Shimer highlights the FDA's Physical Attribute Guidance 4 explaining the functionality of

tablet size and shape. Id. (citing FDA Physical Attribute Guidance). For example, the FDA

explains that survey data has shown "as many as 40 percent of Americans" have some difficulty

swallowing tablets and capsules. FDA Physical Attribute Guidance at 2. "The size of the tablet

or capsule influences esophageal transit, irrespective of patient factors and administration

techniques." Id. Tablet shape affects esophageal transit time too. Id. at 3 ("Studies in humans

have also suggested that oval tablets may be easier to swallow and have faster esophageal transit

times than round tablets of the same weight.").

       It is Novartis's burden to show that the ENTRESTO® trade dress is non-functional. Shire,

329 F.3d at 353. Yet, Novartis does not dispute that the size and shape of ENTRESTO® possess

functionality. Stay Opp'n at 28-30; PI Brief at 17-20; PI Reply at 3-5. Instead, Novartis argues

that it chose the ENTRESTO® trade dress "to distinguish ENTRESTO® from competitors'

products." D.E. 17 at 3. But "product design almost invariably serves purposes other than source

identification." Wal-Mart Stores, Inc. v. Samara Bros., Inc., 529 U.S. 205,213 (2000). And here,



4 U.S. Food & Drug Admin., Size, Shape, and Other Physical Attributes of Generic Tablets and
Capsules: Guidance for Industry (June 2015), https://www.fda.gov/media/87344/download
(hereinafter "FDA Physical Attribute Guidance").
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                                              Add34
Case 2:25-cv-00849-EP-JRA              Document 51 Filed 05/22/25         Page 12 of 17 PageID:
                                              7112
NOT FOR PUBLICATION


even if Novartis chose the shape and size of ENTRESTO® to distinguish it from other medications,

the shape and size still seem to affect administrability of the medication and transit time after

ingestion. The Court therefore credits Shimer' s declaration and the FDA Physical Attribute

Guidance here and finds that, like the colors of ENTRESO®, the size and shape ofNovartis's drug

products are likely also functional.

       Because size, shape, and color all appear to be functional features of ENTRESTO®, the

Court finds that MSN established that it is likely to succeed on appeal, with respect to the merits

of its trade dress infringement claim under the Lanham Act. Fair Wind Sailing, Inc. v. Dempster,

764 F.3d 303,309 (3d Cir. 2014). The Court now considers whether Novartis will face irreparable

harm if the Court stays its preliminary injunction during the pendency of MSN' s appeal.

       B. Irreparable Harm

       The Trademark Modernization Act ("TMA") created a rebuttal presumption of irreparable

harm, provided a likelihood of success on the merits is demonstrated. Nichino Am., Inc. v. Valent

U.S.A. LLC, 44 F.4th 180, 184-85 (3d Cir. 2022); 15 U.S.C. § 1116(a). "Because the TMA does

not explain how its rebuttable presumption applies, courts follow the Federal Rules of Evidence in

this context." Aljess LLC v. Tun Tavern Legacy Foundation Inc., No. 24-2388, 2024 WL 4988972,

at *10 (E.D. Pa. Dec. 4, 2024). Federal Rule of Evidence 301 states that ''the party against whom

a presumption is directed has the burden of producing evidence to rebut the presumption. But this

rule does not shift the burden of persuasion, which remains on the party who had it originally."

The Court, therefore, must ask "whether the rebuttal evidence is enough to allow a reasonable

factfinder to conclude that irreparable harm is unlikely." Nichino, 44 F.4th at 185.

       The Court acknowledges it used the incorrect framework in its Opinion. The Court,

however, also acknowledges that because the Court here finds that MSN has shown that it is likely



                                                    12




                                              Add35
Case 2:25-cv-00849-EP-JRA          Document 51 Filed 05/22/25             Page 13 of 17 PageID:
                                          7113
NOT FOR PUBLICATION


to succeed on the merits of its appeal, the statutory presumption does not apply to Novartis.

Instead, Novartis must show that it "specifically and personally risks irreparable harm" during the

pendency of the appeal. Liberty Lincoln-Mercury, Inc. v. Ford Motor Co., 562 F.3d 553,557 (3d

Cir. 2009); see also Del. State Sportsmens' Ass 'n, Inc. v. Del. Dep 't of Safety & Homeland Sec.,

108 F.4th 194, 204-05 (3d Cir. 2024) ("[Challengers] must show that, without a preliminary

injunction, they will more likely than not suffer irreparable injury while proceedings are

pending."). "Grounds for irreparable injury include loss of control over reputation, loss of trade,

and loss of good will," but injuries "measured in solely monetary terms cannot constitute

irreparable harm." Buzz Bee Toys, Inc., 20 F. Supp. 3d 483, 510 (D.N.J. 2014) (quoting Kos

Pharms., 369 F.3d at 726). Novartis argues that it will suffer irreparable harm through loss of

control over its reputation and loss of trade in the form of lost sales. PI Mot. at 37-38. For the

reasons explained below, the Court here finds that for the pendency of MSN's appeal, MSN's

evidence persuasively shows that irreparable harm to Novartis is unlikely.

       The Court begins by addressing its prior finding that Third Circuit precedent dictated the

outcome ofNovartis's reputational harm theory. Opinion at *9 (quoting Opticians Ass 'n ofAm.

v. Ind. Opticians ofAm., 920 F.2d 187, 195 (3d Cir. 1990)). In Opticians Association, the Third

Circuit held that "likelihood of confusion is inevitable, when . . . the identical mark is used

concurrently by unrelated entities." Id The Third Circuit agreed with the admonition that"[c]ases

where a defendant uses an identical mark on competitive goods hardly ever find their way into the

appellate reports. Such cases are 'open and shut' and do not involve protracted litigation to

determine liability for trademark infringement." Id. (quoting 2 J. Thomas McCarthy, McCarthy

on Trademarks and Unfair Competition,§ 23:7 (2d ed. 1984)). Here, however, the Court found it

unlikely that trade dress protects the size, shape, and colors of ENTRESTO®. See supra IV. A



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                                             Add36
Case 2:25-cv-00849-EP-JRA            Document 51 Filed 05/22/25           Page 14 of 17 PageID:
                                            7114
NOT FOR PUBLICATION


Without a mark, this case is not an "open and shut" one and Opticians Association ofAmerica does

not require holding that irreparable harm is a given.

          The Court must then address the merits ofNovartis's theory ofreputational harm. Novartis

argues that "if the MSN Drug is defective, causes severe side effects ... , or otherwise leads to

safety concerns," Novartis's reputation will suffer the consequences. PI Mot. at 37-38 (emphasis

added).     In particular, Novartis points to MSN's proposed drug label, which omits dosing

information that Novartis includes in its ENTRESTO® label. Id Novartis's expert, Dr. Nayeri,

also states that physicians may inadvertently refer to the drug label for MSN's Drug while

prescribing ENTRESTO® and that reference to the label for MSN's Drug could result in dosing

errors, thereby causing harm to patients and drawing disdain from HCPs. PI Reply at 13 (citing

Nayeri Deel.,, 30-45). Finally, Novartis raises concerns that MSN's Drug has a higher risk of

contamination by virtue of being manufactured in countries where some other drugs have had

quality control problems. Nayeri Rebuttal Deel., 10. MSN calls this speculation. Stay Mot. at

11. The Court agrees with MSN.

          Safety has long fallen under the purview of the FDA. See, e.g., United Therapeutics Corp.

v. Liquidia Techs., Inc., 74 F.4th 1360, 1369 (Fed. Cir. 2023). Here, the FDA has reviewed MSN's

proposed drug label. See Novartis Pharms. Corp. v. Becerra, No. 24cv2234 (DLF), 2024 WL

3823270, at *6 (D.D.C. Aug. 13, 2024) (crediting ''the FDA'sjudgment on [MSN's proposed drug

label], which is set forth in 10-pages of highly technical analysis, [as] thorough and well-

reasoned"). In the absence of evidence indicating that MSN's Drug actually is defective, will

cause severe side effects, or will otherwise present safety concerns, the Court declines to assume

that MSN's Drug-which can launch only if approved by the FDA and deemed bioequivalent to

ENTRESTO®-is not as safe.           The Court also agrees with MSN that Novartis's purported



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                                              Add37
Case 2:25-cv-00849-EP-JRA           Document 51 Filed 05/22/25            Page 15 of 17 PageID:
                                           7115
NOT FOR PUBLICATION


scenario-where Novartis's reputation bears the blame when HCPs prescribe the wrong dose of

ENTRESTO® after consulting the label for MSN' s Drug after being led astray by images ofMSN' s

Drug-is too speculative 5 for the Court to rely on and is credibly disputed by the opinion of MSN' s

expert Dr. Ardehali. PI Reply at 13; D.E.13-49 ("Ardehali Deel.") ,-r,-r 35-39. Indeed, Novartis's

expert opinions are hedged as scenarios that "could" occur. Ward Deel. ,-i 20 ("certain patients

could receive a higher dose than is directed by the Entresto label"), ,-i 21 ("A patient ... could

believe the MSN Generic is Entresto .... ") (emphasis added in both); Nayeri Deel. ,-r 29 ("An

HCP could inadvertently mix up two drugs based on their appearance or confusingly similar

manufacturer names .... Exposure to that information could lead HCPs to consult the generic's

FDA-approved label and packaging insert ... rather than through the branded drug's FDA-

approved label and packaging insert. . . . "HCP confusion-and the inadvertent reference to the

generic's prescribing information, rather than Entresto's prescribing information-could lead to

patient harm. A confused HCP might fail to prescribe a reduced dosing regimen .... ") (emphasis

added in all). No particularized evidence indicates that these scenarios actually would occur.

       And Novartis's concerns that contamination issues may affect MSN's Drug (and thereby

Novartis's reputation) simply because some other drug manufacturers have faced similar issues in

those countries of manufacture, is not enough to show that Novartis specifically and personally

risks irreparable harm. PI Mot. at 38; Liberty Lincoln-Mercury, Inc., 562 F.3d at 557. Thus, the




5 Novartis also argues that this inadvertence will result in patients receiving MSN's Drug instead
of ENTRESTO®. PI Reply at 13. Novartis does not explain how a patient will nevertheless
receive MSN's Drug after a HCP erroneous reviews the label for MSN's Drug and erroneously
prescribes the wrong dose of ENTRESTO®. Id
                                                    15




                                             Add38
Case 2:25-cv-00849-EP-JRA            Document 51 Filed 05/22/25               Page 16 of 17 PageID:
                                            7116
NOT FOR PUBLICATION


Court agrees with MSN that Novartis has not shown that it is likely to face irreparable reputation-

based harm.

        The Court next addresses Novartis's economic-based theories of irreparable harm.

Novartis argues that it will suffer loss of trade if "illegal substitution occurs or if confused patients

request refills of the MSN Drug, rather than ENTRESTO®, through resources like Amazon

Pharmacy or Medipod." PI Mot. at 38. Novartis also adds that it will lose sales to MSN. Robbins

Deel. ,r,r 18-27. Neither of Novartis's arguments are persuasive because Novartis provides no

evidence that illegal substitution is likely to occur, nor does Novartis explain why its other injuries

are not compensable by monetary damages. "The possibility that adequate compensatory or other

corrective relief will be available at a later date, in the ordinary course of litigation, weighs heavily

against a claim of irreparable harm." In re Revel AC, Inc., 802 F.3d 558, 571 (3d Cir. 2015).

Courts in this district and in others regularly find that lost sales are compensable injuries. See,

e.g., Otsuka Pharm. Co., Ltd. v. Torrent Pharms. Ltd, Inc., 99 F. Supp. 3d 461,501 (D.N.J. 2015)

(collecting cases). This Court follows suit.

        The parties have also clarified that irrespective of this Court's injunction, MSN is barred

from launching its generic drug product before at least July 16, 2025. Stay Opp'n at 4-5 (citing In

re Entresto (Sacubitril/Valsartan) Patent Litig., No. 20-md-2930-RGA (D. Del.), D.E. 1823); see

also D.E. 49 ("all patent barriers to MSN's entry will end by July 16, 2025"); D.E. 50 ("Novartis

disagrees with MSN's representation that 'all patent barriers to MSN's entry will end by July 16,

2025 at the latest."'). While this Court cannot predict the decisions of another, the Court is satisfied




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                                               Add39
Case 2:25-cv-00849-EP-JRA           Document 51 Filed 05/22/25              Page 17 of 17 PageID:
                                           7117
NOT FOR PUBLICATION


that any harm to Novartis resulting from a stay of this Court's injunction will be temporally limited

and not irreparable.6

       Having determined that the two "gateway factors" appropriately favor MSN, the Court will

stay its injunction for the pendency of MSN's appeal. Reilly, 858 F.3d at 179. Although the Court

need not address the balance of equities and public interest prongs, the Court references its prior

Opinion and finds that because trade dress does not apply, those factors now also favor staying the

Court's injunction. Opinion at 18 ("There is no question that MSN would suffer significant

hardship if enjoined.... The Court is also mindful of the societal benefits of affordable alternatives

to brand-name drugs and laments obstacles to such access.").

V.      CONCLUSION

       For the reasons stated above, the Court will GRANT MSN' s Motion for a Stay Pending

Appeal. An appropriate Order accompanies this Opinion.



       Dated: May22, 2025                                             u~
                                                                      Evelyn Padin, U.S.D.J.




6 Novartis itself agrees that when "the time between the request for a preliminary injunction and
the court' s decision on the merits" is limited, that time serves as "an important limit on the harm."
PI Reply at 12 n.13.
                                                     17




                                              Add40
Case 2:25-cv-00849-EP-JRA         Document 52        Filed 05/22/25      Page 1 of 1 PageID: 7118

 NOT FOR PUBLICATION


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


  NOVARTIS  AG    and  NOVARTIS
  PHARMACEUTICALS CORPORATION,

         Plaintiffs,                                  No. 25cv849 (EP) (JRA)

  V.                                                  ORDER

  NOVADOZ PHARMACEUTICALS LLC, et
  al.,

         Defendants.


        Defendants MSN Laboratories Private Limited, MSN Pharmaceuticals Inc., and Novadoz

 Pharmaceuticals LLC (collectively, "MSN") move to stay the Court's order granting Plaintiffs

 Novartis AG and Novartis Pharmaceuticals Corporation's motion for a preliminary injunction.

 D.E. 37 ("Motion to Stay"). Having reviewed the parties' submissions and all other relevant items

 on the docket, and having determined that oral argument is not necessary,

        IT IS, on this 22 nd day of May 2025, for the reasons set forth in the accompanying Opinion,

        ORDERED that MSN's Motion to Stay, D.E. 37, is GRANTED.




                                                             Evelyn Padin, U.S.D.J.




                                             Add41
  Case 2:25-cv-00849         Document 4-3        Filed 01/31/25      Page 1 of 18 PageID: 139




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
---------------------------------------------------------------x
                                                               :
NOVARTIS AG, NOVARTIS                                          :
PHARMACEUTICALS CORPORATION,                                   :
                                                               :
                                    Plaintiffs,                :
                                                               : Civil Action No. 25-849
                  v.                                           :
                                                               :
NOVADOZ PHARMACEUTICALS LLC, MSN :
PHARMACEUTICALS INC., and MSN                                  :
LABORATORIES PRIVATE LIMITED,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------x

                 DECLARATION OF KRISTIN MILLER IN SUPPORT OF
                    PLAINTIFFS’ ORDER TO SHOW CAUSE FOR A
                        TEMPORARY RESTRAINING ORDER
                  AND MOTION FOR A PRELIMINARY INJUNCTION

I, Kristin Miller, hereby declare as follows:

       1.      I am over the age of 18. I submit this declaration in support of Plaintiffs’ Order to

Show Cause for a Temporary Restraining Order and Motion for a Preliminary Injunction.

Except as expressly indicated, the facts stated herein are based upon my personal knowledge,

including my experience in the pharmaceutical industry, my work at Novartis Pharmaceuticals

Corporation (“Novartis Pharmaceuticals”; together with Novartis AG, “Novartis”), and my

review of the business records of the company.

       2.      I am the Vice President and General Manager – MS/Neuroimmunology at

Novartis Pharmaceuticals, where I have been employed since 2018. More generally, I have more

than 25 years of experience in the pharmaceutical industry, including, but not limited to, sales

and sales management, marketing, global services and general management. During my time at




                                                Add42
  Case 2:25-cv-00849        Document 4-3       Filed 01/31/25      Page 2 of 18 PageID: 140




Novartis Pharmaceuticals, I have held various roles in marketing and general management and

have worked in numerous therapeutic areas including ophthalmology, neuroscience and

cardiovascular, including with ENTRESTO® (sacubitril/valsartan).

       3.      In my current position, I am responsible for leading the General Management

team for Multiple Sclerosis and Neuroimmunology, as well as the cross functional team. From

May 2021 through November 2024, I worked directly with Novartis’s blockbuster drug product,

ENTRESTO®. From 2021 to 2022, I led the marketing team and was responsible for

commercial strategy development and promotional activities for ENTRESTO®. From 2022

through November of 2024, I led the development and oversight of the broader, cross-functional

strategy, including P&L management, resource allocation, and overall performance for

ENTRESTO®.

                                     Novartis Background

       4.      Novartis AG is an innovative medicines company based in Switzerland. It was

founded in 1996 through the merger of two chemicals companies, Ciba-Geigy AG and Sandoz

AG.

       5.      Novartis AG, and its subsidiaries, including Novartis Pharmaceuticals, seek to

improve and extend people’s lives through the development of new medicines in four core

therapeutic areas—cardiovascular, renal and metabolic; immunology; neuroscience; and

oncology.

       6.      Novartis is one of the most well-known pharmaceutical companies in the world,

and it has been operating under the Novartis name for almost three decades. Novartis’s products

are sold in approximately 130 countries. In 2023, its net sales exceeded $45.4 billion, and

Novartis estimates it helped over 284 million people across the world in 2023. See Declaration

of Megan K. Bannigan (“Bannigan Decl.”) Ex. 38.


                                                2



                                            Add43
     Case 2:25-cv-00849                             Document 4-3                          Filed 01/31/25                                Page 3 of 18 PageID: 141




           7.       The United States is an important market for Novartis, and its most recent net

sales figures reflect its sustained growth in the United States:

        2019                            2020                             2021                                          2022                          2023

        $ 13,788,602,008                $ 14,341,884,333                 $ 14,999,403,427                              $ 15,899,367,710              $ 18,096,469,184


           8.       It is important to Novartis’s marketing strategy to use the NOVARTIS trademark,

and the goodwill that it represents, on the packaging and inserts for each of its medications. For

example:



                                                        °Kisqali®
                   TO OPEN :                                                                                                  NOC 0078-0874-21
                   Step 1: Press & hold button gently                                                                                   Rx only
                   Step 2: Pull out medication card
                                                         (ribociclib)                                       600 mg da ily dose
                      PRESS
                                    '
                                  P!l[SS -      '
                                              PULL
                                                         tablets                                                (three 200 mg tablets)

                     lHOU>                               Usual Dosage: Take three 200 mg tabtets at the same time once da,ly, with or
                      HERE                               without lood. Swallow tablets whole. DO NOT chew, crush, or split tablets.
                                                         StOleat20"Cto25C(68Fto77f).
                                                         Eaehtableteont1!n1200m1riboddibequiv1lent




                   TO OPEN :                                                                                                  NOC 0078-0874-21
                                                        0 W'icn:::.li®


                  TO OPEN :



                lllrL                                                                                                             NOC 0078-0874-63



                   °Kisqali ® 600 mg daily dose                                                                                            Rx only




                      (ribociclib)                                       (three 200 mg tablets)
                      tablets
                                                                 Contents: 3 individual weekly blister packs. Each blister pack contams
                       63 Film-coated tablets                              21 tablets (200 mg per tablet).


                 t!, NOVARTIS

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1
    Bannigan Decl. Ex. 65.



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                                                                                  Add44
    Case 2:25-cv-00849               Document 4-3                                 Filed 01/31/25       Page 4 of 18 PageID: 142




                                                                                                                   NDC0078-l00060
                                                                                           284 mg/1.5 ml              SleiMSolillioll

               ~~@LEQVIO®                                                                          f189mglmU                  Rvor.~


                        (inclisiran) injection
                        Contains One Single-Dose Prefllled Syringe
                        For subcutaneous use
                        For 1dm1n<st,;11Jon by a lW!a/lhC.'lrf p,o\es:,oul cely
                                                                                          l   [l     '"U       j

         ~---- - ·                                                                                                                      2


        9.      Novartis has spent billions of dollars marketing its drugs in the United States

under the NOVARTIS trademark. Novartis anticipates that it spent close to $1.3 billion dollars

in marketing in the United States in 2024.

        10.     Novartis advertises its pharmaceuticals to the general public using the

NOVARTIS trademark via digital and traditional media channels, including the internet,

television, newspapers, and magazines in the United States. In each of these forums, the

NOVARTIS trademark is prominently featured, ensuring that the public recognizes Novartis as

the source of the advertised treatments.

        11.     Some of our well-known advertisements feature celebrities, such as Grammy-

award-winning singer Cyndi Lauper and actress Jamie-Lynn Sigler, who have benefited from

Novartis treatments. These promotions further raise the profile of the NOVARTIS trademark:




2
     Bannigan Decl. Ex. 50.



                                                                                  4



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    Case 2:25-cv-00849          Document 4-3          Filed 01/31/25        Page 5 of 18 PageID: 143




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        12.      Other advertisements use storytelling to encourage patients to improve their lives

through Novartis treatments. For example, it used the theme “Real Men: Challenge What

You’ve Been Told” in a commercial encouraging men to get tested for prostate cancer:




3
     See COSENTYX TV Spot, 'Years' Featuring Cyndi Lauper, iSpot.tv,, https://www.ispot.tv/ad/o9Um/cosentyx-
     years-featuring-cyndi-lauper (aired Oct. 29, 2019).
4
     KESIMPTA TV Spot, ‘My Time’ Featuring Jamie-Lynn Sigler, iSpot.tv,
     https://www.ispot.tv/ad/5C85/kesimpta-my-time-featuring-jamie-lynn-sigler (aired Nov. 13, 2023).



                                                       5



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    Case 2:25-cv-00849           Document 4-3              Filed 01/31/25                         Page 6 of 18 PageID: 144




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         13.      Novartis further maintains an active presence on social media websites, where it

uses the NOVARTIS trademark on posts and content designed to inform investors, patients, and

healthcare professionals (“HCPs”) about the company’s mission and developments in its

research. For example, Novartis maintains the following social media accounts—all operating

under handles incorporating the Novartis name:

       Social Media Site                                                          Profile
                                 D YouTube                      Search                                                                           Q




    YouTube
    (www.youtube.com/                                     Novartis
    user/Novartis) 6                                      @Novartis · 38.2K subscribers · 918 videos

                                                          Novartis Is an mnovatIve medIcmes company. Every day, we workmg to reimaglne rr       ... more

                                                          novartis.com and 5 more links




                                       Home   Videos   Shorts      Live    Playlists      Q




5
      PSMA TV Spot, ‘Real Men: Challenge What You’ve Been Told’, iSpot.tv,
      https://www.ispot.tv/ad/6JDm/novartis-real-men-challenge-what-youve-been-told (aired June 2, 2024).
6
      Bannigan Decl. Ex. 70.



                                                            6



                                                       Add47
     Case 2:25-cv-00849          Document 4-3              Filed 01/31/25                              Page 7 of 18 PageID: 145




                                                             novarti s O            111111            Message    •A



    Instagram
                                                            841 posts               121K followers        72 following


    (www.instagram.com/
    novartis) 7
                                      '                     Novartis
                                                            Pharmaceutical Company
                                                            An innovative medicines company reimagining medicine to improve and extend peoples
                                                            lives. See our Community Guidelines & ... more
                                                            Fabrikstrasse 2, Basel , Switzerland CH-4056
                                                            14,""'I   clicklinkin.bio/ novartis + 1




    Facebook
                                                        Novartis o
                                                        416K likes • 431K followers
    (www.facebook.com/
    novartis/) 8                    Posts   About      Photos             Videos      live     Events      More•



                                    Intro                                                                   Posts
                                     An innovative medicines company working to reimag ine




    X

    (https://x.com/Novartis) 9




7
        Bannigan Decl. Ex. 67.
8
        Bannigan Decl. Ex. 68.
9
        Bannigan Decl. Ex. 69.



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                                                      Add48
     Case 2:25-cv-00849        Document 4-3       Filed 01/31/25     Page 8 of 18 PageID: 146




         14.     Novartis also works to ensure that HCPs are familiar with the Novartis name

brand. Its trained sales representatives have met with tens of thousands of physicians,

pharmacists, hospitals, insurance groups, managed care organizations, and other healthcare

professionals in the United States to educate them on the therapeutic benefits and risks of

Novartis’s products.

         15.     In the United States in the last year, Novartis has attended several top medical

conferences, including the American College of Cardiology Conference and the American Heart

Association Conference.

         16.     Its booths at these events make prominent use of the Novartis name. For

example:




                                                                                              10




10
      Bannigan Decl. Ex. 51.



                                                  8



                                               Add49
  Case 2:25-cv-00849         Document 4-3       Filed 01/31/25      Page 9 of 18 PageID: 147




       17.     Because of these marketing efforts, consumers and physicians also know they can

trust Novartis to provide high quality treatments. In particular, Novartis was the top-ranking

pharmaceutical company developing heart-disease focused drugs, according to a 2024 consumer

perception survey released by ZoomRx. According to an article in Fierce Pharma, the study

surveyed clinicians and asked them to rank pharmaceutical companies based on metrics

including promotional efforts, patient centricity, healthcare provider centricity, innovation, and

reputation. Doctors surveyed noted Novartis’s “patient commitment and engagement.” See

Bannigan Decl. Ex. 41.

                                      Entresto Background

       18.     ENTRESTO® is a Novartis prescription medicine that is approved by the U.S.

Food and Drug Administration (“FDA”) to treat adult and certain pediatric patients with chronic

heart failure. See Bannigan Decl. Ex. 39.

       19.     Since launching in 2015, ENTRESTO® has been the only tablet available to

patients that combines the active ingredients sacubitril and valsartan.



                                                 9



                                             Add50
 Case 2:25-cv-00849            Document 4-3    Filed 01/31/25      Page 10 of 18 PageID: 148




        20.     ENTRESTO® has been recognized as a clinically superior treatment for patients

suffering from chronic heart failure. ENTRESTO® is the number one branded treatment for

heart failure prescribed by cardiologists, and the 2022 guidelines adopted by the American Heart

Association, American College of Cardiology, and Heart Failure Society of America recommend

ENTRESTO® as a first line treatment for chronic heart failure. See Bannigan Decl. Ex. 28.

        21.     Doctors surveyed in the ZoomRx study noted above specifically called out

Entresto as a “key reputation driver” for Novartis—serving to cultivate consumer trust and

goodwill in Novartis.

                               ENTRESTO®’s Distinctive Appearance

        22.     ENTRESTO® is offered in three doses. Each dose is offered in a different oval-

shaped tablet with a unique color and size:




        23.     Novartis has consistently offered the ENTRESTO® doses in these shapes, colors,

and sizes since the drug was first sold in 2015. See Bannigan Decl. Ex. 7.

        24.     Patients who take ENTRESTO® quickly become familiar with the design of these

pills because they take the appropriate dose of the medication twice a day indefinitely to treat

their chronic heart failure.




                                                10



                                              Add51
     Case 2:25-cv-00849          Document 4-3           Filed 01/31/25         Page 11 of 18 PageID: 149




                              Marketing and Recognition of ENTRESTO®

          25.      Novartis estimates that ENTRESTO® has helped over 2.5 million people with

heart failure in the United States, making it Novartis’s top-selling pharmaceutical in 2023.

          26.      The drug has generated more than $10.5 billion in cumulative net sales in the

United States between 2015 and 2023. In 2021, ENTRESTO® generated $1.7 billion in sales in

the United States. In 2022, that figure grew to approximately $2.4 billion. In 2023, it totaled

over $3 billion, accounting for a substantial share of Novartis’s revenue.

          27.      Sales of ENTRESTO® were expected to exceed $3.5 billion in 2024 due to

market dynamics in the Unites States, such as the displacement of other therapies for chronic

heart failure, an aging population, and the rising incidence rate of health conditions that

contribute to heart failure.

          28.      ENTRESTO® is offered in three doses. 11 The 24/26 mg dose is a violet white

oval tablet, measuring 13.1 mm x 5.2 mm (the “Low Starting Dose”); the 49/51 mg dose is a pale

yellow oval tablet, measuring 13.1 mm x 5.2 mm (the “Recommended Starting Dose”); and the

97/103 mg dose is a light pink oval tablet, measuring 15.1 mm x 6.0 mm (the “Target Dose”)

(together “the Trio of ENTRESTO® Tablets”). See Bannigan Decl. Ex. 5.

          29.      The Low Starting Dose tablets and the Recommended Starting Dose tablets are

the most sold doses of ENTRESTO®. As of October 2024 YTD, Novartis has sold 314 million

Low Starting Dose tablets, 172.6 million Recommended Starting Dose tablets, and 128.8 million

Target Dose tablets in the United States.



11
       Novartis also offers the ENTRESTO® SPRINKLE, which is not part of this proceeding. The ENTRESTO®
       SPRINKLE consists of sacubitril and valsartan oral tablets within a capsule that can be mixed with food for
       ease of administration in, for example, pediatric patients. See ENTRESTO® SPRINKLE prescribing
       information, https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/entresto.pdf#page=25 (last
       visited Jan. 29, 2025).



                                                         11



                                                     Add52
 Case 2:25-cv-00849            Document 4-3     Filed 01/31/25       Page 12 of 18 PageID: 150




       30.     ENTRESTO®’s success is driven by its efforts over the last nine years to educate

patients and healthcare providers about the drug’s lifechanging capabilities, and to ensure

consumers know ENTRESTO® comes from Novartis, a brand they can trust. In 2023 alone,

Novartis’s trained sales representatives met with tens of thousands of physicians, pharmacists,

and other HCPs to educate them on the benefits of ENTRESTO®.

       31.     Novartis highlights the Trio of ENTRESTO® Tablets in its marketing and

promotional materials to ensure that patients and HCPs recognize the medication. The

appearance of the Trio of ENTRESTO® Tablets is portrayed with a consistent image: the oval

pills on their side, lined up next to each other, in the same color combination order: violet white,

pale yellow, and light pink.

       32.     The materials that Novartis distributes to HCPs consistently highlight the

appearance of the Trio of ENTRESTO® Tablets when introducing HCPs to the drug’s three

doses and explaining how to add the drug to a patient’s care plan.

       33.     For example, Novartis has a website for HCPs that is dedicated to information

about ENTRESTO®. The “Provider Resources” page of the website allows HCPs to “[d]iscover

more about ENTRESTO®,” and includes an educational video about the patient journey that

shows the appearance of the Trio of ENTRESTO® tablets.

       34.     The “Provider Resources” webpage also includes resources that HCPs can

download, such as a “Dosing Flash Card” that features the appearance of the Trio of

ENTRESTO® Tablets. See Bannigan Decl. Ex. 32.




                                                 12



                                              Add53
 Case 2:25-cv-00849                                 Document 4-3                            Filed 01/31/25                         Page 13 of 18 PageID: 151




                                                                                         ENTRESTO IS AYAIUBLE IN THREE DOSAGE STRENGTHS 1



                                                                                          LOW                               RECOMMENDED                       TARGET DOSE
                                                                                          STARTING IJOSE                    STARTING DOSE                     97/103 mg
                                                                                          24/26 mg twice da!y               49/51 mg twice daily              twice druly
                                                                                          PillsshcrMlrda:Jllalsize.


                                                                                         Please clck hire for lull Prescribing
                                                                                         lnfonnation, including Boxed WARNING.
                                                                                                                                                   Entresto·
                                                                                                                                                   (sacubitril/valsarranl tablets
                                                                                                                                                   Hi     ltJ&:.   · tr 1

                                                                                         For completedosing
                                                                                         mformabon, scan here,




           35.               The same image of the Trio of ENTRESTO® Tablets is included in

ENTRESTO®’s “Initiation Guide for Providers” also available on the “Provider Resources”

webpage. See Bannigan Decl. Ex. 64.


    Start ENTRESTO®with confidence
    HOW TO PRESCRIBE ENTRESTO TO YOUR ADULT PATIENTS 7
    Choose initial dose of ENTRESTO, and after 2 to 4 weeks, titrate to the target dose, as tolerated by the patient.

    ENTRESTO IS AVAILABLE IN 3 DOSAGE STRENGTHS 7:




        Low Starting Dose                       Recommended Starting Dose                                   Ta rget Dose
          24/26 mg BID                               49/ 51 mg BID                                         97/ 103 mg BID
    Pills shown not actual size.

         When switching from an ACEi, be sure to allow for a 1.5-day washout period prior to
         initiating ENTREST0 7
         When switching from an ARB, start ENTRESTO at your patients' next scheduled dose'
              ENTRESTO is contraindicated with concomitant use of an ACE inhibitor and in patients with
              a history of angioedema related to previous ACE inhibitor or ARB therapy
              Avoid use of ENTRESTO with an ARB, because ENTRESTO contains the angiotensin II
              receptor blocker valsartan




           36.               The “Dosing” page of the HCP-focused website also features the appearance of

the Trio of ENTRESTO® Tablets. See Bannigan Decl. Ex. 46.




                                                                                               13



                                                                                       Add54
 Case 2:25-cv-00849                                      Document 4-3                                    Filed 01/31/25                 Page 14 of 18 PageID: 152



                                         Patients   •   HCP This site Is for US Healttl Core Professlonols only                                Prescrlblrig Information, Including Boxed WARNING Patient Website   O
        Entresto·
        1so:ublnll/viiSan"1)tabi,1S
        trl/!1■1• '9/llll•fll·I-
                                                                    Start ENTRESTO® with confidence
  ft Home                                                           ENTRESTO film-coated tablets are available in 3 dosage strengths1

  al., About Heart
       Fa ilure



         Clinical
  _,..., Guid eline a nd
  -      Consensus
         Pathway                                                               Low Starting Dose                  Recommended Starting Dose                Target Dose
                                                                                    24/ 26 mg BID                        49/51 mg BID                     97/103 mg BID

  .di. HFrEF                                                           Pills shown not actual size.


                                                                    How to prescribe ENTRESTO to your adult patients
                                                                    Choose initial dose of ENTRESTO based on current treatment and t itrate to the target dose 1
  ~     Safety&
  E"'c9 Dosing


  Safety & Dosing
                                                                    SWITCHING FROM A LOWER DOSE OR NOT CURRENTLY ON AN ACEI OR ARB1:                                              a
  Safety

  Dosing
                                                                    SWITCHING FROM A HIGHER DOSE OF AN ACEI OR ARB 1:                                                             a


               37.                    Novartis has included images of the Trio of ENTRESTO® Tablets in materials it

distributes to HCPs since the drug’s launch in 2015. For example, images of the ENTRESTO®

tablets appear on a 2015 “Dosing and Titration Guide” Novartis distributed to physicians and

depicted on the next page. See Lossignol Decl. Ex. 1.




                                                                   [CONTINUED ON NEXT PAGE]




                                                                                                           14



                                                                                                      Add55
 Case 2:25-cv-00849                     Document 4-3                     Filed 01/31/25               Page 15 of 18 PageID: 153




                    Patients receiving a t otal daily       /Stop AC&3? ours            Start ENTRESTO at the recommended dose of
                    dose of >10 mg of enalapril or           befor~li"'/g •             49/ 51 mg twice daily
                    therapeutically equivalent doses
                                                             £N'TREST6      ,
                    of another ACEi, for example',
                                                                                   ,I
  Angiotensin-      • Lisinopril > 10 mg
                                                                               /~
  converting        • Ramipril >5 mg
  enzyme
  inhibitor         Patients receiving a t otal daily        s.{p ACEi 16 hours         Start ENTRESTO            Double the dose after
                    dose of ,!;10 mg of enalapril or         before star(ing   /        at the recommended        2 to 4 weeks to
  (ACEi)            therapeutically equivalent doses                                    dose of 24/26 mg          49/ 51 mg twice daily,
                    of another ACEi, for example',      /       TRESTQ/
                                                                                        twice daily               as tolerated by the
                     • Lisinopril s l O mg                                                                        patient
                    • Ramipril :S5 mg


                    Patients receiving a t otal daily       Start ENTRESTO at the recommended dose of 49/ 51 mg twice daily
                    dose of >160 mg of valsartan or
                    therapeutically equivalent doses
                    of another ARB, for example',
                    • Losartan > 50 mg
  Angiotensin II
                    • Olmesartan >10 mg
  receptor
  blocker           Patients receiving a t otal daily       Start ENTRESTO at the recommended       Double the dose after 2 to 4 weeks
  (ARBI             dose of ,!;160 mg of valsartan or       dose cf 24/ 26 mg twice daily           to 49/ 51 mg twice daily, as tolerated
                    therapeutically equivalent doses                                                by the patient
                    of another ARB, for example',
                     • Losartan s50 mg
                    • Olmesartan :s lOmg


                    Not currently taking                    Start ENTRESTO at the recommended       Double the dose after 2 to 4 weeks
                    ACEis or ARBs                           dose cf 24/ 26 mg twice daily           to 49/ 51 mg twice daily, as tolerated
  Not on ACEi                                                                                       by the patient
  or ARB




         38.       In addition, Novartis has distributed $29.8 million in samples of ENTRESTO® to

physicians to give to their patients, ensuring that physicians see the Trio of ENTRESTO®

Tablets and are familiar with the appearance of those tablets.

         39.       As of October 2024, Novartis had given away as samples 13.6 million violet

white Low Starting Dose tablets and 13.7 million pale yellow Recommended Starting Dose

tablets in the United States.

         40.       Novartis further recognizes that physicians are a key source of educational

materials for their patients. To facilitate this, Novartis provides materials to physicians to

distribute to their patients that include the appearance of the Trio of ENTRESTO® Tablets.

         41.       For example, a page in an in-office brochure available on the “Patient Resources”

webpage uses the appearance of the Trio of ENTRESTO® Tablets. See Bannigan Decl. Ex. 47.




                                                                          15



                                                                      Add56
 Case 2:25-cv-00849             Document 4-3                   Filed 01/31/25               Page 16 of 18 PageID: 154




              HOW TO TAKE                                                       Entresto·
              ENTRESTO                                                          (sacubilrilfvalSartan) tablets
                                                                                2Mttma •~9151            •l"IJIOS-9
              Take your dose of ENTRESTO twice
              rlaily, exactly as prescribed. Your doctor
              will decide which dose is right for you.




                      24126mg                              49/51 mg                    971103 mg
                                                                                Pill !IXillll fiOf at'lll•I t   o.
              Take ENTRESTOwith or without food.
              Take ENTRESTO at the same time each day to help you avoid missing a do~e.



                         H you have been prescribed ENTRESTO and are
                         currently taking an ACE inhibitor*:




                           8
                          Sto.p taki g your
                                 ACE
                                                              Wait for
                                                                36
                                                                                0   Start taking
                                                                                    EHTEESlO,
                              inhibitor"                       hours               as prescribed

                         •Such u ·••l•pd '" llolr,ap,11.




              IMPORTANT SAFETY INFORMATI Off
              Tell your doctor about all 1he medicines you take, including prescription and
              over-the-counter medicines, vitamins, and herbal supplements. Especially tell
              your doctor if you take potassium supplements or a salt substitute; nonsteroidal
              anti-inflammatory drugs (NSAtDs); lithium; or other medicines for high blood
              pressure or heart problems such as an ACE inhibitor, AR8, or aliskire.n.
              Please click here for full Prescribia g lnfonnation, including fl oxed WAR HING,
              amf see IMPORTANT FACTS AHOUT ENTRESTO oa pages 10 and 11.



      42.    As does the Heading Home Digital Kit, which offers a “quick guide for patients

that are heading home with ENTRESTO®” and can be downloaded from the “Patient

Resources” webpage. See Bannigan Decl. Ex. 42.




                                                                16



                                                            Add57
 Case 2:25-cv-00849                        Document 4-3                  Filed 01/31/25                     Page 17 of 18 PageID: 155




                                                         HOW TO TAKE ENTRESTO®
                    ENTRESTO is a twice-daily medicine. You should take your dose of ENTRESTO exactly as prescribed by your
                   doctor. ENTRESTO is usually given with other Heart Failure medicines in place of an ACE inhibitor or other ARB.
                  Take ENTRESTO every day as prescribed. If you stop taking ENTRESTO, the medicine will stop working for you.


                                                 ENTRESTO is a tablet that comes in the following doses:



                                                  24/26 mg              49/51 mg                    97/103 mg




                        If you have been prescribed ENTRESTO and are currently taking an ACE inhibitor* :




                                            8
                                           Stop taking your
                                                 ACE
                                              inhibitor*
                                                                         Wait for
                                                                           36
                                                                          hours
                                                                                                   G Start taking
                                                                                                     ENTRESTO,
                                                                                                    as prescribed
                        ·such as enala i:tr il or lisi nopril.




                IMPORTANT SAFETY INFORMATION (cont)
                Tell your doctor about all the medicines you take, including prescription and over-the-counter medicines. vitamins.
                and herbal supplements. Especially tell your doctor if you take potassium supplements or a salt substitute;
                nonsteroidal anti-inflammatory drugs (NSAIDs); lithium; or other medicines for high blood pressure or heart problems
                such as an ACE inhibitor, ARB, or aliskiren.




                Do not take ENTRESTO if you:
                • are allergic to any of the ingredients in ENTRESTO
                • have had an allergic reaction including swelling of your face, lips, tongue, throat (angioedema), or trouble breathing
                  while taking a type of medicine called an angiotensin-converting enzyme (ACE) inhibitor or angiotensin II receptor
                  blocker (ARB)
                See additional Important Safety Information
                throughout and on page 5. Please ciicil..bru
                                                                                                   ~1 Entresto·
                                                                                                      (sacubilril/valsartan) tablets
                for full Prescribing Information.                                                            24/26rag • 49 151mg • 911103 ■~




       43.     Novartis also markets directly to patients in the United States about the potential

benefits of ENTRESTO®. Showing patients images of the Trio of ENTRESTO® Tablets is

central to these efforts. For example, Novartis has a patient-focused website where it provides

information to consumers hoping to learn more about ENTRESTO®, as well as existing patients

looking for additional information about the medication. This website includes images of the




                                                                          17



                                                                      Add58
Case 2:25-cv-00849                       Document 4-3                Filed 01/31/25                  Page 18 of 18 PageID: 156




 Trio of ENTRESTO® Tablets, much like the physician-facing webpage. See Bannigan Deel. Ex .

 43.


           Entresto                         ENTRESTO IS A TWICf·DAI Y MEDIClr t
           IIXIM' tllWlll'I 'UII
           Ill    l.l ._.
                                            Taking ii at the same time each day-for e•ample, v.hen you l1rst wake up and again before
                                            you go to bed-may make you less likely to miss o dose. ENTRESTO can also be taken with or
                                            without food

                                            HOW TO TAKE ENTRESTO
                                            ENTRESTO 1s a tablet that comes In lhe following doses


   AM!.rtlNTllS1'0


   ,•,'tlot h'• P, ·i::cs·o
   ,C.po•t"                                                   W26mg                 41151mg              97/lll mt



   51ontng <NmSTo                          You should take your dose of ENTRESTO exactly as presaibed by the doctor. Keep In mind
   .,, . ., , .                            You should not take an ACE inhib1lor and ENTRESTO together




                 44.          Novartis has spent approximately $2.1 million developing and designing the

webpages and resources cited in this declaration. It has further spent over $200,000 printing

resources that feature the ENTRESTO® trade dress to be distributed to HCPs.



I declare under penalty of perjury that the foregoing is true and correct.


Executed this '!l:l'ltay of January, 2025, i~O§Jl, 1                                     NJ".




                                                                     18



                                                                  Add59
  Case 2:25-cv-00849         Document 4-4        Filed 01/31/25      Page 1 of 5 PageID: 157




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
---------------------------------------------------------------x
                                                               :
NOVARTIS AG, NOVARTIS                                          :
PHARMACEUTICALS CORPORATION,                                   :
                                                               :
                                    Plaintiffs,                :
                                                               : Civil Action No. 25-849
                  v.                                           :
                                                               :
NOVADOZ PHARMACEUTICALS LLC, MSN :
PHARMACEUTICALS INC., and MSN                                  :
LABORATORIES PRIVATE LIMITED,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------x

               DECLARATION OF STEPHEN VALAZZA IN SUPPORT OF
                   PLAINTIFFS’ ORDER TO SHOW CAUSE FOR A
                       TEMPORARY RESTRAINING ORDER
                 AND MOTION FOR A PRELIMINARY INJUNCTION

I, Stephen Valazza, hereby declare as follows:

       1.      I am Technical Project Leader at Novartis Pharmaceuticals Corporation (together

with Novartis AG, “Novartis”). I am over the age of 18 and am competent to testify. I submit

this declaration in support of Plaintiffs’ Order to Show Cause for a Temporary Restraining Order

and Motion for a Preliminary Injunction. The facts stated herein are based on my personal

knowledge and on my review of Novartis’s records and information in the public domain.

                                    Professional Background

       2.      I have worked at Novartis Pharmaceuticals Corporation since its founding in

1996. Before that, I worked at Ciba-Geigy, a predecessor to Novartis, for five years.

       3.      I have a Bachelor of Science in Pharmacy from the University of the Sciences in

Philadelphia. I am a registered pharmacist by the New Jersey Board of Pharmacy.




                                              Add60
  Case 2:25-cv-00849         Document 4-4          Filed 01/31/25   Page 2 of 5 PageID: 158




       4.      I have worked as a Technical Project Leader in the Technical Research and

Development (“TRD”) group at Novartis for more than 10 years. TRD is responsible for

developing new drugs and preparing them for commercial production, including developing the

final form of the drug that will be offered to consumers.

       5.      As a Technical Project Leader, I lead a development team that is focused on the

formulation development, process development, technical transfer and scale-up for Novartis

Pharmaceuticals Corporation. I have worked on the formulation of numerous Novartis products,

including Entresto. In recent years, I have specialized in leading the formulation and technical

development of malaria drugs and other global health products.

       6.      Prior to my transition into the role as Technical Project Leader, I worked as a

Drug Product Project Leader and Formulation Expert where I gained significant knowledge and

experience in formulation and process development of solid dosage forms.

                                     Novartis Tablet Design

       7.      Each Novartis tablet goes through a multi-phase product design process that

involves stakeholders from several Novartis groups, including Legal, Marketing, Clinical

Development, Regulatory Affairs, TRD, and Technical Operations. This process covers every

step of drug development leading to the commercial sale of the pharmaceutical.

       8.      During the design process, TRD will run tests to determine the ways it can

formulate a pharmaceutical without affecting its stability. For example, a drug may be

formulated as a film-coated tablet, a capsule, a powder or a liquid, among other options.

       9.      Once appropriate formulations are identified, members of Novartis’s product

design team, including Marketing, will choose the form for the medication based on both

regulatory factors as well as marketability and consumer preference. For example, a liquid form

may be chosen if the target consumer is a child.


                                                   2



                                             Add61
   Case 2:25-cv-00849        Document 4-4        Filed 01/31/25       Page 3 of 5 PageID: 159




       10.     The product design process also includes choosing a color for the product. For

film-coated tablets like Entresto, Novartis has developed a proprietary color palette of 23

options. If TRD determines that coloring does not impact the stability of the drug, the product

design team can choose from these 23 options when designing the appearance of the drug. This

choice is typically driven by commercial factors, including the desire to differentiate Novartis’s

products from those of competitors.

       11.     Aside from color, the process design team will also choose the shape of a film-

coated tablet. At Novartis, we typically use one of six different shapes for tablets: round flat,

round curved, elongated flat, elongated curved, ovaloid flat, and ovaloid curved. As with color,

once TRD determines that a tablet format is viable for a certain pharmaceutical, the decision of

what shape to use is largely driven by commercial factors (such as product differentiation).

       12.     The size of a tablet is also part of the product design process. A pharmaceutical

tablet typically has a minimum size based on its formulation and compressibility. However, that

minimum size can be increased to meet certain aesthetic goals. For example, a tablet size may

be increased to make it uniform with other tablets in the same family of drugs.

                               Entresto’s Distinctive Appearance

       13.     Entresto is a Novartis prescription medicine.

       14.     Entresto is offered in three doses in the United States. Each dose is offered as a

film coated tablet.

       15.     As shown below, the 24/26 mg dose is an ovaloid, violet white tablet measuring

13.1 mm x 5.2 mm (the “Low Starting Dose”); the 49/51 mg dose is an ovaloid, pale yellow

tablet measuring 13.1 mm x 5.2 mm (the “Recommended Starting Dose”); and the 97/103 mg

dose is an ovaloid, light pink tablet measuring 15.1 mm x 6.0 mm (the “Target Dose”).




                                                  3



                                              Add62
  Case 2:25-cv-00849         Document 4-4         Filed 01/31/25     Page 4 of 5 PageID: 160




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       16.     The appearance of the Entresto tablets was chosen to differentiate the tablets from

competitors’ trade dress.

       17.     The violet white, pale yellow, and light pink colors of the tablets were chosen

from the Novartis color palette described above. With respect to Entresto, the colors of the pills

did not impact the stability of the drug. Instead, when designing Entresto, the product design

team had the option of any of the 23 colors from the Novartis color palette. The selection of

violet white, pale yellow, and light pink was unrelated to function or efficacy.

       18.     The product design team also chose an “ovaloid” shape for the Entresto tablets to

differentiate them from competitors’ tablets.

       19.     Entresto could have been offered in other shapes. In fact, I was personally

involved in the activities to change the shape of the lowest dose of the Entresto pill during the

development phase from a round shape to an ovaloid shape. This change was requested by

Marketing to match the higher doses of Entresto, which were already in an ovaloid shape.



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                                                Add63
   Case 2:25-cv-00849         Document 4-4        Filed 01/31/25      Page 5 of 5 PageID: 161



       20.     Finally, I am not aware of any functional reason why the Low Starting Dose and

the Recommended Starting Dose need to be smaller than the Target Dose. These sizes could be

made uniform without impacting the efficacy of the formulation.

I declare under penalty of perjury that the foregoing is true and correct.


Executed this)O~y of January, 2025, in las-/ flt111C1v<r1 ;V :J".


                                                                 ~~
                                                              StepenValazz;v'·




                                                 5



                                               Add64
Case 2:25-cv-00849        Document 4-5       Filed 01/31/25       Page 1 of 7 PageID: 162




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
---------------------------------------------------------------x
                                                               :
NOVARTIS AG, NOVARTIS                                          :
PHARMACEUTICALS CORPORATION,                                   :
                                    Plaintiffs,                :
                                                               :
                  v.                                           : Civil Action No. 25-849
                                                               :
NOVADOZ PHARMACEUTICALS LLC, MSN :
PHARMACEUTICALS INC., and MSN                                  :
LABORATORIES PRIVATE LIMITED,                                  :
                                    Defendants.                :
                                                               :
                                                               :
---------------------------------------------------------------x

            DECLARATION OF JONATHAN WARD IN SUPPORT OF
               PLAINTIFFS’ ORDER TO SHOW CAUSE FOR A
                   TEMPORARY RESTRAINING ORDER
              AND MOTION FOR A PRELIMINARY INJUNCTION

I, Jonathan Ward, hereby declare as follows:

       1.      I am a Senior Medical Director, working in cardiovascular clinical

research, education, and medical affairs at Novartis Pharmaceuticals Corporation

(“Novartis Pharmaceuticals,” together with Novartis AG, “Novartis”). I am over the age

of 18 and am competent to testify. I submit this declaration in support of Plaintiffs’ Order

to Show Cause for a Temporary Restraining Order and Motion for a Preliminary

Injunction. Except as expressly indicated, the facts stated herein are based on my

personal knowledge and on my review of Novartis’s records and information in the

public domain.

                                Professional Background

       2.      I have worked at Novartis for over eleven years.




                                          Add65
Case 2:25-cv-00849        Document 4-5       Filed 01/31/25      Page 2 of 7 PageID: 163




       3.      I have a Bachelor of Science in Biology from the University of Oregon

and a Doctor of Pharmacy from the University of Washington.

       4.      I have over two decades of experience working in cardiovascular clinical

practice (ICU) and cardiovascular research, with eleven years of experience focusing

specifically on treatments like Entresto. As a Senior Medical Director at Novartis

Pharmaceuticals, I have been responsible for leading strategic and operational planning

for Medical Affairs for Entresto, as well as leading US clinical trials and evidence

generation projects related to Heart Failure research and treatments, including Entresto. I

have been involved with five Entresto clinical trials and served on multiple Novartis US

and global committees regarding this compound.

                                History of ENTRESTO®

       5.      Entresto is a twice-daily oral pill that is commonly used to treat patients

with chronic heart failure.

       6.      Entresto has two active ingredients that can reduce strain on the heart and

improve its ability to pump blood to the body—(i) valsartan, which reduces blood vessel

tightening and the buildup of sodium and fluid, and (ii) sacubitril, which helps relax

blood vessels and decrease sodium and fluid in the body.

       7.      There are three doses of Entresto, each with increasing amounts of

sacubitril and valsartan. The 24/26 mg dose is an oval-shaped, violet white tablet,

measuring 13.1 mm x 5.2 mm (the “Low Starting Dose”). The 49/51 mg dose is an oval-

shaped, pale yellow tablet, measuring 13.1 mm x 5.2 mm (the “Recommended Starting

Dose”). And, the 97/103 mg dose is an oval-shaped, light pink tablet, measuring 15.1 mm

x 6.0 mm (the “Target Dose”).


                                             2




                                         Add66
Case 2:25-cv-00849        Document 4-5        Filed 01/31/25       Page 3 of 7 PageID: 164




       8.       For the last nine years, Entresto has been the only sacubitril/valsartan

combination drug available to treat patients with heart failure.

       9.       Entresto is the number one heart failure brand prescribed by cardiologists,

and it serves as a vital treatment option for many patients with heart failure. See

Declaration of Megan K. Bannigan (“Bannigan Decl.”) Ex. 28.

             Comparison to MSN’s Sacubitril/Valsartan Combination Drug

       10.      On July 24, 2024, MSN Laboratories Private Limited and MSN

Pharmaceuticals Inc., (collectively, “MSN”), received US Food and Drug Administration

(“FDA”) approval for a generic sacubitril/valsartan combination drug (the “MSN

Generic”).

       11.      I understand that MSN is set to imminently launch its generic

sacubitril/valsartan combination.

       12.      I understand that the MSN Generic will be offered in the same doses as

Entresto and the tablets for each dose will be nearly identical in appearance to the

Entresto Low Starting Dose, Recommended Starting Dose, and Target Dose.

       13.      I also understand that Novadoz Pharmaceuticals LLC, which identifies

itself as MSN’s “marketing partner” and which markets pharmaceuticals under the

NOVADOZ brand, will be involved in the distribution of the MSN Generic based on the

most recent publicly available version of the product label and package insert.

       14.      While the FDA has determined that the MSN Generic is therapeutically

equivalent to Entresto, the products have different dosing directions. As a result,

confusion between Entresto and the MSN Generic could cause harm to patients, the

Entresto brand, and to Novartis.


                                              3




                                          Add67
Case 2:25-cv-00849        Document 4-5        Filed 01/31/25     Page 4 of 7 PageID: 165




                 The Dosing Regimen Carveout for the MSN Generic
                Could Lead to Serious Side Effects for Certain Patients

       15.     The label for the MSN Generic omits important dosing information that is

included on the label for Entresto.

       16.     Entresto’s label includes a modified dosing regimen for adult patients who

are not currently taking angiotensin-converting enzyme inhibitors or angiotensin II

receptor blockers or previously were taking low doses of these drugs.

       17.     For these patients, Entresto’s label (Section 2.6) includes a direction to

prescribe the Low Starting Dose, rather than the typical Recommended Starting Dose.

       18.     This modification improves the safety and tolerability of Entresto for these

patient groups and helps to avoid certain side effects like hypotension (low blood

pressure), electrolyte disturbances, and renal injury/failure.

       19.     The modified dosing directions in Section 2.6 of Entresto’s label are

wholly omitted from the MSN Drug’s label. See Bannigan Decl. Exs. 92–94.

       20.     Because of this dosing regimen carveout, if a health care professional

(“HCP”) referred only to the dosing directions for the MSN Generic, either intentionally

or because they believed that the MSN Generic was Entresto or would be interchangeable

for Entresto based on a mistaken impression that Novartis is the source of or somehow

affiliated with the MSN Generic, certain patients could receive a higher dose than is

directed by the Entresto label.

       21.     A patient who experiences side effects from taking a higher starting dose

that is not tailored to their status could believe the MSN Generic is Entresto based on the




                                              4




                                          Add68
Case 2:25-cv-00849        Document 4-5        Filed 01/31/25       Page 5 of 7 PageID: 166




nearly identical appearance of the drugs or the generic’s ties to the NOVADOZ name and

attribute any negative side effects to Entresto and/or Novartis.


                 Substitution of the MSN Generic for ENTRESTO®
                Will Lead Patients and Physicians to Attribute Harm to
                               Entresto and/or Novartis

       22.     An HCP can write a prescription for Entresto by writing its generic name

(“sacubitril/valsartan”) or its brand name (“Entresto”) on the prescription form that is

delivered to the pharmacy.

       23.     Because Entresto is the only available sacubitril/valsartan combination

product, pharmacists currently will fill any prescriptions written for either “ENTRESTO”

or “sacubitril/valsartan” with ENTRESTO®. This will change if the MSN Generic is able

to enter the market.

       24.     State law typically governs the substitution of generic drugs for their

brand name equivalents. These laws may permit, and in some states require, a pharmacist

to substitute a generic drug that has been “AB” rated, meaning the FDA has found it to be

therapeutically equivalent to the brand name drug.

       25.     The MSN Generic is “AB” rated to Entresto. As a result, if the MSN

Generic is made available, pharmacists typically will have either the option or the

obligation (depending on state law) to fill prescriptions written for either “Entresto” or

“sacubitril/valsartan” with the MSN Generic—unless the HCP writes “Dispense As

Written” or “Brand Medically Necessary” on the prescription or in states where the

patient is required to consent to the substitution and refuses.




                                              5




                                          Add69
Case 2:25-cv-00849        Document 4-5        Filed 01/31/25      Page 6 of 7 PageID: 167




       26.     Pharmacists also have an incentive to fill prescriptions with generic drugs

because they historically have been able to take advantage of a higher reimbursement

spread on lower-cost generic drugs than they do when dispensing branded drugs. This

pattern can be expected to unfold with respect to Entresto and the MSN Generic.

       27.     Because of this substitution practice, HCPs may tell patients they are

prescribing Entresto, but the patients will be given the MSN Generic by pharmacies.

       28.     Upon receiving the MSN Generic, the nearly identical appearance of the

MSN Generic tablets and the Entresto tablets could confuse patients who are already

taking Entresto (or received a sample of Entresto from their HCP) and are familiar with

the shape, size, and color of their pill, as well as patients who have seen direct-to-

consumer advertisements for Entresto featuring images of the pills.

       29.     If a patient does not understand that they are taking a generic version of

Entresto manufactured by a third party due to the way it is presented, the patient could

associate any negative experience stemming from the MSN Generic with Entresto.

       30.     For example, if MSN has a manufacturing issue that affects the efficacy or

safety of the MSN Generic or a patient has an adverse reaction to the MSN Generic, the

patient would attribute that issue to Entresto.

       31.     This would have a practical impact on patients’ ability to accurately report

unexpected side effects or adverse events caused by the MSN Generic to the FDA, which

tracks such issues for patient safety. It could also lead them to report any issues with the

drug to the wrong manufacturer, delaying resolution of what could be a larger issue with

the MSN Generic.




                                              6




                                          Add70
Case 2:25-cv-00849         Document 4-5           Filed 01/31/25   Page 7 of 7 PageID: 168




         32.     Any negative associations would also harm Novartis' s reputation for

 producing high quality, lifechanging treatments, in the eyes of our consumers.


         I declare under penalty of perjury that the foregoing is true and correct.


 Executed this 12.t:/ day of January , 2025 ,   ia+/t,v1{, r:;1<...ep




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                                                Add71
Case 2:25-cv-00849        Document 4-6       Filed 01/31/25      Page 1 of 9 PageID: 169




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
---------------------------------------------------------------x
                                                               :
NOVARTIS AG, NOVARTIS                                          :
PHARMACEUTICALS CORPORATION,                                   :
                                    Plaintiffs,                :
                                                               :
                  v.                                           : Civil Action No. 25-849
                                                               :
NOVADOZ PHARMACEUTICALS LLC, MSN :
PHARMACEUTICALS INC., and MSN                                  :
LABORATORIES PRIVATE LIMITED;                                  :
                                    Defendants.                :
                                                               :
                                                               :
---------------------------------------------------------------x

            DECLARATION OF DAVID LOSSIGNOL IN SUPPORT OF
                PLAINTIFFS’ ORDER TO SHOW CAUSE FOR
                  A TEMPORARY RESTRAINING ORDER
               AND MOTION FOR PRELIMINARY INJUNCTION

I, David Lossignol, hereby declare as follows:

       1.      I am Global Head Legal Brand Protection at Novartis AG (together with

Novartis Pharmaceuticals Corporation, “Novartis”). I am over the age of 18 and am

competent to testify. I submit this declaration in support of Plaintiffs’ Order to Show

Cause for a Temporary Restraining Order and Motion for a Preliminary Injunction.

Except as expressly indicated, the facts stated herein are based on my personal

knowledge and on my review of Novartis’s records and information in the public domain.

                                Professional Background

       2.      I have worked at Novartis for 15 years. From January 2010 through

November 2015, I worked as a trademark attorney and senior trademark attorney at

Novartis Pharma AG, responsible for worldwide trademark, design and domain name




                                          Add72
Case 2:25-cv-00849        Document 4-6        Filed 01/31/25      Page 2 of 9 PageID: 170




portfolios, and various related pan-European litigation matters. From November 2015

through December 2018, I was Head of Trademarks for Sandoz International (“Sandoz”),

a division of Novartis AG, and oversaw management of Sandoz’s global trademark

portfolio. From January 2019 through October 2021, I served as Global Head of

Trademarks, Domain Names and Copyright for Novartis Pharma AG, and led a team of

trademark professionals handling all trademark, domain name, and copyright matters for

Novartis Pharma worldwide. In this role, I worked with outside counsel to coordinate

enforcement strategies to protect the intellectual property of Novartis Pharma for the

Pharmaceutical Unit of the Innovative Medicines Division.

       3.      Since 2021, I have been Global Head Legal Brand Protection at Novartis

AG. When I started this role, I oversaw the global brand protection strategy for all

Novartis divisions worldwide, which consisted of Sandoz and Novartis’s Innovative

Medicines Division, comprising the Oncology and Pharmaceutical units. Following a

restructuring and spin-off of Sandoz in 2023, I now manage the legal brand protection

strategy for all Novartis therapeutic units, including the corporate portfolio.

       4.      I obtained law degrees at Nice Sophia-Antipolis University in France and

have diplomas from Oxford Brookes University in the United Kingdom and from the

Center for International Intellectual Property Studies in Strasbourg, France.

        Novartis’s Awareness of Increasingly Confusing Uses of NOVADOZ

       5.      In June of 2019, Novartis became aware that Novadoz Pharmaceuticals

LLC (“Novadoz Pharma”) had submitted to the United States Patent and Trademark

Office (“USPTO”), an application to register a stylized NOVADOZ mark for use in

connection with goods in International Class 005, covering pharmaceutical treatments.


                                              2




                                          Add73
Case 2:25-cv-00849       Document 4-6       Filed 01/31/25     Page 3 of 9 PageID: 171




         6.    In September of 2019, Novartis, through its then outside counsel, sent

Novadoz Pharma an email communicating that Novartis was concerned that uses of

NOVADOZ—a combination of Novartis and Sandoz—would confuse consumers as to

the source of Novadoz Pharma’s generic drugs.

         7.    Novadoz Pharma responded to this email communication stating its

disagreement with Novartis’s concerns and its refusal to cease its use of the NOVADOZ

mark. Novadoz further refused to engage in any further discussions regarding its use of

the mark with Novartis’s counsel.

         8.    At the time of Novadoz Pharma’s refusal to cease and desist, Novartis was

not aware of Novadoz Pharma marketing or selling a generic version of any Novartis

drugs in connection with the NOVADOZ name. Nor was Novartis aware of Novadoz

Pharma marketing or selling any generic drugs that copied any Novartis protected trade

dress.

         9.    In 2021, Novartis became aware of Novadoz Pharma’s distribution of a

generic version of a Novartis brand drug called Jadenu Sprinkle. However, Jadenu

Sprinkle—which is offered in white granules—does not have a distinctive product design

trade dress.

                            Trade Dress of MSN’s Generic

         10.   On August 6, 2024, Novartis become aware that the appearance of the

generic version of ENTRESTO® (the “MSN Drug”) developed by MSN Laboratories

Private Limited (“MSN Labs”), the parent company of MSN Pharmaceuticals Inc.

(“MSN Pharma,” together with MSN Labs, “MSN”), could resemble that of

ENTRESTO® when MSN filed an exhibit in another litigation that included a written


                                            3




                                        Add74
Case 2:25-cv-00849        Document 4-6        Filed 01/31/25   Page 4 of 9 PageID: 172




description of the appearance of the MSN Drug tablets. Attached as Exhibit 2 is a true

and correct copy of the exhibit filed by MSN in Novartis Pharms. Corp. v. Becerra et al.,

No. 24-02234 (D.D.C. 2024), which includes the written description of the appearance of

the MSN Drug. It describes the doses of the MSN Drug as follows:

       a.      24 mg/ 26 mg: “Purple colored, oval shaped, biconvex, film coated

       tablets”

       b.      49 mg / 51 mg: “Light yellow to yellow colored, oval shaped, biconvex,

       film coated tablets”; and

       c.      97 mg / 103 mg: “Light pink to pink colored, oval shaped, biconvex, film

       coated tablets.”

       11.     Novartis first saw images of the MSN Drug on August 9, 2024, when

MSN relied upon a demonstrative slide depicting the MSN Drug in connection with an

oral argument in Novartis Pharms. Corp. v. MSN Pharms. Inc., No. 1:22-cv-01395 (D.

Del. 2024). Attached as Exhibit 3 is a true and correct copy of that demonstrative slide,

which was lodged publicly by MSN on August 20, 2024. In the same case, MSN also

filed a copy of MSN Lab’s abbreviated new drug application (“MSN’s ANDA”) on

August 20, 2024. See Declaration of Megan K. Bannigan Ex. 48.

       12.     MSN’s ANDA stated that the generic would be offered in three doses, all

oval shaped: (1) the 24 mg/26 mg tablet would be purple colored and 10.00 x 4.00 mm;

(2) the 49 mg/51 mg tablet would be light yellow to yellow colored and 13.00 x 5.10 mm;

and (3) the 97 mg/103 mg tablet would be light pink to pink colored and 15.00 x 5.90

mm. See Exhibit 1, p. 2, 8. The ANDA further provided the below image of the tablets

(right) in comparison to Entresto (left):

                                              4




                                            Add75
Case 2:25-cv-00849              Document 4-6             Filed 01/31/25      Page 5 of 9 PageID: 173




         PARAMETERS              REFERENCE LISTED DRUG                    PROPOSED DRUG PRODUCT
         SH·t"-ngtbs             24 mg/ 26 mg. 49 mg / 51 mg and          24 mg/ 26 mg. 49 mg / 5 1 uig and
                                         91 mg/ 103 mg                            97 mg/ 103mg
         Configuration
         24 mg/ 26 mg. 49
         mg / 51 mgaud              Bottle of 60's and 180's                 Bottle of 60's and lSO's
         97 mg/ 103 mg


          24 mg/26 mg       [
                                             I
          49mg} .5 1 mg                                                                     .,

          97 mg/ 103 mg
                                                                                      t'

       13.       The appearance of MSN’s generic, as described and pictured in the

ANDA, is nearly identical to that of the ENTRESTO® tablets, which have remained the

same since the drug was launched in 2015. Attached as Exhibit 1 is a true and correct

copy of the June 2015 Entresto Dosing and Titration Guide, which displays the

ENTRESTO® tablets in the year they were first launched.

       14.       Despite the ANDA, Novartis had no concrete proof in August 2024 that

the MSN drug would actually launch in this format. ANDA images can be altered and

are not always representative of the look and feel of a product in real life. For example,

as shown on the next page, the alleged images of Entresto tablets included in the ANDA

appear distorted, so it is unclear exactly how the MSN pills will appear.



                                 [CONTINUED ON NEXT PAGE]




                                                         5




                                                    Add76
Case 2:25-cv-00849         Document 4-6        Filed 01/31/25      Page 6 of 9 PageID: 174




    Images of Entresto from the ANDA         Images of Entresto from Novartis
                                             Press Release 1




                      Use of NOVADOZ Name with MSN’s Generic

         15.    Novartis first became aware that Novadoz Pharma may use the

NOVADOZ mark in some capacity in connection with a generic version of a Novartis

product that copies the protectable trade dress of a Novartis pharmaceutical in early

October 2024, based on a letter filed in In re Entresto (Sacubitril/Valsartan) Patent

Litigation, No. 1:20-02930 (D. Del. Oct. 17, 2024), indicating that MSN had imported its

drug into the United States, to be held by Novadoz Pharma. Dkt. No. 1588. However, at

that time, Novartis was not aware that Novadoz would be used on consumer-facing

materials in connection with the generic. In particular, the FDA-approved package insert

and label for MSN’s generic to which Novartis had access at that time, did not use

NOVADOZ and listed “MSN” as the distributor (as depicted below).


1
      Press Release, Novartis, New analyses show Novartis’ EntrestoTM reduced
      cardiovascular death or hospitalization for heart failure, consistently benefitting
      patients with reduced ejection fraction regardless of prior heart failure hospital
      admissions or background therapy (April 2, 2016), https://novartis.gcs-
      web.com/novartis-analyses-show-improved-outcomes-in-heart-failure-patients.


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                                           Add77
Case 2:25-cv-00849                                     Document 4-6                           Filed 01/31/25   Page 7 of 9 PageID: 175




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          16.             On January 20, 2025, Novartis discovered a new package insert and label

on the National Library of Medicine’s DailyMed database for MSN’s Drug showing that

the NOVADOZ mark would be used on the insert and label. The NOVADOZ mark is

prominently visible on these materials (as depicted on the next page).

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              Valsartan                                        e    ..SDf:MtNlf'Cl't)('o:;
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               Tablets                                         ~~~~i.qt~llfh
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                                                               Mr,...,.,l'f~
                24 mg/26 mg                                    MiN&.all«mfffl f'IIWll\.lrVllcl
                                                               MfrQH ~?ZIN)Lt..
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          17.             Novadoz Pharma’s consumer-facing use of NOVADOZ in connection

with MSN’s generic version of ENTRESTO® is a dramatic expansion of its uses of the

mark, representing a progressive encroachment upon Novartis’s trademark rights. This

expansion has greatly heightened Novartis’s concerns that consumers are likely to be

confused as to the source of MSN’s generic sacubitril/valsartan product and believe that


                                                                                              7




                                                                                       Add78
Case 2:25-cv-00849         Document 4-6       Filed 01/31/25      Page 8 of 9 PageID: 176




Novartis has released its own, authorized generic either directly or in collaboration with

Sandoz.

                  Awareness of MSN’s Intent to Imminently Launch

       18.     On January 28, 2025, at 5:08 pm EST, counsel for MSN informed

Novartis’s counsel that it intends to launch its generic after the Federal Circuit issues a

mandate in an appeal involving one of Novartis’s patents covering ENTRESTO®, in

Novartis Pharms. Corp. v. Torrent Pharma Inc., Appeal No. 23-2218 (Fed. Cir.).

       19.     My understanding from counsel is that there is currently an injunction in

place from the Federal Circuit preventing MSN from launching, but that the injunction

will be lifted when the Federal Circuit issues its mandate.

       20.     I further understand from counsel that the Federal Circuit’s mandate could

issue any time, including next week.

       21.     Given the recent knowledge that MSN intends to use NOVADOZ on

consumer-facing materials, Novartis is concerned that MSN will launch after the Federal

Circuit’s mandate issues, absent another order or injunction that prevents it from doing

so, using the ENTRESTO® Trade Dresses alongside NOVADOZ, and that irreparable

harm will be inevitable.




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                                          Add79
Case 2:25-cv-00849         Document 4-6       Filed 01/31/25     Page 9 of 9 PageID: 177




         I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct ,


 Executed this ~       ay of January, 2025, in 15A->£l 1 ~i~etA f\J Q .




                                                     Davi~




                                             9




                                            Add80
     Case 2:25-cv-00849      Document 4-10       Filed 01/31/25   Page 1 of 32 PageID: 231




                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



Novartis AG, Novartis Pharmaceuticals               Civil Action No. 2:25-cv-00849
Corporation,

Plaintiffs,

v.

Novadoz Pharmaceuticals LLC, MSN
Pharmaceuticals Inc., MSN Laboratories Private
Limited,

Defendants,




                 EXPERT DECLARATION OF MARK ROBBINS, PH.D., J.D.

                                         January 30, 2025




                                             Add81
 Case 2:25-cv-00849                  Document 4-10                  Filed 01/31/25              Page 2 of 32 PageID: 232




                                                 TABLE OF CONTENTS


I.        INTRODUCTION AND RETENTION ....................................................................... 1
     A.   Qualifications and Experience ..........................................................................................1
     B.   Assignment ........................................................................................................................2

II.       PHARMACEUTICAL COMPANIES CAN USE PILL APPEARANCE TO
          DISTINGUISH THEIR DRUGS IN THE MARKETPLACE AND HELP
          PATIENTS IDENTIFY THEIR MEDICATION ....................................................... 4

III.      A GENERIC DRUG WITH A SIMILAR APPEARANCE TO ITS BRAND
          COUNTERPART MAY DERIVE SALES FROM PATIENTS WITH
          CHRONIC CONDITIONS WHO DO NOT REALIZE THAT THE
          SOURCE OF THEIR MEDICATION HAS CHANGED .......................................... 9




                                                              Add82
 Case 2:25-cv-00849      Document 4-10        Filed 01/31/25      Page 3 of 32 PageID: 233




       I.   INTRODUCTION AND RETENTION

     A.     Qualifications and Experience

1.   My name is Mark Robbins. I am the President and Chief Executive Officer of Kodiak
     Strategic Consultants, LLC. My business address is 3140 Harbor Lane North, Suite 202,
     Plymouth, Minnesota 55447. A copy of my Curriculum Vitae, which includes lists of my
     testimony over the past four years and my publications over the last ten years, is attached
     as Appendix A.

2.   I received my Bachelor of Science in Biochemistry from the University of California, Los
     Angeles, in 1974, and a Ph.D. in Pharmacology from the University of Minnesota Medical
     School in 1980. In 1991, I received my J.D. from the St. Louis University School of Law.

3.   I have over forty years of experience in the pharmaceutical and biotechnology industries,
     including the regulatory affairs, clinical and preclinical research, and FDA compliance
     matters relevant to a company’s incentives and challenges in bringing innovator and
     generic drug and biologic products to consumers. I have worked as a pharmaceutical
     regulatory affairs professional since the enactment of the Drug Price Competition and
     Patent Term Restoration Act of 1984 (“Hatch-Waxman Act”).

4.   Since 2011, I have been the President and Chief Executive Officer of Kodiak Strategic
     Consultants, and I have provided strategic, clinical, regulatory, quality, and business
     development consultation to numerous pharmaceutical and biotechnology companies.
     Additionally, I am an adjunct professor at the University of Minnesota Medical School in
     the Department of Pharmacology and at the University of Minnesota College of Pharmacy
     in the Department of Experimental and Clinical Pharmacology.

5.   From 2006 to 2011, I served as Chief Scientific Officer and Executive Vice President of
     Legal, Scientific, and Technical Operations at Upsher-Smith Laboratories (“Upsher-
     Smith”), a pharmaceutical company. From 1998 to 2006, I served as General Counsel and
     Vice President of Legal and Regulatory Affairs at Upsher-Smith, and provided strategic
     and direct oversight of the regulatory, clinical, quality, and legal groups. During my tenure
     at Upsher-Smith, I led Upsher-Smith’s U.S. Food and Drug Administration (“FDA”)

                                               1




                                           Add83
 Case 2:25-cv-00849       Document 4-10        Filed 01/31/25       Page 4 of 32 PageID: 234




     clinical and regulatory strategy, including product development priorities and strategies,
     and I handled negotiations with the FDA, resulting in NDA and ANDA approvals for
     several therapeutics, including drug-device combination products. Many of these approved
     NDAs and ANDAs were successfully commercialized and launched.

6.   From 1996 to 1998, I served as the President and COO of Certus International, a Contract
     Research Organization (“CRO”). Since retiring from Upsher-Smith Laboratories, I have
     continued to work as a principal regulatory and strategic consultant for Certus
     International.

7.   As described above, I have had direct involvement with submitting ANDA, NDA and BLA
     filings, obtaining FDA regulatory approvals, and commercially launching various
     pharmaceutical and biotechnology drug products. I have overseen the development of
     dozens of generic drugs, as well as innovator new drugs and biologic drug products
     throughout my tenure in the industry. With respect to commercial products, I have
     overseen marketing and promotional activities from a regulatory perspective.                In
     conjunction with marketing professionals, I have also overseen tablet design and packaging
     as part of my research and development responsibilities.


     B.     Assignment

8.   I have been retained by counsel for Novartis AG and Novartis Pharmaceuticals Corporation
     (together, “Novartis” or “Plaintiffs”) to: (i) explain the ways in which pharmaceutical
     companies use pill appearance to differentiate their products in the marketplace and
     enhance the ability of patients who have been prescribed the company’s pills to identify
     that the pill is in fact the medication they have been prescribed, which would be Entresto®
     in the present case; and (ii) discuss the potential for patients to believe that a generic pill
     that is similar in appearance to its brand counterpart is associated with or sponsored by the
     manufacturer of the brand product.

9.   I understand from Counsel that:

                     Novartis has filed claims of trade dress infringement, trademark
                      infringement, and unfair competition against Novadoz Pharmaceuticals


                                               2




                                            Add84
    Case 2:25-cv-00849        Document 4-10         Filed 01/31/25      Page 5 of 32 PageID: 235




                         LLC, MSN Pharmaceuticals Inc., and MSN Laboratories Private Limited
                         (collectively, “Novadoz” or “Defendants”).1

                        Novartis’ claims stem from Defendants’ manufacture and imminent
                         distribution, promotion, and sale of a generic drug that Novartis alleges is
                         nearly identical in appearance to Entresto®, Novartis’s treatment for chronic
                         heart failure, and that will be distributed in connection with the “Novadoz”
                         name (the “Novadoz generic”).2

                        Entresto® has two active ingredients, sacubitril and valsartan, and it comes
                         in three doses: (1) a 24/26 mg dose that is an oval pill, in a violet white
                         color, measuring 13.1 mm x 5.2 mm; (2) a 49/51 mg dose that is an oval
                         pill, in a pale yellow color, measuring and 13.1 mm x 5.2 mm; and (3) a
                         97/103 mg dose that is an oval pill, in a light pink color, measuring 15.1
                         mm x 6.0 mm.3

                        Defendants received FDA approval for the Novadoz/MSN generic on July
                         24, 2024,4 and are set to imminently launch the drug in the U.S.5

10.      I have been retained at my customary rate of $1,000 per hour, and I am being reimbursed
         for my reasonable travel and out-of-pocket expenses that I incur in connection with my
         work on this matter. Staff at Analysis Group, Inc. working under my direction and
         supervision, have assisted me, and I receive compensation based on Analysis Group, Inc.’s
         professional fees. My compensation in connection with this matter has not affected my
         conclusions and does not depend on my opinions or the outcome of this matter.

11.      I am independent from the parties and their legal advisors. I affirm that this declaration
         and the opinions expressed in it are my own genuine opinions, and not those of any
         organization or group with which I am or have been affiliated. This declaration and the
         opinions herein are based on my experience and analysis of the information available to


1
      Novartis v. Novadoz Pharmaceuticals, LLC, et al., Complaint (“Complaint”).
2
      Complaint, pp. 2-3.
3
      Complaint, p. 23.
4
      ANDA No. 213748 Approval Notice dated July 24, 2014, U.S. Food & Drug Administration, available at
      https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2024/213748Orig1s000ltr.pdf.
5
      Complaint, p. 3.

                                                    3




                                                Add85
    Case 2:25-cv-00849             Document 4-10            Filed 01/31/25          Page 6 of 32 PageID: 236




          me as of the date of this declaration, which includes publicly available information. The
          materials I relied upon in forming my opinions reflected herein are identified throughout
          the declaration. I reserve the right to supplement this declaration should I become aware
          of additional facts or additional documents relevant to the opinions I provide herein.


            II.    PHARMACEUTICAL COMPANIES CAN USE PILL APPEARANCE TO
                   DISTINGUISH THEIR DRUGS IN THE MARKETPLACE AND HELP
                   PATIENTS IDENTIFY THEIR MEDICATION

12.       Pharmaceutical companies can use the appearance of their drug products, particularly the
          color and shape, to distinguish their drugs in the marketplace.6 There is a wide variety of
          pill shapes and colors that pharmaceutical companies can select. For example, Figure 1
          identifies 12 common tablet shapes that drug manufacturers use, and pill color options are
          generally available across the color spectrum.7
                                                  Figure 1
                                             Common Tablet Shapes8


                                            ROUND        SQUARE       RECTANGLE




                                           CAPSULE      ALMOND        PENTAGON




                                             OVAL       LOZENGE        DIAMOND




                                           TRIANGLE     CORE ROD        HEART




6
      Fritch, David M., “Should ‘The Purple Pill’ by Any Other Drug Company Still Be as Purple? The Changing Face
      of Trade Dress Protection for Pharmaceutical Manufacturers,” IDEA: The Intellectual Property Law Review,
      2006, Vol. 47.
7
      For example, Colorcon, a company that designs and develops specialty excipients and packaging for oral doses
      in the pharmaceutical and nutritional industries, offers Tablet Design Services, which allows companies to select
      their pill color from a range of the color spectrum, with distinct Pantone color references for different pill color
      options. See “Tablet Selector,” Colorcon, available at https://www.colorcon.com/color-selector/#/selector;
      “About,” Colorcon, available at: https://www.colorcon.com/about.
8
      “Tablet Design,” Natoli, available at https://natoli.com/services/tablet-design. Natoli is a tablet compression
      tooling manufacturer. See “About Natoli Engineering Company,” Natoli, available at https://natoli.com/about.

                                                            4




                                                        Add86
     Case 2:25-cv-00849            Document 4-10            Filed 01/31/25          Page 7 of 32 PageID: 237




13.       Drug appearance features, such as shape and/or color, can be used by patients to identify
          the specific medication they were prescribed.9                   For example, the Institute for Safe
          Medication Practices, which provides a website dedicated to helping consumers avoid
          mistakes when taking medications,10 explains that some patients tend to ignore the label on
          their medication and rely on pill appearance to help identify which medication to take.11
          Academic studies note that “physicians, pharmacists, and patients use color to distinguish
          between different medicines”12 and that visual cues can be “paramount to identification of
          pills.”13

14.       Drug appearance may be especially important for patients with chronic conditions, such as
          patients with chronic heart failure that may be prescribed Entresto®,14 because (i)


9
      My use of “identify the specific medication they were prescribed” refers to pill appearance identifying a particular
      drug from a particular manufacturer (rather than a class of drugs).
10
      “About           ConsumerMedSafety.org,”            Consumer            MedSafety.org,          available         at
      https://www.consumermedsafety.org/about-us.
11
      “Using Color to Identify Your Medicine Can Result in an Error,” Consumer MedSafety.org, March 2022,
      available at https://www.consumermedsafety.org/safety-articles/using-color-to-identify-your-medicine-can-
      result-in-an-error.
12
      Hetrick, Evan M. et al., “Integrating Tristimulus Colorimetry into Pharmaceutical Development for Color
      Selection and Physical Appearance Control: A Quality-by-Design Approach,” Journal of Pharmaceutical
      Sciences, 2013, Vol. 102 (“Hetrick et al. (2013)”), p. 2608.
13
      Kesselheim, Aaraon S. et al., “Variations in Pill Appearance of Antiepileptic Drugs and the Risk of
      Nonadherence,” JAMA Internal Medicine, 2013, Vol. 173 (“Kesselheim et al. (2013)”), p. 205. Kesselheim et al.
      (2013) includes a policy recommendation to make brand and generic pills identical in appearance in the interest
      of medication adherence outcomes. This policy recommendation, however, has several shortcomings. First, it is
      not clear that nonadherence is rooted solely in changes in pill appearance. As members of the U.S. FDA’s Office
      of Generic Drugs noted in an Annals of Internal Medicine Comment and Response, there are many reasons for
      nonadherence beyond pill appearance. See “Burden of Change in Generic Pill Appearance,” Annals of Internal
      Medicine, Comments and Responses, December 2014, Vol. 161, No. 11, p. 839. Dr. Kesselheim and his co-
      authors note that poor adherence contributors include “patient factors, providers, and routine aspects of health
      care delivery, such as medication burden.” See Kesselheim, Aaron S., et al., “Burden of Changes in Pill
      Appearance for Patients Receiving Generic Cardiovascular Medications After Myocardial Infarction,” Annals of
      Internal Medicine, 2014, Vol. 161 (“Kesselheim et al. (2014)”), p. 96. Second, a policy recommendation for the
      brand and the generic to be identical has the potential to preclude patients from exercising agency over their own
      treatments. As I discuss in this declaration, differences in pill appearance may help patients understand when
      they should have a discussion with their physicians and/or pharmacists about any changes in the medication they
      are receiving. Also, differences in pill appearance facilitate patients’ agency and ability to make their own
      informed choices. See also, Fritch, David M., “Should ‘The Purple Pill’ by Any Other Drug Company Still Be
      as Purple? The Changing Face of Trade Dress Protection for Pharmaceutical Manufacturers,” IDEA: The
      Intellectual Property Law Review, 2006, Vol. 47. One way to protect both patient agency and patient adherence
      to medications is to ensure patients are informed as to what pharmacists are dispensing. In its Annals of Internal
      Medicine Comment and Response, FDA staff noted that “[t]he dispensing pharmacist currently is responsible for
      explaining these differences [in appearance] to concerned patients.” See “Burden of Change in Generic Pill
      Appearance,” Annals of Internal Medicine, Comments and Responses, December 2014, Vol. 161, No. 11, p. 839.
14
      “Why Suddenly Stopping Entresto Isn’t a Good Idea (Plus, 4 Other Things to Know about Taking It),” GoodRx,
      August 21, 2024, available at: https://www.goodrx.com/entresto/suddenly-stop-taking-entresto.

                                                            5




                                                        Add87
     Case 2:25-cv-00849            Document 4-10            Filed 01/31/25         Page 8 of 32 PageID: 238




          intuitively, a patient taking the same prescribed medication (e.g., Entresto®) repeatedly
          over a longer period will have a greater familiarity with the appearance of that medication
          than with a pill they take for a short period, all else equal; and (ii) patients with chronic
          conditions are more likely to take multiple medications relative to other patients. As the
          U.S. National Institute of Health (“NIH”) points out, the phenomenon of taking multiple
          drugs to treat diseases and other health conditions, known as polypharmacy, is more
          common “among older adults, many of whom have multiple chronic conditions.”15 A 2023
          study found that among studied patients with certain forms of heart failure, 90 percent were
          taking five or more medications.16 A patient who is taking multiple drugs but has
          accumulated familiarity with the appearance of their prescribed drugs may therefore rely,
          at least in part, on pill appearance to ensure that they are taking the particular medication
          they have been prescribed (e.g., Entresto®).

15.       The importance of pill appearance may be further enhanced if a patient’s pills are placed
          in a container where the bottle and packaging are no longer visible. For example, a patient
          or their caregiver may organize their pills into daily allotments using a pill box, or a
          pharmacy may provide a service that organizes a patient’s pills into daily packages (e.g.,
          Amazon’s Pill Pack).17 Indeed, academic studies of pill appearance support that “drugs are
          commonly removed from their bottles to assist in organization, such as when patients or
          caregivers sort their medications into pill planners or pharmacists provide blister packs to
          patients,” making “[v]isual clues … paramount to identification of pills.”18 Mediquation,
          a medication management tool provider, stated that the risks of using pill organizers
          include (1) “taking the wrong medication at the wrong time” (“[i]f medications are
          incorrectly sorted or if pills look similar”) and (2) “[o]nce medications are removed from



15
      “The Dangers of Polypharmacy and the Case for Deprescribing in Older Adults,” National Institute on Aging,
      August 24, 2021, available at https://www.nia.nih.gov/news/dangers-polypharmacy-and-case-deprescribing-
      older-adults.
16
      Park, Jin Joo and Barry Greenberg, “Topping Off the Pill Box: Dapagliflozin, Heart Failure, and Polypharmacy,”
      Journal of the American College of Cardiology: Heart Failure, 2023, Vol. 11, pp. 1394-1396.
17
      “How PillPack Works,” Amazon Pharmacy, available at https://pharmacy.amazon.com/pillpack.
18
      Kesselheim et al. (2013), p. 205, citing Petersen, Maya L. et al., “Pillbox Organizers are Associated with Improved
      Adherence to HIV Antiretroviral Therapy and Viral Suppression: A Marginal Structural Model Analysis,”
      Clinical Infectious Diseases, 2007, Vol. 45, pp. 908-915 and Huang, HY et al., “Impact of Pill Organizers and
      Blister Packs on Adherence to Pill Taking in Two Vitamin Supplementation Trials,” American Journal of
      Epidemiology, 2000, Vol. 152, pp. 780-787.

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                                                       Add88
     Case 2:25-cv-00849            Document 4-10            Filed 01/31/25         Page 9 of 32 PageID: 239




          their original packaging, it can be challenging to identify them, especially if they are not
          distinct in size, shape, or color. This can lead to confusion and potential dosing errors.”19

16.       Because of the potential for pill appearance to aid patients in distinguishing among the
          particular prescription drugs that have been prescribed to them, pill appearance can be an
          important element of pharmaceutical branding.20 Academic articles have found that brand
          pharmaceutical companies rely on color as an important means of creating brand value.21
          In an article about pill color titled “Red pill or blue? It could be a billion-dollar decision,”
          Eli Lilly is quoted as writing that “[t]he right combination of brand elements can evoke
          emotion from customers while helping to differentiate from other brands in the disease
          state and drug class.”22 The article also quotes a creative director at a healthcare advertising
          agency who explains that “[i]f you have a big competitor in your category that is the orange
          brand, you’re not going to go out and have orange be your primary color… [s]o you do
          want to be mindful of what else has already been taken in that therapeutic category.”23
          Branded pharmaceutical companies have both cited branding and consumer insights as a
          key driver of product color and the brand’s color palette and logo, with manufacturers
          making investments into these choices years before launch.24

17.       I understand that Novartis features images of its Entresto® pills in patient-facing materials,
          including brochures intended to be distributed to patients by healthcare practitioners and
          the Entresto® patient website, as shown in Figure 2 and Figure 3 below, respectively.
          Images of pill design can reinforce that visual cues like shape and color are intended by the
          manufacturer to serve as a reference point for patients to identify the particular medication
          they are prescribed, e.g., Entresto®.


19
      “The Benefits and Risks of Pill Organizers,” Mediqation, July 15, 2024, available at
      https://mediqation.com/blog/benefits-risks-pill-organizer/.
20
      Lim, Sean, “Drug Tablet Design: Why Pills Come in So Many Shapes and Sizes,” For the Love of Science,
      November 23, 2022, available at https://ftloscience.com/drug-tablet-design (“[P]atients are more likely to form a
      connection with the drug and the company that manufactured it, if they can easily distinguish it from its
      competitors”).
21
      Hetrick et al. (2013), pp. 2608-2621.
22
      Bell, Jacob, “Red pill or blue? It could be a billion-dollar decision,” BioPharma Dive, October 29, 2018, available
      at https://www.biopharmadive.com/news/red-pill-or-blue-it-could-be-a-billion-dollar-decision/539283.
23
      Bell, Jacob, “Red pill or blue? It could be a billion-dollar decision,” BioPharma Dive, October 29, 2018, available
      at https://www.biopharmadive.com/news/red-pill-or-blue-it-could-be-a-billion-dollar-decision/539283.
24
      Bell, Jacob, “Red pill or blue? It could be a billion-dollar decision,” BioPharma Dive, October 29, 2018, available
      at https://www.biopharmadive.com/news/red-pill-or-blue-it-could-be-a-billion-dollar-decision/539283.

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                                                       Add89
 Case 2:25-cv-00849             Document 4-10                                Filed 01/31/25                              Page 10 of 32 PageID: 240




                                               Figure 2
                                Excerpt of Entresto® Patient Brochure25

                                 HOW TO TAKE                                          Entresto·
                                 ENTRESTO                                             (sacubitril/valsananJ tablets
                                                                                      z.t/H.. •U/li\111 •!7/103 ..
                                 Take your dose of ENTRESTO twice
                                 daily, exactly as prescribed. Your doctor
                                 will decide which dose is right for you .




                                         24126 mg                      49151 mg                    97/103 mg
                                                                                              Pi l11hownnot1ctuallize.


                                 Take ENTRESTO with or without food.
                                 Take ENTRESTO at the same time each day to help you avoid missing a dose.




                                        If you have been prescribed ENTRESTO and are
                                        currently taking an ACE inhibitor*:




                                         8 <8> 0
                                        Stop taking your
                                              ACE
                                             inhibitor•
                                                                       Wait for
                                                                         36
                                                                        hours
                                                                                            Start taking
                                                                                            ENTRESTO,
                                                                                           as prescribed

                                        '&lchaenalaprilo,liainopril.




                                 IMPORTANT SAFETY INFORMATION
                                 Tell your doctor about all the medicines you take, including prescription and
                                 over-the-counter medicines, vitamins, and herbal supplements. Especially tell
                                 your doctor if you take potassium supplements or a salt substitute; nonsteroidal
                                 anti-inflammatory drugs (NSAIDs); lithium; or other medicines for high blood
                                 pressure or heart problems such as an ACE inhibitor, ARB, or aliskiren.
                                                                             5




                                              Figure 3
                             Screenshot from Entresto® Patient Website26

     HOW TO TAKE ENTRESTO
     ENTRESTO is a tablet that comes in the following doses:




                               24/26 mg                                 49/ 51 mg                                        97/1 03 mg




25
     Entresto Patient Brochure, available at https://www.entrestohcp.com/assets/english-patient-brochure_1.pdf.
26
     “Starting ENTRESTO | ENTRESTO® (sacubitril/valsartan),” Entresto website, available                                                         at
     https://www.entresto.com/starting-entresto.

                                                                             8




                                                                       Add90
 Case 2:25-cv-00849              Document 4-10            Filed 01/31/25          Page 11 of 32 PageID: 241




          III.     A GENERIC DRUG WITH A SIMILAR APPEARANCE TO ITS BRAND
                   COUNTERPART MAY DERIVE SALES FROM PATIENTS WITH
                   CHRONIC CONDITIONS WHO DO NOT REALIZE THAT THE
                   SOURCE OF THEIR MEDICATION HAS CHANGED

18.       As I explain in Section II, brand pharmaceutical companies can develop appearance
          features of their pills such that patients can more easily identify the particular medication
          they were prescribed. Generic drugs, which are required by the FDA to have the same
          active ingredients as the brand drug, often have different characteristics including pill shape
          and color, among others.27 A noticeable change in pill appearance can signal to patients
          that their dispensed medication is being switched from a brand drug to a generic drug. This
          switching, called “generic substitution,” occurs at the pharmacy,28 and in some U.S. states,
          does not require consent of, or notification to patients.29 Patients, however, have agency
          to resist generic substitution and choose to stay with the brand drug,30 a phenomenon that
          has been well-studied.31 Patients and their prescribers may make this choice for a variety
          of reasons, including familiarity with and trust in the brand drug, preference to maintain




27
      Kefalas, Costas H., and Arthur A. Ciociola, “The FDA’s Generic-Drug Approval Process: Similarities to and
      Differences from Brand-Name Drugs,” The American Journal of Gastroenterology, 2011, Vol. 106, pp. 1018-
      1021; “Generic vs Brand Drugs: Your FAQs Answered,” Drugs.com, May 14, 2024, available at
      https://www.drugs.com/article/generic_drugs.html.
28
      Generic substitution is encouraged by state laws that require or allow pharmacies to dispense available generic
      drugs when a brand drug is prescribed, unless the prescriber explicitly indicates not to allow substitution. See,
      for example: Grabowski, Henry G., and John M. Vernon, “Brand Loyalty, Entry, and Price Competition in
      Pharmaceuticals after the 1984 Drug Act,” Journal of Law and Economics, 1992, Vol. 35, pp. 333-334; Rome,
      Benjamin N., et al, “State Laws and Generic Substitution in the Year After New Generic Competition,” Health
      Policy Analysis, 2022, Vol. 25 (“Rome et al. (2022)”), pp. 1736-1742.
29
      Sacks, Chana A., et al., “Assessment of Variation in State Regulation of Generic Drug and Interchangeable
      Biologic Substitutions,” JAMA Internal Medicine, 2021, Vol. 181 (“Sacks et al. (2021)”), pp. 16, 18 (“Seven
      states and Washington, DC, required that patients consent to substitution”). See also, Rome et al (2022), p. 1739
      (“A total of 12 (23.5%) states… did not require patient notification or consent beyond the generic label.”)
30
      All U.S. states mandate the dispensing of the brand drug if the physician has indicated as such, and all but three
      U.S. states allow for the brand drug to be dispensed if requested by the patient. See “Expanding the Use of
      Generic Drugs,” U.S. Department of Health and Human Services, Office of the Assistant Secretary for Planning
      and Evaluation (“ASPE”) Issue Brief, December 1, 2010, pp. 7, 11, Appendix A, available at
      https://aspe.hhs.gov/sites/default/files/migrated_legacy_files//43501/ib.pdf.
31
      See, for example, Regan, Tracy L., “Generic Entry, Price Competition, and Market Segmentation in the
      Prescription Drug market,” International Journal of Industrial Organization, 2008, Vol. 26, pp. 930-948;
      “Expanding the Use of Generic Drugs,” U.S. Department of Health and Human Services, Office of the Assistant
      Secretary for Planning and Evaluation (“ASPE”) Issue Brief, December 1, 2010, pp. 7, 11, Appendix A, available
      at https://aspe.hhs.gov/sites/default/files/migrated_legacy_files//43501/ib.pdf.

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                                                       Add91
 Case 2:25-cv-00849              Document 4-10            Filed 01/31/25          Page 12 of 32 PageID: 242




          the status quo, perceptions about generic quality, and differences in inactive ingredients
          between the brand and generic drugs.32

19.       Difference in pill appearance between the brand drug and the generic drug therefore
          provides an opportunity for patients to question whether they wish to proceed with the
          generic medication or, alternatively, to stay with the brand drug, which in this matter is a
          treatment for a serious chronic disease.33 Consumer sources often suggest that patients talk
          to their doctor or pharmacist if their pill appearance changes. For example, warfarin tablet
          identification materials from UC San Diego tells patient to “[a]sk your pharmacist if the
          color or shape of your pill changes or if you have questions.”34 Literature has shown that
          changes in pill appearance can cause patients to question whether to proceed with a new,
          different-looking pill.35 Patients then have the opportunity to gather additional information
          to inform their decision of whether to stay with the brand drug, for example, by speaking
          to their doctor and/or pharmacist.36

20.       Hence, when the generic drug is similar in appearance to the brand drug, this creates the
          potential for a patient to miss the opportunity to interact with their doctor and pharmacist
          about whether to stay with the brand drug. This missed opportunity can occur, for example,
          if the patient does not give close attention to the changes that may be associated with

32
      Costa-Font, Joan et al., “Brand Loyalty, Patients and Limited Generic Medicines Uptake,” Health Policy, 2014,
      Vol. 116, pp. 2-3; “Expanding the Use of Generic Drugs,” U.S. Department of Health and Human Services, Office
      of the Assistant Secretary for Planning and Evaluation (“ASPE”) Issue Brief, December 1, 2010, pp. 7-8, 11-12,
      available at https://aspe.hhs.gov/sites/default/files/migrated_legacy_files//43501/ib.pdf; Dunne, Suzanne S. and
      Colum P. Dunne, “What do people really think of generic medicines? A systematic review and critical appraisal
      of literature on stakeholder perceptions of generic drugs,” BMC Medicine, 2015, Vol. 13 (“Dunne and Dunne
      (2015)”), pp. 1-27.
33
      Literature discusses the notion that generics are less readily accepted by patients who have been using a brand
      medication for some time and/or who are experiencing serious illness. See, for example: O’Malley, James A. et
      al., “Impact of Alternative Interventions on Changes in Generic Dispensing Rates,” Health Services Research,
      2006, Vol. 41, p. 1892; Dunne and Dunne (2015), pp. 15, 20; Rome et al. (2022), p. 1737.
34
      “Warfarin Tablet Identification,” UC San Diego Health, available at https://health.ucsd.edu/for-health-care-
      professionals/anticoagulation-guidelines/warfarin/tablet-identification/. See also, “Burden of Change in Generic
      Pill Appearance,” Annals of Internal Medicine, Comments and Responses, December 2014, Vol. 161, No. 11, p.
      839 where the FDA notes that “[t]he dispensing pharmacist currently is responsible for explaining” differences
      in appearance between brand and generic drugs. Similarly, Kesselheim et al. (2013) suggest that educating
      consumers about the safety and efficacy of drugs “no matter what physical attributes the drug possesses” may
      mitigate the adherence challenges they observe, and, “[i]n the near term, as more widely used brand-name drugs
      face generic competition, physicians should warn patients about the possibility that pill color might change, and
      pharmacists might take greater care to alert patients when changes in suppliers lead to new pill characteristics.”
      See Kesselheim et al. (2013), p. 206.
35
      Kesselheim et al. (2013), p. 205; Kesselheim et al. (2014), p. 96.
36
      Kesselheim et al. (2013), p. 205.

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                                                       Add92
 Case 2:25-cv-00849               Document 4-10             Filed 01/31/25           Page 13 of 32 PageID: 243




          generic substitution, such as changes in the manufacturer name on the label of the pill
          bottle, or if the patient does not internalize a notification from the pharmacy that generic
          substitution has occurred, which literature shows is common.37

21.       Even where generic and branded drug pill appearance is similar but not identical, those
          similarities may signal to consumers that the generic drug is not independent from the
          brand drug and, instead, is an “authorized generic.” It is common for brand pharmaceutical
          companies to launch an “authorized generic,” which is “an approved brand name drug that
          is marketed without the brand name on its label.”38 Since 1999, approximately 1,136
          authorized generic products have entered the U.S. drug market.39 Authorized generics are
          manufactured by the manufacturer of the brand drug and then sold by the manufacturer of
          the brand name drug or by a licensee who obtains the brand company’s permission.40

22.       Authorized generics typically have identical appearance features as the brand drug apart
          from markings on the pill,41 and evidence indicates that patients may favor authorized
          generics over non-authorized generics.42 For example, a 2018 study on switchback rates,
          or rates at which patients who were switched from a brand drug to a generic subsequently
          switched back to the brand drug, demonstrated that “[s]witching from branded to
          authorized generic drug products was associated with lower switchback rates compared
          with switching from branded to generic drug products.”43 The authors of the study


37
      Sacks et al. (2021), p. 18 (“31 states and Washington, DC, mandate[] that patients be notified of the action
      independent of the drug’s packaging.”); Kesselheim et al. (2014), p. 101 (“Some [pharmacies] affix labels that
      describe the pills and alert patients to changes. Unfortunately, warning stickers on pill bottles are often numerous
      and are often ignored.”)
38
      “FDA       List    of Authorized          Generic   Drugs,” FDA, October                8, 2024,       available    at
      https://www.fda.gov/drugs/abbreviated-new-drug-application-anda/fda-list-authorized-generic-drugs.
39
      “FDA Listing of Authorized Generics as of October 8, 2024,” FDA, October 8, 2024, available at
      https://www.fda.gov/media/77725/download.
40
      “FDA       List    of Authorized          Generic   Drugs,” FDA, October                8, 2024,       available    at
      https://www.fda.gov/drugs/abbreviated-new-drug-application-anda/fda-list-authorized-generic-drugs;
      “Authorized Generics: What Pharmacists Should Know,” U.S. Pharmacist, June 18, 2020, available at
      https://www.uspharmacist.com/article/authorized-generics-what-pharmacists-should-know.
41
      “Authorized Generics: What Pharmacists Should Know,” U.S. Pharmacist, June 18, 2020, available at
      https://www.uspharmacist.com/article/authorized-generics-what-pharmacists-should-know.
42
      Evans, Alex, “How to Discuss Brand vs. Generic Drugs with Your Patients,” GoodRx, June 16, 2021, available
      at https://www.goodrx.com/hcp-articles/providers/discussing-brand-vs-generics-with-patients (“If insurance will
      not pay for a branded product or it is too expensive, but the patient will not take or is very concerned about taking
      a generic product, consider discussing the authorized generic with them. Because the formula is exactly the same,
      it might allow them to feel at ease while also saving money.”).
43
      Desai, Rishi J. et al., “Differences in Rates of Switchbacks After Switching from Branded to Authorized Generic
      and Branded to Generic Drug Products: Cohort Study,” BMJ, 2018, Vol. 361 (“Desai et al. (2018)”), p. 1.

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                                                         Add93
 Case 2:25-cv-00849            Document 4-10          Filed 01/31/25        Page 14 of 32 PageID: 244




          hypothesized that “[o]ne potential reason for lower switchbacks among branded to
          authorized generic switchers may be the similarity in product appearance between
          authorized generics and brand drug products.”44 Patients may learn about authorized
          generics via multiple channels, including their pharmacist and patient-facing educational
          resources.45 Therefore, a generic drug that has similar appearance to the brand drug may
          benefit if patients mistakenly perceive the generic as the authorized                 generic drug
          manufactured by the brand drug company.

23.       Patient ability to distinguish a generic drug from a brand drug is enhanced where the
          generic manufacturer selects pill appearance features to set their pills apart. The below
          provides six examples in which shape and/or color vary between a generic drug and its
          brand counterpart:

                         As shown in Figure 4, the brand drug Viagra has a diamond/four-sided
                          shape for its 50mg tablet,46 while the generic sildenafil citrate 50mg tablet
                          manufactured by Rubicon47 has an oval shape.48




44
      Desai et al. (2018), pp. 5-6.
45
      Evans, Alex, “What are Authorized Generics?” GoodRx, April 28, 2023, available at
      https://www.goodrx.com/drugs/medication-basics/what-are-authorized-generics; “FDA List of Authorized
      Generic Drugs,” U.S. Food and Drug Administration, October 8, 2024, available at
      https://www.fda.gov/drugs/abbreviated-new-drug-application-anda/fda-list-authorized-generic-drugs;
      “Authorized Generics: What Pharmacists Should Know,” U.S. Pharmacist, June 18, 2020, available at
      https://www.uspharmacist.com/article/authorized-generics-what-pharmacists-should-know.
46
      “Pfizer VGR 50 Pill Blue Four-Sided 11mm,” Drugs.com, available at https://www.drugs.com/imprints/pfizer-
      vgr-50-1183.html.
47
      FDA-Approved             Drugs       on         ANDA          204882,        FDA,         available    at
      https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=BasicSearch.process&ApplNo=204882.
48
      “R 50 Pill Blue Oval 13mm,” Drugs.com, available at https://www.drugs.com/imprints/r-50-27591.html.

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                                                   Add94
 Case 2:25-cv-00849           Document 4-10           Filed 01/31/25          Page 15 of 32 PageID: 245




                                         Figure 4
                Brand Viagra and Rubicon’s Generic Sildenafil Citrate (50mg)49




                          Viagra (50mg)                             Sildenafil Citrate (50mg)

                         As shown in Figure 5, the brand drug Sutent, a Pfizer drug for the treatment
                          of gastrointestinal stromal tumor (“GIST”), has an orange/red color for its
                          12.5mg capsule,50 while Teva’s generic sunitinib malate has a maroon
                          color.51
                                           Figure 5
                  Brand Sutent and Teva’s Generic Sunitinib Malate (12.5mg)52




                                                                       . .-    .   --


                          Sutent (12.5mg)                           Sunitinib Malate (12.5mg)




49
     “Pfizer VGR 50 Pill Blue Four-Sided 11mm,” Drugs.com, available at https://www.drugs.com/imprints/pfizer-
     vgr-50-1183.html; “R 50 Pill Blue Oval 13mm,” Drugs.com, available at https://www.drugs.com/imprints/r-50-
     27591.html.
50
     “Pfizer   STN     12.5     mg     Pill   Orange     Capsule    /  Oblong,”     Drugs.com,   available   at
     https://www.drugs.com/imprints/pfizer-stn-12-5-mg-9628.html.
51
     FDA-Approved           Drugs          on        ANDA          021938,       FDA,        available       at
     https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=021938; “TEVA
     8199 Pill Maroon Capsule / Oblong,” Drugs.com, available at https://www.drugs.com/imprints/teva-8199-teva-
     8199-32290.html.
52
     “Pfizer   STN     12.5     mg     Pill   Orange     Capsule    /  Oblong,”     Drugs.com,   available   at
     https://www.drugs.com/imprints/pfizer-stn-12-5-mg-9628.html; “TEVA 8199 Pill Maroon Capsule / Oblong,”
     Drugs.com, available at https://www.drugs.com/imprints/teva-8199-teva-8199-32290.html.

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                                                   Add95
 Case 2:25-cv-00849           Document 4-10          Filed 01/31/25        Page 16 of 32 PageID: 246




                        As shown in Figure 6, the brand drug Valium has a “V” shaped hole in the
                         center of its 10mg tablet,53 while Teva’s generic diazepam 10mg tablet has
                         no hole in the center.54

                                          Figure 6
                      Brand Valium and Teva’s Generic Diazepam (10mg)55



                            0
                            0     Valium (10mg)                             Diazepam (10mg)

                        As shown in Figure 7, the brand drug Lopressor has a grey color and oval
                         shape for its 100mg tablet,56 while Rubicon’s generic metoprolol tartrate
                         100mg tablet has a pink color and round shape.57




53
     “Roche     Roche     Valium      10    Pill   –     blue   round,   9mm,”     Drugs.com,    available  at
     https://www.drugs.com/imprints/roche-roche-valium-10-840.html.
54
     “TEVA 3927 Pill – blue round, 8mm,” Drugs.com, available at https://www.drugs.com/imprints/teva-3927-
     16980.html;      FDA-Approved         Drugs       on     ANDA       070362,      FDA,     available    at
     https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=070362.
55
     “Roche     Roche     Valium      10    Pill   –     blue   round,   9mm,”     Drugs.com,    available  at
     https://www.drugs.com/imprints/roche-roche-valium-10-840.html; “TEVA 3927 Pill – blue round, 8mm,”
     Drugs.com, available at https://www.drugs.com/imprints/teva-3927-16980.html.
56
     “71 71 GEIGY Pill,” Drugs.com, available at https://www.drugs.com/imprints/71-71-geigy-7334.html.
57
     “R 100 Pill – pink round, 12mm,” Drugs.com, available at https://www.drugs.com/imprints/r-100-22525.html;
     FDA-Approved           Drugs         on         ANDA          200981,       FDA,        available      at
     https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=200981.

                                                      14




                                                  Add96
 Case 2:25-cv-00849            Document 4-10           Filed 01/31/25        Page 17 of 32 PageID: 247




                                          Figure 7
                  Brand Lopressor and Rubicon’s Generic Metoprolol (100mg)58




                           Lopressor (100mg)                         Metoprolol Tartrate (100mg)

                          As shown in Figure 8, the brand drug Coumadin had a round shape for its
                           5mg tablet,59 while Amneal Pharmaceutical’s generic warfarin 5mg tablet,
                           which was on the market at the same time, had an oval shape.60
                                        Figure 8
                    Brand Coumadin and Amneal’s Generic Warfarin (5mg)61




                          Coumadin (5mg)                             Warfarin Sodium (5mg)




58
     “R 100 Pill – pink round, 12mm,” Drugs.com, available at https://www.drugs.com/imprints/r-100-22525.html;
     “71 71 GEIGY Pill,” Drugs.com, available at https://www.drugs.com/imprints/71-71-geigy-7334.html.
59
     “Coumadin 5 Pill – orange round, 9mm,” Drugs.com, available at https://www.drugs.com/imprints/coumadin-5-
     2650.html.
60
     “AN 766 5 Pill – peach oval, 11mm,” Drugs.com, available at https://www.drugs.com/imprints/an-766-5-
     20712.html; FDA-Approved Drugs on ANDA 202202 (archived June 29, 2017), Wayback Machine, available at
     https://web.archive.org/web/20170629134208/https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event
     =overview.process&ApplNo=202202. I understand Bristol Myers Squibb discontinued the sales and distribution
     of all strengths of Coumadin tablets in the U.S. on April 24, 2020. See “Coumadin Discontinuation Letter,”
     abcardio.org,                    available                     at                   https://abcardio.org/wp-
     content/uploads/2020/05/Document_20200424_0001_Coumadin-Discontinuation-Letter.pdf.
61
     “Coumadin 5 Pill – orange round, 9mm,” Drugs.com, available at https://www.drugs.com/imprints/coumadin-5-
     2650.html; “AN 766 5 Pill – peach oval, 11mm,” Drugs.com, available at https://www.drugs.com/imprints/an-
     766-5-20712.html.

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                                                   Add97
 Case 2:25-cv-00849                Document 4-10            Filed 01/31/25          Page 18 of 32 PageID: 248




                             As shown in Figure 9, the brand drug Synthroid has a vivid green color and
                              round shape for its 88mcg (0.088mg) tablet,62 while Mylan’s generic
                              levothyroxine 88mcg tablet has a light green color and an oval shape.63
                                             Figure 9
                    Brand Synthroid and Mylan’s Generic Levothyroxine (88mcg)64




                       ••    Synthroid (88mcg)                             Levothyroxine Sodium (88mcg)

24 .       Evidence indicates that Novadoz Pharmaceuticals LLC, one of the Defendants in the
           present litigation, has distributed generic drugs that look different from their brand
           counterparts. For example,65

                             Novadoz distributes a darunavir product, which is a generic version of brand
                              drug Prezista.66 The colors for the equivalent doses of Novadoz’ darunavir
                              product and Prezista differ, as laid out below in Table 1:




62
       “SYNTHROID 88 Pill – green round, 7mm,” Drugs.com, available at https://www.drugs.com/imprints/synthroid-
       88-7433.html.
63
       “M L 7 Pill – green capsule/oblong, 9mm,” Drugs.com, available at https://www.drugs.com/imprints/m-l-7-
       7224.html;       FDA-Approved          Drugs       on      ANDA        076187,      FDA,         available       at
       https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=076187.
64
       “SYNTHROID 88 Pill – green round, 7mm,” Drugs.com, available at https://www.drugs.com/imprints/synthroid-
       88-7433.html; “M L 7 Pill – green capsule/oblong, 9mm,” Drugs.com, available at
       https://www.drugs.com/imprints/m-l-7-7224.html.
65
       Images of Novadoz generics cited in the following examples are not publicly available, therefore, I rely on written
       descriptions of the generic pills from the National Library of Medicine and compare those to the descriptions of
       the branded-equivalent pills.
66
       “LABEL: Darunavir tablet, fil coated,” National Library of Medicine, updated November 29, 2023, available at
       https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=ea6e0136-75b2-4793-9500-04e6658a0a73; FDA-
       Approved           Drugs            on        ANDA            021976,         FDA,           available           at
       https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=021976.

                                                            16




                                                        Add98
 Case 2:25-cv-00849             Document 4-10            Filed 01/31/25         Page 19 of 32 PageID: 249




                                                 Table 1
                                         Pill Color by Strength
                           Branded Presista and Novadoz Generic Darunavir67
                                                               Pill Color
                              Strength                                  Novadoz
                                                  Prezista
                                                                       Darunavir
                               600mg               Orange                   Beige
                               800mg             Dark Red                   Brown
                           Novadoz distributes a doxepin hydrochloride product, which is a generic
                            version of brand drug Silenor.68 The colors for the equivalent doses of
                            Novadoz’ doxepin hydrochloride product and Silenor differ, as laid out
                            below in Table 2:
                                             Table 2
                                     Pill Color by Strength
                 Branded Silenor and Novadoz Generic Doxepin Hydrochloride69
                                                            Pill Color
                             Strength                              Novadoz Doxepin
                                                 Silenor
                                                                    Hydrochloride
                                3mg               Blue                      White
                                6mg               Green              Light Yellow
                           Novadoz distributes a dabigatran etexilate product, which is a generic
                            version of brand drug Pradaxa.70 The colors for the equivalent doses of


67
     “LABEL: Prezista – darunavir tablet, film coated, Prezista – darunavir suspension,” National Library of Medicine,
     updated July 23, 2024, available at https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=814301f9-c990-
     46a5-b481-2879a521a16f; “LABEL: Darunavir tablet, fil coated,” National Library of Medicine, updated
     November 29, 2023, available at https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=ea6e0136-75b2-
     4793-9500-04e6658a0a73.
68
     “LABEL: Doxepin Hydrochloride tablet,” National Library of Medicine, updated October 14, 2022, available at
     https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=96086fd8-8fa3-4a2b-ac12-fe1a3ad4f384;             FDA-
     Approved             Drugs           on        ANDA           022036,          FDA,           available        at
     https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=022036.
69
     “LABEL: Silenor – doxepin hydrochloride tablet,” National Library of Medicine, updated May 8, 2024, available
     at        https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=1bec1223-5239-4eb6-a9e8-62444106d2c0;
     “LABEL: Doxepin Hydrochloride tablet,” National Library of Medicine, updated October 14, 2022, available at
     https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=96086fd8-8fa3-4a2b-ac12-fe1a3ad4f384.
70
     “LABEL: Dabigatran – dabigatran etexilate capsule,” National Library of Medicine, updated October 7, 2024,
     available         at       https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=6f79088b-b353-485a-9df4-
     6f5088f5bd0f;         FDA-Approved         Drugs     on      ANDA        022512,      FDA,       available     at
     https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=022512.

                                                          17




                                                      Add99
 Case 2:25-cv-00849            Document 4-10           Filed 01/31/25        Page 20 of 32 PageID: 250




                           Novadoz’ dabigatran etexilate and Pradaxa differ, as laid out below in
                           Table 3:
                                            Table 3
                                    Pill Color by Strength
                  Branded Pradaxa and Novadoz Generic Dabigatran Etexilate71
                                                         Pill Color
                           Strength                              Novadoz
                                           Pradaxa
                                                            Dabigatran Etexilate
                             75mg           White           White to Light Yellow
                             110mg        Light Blue        White to Light Yellow
                             150mg        Light Blue        White to Light Yellow
25.       Applying the above findings to this matter, to the degree that the Novadoz/MSN generic is
          similar in appearance to Entresto®, and patients perceive it as such, this creates the potential
          for Defendants to unfairly benefit from patients’ inability to distinguish the two drugs. For
          example, a patient that has been using Entresto® may not realize that they have been
          switched to a generic product if that generic has a similar appearance, and if the
          manufacturer name on the bottle (“Novadoz”) is perceived as similar to “Novartis” (or if
          they do not pay attention to the manufacturer name on the bottle). In a world where the
          generic pill appearance was not similar, the patient has a greater opportunity to realize the
          difference, speak to their physician and/or pharmacist, and exercise their agency to remain
          with the brand drug Entresto® if desired.

                                      [SIGNATURE ON NEXT PAGE]




71
      “Label: PRADAXA- dabigatran etexilate mesylate capsule,” National Library of Medicine, updated April 3,
      2024, available at https://dailymed.nlm.nih.gov/dailymed/lookup.cfm?setid=1a214cf1-b41e-46f6-8f24-
      e3637e6d2612; “LABEL: Dabigatran – dabigatran etexilate capsule,” National Library of Medicine, updated
      October 7, 2024, available at https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=6f79088b-b353-485a-
      9df4-6f5088f5bd0f.

                                                       18




                                                   Add100
      Case 2:25-cv-00849      Document 4-10        Filed 01/31/25   Page 21 of 32 PageID: 251




           I declare under penalty of perjury that the foregoing is comprised of true and correct
26.        statements of my expert opinions.

           Signed this 30th day of January, 2025
27.




                                                                    _________________________
                                                                       Mark Robbins, Ph.D., J.D.




                                                   19




                                               Add101
Case 2:25-cv-00849       Document 4-10       Filed 01/31/25      Page 22 of 32 PageID: 252




                      Curriculum Vitae and Prior Testimony


                          Mark S. Robbins Ph.D., J.D.
    ● MSROBBINS@KODIAKSTRATEGIES.COM ■ 3130 HARBOR LANE N., SUITE 202,
                   PLYMOUTH, MN 55447 ■ (952) 215-5146

 SUMMARY

  Pharmaceutical/Biotech Executive with 35+ years of broad based pharmaceutical and
  biotechnology experience and strong entrepreneurial drive. Therapeutic experience
  includes oncology, neurology, pain management, cardiology, endocrine/metabolic,
  women’s health, dermatology, nuclear medicine, and radiology. Serial entrepreneur with
  several start up biotech ventures. Developed and successfully implemented drug
  development programs leading to numerous successful NDA/BLA approvals and
  successful commercialization. Provide Expert Witness assistance in
  pharmaceutical/biotechnology antitrust and patent litigation. Trained mediator and
  former American Arbitration Association arbitrator (2012-2022).

 WORK EXPERIENCE

  KODIAK STRATEGIC CONSULTANTS, LLC, Minneapolis, MN

  President and CEO
  November 2011-Present
  Provide strategic clinical, regulatory and business development consultation to a diverse
  group of pharmaceutical and biotech companies. Serve as Expert on antitrust and patent
  litigation. Speaker at numerous regulatory scientific meetings including the Food and
  Drug Law Institute Annual meeting CBER Update 2013-2014.

  Major Accomplishments:
     Developed a broad client base of pharmaceutical and biotech companies.
     Serving as Acting CEO, GigaMune, a research stage T cell receptor therapy and
        gene editing company. April 2021 – December 2021. Strategic
        business/regulatory advisor – 2019 – present.
     Executive Regulatory and Strategic Business advisor, GigaGen, a clinical stage
        immunotherapy company – 2014 – present.
     Co-Founder, Board member and Chief Scientific Officer, Diastol Therapeutics,
        Inc. a cardiovascular research and development stage company.
     President, CEO and Board Member for Tansna Therapeutics, a research stage
        CNS pharmaceutical company. 2015-2018
     Clinical/Regulatory advisor and Chief Operating Officer, Corporate Secretary for
        Bullet Biotechnology a research stage cancer immunotherapy company. 2012-
        2017.
     Co-Founder, Tychon Bioscience, an oncology immunotherapy company.




                                          Add102
Case 2:25-cv-00849       Document 4-10        Filed 01/31/25      Page 23 of 32 PageID: 253




        Head of Regulatory and Strategic Business Consultant for Hennepin Life
         Sciences, a clinical stage anti-infective development company.
        VP, Quality Regulatory Affairs and Legal Counsel for Tapemark, a leading
         transdermal and oral thin film drug delivery company. 2017-2019.
        Executive Vice President, DiaMedica Inc, a clinical stage biotech company 2012-
         2015.
        Provide due diligence and expert support to VC funds and law firms.
        Provided strategic direction and assistance in private equity and venture capital
         financing activities of various development stage companies.
        VP, Regulatory Affairs for QOL Medical, specializing in Orphan Drugs. 2016 -
         2017.
        Principal Regulatory and Strategic consultant for Certus International, a CRO.
        Expert Witness on pharmaceutical/biotechnology patent, contract, and antitrust
         litigation.

  UPSHER-SMITH LABORATORIES, INC., Minneapolis, MN
  1998-November 2011

  Executive Vice President, Legal, Scientific and Technical Operations
  Chief Scientific Officer and Corporate Secretary
  2006 – Nov. 2011
  Promotion and new oversight responsibilities for Research and Development,
  Manufacturing Operations and the Supply Chain.

  Major accomplishments:
     Negotiated with the FDA the regulatory strategy leading to the NDA approval of
        Fortical based on surrogate endpoints including the successful resolution of FDA
        legal concerns resulting from a Citizens Petition challenge to our approval.
     Provided strategic oversight in the clinical regulatory program resulting in the
        NDA approval for Divigel based on one US Phase 3 trial.
     Led the resolution of the legal challenge to the FDA approval of the ANDA
        Oxandrin based upon a Section 8 carve-out and successful resolution of patent
        litigation by Savient.
     Successfully negotiated with the FDA clinical and regulatory strategy for three
        neurological drugs in Phase 1-3 development.

  Vice President, Legal and Regulatory Affairs
  General Counsel
  1998-2006
  Responsible for strategic leadership and direct oversight of the Regulatory, Clinical,
  Quality and Legal groups.

  Major Accomplishments: Directed the legal team in defeating the FTC challenge of our
  Paragraph IV settlement with Schering-Plough. This case went up to the US Supreme
  Court (cert, denied) and is a landmark case in Paragraph IV settlements.




                                          Add103
Case 2:25-cv-00849       Document 4-10         Filed 01/31/25     Page 24 of 32 PageID: 254




        Led the regulatory development plan and reviewed all submission for a novel
         antiviral agent that ultimately failed in Phase 2 clinical trials.
        Provided strategic oversight, reviewed all regulatory submissions and directly
         participated in FDA meetings leading to the approval of Fortical for the treatment
         of osteoporosis in post-menopausal women.
        Provided strategic oversight, reviewed all regulatory submissions and directly
         participated in FDA meetings leading to the approval of Divigel for the treatment
         of vasomotor symptoms in post-menopausal women.
        Developed and negotiated the regulatory strategy with the FDA culminating in the
         orphan drug NDA approval of intranasal midazolam for acute repetitive seizures.


  CERTUS INTERNATIONAL, INC., St. Louis, MO

  President & Chief Operating Officer
  1996-1998
  Certus was a start-up Contract Research Organization providing a full range of
  Regulatory and Clinical services to the pharmaceutical and medical device industry. I
  held overall responsibility for strategic planning, business development, staffing,
  marketing, sales and profit/loss. In addition, I served as the primary regulatory agent for
  several biotech and medical device companies.

  Major accomplishments:
     Achieved an 80% increase in revenues and tripled the client base in fiscal 1997.
     Personally developed clinical regulatory strategies for 5 critical clients, serving as
        the FDA regulatory agent and directly negotiation with the FDA on
        clinical/regulatory development plans.
     Drafted clinical portions of regulatory submissions resulting in BLA approval of
        two radiolabeled monoclonal antibodies for diagnosis of venous thrombosis and
        acute appendicitis.
     Led regulatory development program and drafted clinical portions of regulatory
        submissions for two brachytherapy devices – MammoSite and GliaSite.
     Led clinical regulatory strategy and negotiations with the FDA enabling the initial
        clinical evaluation of a magnetically driven stereotaxis brain biopsy device.

  UPSHER-SMITH LABORATORIES, INC., Minneapolis, MN

  Vice President, Scientific and Regulatory Affairs
  1994-1996
  Joined Upsher-Smith as a career development opportunity to lead the Regulatory,
  Clinical, Research and Development and Quality groups with two Phase 3 clinical
  development programs ongoing.

  Major accomplishments:
     Worked directly with the FDA to define guidance for demonstrating in vitro
        bioequivalency for a nonabsorbable resin leading to the successful approval of




                                           Add104
Case 2:25-cv-00849      Document 4-10       Filed 01/31/25      Page 25 of 32 PageID: 255




         Prevalite, the only generic product to obtain an AB rating to two reference listed
         drugs.
        Implemented quality programs driving FDA compliance throughout our
         operations and establish an ongoing history of outstanding compliance and
         relationships with the Agency at both the headquarters and district level.
        Developed and negotiated the regulatory strategy with the FDA culminating in the
         orphan drug NDA approval of Diastat for acute repetitive seizures.
        Successfully negotiated the regulatory strategy for Niacor SR, although this
         program was subsequently discontinued following my departure.

  MALLINCKRODT GROUP, INC. St. Louis, MO
  1981 - 1994

  Director, Medical Affairs Department
  1993 -1994

  Associate Director/Director of Clinical Research
  1989– 1993

  Executive Administrative Assistant, Office of the President
  1988–1989

  Research Manager, Pharmacology and Toxicology
  1984–1988

  Research Pharmacologist/Senior Research Pharmacologist
  1981–1984

  Major Accomplishments:
     Developed and implemented regulatory strategy resulting in the first NDA
        approval for morphine sulfate injection for patient controlled analgesia.
     Developed compelling regulatory rational and obtained the only approval of an
        ultrasound contrast agent as a PMA medical device.
     Led Phase 2 and 3 clinical trials for cancer therapeutic drug treating bone
        metastases secondary to prostate and breast cancer.
     Provided the strategic oversight and implemented the regulatory strategies and
        drafted regulatory submissions leading to the worldwide approvals for Optiray,
        TechneScan MAG3, Ultratag PYP, and OctreoScan.
     Led successful response from DDMAC challenging off label promotion of
        Hexabrix by supplying compelling data supporting product promotional claims.
     Drove the regulatory strategies demonstrating substantial equivalence supporting
        510 (k) approvals of Cardiology, Anesthesiology and Critical Care devices.
     Represented the Office of the President as part of the team charged with the
        decentralization of Mallinckrodt into three independent operating companies:
        Medical, Specialty Chemicals and Veterinary Medicine.




                                         Add105
Case 2:25-cv-00849      Document 4-10        Filed 01/31/25     Page 26 of 32 PageID: 256




        Successfully negotiated the worldwide preclinical development strategy leading to
         the ultimate worldwide approval of Optiray, Optimark, Octreoscan, TechneScan
         MAG3 and Ultratag PYP.
        Successfully negotiated the preclinical regulatory strategy leading to ultimate
         approval of pre-filled power injector syringes containing various X-ray contrast
         agents.

 EDUCATION

  J.D., magna cum laude, St. Louis University School of Law, 1991.

  Ph.D., Pharmacology, University of Minnesota Medical School, 1980.

  B.S., Biochemistry, University of California at Los Angeles, 1974.

 FELLOWSHIPS

  NIH USPHS Postdoctoral Fellow, Department of Anatomy, University of Minnesota
  Medical School, 1979-1981

  NIH USPHS Predoctoral Fellow, Department of Pharmacology, University of Minnesota
  Medical School, 1974-1979

 PROFESSIONAL
 AFFILIATIONS

  Minnesota State Bar Association
      Chair, Food and Drug Law Section, 2001
      Secretary, Food and Drug Law Section, 2002-2006
      Antitrust Council, 2019-present

 LICENSURE AND
 CERTIFICATIONS

        Minnesota Bar, 2000 - present
        Missouri Bar, 1991 - present
        Regulatory Affairs Certification, 1994-2015
        Diplomate, American Board of Toxicology, 1984-2015



 ACADEMIC
 APPOINTMENTS




                                         Add106
Case 2:25-cv-00849          Document 4-10        Filed 01/31/25     Page 27 of 32 PageID: 257




      Adjunct Professor, University of Minnesota Medical School, Department of
       
      Pharmacology, 2020 - present
     Adjunct Associate Professor, University of Minnesota College of Pharmacy,
      Department of Experimental and Clinical Pharmacology,1995 - present
     Adjunct Professor (Food and Drug Law), William Mitchell College of Law 2001-
      2006
 COMMUNITY SERVICE

           Volunteer Lawyers Network, 2019 - present
           Community Mediation and Restorative Services, Volunteer Mediator, 2012-
            present, Finance Committee 2016- present, Board Member 2018-present
           Wishes and More, Board Member, 2003-present
           Jewish Family and Children’s Services of Minneapolis, Board Member 2008 –
            2016

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           on glucose stimulated somatostatin and insulin release from the isolated perfused rat
           pancreas. Diabetes 30:168–171, 1981.

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           tilorone and polyriboinosinic acid–poly–ribocytidylic acid (PolylC), on the hepatic
           monooxygenase systems of pregnant and fetal rats. Biochem. Pharmacol. 33:1213–
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           tilorone and polyriboinosinic acid–poly–ribocytidylic acid (IC), on the hepatic
           monooxygenase systems of the developing neonatal rat. Biochem. Pharmacol.
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           Gamma– aminobutyric acid (GABA) inhibition of somatostatin secretion from the
           isolated perfused rate pancreas and immunohistochemical localization of L–
           glutamate decarboxylase in the islet beta cell. In: Second International Symposium
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                                             Add107
Case 2:25-cv-00849       Document 4-10        Filed 01/31/25     Page 28 of 32 PageID: 258




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        M. S.; McElvany, K. D. and DeJong, R. Progress in the design, evaluation and
        development of Tc– 99m radiopharmaceuticals. In: Technetium in Chemistry and
        Nuclear Medicine Vol. 2, pp. 147–154, Deutsch, E.; Nicolini, M. and Wagner, H.
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        purified Tc– 99m MAG3 and OIH in rats. J. Nucl. Med. 28:1881–1887, 1987.

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        Hopkins, R. M. The effect of sodium on the fibrillatory potential of ioversol.
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        ioversol in the dog and the rat. Invest. Radiology 24:S10–S15, 1989.

  11.   Coveney, J. R. and Robbins, M. S. Biodistribution and excretion of [I–125]
        ioversol in conscious dogs. Invest. Radiology 24:S23–S27, 1989.

  12.   Ralston, W. H.; Robbins, M. S.; Coveney, J. R.; and Blair, M. Acute and subacute
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        labeling. J. Nucl. Med. 32:242– 244, 1991.

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        medicine and the impact of drug regulation. Sem. Nucl. Med., XXII:193–201,
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        M.S., Robbins, M.S. PLOS ONE; DOI: 10.1371/journal.pone.0103981, August 6,
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        Tissue Kallikrein-1 Maneva-Radicheva, L., Amatya, C., Parker, C., Ellefson, J.,




                                          Add108
Case 2:25-cv-00849       Document 4-10        Filed 01/31/25     Page 29 of 32 PageID: 259




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                                          Add109
Case 2:25-cv-00849       Document 4-10       Filed 01/31/25      Page 30 of 32 PageID: 260




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                                          Add110
Case 2:25-cv-00849           Document 4-10        Filed 01/31/25     Page 31 of 32 PageID: 261




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 PRIOR TESTIMONY

  In the last five years, I have testified as an expert in deposition and/or trial in the
  following matters:

            United States of America v. Nadar Pourhassan and Kazem Kazempour, No. 8:22-
             cr-00440-PX, United States District Court for the District of Maryland

            Alnylam Pharmaceuticals, Inc. v. Pfizer, Inc., Pharmacia & Upjohn Co. LLC,
             BioNtech SE, and BioNtech Manufacturing GMBH, No. 22-cv-336-CFC, United
             States District Court for the District of Delaware

            In re: Lantus Direct Purchaser Antitrust Litigation, No. 16-12652-LTS-JGD,
             United States District Court for the District of Massachusetts

            Madison Joint Venture LLC v. Chemo Research S.L. Exeltis USA, Inc., and
             Sergio Sosa-Estani, No. 2:19-cv-8012-JEP-JBC, United States District Court for
             the District of New Jersey

            In re: Zetia (Ezetimibe) Antitrust Litigation, MDL No. 2:18-md-2836, United
             States District Court for the Eastern District of Virginia

            Juno Therapeutics, Inc., Memorial Sloan Kettering Cancer Center and Sloan
             Kettering Institute for Cancer Research v Kite Pharma, Inc., No. 2:17-cv-07639-
             SJO, United States District Court for the Central District of California

            In re Losterin 24 Fe Antitrust Litigation, MDL No. 1:13-md-02472-SPAS, United
             States District Court for the District of Rhode Island

            Allergan, Inc. v. Imprimis Pharmaceuticals, Inc., No. 8:17-cv-01551-JVS-DFMx,
             United States District Court for the Central District of California Southern
             Division

            Allergan, Inc. v. Prescriber’s Choice, Inc. and Sincerus Florida, LLC, No. 8:17-
             cv-01550, United States District Court for the Central District of California
             Southern Division

            Abeona Therapeutics Inc. v. REGENXBIO Inc., No. 01-20-0005-3750, American
             Arbitration Association




                                              Add111
Case 2:25-cv-00849      Document 4-10        Filed 01/31/25     Page 32 of 32 PageID: 262




        Sorrento Therapeutics, Inc. v. NantPharma, LLC, No. 01-19-0001-0303,
         American Arbitration Association

        In re: Ranbaxy Generic Drug Application Antitrust Litigation, No. 19-md-02878-
         NMG, United States District Court for the District of Massachusetts

        In re Valsartan, Losartan and Irbesartan Products Liability Litigation, 1:19-md-
         02875, United States District Court for the District of New Jersey

        Glenn Alto; Edward Connolly, and Lewis William Waters v. Sun Pharmaceutical
         Industries, Inc., No. 1:19- cv-09758-GHW, United States District Court for the
         Southern District of New York

        In re: Novartis and Par Antitrust Litigation, 1:18-cv-04361-AKH, United States
         District Court for the Southern District of New York

        BLS Pharma, Inc. v. Inovio Pharmaceuticals, Inc., and Genetronics, Inc., No. 30-
         2019-01119045-CUCO-CJC, Superior Court of the State of California for the
         County of Orange

        Syneos Health, LLC, and Syneos Health UK Limited v. FSD Pharma, Inc., No.
         01-22-0000-3166, American Arbitration Association

        In re Arizona Theranos, Inc., Litigation, No. 2:16-cv-2138-DGC, United States
         District Court for the District of Arizona

        Shareholder Representative Services LLC v. Alexion Pharmaceuticals, Inc., No.
         2020-1069-MTZ, Court of Chancery of the State of Delaware

        AMAG Pharmaceuticals, Inc. v. American Guarantee and Liability Insurance
         Company, No. 1:21-cv-10618, United States District Court for the District of
         Massachusetts (Boston)

        In re: Actos Antitrust Litigation, 1:13-cv-09244-RA-SDA, United States District
         Court for the Southern District of New York

        Sandoz Inc. v. Cediprof, Inc., No. 01-20-0010-0588, American Arbitration
         Association




                                         Add112
 Case 2:25-cv-00849    Document 4-11     Filed 01/31/25    Page 1 of 40 PageID: 263




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
_____________________________________

NOVARTIS AG,
NOVARTIS PHARMACEUTICALS
CORPORATION,
                                             Civil Action No. 25-849
                  Plaintiffs,
      v.

NOVADOZ PHARMACEUTICALS LLC,
MSN PHARMACEUTICALS INC., and
MSN LABORATORIES PRIVATE
LIMITED,

                  Defendants.
_____________________________________




                    Expert Declaration of Dr. Arash Nayeri, MD
                 In Support of Plaintiffs’ Order to Show Cause for a
                          Temporary Restraining Order
                      And Motion for Preliminary Injunction



                                  January 30, 2025




                                     Add113
 Case 2:25-cv-00849                           Document 4-11                      Filed 01/31/25                  Page 2 of 40 PageID: 264




I.           INTRODUCTION............................................................................................................. 2
       A. Professional Qualifications and Experience ................................................................................................2

       B. Retention and Assignment ............................................................................................................................3

       C. Parties and Allegations .................................................................................................................................5

       D. Information Considered.............................................................................................................................. 10

       E. Summary of Opinions ................................................................................................................................. 11


II.          HCP PRESCRIBING DECISIONS .............................................................................. 12

III.         POTENTIAL FOR HCP CONFUSION ....................................................................... 17

IV.          PATIENT HARM STEMMING FROM CONFUSION ............................................. 19

V.           GENERIC MEDICATIONS DO NOT NEED TO LOOK LIKE THE BRANDED
             EQUIVALENT................................................................................................................ 22




                                                                                 1




                                                                          Add114
    Case 2:25-cv-00849              Document 4-11              Filed 01/31/25           Page 3 of 40 PageID: 265




I.       Introduction

         A.        Professional Qualifications and Experience

      1. I am a licensed and practicing physician in the state of California. I specialize in treating
           cardiovascular diseases, with a focus on chronic heart failure or “cardiomyopathy.” I am
           Board Certified in General Cardiology, Echocardiography (which is integral to the
           diagnosis and surveillance of heart failure), and Nuclear Cardiology (which
           encompasses a variety of tests used to delineate possible etiologies of heart failure). I am
           also a Fellow of the American College of Cardiology, a non-profit organization
           dedicated to transforming cardiovascular care and improving heart health for all.

      2. I received my B.A. in Molecular and Cell Biology with a Departmental Citation and the
           Chancellor’s Outstanding Scholar Award from the University of California Berkeley—
           which I attended on a UC Regent Scholarship, a full, merit-based scholarship. I received
           my M.D. from Vanderbilt University School of Medicine—which I attended on a
           Cornelius Vanderbilt Scholarship, a full, merit-based scholarship. I completed my two-
           year residency training in Internal Medicine and my four-year fellowship in Cardiology
           at the David Geffen School of Medicine at the University of California, Los Angeles.

      3. I have been practicing medicine for over eight years. During that time, I have been
           deeply engaged in the Cardiology community, not only through my daily treatment of
           patients but also through my extensive research on cardiomyopathy.

      4. I have built an innovative practice, informed by currently available treatments and
           technologies. For example, I have done cutting edge work on the use of artificial
           intelligence (“AI”) in Cardiology. Specifically, I have provided physician education on
           the use of AI to detect and risk stratify coronary artery disease on coronary
           computerized tomography angiography, and I have started an active effort to validate AI
           algorithms in echocardiography with an emphasis on detection and characterization of
           cardiomyopathy/heart failure. 1 In addition (and separate from my work on AI), I started,


1    “Cardiomyopathy” is the broader, umbrella category for diseases that make it difficult for the heart to pump blood. “Heart
     failure” is used to described symptoms attributable to cardiomyopathy or cardiomyopathy when it is severe enough to cause
     symptoms. Often, these two terms are used interchangeably.


                                                               2




                                                         Add115
Case 2:25-cv-00849          Document 4-11    Filed 01/31/25      Page 4 of 40 PageID: 266




     and am the principal investigator for, a research initiative investigating physician and
     patient misconceptions on the efficacy and safety of certain newer cardiovascular drugs,
     and the impact of any misconceptions on appropriate utilization.

  5. I currently work at Cedars-Sinai Medical Center, a teaching hospital in Los Angeles,
     California, renowned for its cardiovascular care and consistently ranked among the best
     institutions in the world in the different subspecialities within Cardiology, including
     heart failure and transplant medicine. I have supervised and taught physicians focusing
     on Cardiology, as well as physicians training in Internal Medicine, in both inpatient and
     outpatient settings.

  6. I am actively engaged in outcomes research in the field of Cardiology. I am the author of
     eleven peer-reviewed publications in this area. In addition, throughout my training at the
     University of California, Los Angeles, I participated in the Specialty Training and
     Advanced Research (“STAR”) Pathway, a professional track that offers trainees both
     comprehensive clinical and intensive research training. Through that track, I conducted
     substantial, grant-funded research focusing on cardiomyopathy, and I obtained a Master
     of Science in Clinical Research.

  7. I have presented my original research numerous times at prominent medical conferences
     including the Annual Scientific Meeting of the Heart Failure Society of America, the
     America College of Cardiology’s Annual Scientific Sessions, and the American Heart
     Association’s Scientific Sessions. My presentations have covered topics ranging from
     cardiomyopathy and heart failure to cardio-oncology. These conferences are widely
     attended by Cardiologists from around the country.

    B.      Retention and Assignment

  8. I understand that Plaintiffs Novartis AG and Novartis Pharmaceuticals Corporation
     (“Plaintiffs” or “Novartis”) are filing a lawsuit against Defendants Novadoz
     Pharmaceuticals LLC, MSN Pharmaceuticals Inc., and MSN Laboratories Private
     Limited (“Defendants” or “MSN”) alleging, among other things, that MSN has engaged
     in trade dress infringement by preparing to release a generic version of Entresto, with


                                              3




                                         Add116
    Case 2:25-cv-00849             Document 4-11              Filed 01/31/25           Page 5 of 40 PageID: 267




           pill tablets nearly identical in appearance to that of the appearance of the 24/26 mg,
           49/51 mg, and 97/103 mg Entresto pill tablets, and has engaged in trademark
           infringement by preparing to use the “Novadoz” name to distribute its generic drug. 2

      9. I have been retained by Debevoise and Plimpton LLP, counsel for Novartis, to provide
           an independent opinion to assist the Court regarding matters on which expert assistance
           may be required in this litigation. Specifically, I have been asked by counsel to:

                   a)        offer background on Entresto, its use, and my decision-making process for
                   prescribing Entresto;

                   b)        assess the potential for confusion of health care practitioners (“HCPs”)
                   treating chronic heart failure, regarding the source of MSN’s generic drug, given
                   that the drug will be nearly identical in appearance to Entresto and distributed
                   under the Novadoz name; and

                   c)        offer insight into whether a generic drug must be identical to its branded
                   equivalent to be effective.

      10. I reserve the right to address additional issues as requested by counsel in future
           declarations or reports, including potentially in rebuttal to opinions offered by
           Defendants’ experts. I am being compensated at the rate of $1,300 per hour for my time
           in preparing this declaration. No part of my compensation is dependent upon the
           outcome of this action or the nature of the opinions that I express.

      11. This is the first time I have offered expert testimony, and a list of my publications from
           the last ten years is included in Appendix A.




2    Complaint, Novartis v. Novadoz Pharmaceuticals, LLC, et al., Case No. 25-849 (D.N.J. filed Jan. 30, 2025) (“Complaint”)
     ¶¶ 88–105.


                                                              4




                                                        Add117
    Case 2:25-cv-00849              Document 4-11             Filed 01/31/25            Page 6 of 40 PageID: 268




         C.        Parties and Allegations

                             1.        Novartis and Its Entresto Drug

      12. Novartis is an innovative pharmaceutical company that was formed in 1996. 3 Novartis
           focuses its research and development of breakthrough medications on four key
           therapeutic areas: (1) Oncology; (2) Neuroscience; (3) Immunology; and (4)
           Cardiovascular, Renal, and Metabolic. 4 Specifically, within its Cardiovascular, Renal,
           and Metabolic therapeutic focus, Novartis has developed Entresto, a prescription
           medication to treat adults with long-lasting, chronic heart failure, that was released in
           2015. 5

      13. Chronic heart failure is a “condition where the heart muscle responsible for the pumping
           action weakens or stiffens over time, leaving people feeling fatigued, short of breath and
           at risk of sudden cardiac death.” 6 Because the heart is not able to efficiently pump and
           supply the organs with the vital oxygen and nutrients needed to function, chronic heart
           failure can lead to serious complications such as liver damage, kidney failure, and
           increased risk of sudden cardiac death. 7 In the United States, chronic heart failure
           remains a leading cause of morbidity, including complications leading to hospitalization,
           and carries a significant risk of mortality. 8 Chronic heart failure is seen in a variety of
           different populations but is most common in adults 65 years of age or older.




3    Novartis in the US, Novartis, https://www.novartis.com/us-en/about/novartis-us (accessed Jan. 28, 2025); 25 years of
     Novartis – more than 250 years of innovation, Novartis, https://www.novartis.com/about/25-years-novartis-more-250-years-
     innovation (accessed Jan. 28, 2025).
4    Therapeutic Areas, Novartis, https://www.novartis.com/about/therapeutic-areas (accessed Jan. 28, 2025).
5    Cardiovascular, renal, and metabolic, Novartis, https://www.novartis.com/about/therapeutic-areas/cardiovascular-renal-and-
     metabolic#tabheart-failure-210841 (accessed Jan. 28, 2025); Entresto, Entresto, https://www.entresto.com/ (accessed Jan.
     28, 2025); Drugs@FDA:FDA-Approved Drugs (Entresto), FDA,
     https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=207620 (accessed Jan. 28,
     2025) (noting the FDA approved Entresto on July 7, 2015).
6    Cardiovascular, renal, and metabolic, Novartis, https://www.novartis.com/about/therapeutic-areas/cardiovascular-renal-and-
     metabolic#tabheart-failure-210841 (accessed Jan. 28, 2025).
7    Heart Failure, Mayo Clinic, https://www.mayoclinic.org/diseases-conditions/heart-failure/symptoms-causes/syc-20373142
     (accessed Jan. 28, 2025).
8    Braunwald E. The war against heart failure: the Lancet lecture. The Lancet. 2015 Feb 28. doi: 10.1016/S0140-
     6736(14)61889-4.


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                                                         Add118
    Case 2:25-cv-00849              Document 4-11              Filed 01/31/25            Page 7 of 40 PageID: 269




      14. There are a variety of heart failure treatments available that have been shown to improve
           patient outcomes, particularly with respect to heart failure with reduced ejection fraction
           (a measure of the efficiency with which the heart pumps blood), also often referred to as
           systolic cardiomyopathy. There are “four pillars” of heart failure therapy that have
           become the standard of care for most patients and are incorporated into all relevant
           guidelines for the treatment of heart failure given their best evidence for improving
           outcomes: 9

                •    Beta blockers (e.g., carvedilol, bisoprolol, and metoprolol succinate), which help
                     block the effects of adrenaline on the heart;

                •    Mineralocorticoid receptor antagonists (e.g., spironolactone and eplerenone),
                     which block the action of the hormone aldosterone, which can lead to harmful
                     fluid retention and damage the heart muscle;

                •    Sodium-glucose co-transporter-2 inhibitors (“SGLT2i”) (e.g., empagliflozin and
                     dapagliflozin), which reduce the amount of renally reabsorbed glucose and
                     sodium in the blood by blocking the sodium-glucose co-transporter-2 protein;
                     and

                •    Angiotensin converting enzyme inhibitors (“ACEis”) (e.g., enalapril and
                     lisinopril), angiotensin II receptor blockers (“ARBs”) (e.g., losartan and
                     valsartan), and angiotensin-receptor neprilysin inhibitors (“ARNIs”). ACEis and
                     ARBs both block the production of angiotensin II, a hormone that constricts the
                     blood vessels. Of note, following a landmark trial published in the New England
                     Journal of Medicine in 2014 (“PARADIGM-HF”), a new class of agent (an
                     ARNI) was introduced to this pillar of heart failure treatment: sacubitril/valsartan
                     (branded as Entresto). In that study, which was stopped early due to clear
                     evidence of benefit in the trial arm, the combination of valsartan with sacubitril


9    Lewis EF. A fourth pillar for all in the treatment of heart failure. Eur Heart J. 2021 Nov 14;42(43):4452-4454; Heidenreich
     PA, Bozkurt B, Aguilar D, Allen LA, Byun JJ, Colvin MM, Deswal A, Drazner MH, Dunlay SM, Evers LR, Fang JC. 2022
     AHA/ACC/HFSA guideline for the management of heart failure: a report of the American College of Cardiology/American
     Heart Association Joint Committee on Clinical Practice Guidelines. J Am Coll Cardiol. 2022 May 3;79(17): e263-421.


                                                               6




                                                         Add119
     Case 2:25-cv-00849              Document 4-11              Filed 01/31/25            Page 8 of 40 PageID: 270




                      was compared to enalapril (an ACEi). In PARADIGM-HF, Entresto was shown
                      to be superior to enalapril in reducing the risk of cardiovascular death and heart
                      failure hospitalization. 10

            As these pillars show, there are a number of different therapies used to treat chronic
            heart failure. Many of these products are offered in multiple generic forms, often
            different in appearance from that of the branded equivalent. Appendix C includes
            examples of generic treatments for heart failure that look different from their branded
            equivalents.

       15. Novartis’s Entresto is the only chronic heart failure drug currently on the market that is
            made up of the active ingredients sacubitril and valsartan. The addition of Entresto to
            treatment options for patients with chronic heart failure was monumental. While they
            have different mechanisms of action, 11 sacubitril and valsartan help to relax the blood
            vessels and decrease sodium and fluid in the body, making it easier for the heart to pump
            blood throughout the body and, as a result, lessening the burden on the heart. 12

       16. Entresto comes in three doses—(1) a 24/26 mg “Low Starting Dose,” (2) a 49/51 mg
            “Recommended Starting Dose,” and (3) a 97/103 mg “Target Dose,” each depicted on
            the next page, in an image from Entresto’s website for HCPs. 13




10    McMurray JJ, Packer M, Desai AS, Gong J, Lefkowitz MP, Rizkala AR, Rouleau JL, Shi VC, Solomon SD, Swedberg K,
      Zile MR; PARADIGM-HF Investigators and Committees. Angiotensin-neprilysin inhibition versus enalapril in heart failure.
      N Engl J Med. 2014 Sep 11;371(11):993-1004.
11    Entresto belongs to a class of drugs called ARNIs. Sacubitril works by blocking the enzyme neprilysin, which breaks down
      certain peptides that might otherwise help to relax blood vessels and promote sodium and water excretion. Valsartan works
      by blocking the hormone angiotensin II, which can cause blood vessels to narrow and increase blood pressure. The
      combined effect of these active ingredients is to increase the ease with which the heart can pump blood throughout the body.
      Entresto, Drugs.com, https://www.drugs.com/entresto.html (accessed Jan. 28, 2025).
12    How Entresto Works, Entresto, https://www.entresto.com/how-entresto-works (accessed Jan. 28, 2025).
13    Safety & Dosing, Entresto, https://www.entrestohcp.com/safety-and-dosing/dosing (accessed Jan. 28, 2025).


                                                                7




                                                           Add120
     Case 2:25-cv-00849             Document 4-11              Filed 01/31/25           Page 9 of 40 PageID: 271




               Low Starting Dose                Recommended Starting Dose                         Target Dose
                   24/26 mg BID                           49/51 mg BID                           97/103 mg BID



       17. Patients can progress from the lower doses to the Target Dose. However, not all patients
            start at the Recommended Starting Dose. Entresto’s FDA-approved label and packaging
            insert include a modified dosing regimen for patients who are not currently taking or
            taking low doses of ACEis or ARBs. Specifically, Entresto’s label and packaging insert
            recommend that HCPs prescribe the Low Starting Dose of Entresto, rather than the
            typical Recommended Starting Dose for this particular patient population. Starting with
            the Low Starting Dose can help these patients avoid complications like hypotension (low
            blood pressure), electrolyte disturbances, and renal (kidney) injury or failure. 14 This
            impacts a substantial patient population: as illustration, in a study of over 7,000 patients,
            “over one-third of patients initiating sacubitril-valsartan had not filled a prescription for
            an ACE or ARB in the last 6 months.” 15 Moreover, in a recent study of over 100,000
            patients hospitalized with heart failure, the rates of patients being discharged on Entresto
            over ACEi or ARB had increased from 1% in 2015 to 55% in 2022. 16 This is strong
            evidence that more patients are being started directly on Entresto without prior exposure
            to ACEi or ARB and that the patient population in whom inappropriately high initial
            dosing of Entresto can lead to adverse events is increasing in size.

       18. No matter the dose on which they begin, patients generally take their Entresto tablets
            twice daily, indefinitely, to help manage chronic heart failure over time.




14    Entresto Prescribing Information, Entresto,
      https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/entresto.pdf#page=25 (accessed Jan. 28, 2025).
15
      Tan NY, Sangaralingham LR, Sangaralingham SJ, Yao X, Shah ND, Dunlay SM. Comparative effectiveness of sacubitril-
      valsartan versus ACE/ARB therapy in heart failure with reduced ejection fraction. JACC: Heart Fail. 2020 Jan;8(1):43-54.
16
      Srivastava PK, Klomhaus AM, Greene SJ, et al. Angiotensin Receptor-Neprilysin Inhibitor Prescribing Patterns in Patients
      Hospitalized for Heart Failure. JAMA Cardiol. 2024 Dec 11. doi:10.1001/jamacardio.2024.3815.


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                                                          Add121
 Case 2:25-cv-00849               Document 4-11    Filed 01/31/25      Page 10 of 40 PageID: 272




      19. As a Cardiologist at Cedars Sinai Medical Center, I regularly treat chronic heart failure
          patients and prescribe Entresto. Over the past few years, I have cared for over a thousand
          patients on Entresto, which is a staple of our treatment for patients with heart failure due
          to its potential life-saving benefits. While I appreciate the significant therapeutic benefit
          of this drug, through experience I am also very aware and watchful of possible side
          effects, which are more likely if not dosed properly. As mentioned above, complications
          including hypotension (low blood pressure), electrolyte disturbances (particularly higher
          potassium), and renal (kidney) injury or failure are concerns with the use of Entresto.

      20. Through my regular engagement with this medication, including through pill samples,
          patients bringing their medication supply to the office visit, HCP-directed resources
          from Novartis depicting the drug, and online resources like Medscape and Drugs.com
          that include images of the drug, I was intimately familiar with the appearance of the
          Entresto tablets before this litigation and am able to recognize Entresto just by seeing the
          pills.

                             2.     MSN and Its Generic Sacubitril/Valsartan Drug

      21. I understand that MSN is set to launch a generic sacubitril/valsartan chronic heart failure
          treatment that looks almost identical to the Entresto tablets. 17 I understand that MSN’s
          drug will be offered in the same doses—24/26 mg, 49/51 mg, and 97/103 mg—which
          will be offered in purple, light yellow, and light pink colors respectively, and which all
          are similar oval shapes and sizes to those of the Entresto tablets. 18

      22. I also understand that the MSN generic drug’s label and packaging insert omit
          instructions on the reduced dosing regimen for patients who are not taking or are taking
          low doses of ACEis or ARBs. 19




17   Complaint ¶ 89.
18   Complaint ¶¶ 90–93.
19   Complaint ¶¶ 119–123.


                                                    9




                                                Add122
 Case 2:25-cv-00849               Document 4-11     Filed 01/31/25       Page 11 of 40 PageID: 273




      23. In addition, I understand that MSN plans to distribute its generic drug under the
           “Novadoz” name. 20

                             3.     Allegations

      24. I understand that Novartis has filed a lawsuit alleging that MSN’s sale of a generic drug
           that replicates the sizes, shapes, and colors of the Entresto tablets infringes Novartis’s
           trade dress rights in the look and feel of the Entresto tablets. 21 I also understand that
           Novartis alleges that MSN’s use of the Novadoz name—which combines the first half of
           Novartis with the second half of Sandoz—in connection with its generic drug infringes
           on Novartis’s rights in the “Novartis” trademark. 22

      25. As part of its claims, Novartis alleges that MSN’s sale of pills that look just like Entresto
           and are offered under the Novadoz name, could confuse HCPs as to the source of
           MSN’s generic and could lead to patient harm. Specifically, Novartis alleges that
           confused HCPs may mistakenly consult the MSN label when making prescribing
           decisions and fail to treat patients who are not currently taking or are taking low doses of
           ACEis or ARBs, according to the reduced dosing regimen included in the Entresto
           labeling and packaging insert. 23 Novartis alleges that this confusion could lead to
           negative side effects harming patients. 24

           D.     Information Considered

      26. In preparing this declaration, I have reviewed information from a variety of sources.
           These include, for example: (a) information obtained directly from Novartis; (b)
           information in my personal possession; and (c) information from publicly available
           sources. In addition, I have relied on my experience as a practicing Cardiologist and
           researcher.


20   Complaint ¶¶ 95–98.
21   Complaint ¶¶ 88–94.
22   Complaint ¶¶ 95–105.
23   Complaint ¶¶ 119–126.
24   Id.


                                                    10




                                                  Add123
Case 2:25-cv-00849       Document 4-11         Filed 01/31/25      Page 12 of 40 PageID: 274




   27. All of the materials relied on are listed in Appendix B. The specific information on
      which I have relied is also cited in the footnotes of the text. I expressly reserve the right
      to supplement my opinions, including with any relevant charts, tables, and exhibits, in
      response to any experts Defendants put forward, should any additional information
      become available to me or the correction of inadvertent errors lead me to change my
      opinions.

   28. I may use the materials that I have identified, as well as other information that has been
      or may be produced during the course of this case, to support my testimony at deposition
      and at trial. In addition, I may use demonstrative materials based on this information and
      my analyses to support that testimony.

     E.      Summary of Opinions

   29. A high-level overview of my opinions—which are described in more detail throughout
      the body of this declaration—is included below.

             a)      HCPs refer to FDA-approved labels and packaging inserts when making
             prescribing decisions.

             b)      HCPs consult online resources such as Medscape, UpToDate, and
             Drugs.com when making prescribing decisions, and will often use online search
             engines like Google to search for drug prescribing information.

             c)      HCPs are not immune to confusion regarding drugs or to medical error.
             An HCP could inadvertently mix up two drugs based on their appearance or
             confusingly similar manufacturer names. HCPs are exposed to drug appearances
             and the names of associated manufacturers through informational resources direct
             from the manufacturer, as well as online resources incorporating images of
             products, such as Medscape, Drugs.com, or even a Google search. Exposure to
             that information could confuse HCPs as to the identity and source of various
             treatments based on the similar appearance of two drugs or confusingly similar
             manufacturer names. This confusion could lead HCPs to consult the generic’s
             FDA-approved label and packaging insert (either directly or through an online

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                                           Add124
Case 2:25-cv-00849          Document 4-11        Filed 01/31/25      Page 13 of 40 PageID: 275




                resource incorporating that data), rather than the branded drug’s FDA-approved
                label and packaging insert.

                d)     HCP confusion—and the inadvertent reference to the generic’s prescribing
                information, rather than Entresto’s prescribing information—could lead to patient
                harm. A confused HCP might fail to prescribe a reduced dosing regimen for
                patients not currently taking or taking low doses of ACEis and ARBs (because the
                MSN generic’s label omits the modified dosing regimen).

                e)     Generic medications do not need to look just like the branded equivalent
                to be effective. Generic medications often look different from their branded
                equivalents (examples included in Appendix C). After years of chronic heart
                failure medications looking different in appearance, patients are accustomed to
                changes in appearance in their medications as new medications, including new
                generic options, become available. To the extent a difference in appearance
                causes patient anxiety or any risks of nonadherence, those issues can be resolved
                with a simple conversation with patients, informing them that they are receiving a
                generic version of the brand drug to which they are accustomed.

                f)     It is always vital that patients have a say in the medication they are given.
                Where generics and their branded equivalents look nearly identical, patients often
                do not even realize when a generic drug has been substituted. This substitution—
                without patient awareness—can deprive patients of the right to have a say in the
                medications they receive and to maintain control over their own treatment. This is
                particularly important given that it has been shown that for many drugs, patients
                report better performance and/or fewer adverse events on the brand name drug.
                The patient’s right to make a decision is eroded if the brand name and generic
                drugs are identical in appearance, such that the patient does not detect a
                substitution.

II.     HCP Prescribing Decisions

      30. HCPs consult a variety of resources in making prescribing decisions.


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                                              Add125
 Case 2:25-cv-00849               Document 4-11              Filed 01/31/25           Page 14 of 40 PageID: 276




      31. HCPs consult FDA-approved labels and packaging inserts (both of which are available
           online) in making prescribing decisions. An FDA-approved label includes “a summary
           of the essential scientific information needed for the safe and effective use of the drug,”
           and “includes the Prescribing Information, FDA-approved patient labeling (Medication
           Guides, Patient Package Inserts, and/or Instructions for Use), and/or carton and
           container labeling.” 25 “Labeling for prescription medicines is FDA’s primary tool for
           communicating drug information to healthcare professionals, and patients and their
           caregivers.” 26

      32. HCPs also frequently consult online resources to locate information on drugs, including
           MedScape, UpToDate, Drugs.com, and WebMD, many of which include FDA-approved
           prescribing information. 27 HCPs’ use of these references is very commonplace. For
           example, UpToDate is used roughly 1.6 million times per day to aid in clinical decision
           making and is shown to change management roughly a third of the time. 28 In my
           experience, nearly every practicing HCP relies on these resources daily to review drug-
           drug interactions, side effects, and appropriate dosing (as provided in the drugs’
           respective product inserts). I too reference one or multiple of these resources on an
           approximately near-daily basis to provide my patients with appropriate pharmaceutical
           treatment.

      33. For most HCPs, reliance on these resources is even more common for drugs with more
           complicated names and dosing options, such as Entresto. Of the four-pillars for heart



25   FDA’s Labeling Resources for Human Prescription Drugs: For Industry, FDA, https://www.fda.gov/drugs/laws-acts-and-
     rules/fdas-labeling-resources-human-prescription-drugs (accessed Jan. 28, 2025).
26   Frequently Asked Questions about Labeling for Prescription Medicines: For Healthcare Professionals, FDA,
     https://www.fda.gov/drugs/fdas-labeling-resources-human-prescription-drugs/frequently-asked-questions-about-labeling-
     prescription-medicines (accessed Jan. 28, 2025).
27   Sullivan HW, Squire C, Aikin KJ, Tzeng J, Ferriola-Bruckenstein K, Brodsky E, Trentacosti AM, Johnson M. Physicians'
     use of and preferences for FDA-approved prescribing information. Res Social Adm Pharm. 2022 Jun;18(6):3027-3037. doi:
     10.1016/j.sapharm.2021.07.028.
28   30 years of UpToDate: The evolution of clinical decision support and the future of evidence-based medicine, Wolters
     Kluwer, https://www.wolterskluwer.com/en/expert-insights/30-years-of-uptodate-evolution-of-clinical-decision-support-
     future-of-evidence-based-medicine (accessed Jan. 28, 2025); see also Dorfman S, Woodland J, Tarantino T, Kuper C. Media
     Vitals 2016 What Physicians Want and Need from Pharma A Look Across Six Specialties. CMI/Compas Study. 2016 Oct.
     (In one study, more than 70% of HCPs reported using search engines at least once daily for professional purposes, with 48%
     of cardiologists using search engines 1–3 times per day).


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                                                         Add126
 Case 2:25-cv-00849                Document 4-11                               Filed 01/31/25   Page 15 of 40 PageID: 277




           failure treatment, Entresto is the only drug with a two-part dosing structure 29 and with
           non-rounded dosing numbers (i.e., 24/26 mg, 49/51 mg, and 97/103 mg). For
           comparison to SGLT2 inhibitors, dapagliflozin (branded as Farxiga) comes in 5mg or
           10mg doses, meanwhile empagliflozin (branded as Jardiance) comes in 10mg and 25mg
           doses. In my experience, including from teaching other HCPs and collaborating with my
           colleagues in the treatment of heart failure, the complicated dosing structure of Entresto
           in particular leads many HCPs to consult online resources (which often incorporate
           FDA-approved prescribing information and information from drugs’ labels) in guiding
           their use of this medication.

      34. The online resources referenced by HCPs may contain images of drugs, and some even
           comingle the information for branded and generic drugs on one informational page. For
           example, searching for the brand drug “Farxiga” on Medscape.com, leads to a single
           page for drugs incorporating the active ingredient “dapagliflozin.” 30 That webpage
           includes images of dapagliflozin tablets at the bottom of the page, as shown below:

                                    Images
                                     BRAND                            J.   FORM.         .j,




                                     dapaghnozin propanediol oral          10mgtablet




                                     dapaglrflozin propanediol oral        5 mg tablet




      35. Drugs.com incorporates a “Pill Identifier,” including images of drugs. A search for a
           compound name on Drugs.com—such as “dapagliflozin”—leads to a series of results,




29
     When I refer to Entresto’s “two-part dosing structure,” I mean that each Entresto dose has two numbers (e.g., 24/26 mg).
     The numbers in the Entresto doses correspond to the two medicines that make up Entresto—sacubitril and valsartan. Tips
     For Taking Entresto®, Novartis, https://www.entresto.com/starting-entresto (accessed Jan. 28, 2025) (“Entresto is a film-
     coated tablet that comes in the following doses: 24/26 mg, 49/51 mg, and 97/103 mg. It comes in these doses because it
     contains 2 medicines, which enable it to work in 2 ways.”).
30
     Farxiga, Medscape, https://reference.medscape.com/drug/farxiga-dapagliflozin-999899 (accessed Jan. 28, 2025).

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 Case 2:25-cv-00849                     Document 4-11                    Filed 01/31/25              Page 16 of 40 PageID: 278




           including results from the “Pill Identifier,” showing images of both generic and branded
           medications (sample image included below). 31

          ➔   C     Gil    !; drugs.com/ search.php?searchterm= dapagliflozin




                     Dapagliflozin
                     Dapagliflozin is a prescription med ication that is mainly used alongside diet and exercise to help
                     treat type 2 diabetes, but it is also used in the treatment of heart failure. It was first approved by the
                     US Food and Drug Administration (FDA) in 2014. Dapagliflozin is a sodium-glucose cotransporter. ..

                     Side Effects                                               Support Group Q & A

                     Pregnancy/ Breastfeeding                                   Professional

                     Drug Interactions                                          Compare Alternatives

                     Dosage

                     4.8 /1 0                                 191 Reviews




                  Dapagliflozin Prescribing Information
                  Prescribing Information (FDA)

                  DAPAGLIFLOZIN TABLETS are indicated: • To reduce the risk of sustained eGFR decline, end-stage kidney
                  disease, cardiovascu lar death, and hospitalization for heart failure in adu lts with chronic kidney disease at
                  risk of prog ression. • To reduce the risk of card iovascular death, hospitalization ...



                  Dapagliflozin results from the Pill Identifier



                                                                                    la
      36. These online resources often incorporate the information that appears on FDA-approved
           labels and prescribing information. For example, MedScape and Drugs.com both include
           detailed information on potential side effects and dosing instructions. 32




31
     Dapaglifozin, Drugs.com, https://www.drugs.com/search.php?searchterm=dapagliflozin (accessed Jan. 28, 2025).
32   1428 10 Pill – yellow four-sided, Drugs.com, https://www.drugs.com/imprints/1428-10-35511.html (accessed Jan. 28,
     2025); dapagliflozin (Rx), MedScape, https://reference.medscape.com/drug/farxiga-dapagliflozin-999899 (accessed Jan. 28,
     2025).


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                                                                   Add128
 Case 2:25-cv-00849                 Document 4-11                   Filed 01/31/25    Page 17 of 40 PageID: 279




      37. Both MedScape and Drugs.com include pages for Entresto. For example, a search for
           “Entresto” on MedScape leads to a page on “sacubitril/valsartan,” 33 that includes the
           below image of the Entresto tablets.


                     Images
                       BRAND                          ,I,   FORM.             .j,




                       Entresto (sacubitril/valsartan)      24-26 mg tablet




                       Entresto (sacubitril/va lsartan)     49-51 mg tablet




                       Entresto (sacubitril/va lsartan)     97-103 mg tablet




                                                                                                        34



      38. Drugs.com also includes results for Entresto, as depicted on the next page.




33
     “Entresto” Search, Medscape, https://search.medscape.com/search?q=entresto&plr=ref (accessed Jan. 28, 2025).
34
     Sacubitril/Valsartan, Medscape, https://reference.medscape.com/drug/entresto-sacubitril-valsartan-1000010#90 (accessed
     Jan. 28, 2025).


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                                                               Add129
 Case 2:25-cv-00849                     Document 4-11           Filed 01/31/25           Page 18 of 40 PageID: 280




        Entresto Prescribing Information
        Prescribing Information (FDA)

        ENTRESTO is indicated to reduce the risk of cardiovascular death and hospitalization for heart fa ilure in
        adult patient s with chronic heart failure. Benefits are most clearly evident in patients with left ventricu lar
        ejection fraction (LVEF) below norm al. LVEF is a variable measure, so use clinical judgment...



        Entresto results from the Pill Identifier



        BBB
        Entresto Dosage Guide
        Dosage Information (Advanced)

        Entresto Dosage 2. 1 General Considerations ENTRESTO is contraindicated with concomitant use of an
        angiotensin-converting enzyme (ACE) inhibitor. If switching from an ACE inhibitor to ENTRESTO allow a
        washout period of 36 hours between administration of the two drugs. 2.2 Adult Heart Failure The ...                35



        39. HCPs also make prescribing decisions based on Google searches, which could lead to a
             mix of results for the brand name and generic drugs. In my experience, these search
             results often do not differentiate between brand and generic options. Moreover, one of
             the most utilized clinical resources in the United States by HCPs is UpToDate, which
             makes no distinction between brand or generic medications in the drug information
             articles. In fact, searches for “Entresto” and “Sacubitril Valsartan” yield the same search
             result with the generic name as the header and a single, comingled drug facts page. 36

III.       Potential for HCP Confusion

        40. HCPs are not immune to confusion and medical error. Medical error is often rooted in
             confusing packaging, labeling, or copycat drugs. According to the Institute for Safe




35
       “Entresto” Search, Drugs.com, https://www.drugs.com/search.php?searchterm=Entresto (accessed Jan. 28, 2025).
36
       Sacubitril and valsartan: Drug information, UpToDate, https://www.uptodate.com/contents/sacubitril-and-valsartan-drug-
       information (accessed Jan. 28, 2025).


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                                                           Add130
 Case 2:25-cv-00849                Document 4-11              Filed 01/31/25            Page 19 of 40 PageID: 281




           Medication Practices (“ISMP”), approximately 25% of medical error reports received by
           ISMP are related to look-alike products and misleading container labeling. 37

      41. HCPs exposed to the appearance of products through manufacturer-distributed
           resources, pill samples, or an online resource, could confuse drugs based on similarities
           in appearances of pill tablets. 38

      42. This is particularly true where online resources include images of the generic and
           branded drugs—including links to information about those respective drugs—side-by-
           side. For example, on Drugs.com, where the generic and branded medications appear
           identical, a prescriber could easily click on an image of the generic medication believing
           it was the branded equivalent, and make prescribing decisions based on the information
           provided in connection with the generic drug.

      43. Particularly in the context of this case, HCPs could easily click on the image of MSN’s
           generic product, believing it was Entresto, and make prescribing decisions based on the
           FDA-approved prescribing information for the generic (which notably omits the
           modified dosing regimen for patients who are not currently taking or taking low doses of
           ACEis and ARBs).

      44. Further, where information for brand and generic drugs is comingled on a single
           webpage (as is the case on MedScape and UpToDate), it is not clear that dosing
           instructions for the respective drugs (from their respective product inserts) will be
           clearly distinguished, and HCPs may be confused into believing that the FDA-approved
           prescribing information for the respective products is identical. This is particularly true
           on MedScape because MedScape’s combined informational pages include images of



37   Importance of Premarket Labeling and Packaging Safety Evaluations in Minimizing Postmarket Medication Errors, ECRI,
     https://home.ecri.org/blogs/ismp-on-demand-events/importance-of-premarket-labeling-and-packaging-safety-evaluations-in-
     minimizing-postmarket-medication-errors?_pos=4&_sid=307280481&_ss=r (accessed Jan. 28, 2025); ISMP National
     Vaccine Errors Reporting Program 2022-2023 Analysis: New Vaccines, New Errors, ECRI,
     https://home.ecri.org/blogs/ismp-alerts-and-articles-library/ismp-national-vaccine-errors-reporting-program-2022-2023-
     analysis-new-vaccines-new-errors (accessed Jan. 28, 2025) (reporting similar figures).
38   Cristina Milesi, Preserving Patient Safety: Understanding the Risks of Look-Alike and Sound-Alike Drug Names, Brand
     Institute, https://www.brandinstitute.com/preserving-patient-safety-understanding-the-risks-of-look-alike-and-sound-alike-
     drug-names/ (accessed Jan. 28, 2025).


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                                                         Add131
 Case 2:25-cv-00849                  Document 4-11               Filed 01/31/25             Page 20 of 40 PageID: 282




            pills; where brand and generic pills are identical, HCPs may assume the associated
            information is also identical.

       45. HCPs could also be confused as to the source of a generic pill based on the use of a
            confusingly similar manufacturer name. For example, in this case, the use of “Novadoz”
            (in combination with the similar appearance of the Entresto and generic pills) could lead
            HCPs to believe that Novartis has released an “authorized generic” 39 version of Entresto
            and deceive HCPs into believing there is no material difference between the FDA-
            approved uses of Entresto and MSN’s generic product. Before this case, I was aware that
            Sandoz was the generics division of Novartis. The combination of those two names—
            particularly used in connection with pills identical to a Novartis brand drug—could
            confuse HCPs into believing that Novartis has released its own authorized generic
            version of Entresto and that the generic and Entresto are equivalent.

IV.        Patient Harm Stemming from Confusion

       46. A physician’s goal is always to do no harm—a key component of our Hippocratic oath.
            Here, confusion between the two drugs could lead an HCP to mistakenly click on an
            image of the generic product believing it was Entresto or falsely assuming its label and
            prescribing information was identical to that of Entresto (on a resource like Medscape or
            Drugs.com), and make a decision without the benefit of key dosing information in
            Entresto’s label that would allow the HCP to maximize the benefit of the drug while
            minimizing the potential harm.

       47. The MSN generic’s label omits key dosing information for patients who are not
            currently taking or taking low doses of ACEis or ARBs. Unlike Entresto’s label—which
            indicates these patients start on the 24/26 mg Low Starting Dose, rather than the 49/51




39    “The term ‘authorized generic’ drug is most commonly used to describe an approved brand name drug that is marketed
      without the brand name on its label. Other than the fact that it does not have the brand name on its label, it is the exact same
      drug product as the branded product. An authorized generic may be marketed by the brand name drug company, or another
      company with the brand company’s permission.” FDA List of Authorized Generic Drugs, FDA,
      https://www.fda.gov/drugs/abbreviated-new-drug-application-anda/fda-list-authorized-generic-drugs (accessed Jan. 28,
      2025).


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                                                             Add132
 Case 2:25-cv-00849                Document 4-11             Filed 01/31/25            Page 21 of 40 PageID: 283




           mg Recommended Starting Dose—the MSN generic’s label includes no unique
           information regarding the dosing of these particular patients.

      48. Even though the FDA approved the MSN generic’s label, the omission of this
           information could lead to negative side effects—some quite severe—that could be
           avoided if the HCP had referred to Entresto’s label in making prescribing (and relatedly,
           dosing) decisions. For example, prescribing Entresto or the MSN generic at a dose
           higher than the 24/26 mg Low Starting Dose in patients naïve to ACEi or ARB could
           lead to low blood pressure, electrolyte disturbances, or even kidney failure. As stated
           above, this issue impacts a substantial patient population. 40 Here, HCP confusion as to
           the appropriate dosing of Entresto can lead to higher risk of adverse events, elevated
           concerns about the safety profile of Entresto, and possible underutilization of this drug
           for the treatment of chronic heart failure. In other words, patients who are not dosed
           according to the directed dosing in Entresto’s label due to confusion between the drugs,
           are more likely to have initial adverse reactions, and thereby be deemed “intolerant” of
           Entresto moving forward. This can lead to the underutilization of this pillar of chronic
           heart failure treatment.

      49. In my experience, prescribing Entresto at higher than recommended doses can lead to
           very serious side effects for patients. As a clinician experienced in the treatment of heart
           failure, I am very much aware that any medication we use in this disease state can lead
           to adverse events. In heart failure the heightened risk of adverse events is largely
           attributable to 3 factors:

                   a)        Medications for heart failure with reduced ejection fraction, particularly
                   medications that fall within the “four pillars” of heart failure, are often co-
                   administered. Low blood pressure, which can lead to a number of adverse events
                   including loss of consciousness and even death, is a potential side effect of the
                   “four pillars” of heart failure treatment. Three of the “four pillars” are also known




40   Tan NY, Sangaralingham LR, Sangaralingham SJ, Yao X, Shah ND, Dunlay SM. Comparative effectiveness of sacubitril-
     valsartan versus ACE/ARB therapy in heart failure with reduced ejection fraction. JACC: Heart Fail. 2020 Jan;8(1):43-54.


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                                                         Add133
 Case 2:25-cv-00849                Document 4-11               Filed 01/31/25           Page 22 of 40 PageID: 284




                   to contribute to acute kidney injuries, which can lead to hospitalization and in
                   severe cases, need for hemodialysis.

                   b)        Patients with significant heart failure are more likely to have a lower blood
                   pressure and worse renal function at baseline, heightening the risk of such adverse
                   events with polypharmacy. 41

                   c)        Guideline-directed medical therapy (“GDMT”) of heart failure encourages
                   the combination of the “four pillars,” often with as high of a dose as can be
                   tolerated, further heightening the risks of hypotension and kidney injury. 42

      50. While Entresto is a drug with many benefits, the heightened risk of adverse events with
           Entresto is well known, particularly with regard to hypotension and acute kidney injury
           (particularly if not dosed properly). 43 I am familiar with this heightened risk not only
           through my review of the literature, but also via my personal experience with this drug.
           Following the publication of its landmark trial in heart failure with reduced ejection
           fraction (“PARADIGM-HF”), my colleagues and I were, and continue to be, eager to
           use this drug in our patients with heart failure. 44 However, we balance our enthusiasm
           for its potential benefit (which is substantial) with its risks of adverse events.
           Appropriate and careful dosing, consistent with Entresto’s label’s instructions,
           particularly in patients previously not on ACEis or ARBs, is essential to minimize risks
           and the omission of the modified dosing regimen for these patients in the MSN generic’s
           label can lead to provider confusion with possibly catastrophic consequences.


41   Arundel C, Lam PH, Gill GS, Patel S, Panjrath G, Faselis C, White M, Morgan CJ, Allman RM, Aronow WS, Singh SN.
     Systolic blood pressure and outcomes in patients with heart failure with reduced ejection fraction. J Am Coll Cardiol. 2019
     Jun 25;73(24):3054-63; Löffler AI, Cappola TP, Fang J, Hetzel SJ, Kadlec A, Astor B, Sweitzer NK. Effect of renal
     function on prognosis in chronic heart failure. Am J Cardiol. 2015 Jan 1;115(1):62-8.
42   Heidenreich PA, Bozkurt B, Aguilar D, Allen LA, Byun JJ, Colvin MM, Deswal A, Drazner MH, Dunlay SM, Evers LR,
     Fang JC. 2022 AHA/ACC/HFSA guideline for the management of heart failure: a report of the American College of
     Cardiology/American Heart Association Joint Committee on Clinical Practice Guidelines. J Am Coll Cardiol. 2022 May
     3;79(17):e924, e937-39.
43   Kimm YS, Brar S, D’Albo N, Dey A, Shah S, Ganatra S, Dani SS. Five years of sacubitril/valsartan—a safety analysis of
     randomized clinical trials and real-world pharmacovigilance. Cardiovasc Drugs Ther. 2022 Oct;36(5):915-24; McMurray JJ,
     Packer M, Desai AS, Gong J, Lefkowitz MP, Rizkala AR, Rouleau JL, Shi VC, Solomon SD, Swedberg K, Zile MR.
     Angiotensin–neprilysin inhibition versus enalapril in heart failure. N Engl J Med. 2014 Sep 11;371(11):993-1004.
44   McMurray JJ, Packer M, Desai AS, Gong J, Lefkowitz MP, Rizkala AR, Rouleau JL, Shi VC, Solomon SD, Swedberg K,
     Zile MR. Angiotensin–neprilysin inhibition versus enalapril in heart failure. N Engl J Med. 2014 Sep 11;371(11):993-1004.


                                                               21




                                                          Add134
 Case 2:25-cv-00849              Document 4-11             Filed 01/31/25          Page 23 of 40 PageID: 285




V.       Generic Medications Do Not Need to Look Like the Branded Equivalent

      51. After years of chronic heart failure medications looking different in appearance—
          including branded medications looking different from each other, as well as from their
          own generic equivalents (examples included in Appendix C)—patients are accustomed
          to changes in appearance in their medications as new medications, including new
          generic options, become available.

      52. Generic medications do not need to look like their branded equivalents to be effective.
          To the extent a difference in appearance causes patient anxiety or any risks of
          nonadherence, those issues can be addressed by a conversation with the HCP.

      53. In my experience, patient concerns about the differing appearance of their tablets can be
          effectively addressed in a few sentences discussing the presence of different
          manufacturers in the pharmaceutical industry.

      54. If anything, having a generic medication look different from a branded equivalent is to a
          patient’s advantage because it helps to ensure that patients understand when they are
          receiving a generic substitute and make an informed decision about their medical care.

      55. Pharmacies will often substitute generic drugs for brand name drugs, due to cost
          considerations.

      56. However, not all patients perform equally as well on generic drugs. In fact, for many
          drugs, patients may report better performance and/or less adverse events on the brand
          name drug. 45

      57. As a result, some patients are willing to pay a premium for brand name drugs to ensure
          optimal, consistent performance. They can exercise this choice by instructing their HCP
          to note on the prescription that only the brand name drug should be dispensed by the
          pharmacist. I encounter this request on almost a daily basis and often with medications

45   Wang L, Chen YJ, Grabner M, Nepal B, Bodhani A, Espaillat R, Hennessey JV. Comparative Effectiveness of Persistent
     Use of a Name-Brand Levothyroxine (Synthroid®) vs. Persistent Use of Generic Levothyroxine on TSH Goal Achievement:
     A Retrospective Study Among Patients with Hypothyroidism in a Managed Care Setting. Adv Ther. 2022 Jan;39(1):779-95;
     Brown JP, Davison KS, Olszynski WP, Beattie KA, Adachi JD. A critical review of brand and generic alendronate for the
     treatment of osteoporosis. Springerplus. 2013 Dec;2:1-2.


                                                           22




                                                      Add135
 Case 2:25-cv-00849                Document 4-11              Filed 01/31/25            Page 24 of 40 PageID: 286




           that patients have relied on for significant diagnoses. With a medication such as
           Entresto, that patients rely on to treat a life-threatening condition and that can result in
           adverse events, patients may be particularly concerned about possible complications
           from a switch to a generic option.

      58. If a patient does not realize the generic product on the market is distinct from the brand
           name drug, they may not know to request that they receive the brand name drug only. In
           addition, if a patient receives a generic substitution that looks nearly identical to the
           brand name drug, they may not even realize the substitution has occurred.

      59. Where a patient does not detect a substitution, their right to make an informed decision
           about their medical care is eroded. Patient confusion and the resulting deprivation of a
           choice between the generic and brand name drug is contrary to patient autonomy—a
           core tenet of bioethics. 46 This is particularly concerning for a medication like Entresto,
           which patients have been educated to consider as potentially lifesaving.

      60. In my experience, this could easily happen, as patients have a varied understanding of
           the details of their pharmaceutical regimen. Some patients keep personalized lists of
           their regimen with the names/doses, some organize their regimens with pill boxes, and
           many simply recognize the color and the shape of their drugs. It is not uncommon for
           patients to not be able to pronounce the full name of some of their drugs but recognize
           them by their appearance and still be compliant with their prescription use. I often have
           found that some patients are not aware of whether the drug they are taking is brand or
           generic and it is not an infrequent occurrence that an auto-substitution has taken place by
           the pharmacy from a brand to a generic alternative without the provider’s or patient’s
           consent or knowledge. This commonplace automated substitution by pharmacies takes
           away patient and provider autonomy over individualized decisions for patients,
           particularly for those with a history of drug intolerances and preference for some brand
           names. Here, the very similar appearance of MSN’s generic to Entresto would heighten




46   The Four Principles of Medical Ethics, Medical Protection, https://www.medicalprotection.org/uk/articles/essential-
     learning-law-and-ethics (accessed Jan. 28, 2025).


                                                              23




                                                         Add136
Case 2:25-cv-00849       Document 4-11         Filed 01/31/25      Page 25 of 40 PageID: 287




        the risk of this confusion and compromise patients' autonomy over their pharmaceutical
        regimen.



       I declare under penalty ofperjury that the foregoing is comprised of true and correct
  statements of my expert opinions.


       Signed this 30th day of January, 2025, in   lo S An.US- c7t


       Arash Nayeri, MD




                                              24




                                           Add137
Case 2:25-cv-00849        Document 4-11        Filed 01/31/25     Page 26 of 40 PageID: 288




                                          Appendix A
                                 Arash Nayeri, MD, MS, FACC

            Diplomate, American Board of Internal Medicine: Cardiovascular Diseases

                        Diplomate, National Board of Echocardiography

                              Board Certified, Nuclear Cardiology

                            Fellow, American College of Cardiology

                   Attending Cardiologist, Cedars-Sinai Smidt Heart Institute

                           (310) 383-5085  Nayeri2008@gmail.com

EDUCATION

2018-2022       University of California, Los Angeles- Los Angeles, CA
                Fellowship, Cardiology
                STAR Research Pathway
                Board certified in echocardiography and nuclear medicine
                Board certified in general cardiology

2016-2018       University of California, Los Angeles- Los Angeles, CA
                Residency, Internal Medicine
                Pro-STAR Research Pathway

2012-2016       Vanderbilt University School of Medicine- Nashville, TN
                Doctor of Medicine Degree
                Cornelius Vanderbilt Scholarship- Full, merit-based scholarship

2008-2012       University of California, Berkeley- Berkeley, CA
                BA, Molecular and Cell Biology
                Departmental Citation and Outstanding Scholar Award
                UC Regent Scholarship- Full, merit-based four-year scholarship

WORK EXPERIENCE

2022-           Cardiologist
                Non-invasive, lipidology, and metabolic health
                 Cedars-Sinai Smidt Heart Institute
                 COR Medical Group

2024-           Clinical Advisor & Site Principal Investigator
                 iCARDIO.ai

2023-           Clinical Advisor & Speaker

                                               25




                                             Add138
Case 2:25-cv-00849     Document 4-11        Filed 01/31/25   Page 27 of 40 PageID: 289




              Heartflow


2023-        Clinical Advisor & Speaker
              Eli Lilly and Company


2022-        Clinical Advisor & Speaker
              Esperion Therapeutics

2022-        Lead Clinical Advisor
              Petros Pharmaceuticals

2019-2022   Cardiology Inpatient Weekend Coverage
             Private Cardiology Practice Groups, Cedar Sinai Medical Center

2016-2020   Mobile Concierge Physician
            Heal, a Mobile Health Company, Los Angeles


HONORS/AWARDS

2020        Fellow Teaching Award, University of California, Los Angeles

2018        Best Clinical Poster, 63rd Academy of Psychosomatics Annual Meeting

2015        Poster Presentation Award, 14th Annual MVT Cancer Retreat

2014        Best Clinical Poster, Vanderbilt-Ingram Cancer Center Annual Retreat

2014        Clara Barton Volunteer Leadership Award, Santa Monica Red Cross

2013        Microbes and Defense Academic Society Inductee

2012-2016   Cornelius Vanderbilt Scholarship

2012        Alpha Sigma Phi Graduate Award & Scholarship

2012        Departmental Citation & Outstanding Scholar Award, Dep. of MCB

2012        Paola S. Timiras Memorial Prize, Dep. of MCB, UC Berkeley

2012        Outstanding Graduate Student Instructor Award, UC Berkeley

2011        Bioinformatics Research Award, Dep. of MCB, UC Berkeley

2009        Brandon Huseman Legacy Award, NSCS


                                            26




                                          Add139
Case 2:25-cv-00849        Document 4-11        Filed 01/31/25       Page 28 of 40 PageID: 290




2008-2012      Merit Scholar, Iranian Scholarship Foundation

2008-2012      UC Berkeley Regent Scholarship



LEADERSHIP/SERVICE

2017-2018      Cardiovascular Quality Improvement Initiative, UCLA
               Lead of quality improvement initiative in cardiology clinics

2016-2018      Chiefs’ Summer Fellowship, David Geffen School of Medicine at UCLA
               Resident research mentor

2016-2017      Providers for Responsible Ordering (PRO), UCLA
               Project leader for resource utilization after organ transplant

2015-2016      Vanderbilt University School of Medicine, Office of Admissions
               Executive member of the admissions committee

2014-Present   Recovered Medical Equipment for the Developing World (REMEDY)
               Group leader and volunteer at Vanderbilt’s chapter of REMEDY

2012-Present   Shade Tree Clinic (Nashville, TN)
               Volunteer at student-run, free clinic.

2008-2012      National Society of Collegiate Scholars, UC Berkeley
               Founding member, president, alumni director
               Brandon Huseman Legacy Award (2009)

2006-2014      Santa Monica Red Cross (Santa Monica, CA)
               Program coordinator, recruitment officer, fundraising support
               Clara Barton Volunteer Leadership Award (2014)


RESEARCH EXPERIENCE

2015-2020      Patient and Provider Misconceptions in the use of new Cardiovascular
               Pharmaceuticals

2015-2020      Disparities in Evidence Based Pharmaceutical use, Insights from the
               National Health Interview Survey
                Mentor: James Macinko, PhD

2015-2019        Atypical Cardiomyopathy Diagnostics, Management, and Outcomes
                 Mentors: Quinn Wells, M.D. John McPherson, M.D.

2015-2017        Stress Cardiomyopathy Diagnostics, Management, and Outcomes

                                                27




                                            Add140
Case 2:25-cv-00849          Document 4-11         Filed 01/31/25      Page 29 of 40 PageID: 291




                  Relevant manuscripts, abstracts, and presentations are listed below
                  Mentor: Quinn Wells, M.D.

2015-2017         Therapeutic Hypothermia Following Cardiac Arrest
                  Relevant manuscripts, abstracts, and presentations are listed below
                  Mentor: Quinn Wells, M.D. John McPherson, M.D. Gregg Fonarow M.D.

2015-2017         Aortic Stenosis: Echocardiographic Predictors of Progression
                  Manuscripts in preparation
                  Mentor: Quinn Wells, M.D. John McPherson, M.D. Gregg Fonarow M.D.

2012-2016         Meningioma Treatment, Outcomes, and Postoperative Surveillance Relevant
                  manuscripts, abstracts, and presentations are listed below
                  Mentor: Lola Chambless, M.D.

2012-2016         Pituitary Adenoma Postoperative Surveillance & Follow-Up
                  Relevant manuscripts, abstracts, and presentations are listed below
                  Mentors: Heather Kistka, M.D. Lola Chambless, M.D.

2012-2014         Publication Misrepresentation amongst Residency Applicants
                  Relevant manuscript, abstract, and presentation are listed below
                  Mentors: Reid Thompson, M.D. Lola Chambless, M.D.

2010-2014         Actin Cytoskeleton and Signaling in Giardia Lamblia
                  Relevant manuscripts, abstracts, and presentations are listed below
                  Mentors: Zac Cande, Ph.D. Alexander Paredez Ph.D.




PEER-REVIEWED PUBLICATIONS

Krishnan, S., Srivastava, P.K., Attaluri, J., Nayeri, R., Chatterjee, D., Patel, J., Nsair, A., Budoff,
M. and Nayeri, A., 2025. Physician Perceptions of the Safety and Efficacy of GLP-1 Receptor
Agonists: Underestimation of Cardiovascular Risk Reduction and Discrepancies with Clinical
Evidence. Journal of Cardiovascular Development and Disease, 12(1), p.19.

Krishnan S, Phan J, Kinninger A, Hubbard L, Nayeri A, Kianoush S, Benzing T, Ichikawa K,
Aldana-Bitar J, Budoff M. Automated Quantitative Analysis Of Coronary Plaque Progression
Using Serial Ccta In Los Angeles County Firefighters. Journal of Cardiovascular Computed
Tomography. 2024 Jul 1;18(4):S71-2.

Krishnan S, Khalil SO, Hsu JJ, Nayeri A, Middlekauff HR, Cho D, Nsair A. Estimation of
echocardiographic parameters of systolic function from analysis of photoplethysmography based
arterial pulse wave using automated feature selection. Journal of the American College of
Cardiology. 2023 Mar 7;81(8_Supplement):2207.


                                                  28




                                              Add141
Case 2:25-cv-00849         Document 4-11        Filed 01/31/25      Page 30 of 40 PageID: 292




Vuong JT, Stein-Merlob AF, Nayeri A, Sallam T, Neilan TG, Yang EH. Immune checkpoint
therapies and atherosclerosis: mechanisms and clinical implications: JACC state-of-the-art
review. Journal of the American College of Cardiology. 2022 Feb 15;79(6):577-93.

Nayeri A, Middlekauff H. Vaping instead of cigarette smoking: a panacea or just another form
of cardiovascular risk?. Canadian Journal of Cardiology. 2021 May 1;37(5):690-8.

Nayeri A, Xu M, Farber-Eger E, Blair M. Saini I, Shamsa K, Fonarow G, Horwich T, Wells Q.
Initial changes in peak aortic jet velocity and mean gradient predict progression to severe aortic
stenosis. IJC Heart & Vasculature. 2020; 1(30)16-21.

Nayeri A, Yuen A, Huang C, Cardoza K, Shamsa K, Ziaeian B, Wells Q, Fonarow G Horwich
T. , Blair M. Saini I, Shamsa K, Fonarow G, Horwich T, Wells Q. Prognostic implications of
pre-existing medical comorbidity in Takotsubo cardiomyopathy. Heart & Vasculature. 2020;
1(30) 1-7.

Nayeri A, Rafla-Yuan E, Krishnan S, Ziaeian B, Cadeiras M, McPherson J, Wells Q. Psychiatric
Illness in Takotsubo (Stress) Cardiomyopathy: A Review. Psychosomatics. 2018; 59(3):220-226.

Nayeri A, Rafla-Yuan E, Farber-Eger E, Blair M, Ziaeian B, Cadeiras M, McPherson JA, Wells
QS. Response to Letter to the Editor: Psychiatric Disease Among Patients with Takotsubo
Syndrome. Psychosomatics. 2018;59(1):102.

Nayeri A, Gluck H, Farber-Eger E, Krishnan S, Shamsa K, Lee M, Wells Q, McPherson J.
Temporal Pattern and Prognostic Significance of Hypokalemia in Patients Undergoing Targeted
Temperature Management Following Cardiac Arrest. Am J Cardiol. 2017;120(7):1110-1113.

Nayeri A, Bhatia N, Holmes B, Borges N, Young M, Wells QS, McPherson JA. Pre-existing
Medical Comorbidity is not Associated with Neurological Outcomes in Patients Undergoing
Targeted Temperature Management following Cardiac Arrest. Heart and Vessels.
2017;32(11):1358-1363.

Lee M, Shlofmitz E, Nayeri A, Hollowed J, Shlofmitz R. Outcomes of Patients with a History of
Coronary Artery Bypass Grafting Who Underwent Orbital Atherectomy for Severe Coronary
Artery Calcification. The Journal of Invasive Cardiology. 2017;29(10):359-362.

Lee M, Shlofmitz E, Nayeri A, Hollowed J, Shlofmitz R. Comparison of Heparin and
Bivalirudin in Patients Undergoing Orbital Atherectomy. The Journal of Invasive Cardiology.
2017;29(11):397-400

Nayeri A, Rafla-Yuan E, Farber-Eger E, Blair M, Ziaeian B, Cadeiras M, McPherson JA, Wells
QS. Pre-Existing Psychiatric Illness is Associated with Increased Risk of Recurrent Takotsubo
Cardiomyopathy. Psychosomatics. 2017;58(5):527-532

Nayeri A, Bhatia N, Holmes B, Borges N, Armstrong W, Xu M, Farber-Eger E, Wells QS,
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associated with neurological outcomes following cardiac arrest. The American Journal of
Emergency Medicine. 2017;35(6):889-892.

                                                29




                                            Add142
Case 2:25-cv-00849        Document 4-11       Filed 01/31/25     Page 31 of 40 PageID: 293




Nayeri A, Bhatia N, Xu M, Farber-Eger E, Blair M, McPherson J, Wang T, Wells Q. Prognostic
Significance of Early Rehospitalization After Takotsubo Cardiomyopathy. Am J Cardiol.
2017;119(10):1572-1575.

Nayeri A, Wu S, Adams E, et al. Acute Calcineurin Inhibitor Nephrotoxicity Secondary to
Turmeric Intake: A Case Report. Transplant Proc. 2017;49(1):198-200.

Nayeri A, Chotai S, Douleh DG, Brinson PR, Prablek MA. Type 2 Diabetes Mellitus is an
Independent Risk Factor for Postoperative Complications in Patients Surgically Treated for
Meningioma. J Neurol Neurophysiol. 2016;7(368):2.

Nayeri A, Chotai S, Prablek MA, et al. Type 2 diabetes is an independent negative prognostic
factor in patients undergoing surgical resection of a WHO grade I meningioma. Clin Neurol
Neurosurg. 2016;149:6-10.

Nayeri A, Brinson P, Weaver K, Thompson R, Chambless L. Factors Associated with Low
Socioeconomic Status Predict Poor Postoperative Follow-up after Meningioma Resection. J
Neurol Surg B Skull Base. 2016;77(3):226-30.

Nayeri A, Douleh DG, Brinson PR, Weaver KD, Thompson RC, Chambless LB. Early
postoperative emergency department presentation predicts poor long-term outcomes in patients
surgically treated for meningioma. J Clin Neurosci. 2016;25:79-83.

Nayeri A, Prablek MA, Brinson PR, Weaver KD, Thompson RC, Chambless LB. Short-term
postoperative surveillance imaging may be unnecessary in elderly patients with resected WHO
Grade I meningiomas. J Clin Neurosci. 2016;26:101-4.

Kistka HM, Nayeri A, Wang L, Dow J, Chandrasekhar R, Chambless LB. Publication
misrepresentation among neurosurgery residency applicants: an increasing problem. J
Neurosurg. 2016;124(1):193-8.

Kistka HM, Kasl RA, Nayeri A, Utz AL, Weaver KD, Chambless LB. Imaging of Resected
Nonfunctioning Pituitary Adenomas: The Cost of Surveillance. J Neurol Surg B Skull Base.
2015;76(5):344-50.

Paredez AR, Nayeri A, Xu JW, Krtková J, Cande WZ. Identification of obscure yet conserved
actin-associated proteins in Giardia lamblia. Eukaryotic Cell. 2014;13(6):776-84.

PRESENTATIONS

Poster Presentations

Nayeri A, Farber-Eger E, Blair M, Fonarow G, Shamsa K, McPherson J, Wells Q. Sex-based
Similarities In Left Ventricular Hypertrophy Regression And Progression. American Heart
Association Scientific Sessions, Philadelphia, PA. November 16-18, 2019.

Bhatia N, Agrawal S, Nayeri A, Mohananey D, Villablanca P, Agarwal M, Garg L, Haddad E.
Trends and In-Hospital Outcomes of Patients Admitted with ST Elevation Myocardial Infarction

                                              30




                                           Add143
Case 2:25-cv-00849        Document 4-11       Filed 01/31/25    Page 32 of 40 PageID: 294




and Chronic Total Occlusions: Insights from a National Database. American College of
Cardiology, 66th Annual Scientific Session, Washington, DC. March 17-19, 2017.

Nayeri A, Bhatia N, Holmes B, Borges N, Young M, Wells Q, McPherson J. Pre-existing
Medical Comorbidity is not Associated with Neurological Outcomes in Comatose Survivors of
Cardiac Arrest Undergoing Targeted Temperature Management. American Heart Association
Scientific Sessions, New Orleans, LA. November 12-16, 2016.

Nayeri A, Bhatia N, Holmes B, Borges N, Armstrong W, Xu M, Farber-Eger E, Wells Q,
McPherson J. Temperature variability during targeted temperature management is not associated
with neurological outcomes following cardiac arrest. American Heart Association Scientific
Sessions, New Orleans, LA. November 12-16, 2016.

Nayeri A, Bhatia N, Farber-Eger E, Blair M, Wells Q. Atypical Stress Cardiomyopathy is
Associated with Lower Risk of Severe Shock at Diagnosis. American Heart Association
Scientific Sessions, New Orleans, LA. November 12-16, 2016.

Bhatia N, Nayeri A, Holmes B, Armstrong W, Borges N, Young M, Huang S, McPherson J.
Outcomes of Concomitant Use of Mechanical Circulatory Support in Patients Undergoing
Therapeutic Hypothermia: A Propensity Score Weighted Regression Analysis. American Heart
Association Scientific Sessions, New Orleans, LA. November 12-16, 2016.

Nayeri A, Bhatia N, Rafla-Yuan E, Farber-Eger E, Blair M, Wells Q. Pre-Existing Psychiatric
Illness is Associated with Increased Risk of Recurrence in Stress Cardiomyopathy. 20th Annual
Scientific meeting of the Heart Failure Society of America, Orlando, FL. September 17-20, 2016.

Nayeri A, Bhatia N, Xu M, Farber-Eger E, Blair M, McPherson J, Wang T, Wells Q. Clinical
Predictors of Hospital Readmission after Diagnosis of Takotsubo Cardiomyopathy. 20th Annual
Scientific meeting of the Heart Failure Society of America, Orlando, FL. September 17-20, 2016.

Nayeri A, Bhatia N, Rafla-Yuan E, Farber-Eger E, Blair M, Wells Q. Loss of Patient Follow-Up
after Diagnosis of Takotsubo Cardiomyopathy. 20th Annual Scientific meeting of the Heart
Failure Society of America, Orlando, FL. September 17-20, 2016.

Nayeri A, Brinson P, Prablek M, Douleh D, Chambless L. Increased Perioperative Risk and
Complications in Type 2 Diabetics Undergoing Surgical Treatment for Meningioma. 84th AANS
Annual Scientific Meeting, Chicago, IL. April 30-May 4 2015.

Nayeri A, Brinson P, Chambless L. Factors Associated with low Socioeconomic Status Predict
Poor Postoperative Follow-up after Meningioma Resection. 20th Annual Meeting of the Society
for Neuro-Oncology, San Antonio, TX. November 19-22 2015.

Nayeri A, Brinson P, Douleh D, Chambless L. Early Postoperative Emergency Department
Presentation Predicts Poor Long-term Outcomes in Patients Surgically Treated for Meningioma.
20th Annual Meeting of the Society for Neuro-Oncology, San Antonio, TX. November 19-22
2015.



                                              31




                                          Add144
Case 2:25-cv-00849        Document 4-11       Filed 01/31/25     Page 33 of 40 PageID: 295




Nayeri A, Brinson P, Prablek M, Chambless L. Increased Risk of Permanent Neurologic Deficits
Following Meningioma Resection in the Elderly. 20th Annual Meeting of the Society for Neuro-
Oncology, San Antonio, TX. November 19-22 2015.

Nayeri A, Prablek M, Brinson P, Chambless L. Increased Perioperative Morbidity and Poor
Surgical Outcomes in Patients with Asymptomatic Meningiomas. 20th Annual Meeting of the
Society for Neuro-Oncology, San Antonio, TX. November 19-22 2015.

Nayeri A, Brinson P, Prablek M, Douleh D, Chambless L. Type 2 Diabetes Mellitus is an
Independent Risk Factor for Perioperative Complications in Patients Surgically Treated for
Meningioma. 20th Annual Meeting of the Society for Neuro-Oncology, San Antonio, TX.
November 19-22 2015.

Nayeri A, Prablek M, Brinson P, Chambless L. Performance Status Changes Following
Meningioma Resection are Strongly Correlated with age. Congress of Neurological Surgeons
Annual Meeting, New Orleans, LA. September 26-30 2015.

Nayeri A, Brinson P, Chambless L. Clarifying the Need for Surveillance Imaging in Elderly
Patients with Resected WHO Grade I Meningiomas: Less is More. Congress of Neurological
Surgeons Annual Meeting, New Orleans, LA. September 26-30 2015.

Nayeri A, Brinson P, Chambless L. Postoperative Imaging Surveillance in Asymptomatic
Elderly Patients with Resected WHO Grade I Meningiomas. MVT Cancer Partnership, 14th
Annual Retreat, Nashville, TN. April 11 2015. Poster Presentation Award.

Paredez A, Nayeri A, Krtkova J, Xu J, Hardin W. Rac Regulation of Membrane Trafficking in
Giardia Intestinalis. 25th Annual Molecular Parasitology Meeting, Falmouth, MA. September
14-19 2014.

Nayeri A, Chambless L. Updated Demographics for Patient with Operative Intracranial
Meningiomas. Vanderbilt-Ingram Cancer Center Annual Retreat, Nashville, TN. May 15 2014.
Best Clinical Poster Award Winner.

Kistka H, Nayeri A, Kasl R Utz A, Weaver K, Chambless L. Trends in Follow-up of Patients
Surgically Treated for Nonfunctioning Pituitary Adenomas, Vanderbilt 32nd Annual Research
Forum, Nashville, TN. April 30 2014.

Hardin W, Nayeri A, Xu J, Cande Z, Paredez A. Characterization of a Novel Player in Myosin
Independent Cytokinesis. 24th Annual Molecular Parasitology Meeting, Woods Hole, MA.
September 8-12 2013.

Nayeri A, Paredez A, Cande W.Z. A Novel Bioinformatics Approach to Survey the Giardia
Genome for Actin Binding Domains. MCB Fall Research Poster Session, University of
California, Berkeley. October 17 2011. Best Bioinformatics Research Award.




                                              32




                                           Add145
Case 2:25-cv-00849        Document 4-11       Filed 01/31/25    Page 34 of 40 PageID: 296




Oral Presentations

Nayeri A, Desai P. Reed T, Yuen A, Huang C, Cardoza K, Shamsa K, Wells Q, Yang E,
Fonarow G. Right Ventricular Function In Takotsubo Cardiomyopathy. American Heart
Association Scientific Sessions, Philadelphia, PA. November 16-18, 2019.

Nayeri A, Cardoza K, Yuen A, MacDonald A, Huang C, Fonarow C, Wells, Q, Shamsa K.
Prognostic Significance Of Physical Trigger Type In Takotsubo Cardiomyopathy. American
Heart Association Scientific Sessions, Philadelphia, PA. November 16-18, 2019.

Nayeri A, Kallos J, Brinson R, Chambless L. Early Surveillance Imaging after Complete
Resection of Skull Base Meningiomas may be Unnecessary. 12th Annual Congress of the
European Skull Base Society Meeting, Berlin, Germany. May 26-28 2016.

Nayeri A, Kallos J, Brinson R, Chambless L. Patient Age does not Effect Rates of Perioperative
Morbidity in Patients with Completely Resected Skull Base Meningiomas. 12th Annual
Congress of the European Skull Base Society Meeting, Berlin, Germany. May 26-28 2016.

Nayeri A, Chotai S, Prablek M, Douleh D, Brinson P, Chambless L. Increased Long-term
Mortality in Type 2 Diabetics Undergoing Surgical Resection of a WHO Grade I Meningioma.
26th Annual North American Skull Base Society Meeting, Scottsdale, AZ. February 12-14 2016.

Kistka H, Nayeri A, Dow J, Chambless L. Increasing Publication Misrepresentation Among
Neurosurgery Residency Applicants. Plenary presentation at American Association of
Neurological Surgeons Annual Meeting, San Francisco, CA. April 4-9, 2014.

Kistka H, Kasl R, Nayeri A, Utz A., Weaver K, Chambless L. Imaging of Nonfunctioning
Pituitary Adenomas: The Cost of Surveillance. North American Skull Base Society Meeting, San
Diego, CA. February 14-16, 2014.

Kistka H, Kasl R, Nayeri A, Chambless L. Cost-effective Imaging Follow-up of Non-
functioning Pituitary Adenomas. Tennessee Neurosurgical Society Annual Meeting. Nashville,
TN. August 9-11, 2013. Best Resident Presentation Award Winner

Paredez A, Nayeri A, Xu J.W., Krtkova J, Cande W.Z. Evolutionarily Conserved Actin Binding
Domains in Giardia Lamblia. The International Society of Protistologists North American
Section, North Carolina Central University, Durham, NC. September 22-23, 2012.

Nayeri A, Paredez A, Cande W.Z. The Identification of Novel Actin-binding Proteins in Giardia
Intestinalis. Annual MCB Research Symposium, University of California, Berkeley, CA. April
27, 2012. Best symposium presentation winner.




                                              33




                                          Add146
Case 2:25-cv-00849         Document 4-11        Filed 01/31/25      Page 35 of 40 PageID: 297




                              Appendix B – Materials Considered
Legal Documents
Complaint, Novartis v. Novadoz Pharmaceuticals, LLC, et al.


Academic Papers
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                                                34




                                            Add147
Case 2:25-cv-00849         Document 4-11       Filed 01/31/25    Page 36 of 40 PageID: 298




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                                               35




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Case 2:25-cv-00849           Document 4-11       Filed 01/31/25   Page 37 of 40 PageID: 299




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                                                 36




                                              Add149
Case 2:25-cv-00849        Document 4-11        Filed 01/31/25     Page 38 of 40 PageID: 300




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                                               37




                                           Add150
    Case 2:25-cv-00849      Document 4-11     Filed 01/31/25   Page 39 of 40 PageID: 301




                                         Appendix C
Drug                  Image of Brand Name from Drugs.com   Image of Generic from Drugs.com
Brand: Coreg
Generic: Carvedilol




Brand: Zebeta
Generic: Bisoprolol
Fumarate




Brand: Kapspargo
Sprinkle (top),
Lopressor (bottom)             RL15

Generic:
                               RL15
Metoprolol
Succinate




                                              38




                                           Add151
    Case 2:25-cv-00849   Document 4-11   Filed 01/31/25   Page 40 of 40 PageID: 302




Brand: Inspra
Generic:
Eplerenone



Brand: Vasotec
Generic: Enalapril
Maleate




Brand: Prinivil
(top), Zestril
(bottom)
Generic: lisinopril




                                         39




                                     Add152
 Case 2:25-cv-00849           Document 4-12        Filed 01/31/25      Page 1 of 23 PageID: 303




Megan K. Bannigan (mkbannigan@debevoise.com)
DEBEVOISE & PLIMPTON LLP
66 Hudson Boulevard
New York, New York 10001
(212) 909-6000



                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
---------------------------------------------------------------x
                                                               :
NOVARTIS AG, NOVARTIS                                          :
PHARMACEUTICALS CORPORATION,                                   :
                                                               :
                                    Plaintiffs,                :
                                                               : Civil Action No. 25-849
                  v.                                           :
                                                               :
NOVADOZ PHARMACEUTICALS LLC, MSN :
PHARMACEUTICALS INC., and MSN                                  :
LABORATORIES PRIVATE LIMITED,                                  :
                                                               :
                                    Defendants.                :
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     DECLARATION OF MEGAN K. BANNIGAN IN SUPPORT OF PLAINTIFFS’
      ORDER TO SHOW CAUSE FOR A TEMPORARY RESTRAINING ORDER
                & MOTION FOR PRELIMINARY INJUNCTION


          I, Megan K. Bannigan, an attorney duly admitted in the State of New Jersey and New

York, and not a party to the above-captioned case, declare the following to be true under penalty

of perjury:

1.        I am counsel for Novartis AG and Novartis Pharmaceuticals Corporation (“Novartis”) in

the above-captioned case, and as such I am familiar with the facts and circumstances set forth

herein.

2.        I submit this declaration in support of Novartis’s application for a temporary restraining

order and motion for preliminary injunction.




                                               Add153
 Case 2:25-cv-00849      Document 4-12       Filed 01/31/25      Page 2 of 23 PageID: 304




3.   Attached as Exhibit 1 are true and correct copies of:


     a. Exhibit 1.A, the “Farxiga” webpage from Drugs.com, last updated September 2,

        2024, which was obtained at my direction on January 24, 2025, from

        https://www.drugs.com/farxiga.html.

     b. Exhibit 1.B, the “Lasix” webpage from Drugs.com, last updated April 4, 2023, which

        was obtained at my direction on January 24, 2025, from

        https://www.drugs.com/lasix.html.

     c. Exhibit 1.C, the “Vasotec” webpage from Drugs.com, last updated March 1, 2024,

        which was obtained at my direction on January 24, 2025, from

        https://www.drugs.com/vasotec.html.

     d. Exhibit 1.D, the “Verquvo, 5 MG Tablet” webpage from Amazon Pharmacy, which

        was obtained at my direction on January 24, 2025, from

        https://pharmacy.amazon.com/dp/B09KWJ3X15?.

     e. Exhibit 1.E, the “Coreg” webpage, which was obtained at my direction on January

        24, 2025, from https://coreg.com/.

     f. Exhibit 1.F, the “Jardiance Imprints” webpage from Drugs.com, which was obtained

        at my direction on January 24, 2025, from https://www.drugs.com/imprints/s-10-

        logo-22340.html.

     g. Exhibit 1.G, the “Valsartan Imprints” webpage from Drugs.com, which was obtained

        at my direction on January 24, 2025, from https://www.drugs.com/imprints/hh-342-

        23594.html.




                                             2



                                         Add154
 Case 2:25-cv-00849          Document 4-12      Filed 01/31/25     Page 3 of 23 PageID: 305




       h. Exhibit 1.H, the “Prinivil Imprints” webpage from Dugs.com, which was obtained at

             my direction on January 24, 2025, from https://www.drugs.com/imprints/msd-106-

             prinivil-193.html.

       i. Exhibit 1.I, the “Losartan Imprints” webpage from Drugs.com, which was obtained

             at my direction on January 24, 2025, from https://www.drugs.com/imprints/e-46-

             16422.html.


4.     Attached as Exhibit 2 is a true and correct copy of the April 4, 2000 Trademark

Registration, US Registration No. 2,336,960, a registration of NOVARTIS for use in

connection with International Classes 01, 05, 09, 10, 29, 30, 31, 32, 42, which was obtained at

my direction on January 24, 2025, from

https://tsdr.uspto.gov/documentviewer?caseId=sn75131409&docId=ORC20060213184925&lin

kId=14#docIndex=13&page=1.


5.     Attached as Exhibit 3 is a true and correct copy of the November 20, 2003 article,

Novartis to Give Consumer Ads a Big Role in Selling Drugs, by Gardiner Harris, from The New

York Times, which was obtained at my direction on January 24, 2025, from

https://www.nytimes.com/2003/11/20/business/novartis-to-give-consumer-ads-a-big-role-in-

selling-drugs.html.


6.     Attached as Exhibit 4 is a true and correct copy of the September 20, 2005 Trademark

Registration, US Registration No. 2,997,235, a registration of NOVARTIS for use in

connection with International Class 05, which was obtained at my direction on January 24,

2025, from




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                                            Add155
 Case 2:25-cv-00849        Document 4-12        Filed 01/31/25     Page 4 of 23 PageID: 306




https://tsdr.uspto.gov/documentviewer?caseId=sn78365657&docId=ORC20050920061730&lin

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7.     Attached as Exhibit 5 is a true and correct copy of the Center for Drug Evaluation and

Research Application Number 207620Orig1s000, Chemistry Review(s) for Entresto, dated

June 30, 2015, which was obtained at my direction on January 24, 2025, from

https://www.accessdata.fda.gov/drugsatfda_docs/nda/2015/207620Orig1s000ChemR.pdf.


8.     Attached as Exhibit 6 is a true and correct copy of the “About Medscape” webpage

from Medscape.com, which was obtained at my direction on January 29, 2025, from

https://www.medscape.com/public/about.


9.     Attached as Exhibit 7 is a true and correct copy of the Full Prescribing Information for

Entresto as of July 2015, which was obtained at my direction on January 24, 2025, from

https://www.accessdata.fda.gov/drugsatfda_docs/label/2015/207620Orig1s000lbl.pdf.


10.    Attached as Exhibit 8 is a true and correct copy of the September 24, 2015 article,

Novartis CEO talks about drug costs, paying doctors, and ‘doing the right thing’, by Lillian

Cunningham, from The Washington Post, which was obtained at my direction on January 26,

2025, from https://www.washingtonpost.com/news/on-leadership/wp/2015/09/24/one-of-

pharmas-biggest-ceos-talks-about-drug-costs-paying-doctors-and-what-doing-whats-right-

looks-like/.


11.    Attached as Exhibit 9 is a true and correct copy of the February 9, 2016 article,

Novartis signs Aetna, Cigna for pay-for-performance drug deal, but no remote monitoring yet,

by Jonah Comstock, from Mobi Health News, which was obtained at my direction on January



                                                4



                                           Add156
 Case 2:25-cv-00849        Document 4-12       Filed 01/31/25      Page 5 of 23 PageID: 307




25, 2025, from https://www.mobihealthnews.com/content/novartis-signs-aetna-cigna-pay-

performance-drug-deal-no-remote-monitoring-yet.


12.    Attached as Exhibit 10 is a true and correct copy of the February 22, 2016 article,

Insurers, drugmakers wrestle with how to build value-based contracts, by Bob Herman, from

Modern Healthcare, which was obtained at my direction on January 24, 2025, from

https://www.modernhealthcare.com/article/20160220/MAGAZINE/302209963/insurers-

drugmakers-wrestle-with-how-to-build-value-based-contracts.


13.    Attached as Exhibit 11 is a true and correct copy of the June 23, 2016 article, How to

save 28,000 heart patients a year? Use Novartis’ Entresto, JAMA says, by Tracy Staton, from

Fierce Pharma, which was obtained at my direction on January 24, 2025, from

https://www.fiercepharma.com/pharma/how-to-save-28-000-heart-patients-a-year-use-novartis-

entresto-jama-says.


14.    Attached as Exhibit 12 is a true and correct copy of the June 28, 2016 Trademark

Registration, US Registration No. 4,986,124, a registration of NOVARTIS for use in

connection with International Classes 05, 09, 10, 41, 42, 44, which was obtained at my

direction on January 24, 2025, from

https://tsdr.uspto.gov/documentviewer?caseId=sn86063136#docIndex=6&page=1.


15.    Attached as Exhibit 13 is a true and correct copy of the March 13, 2018 Trademark

Registration, US Registration No. 5,420,583, a registration of NOVARTIS for use in

connection with International Classes 09, 10, 41, 42, 44, 45, which was obtained at my

direction on January 24, 2025 from,

https://tsdr.uspto.gov/documentviewer?caseId=sn79209927&docId=#docIndex=8&page=1.


                                                5



                                           Add157
 Case 2:25-cv-00849         Document 4-12       Filed 01/31/25      Page 6 of 23 PageID: 308




16.    Attached as Exhibit 14 is a true and correct copy of the April 5, 2018 article, Novartis

reports positive new heart failure data for Entresto, from The Financial, which was obtained at

my direction on January 24, 2025, from https://finchannel.com/novartis-reports-positive-new-

heart-failure-data-for-entresto/72712/business-2/pharmacy/2018/04/.


17.    Attached as Exhibit 15 is a true and correct copy of the Sandoz Global Facebook post

on June 18, 2019, which was obtained at my direction on January 25, 2025, from

https://www.facebook.com/100066861194065/posts/2479571942087987/.


18.    Attached as Exhibit 16 is a true and correct copy of the Sandoz Global Instagram post

on June 14, 2019, which was obtained at my direction on January 25, 2025, from

https://www.instagram.com/sandozglobal/reel/Byrmy4mAdYp/.


19.    Attached as Exhibit 17 is a true and correct copy of the September 5, 2019 “Access to

Healthcare” webpage from the Sandoz — A Novartis Division website, which was obtained at

my direction on January 25, 2025, from

https://web.archive.org/web/20190905211016/https:/www.sandoz.com/making-access-

happen/access-healthcare.


20.    Attached as Exhibit 18 is a true and correct copy of the November 19, 2019 article,

Merck, Bayer’s trial win for heart failure rival could actually boost Novartis’ Entresto, by Kyle

Blakenship, from Fierce Pharma, which was obtained at my direction on January 25, 2025,

from https://www.fiercepharma.com/pharma/merck-bayer-drug-s-trial-win-for-entresto-

competitor-could-actually-be-a-boon-for-novartis.




                                                6



                                            Add158
 Case 2:25-cv-00849        Document 4-12       Filed 01/31/25      Page 7 of 23 PageID: 309




21.    Attached as Exhibit 19 is a true and correct copy of the November 24, 2019 article,

Novartis to Buy the Medicines Company for $ 9.7 Billion, by the Associated Press, from The

New York Times, which was obtained at my direction on January 24, 2025, from

https://www.nytimes.com/2019/11/24/business/novartis-medicines-company-cholesterol.html.


22.    Attached as Exhibit 20 is a true and correct copy of the March 4, 2019 article, Third of

consumers have used visual search, from Smart Insights, which was obtained at my direction

on January 26, 2025, from https://www.smartinsights.com/ecommerce/third-consumers-use-

visual-search/.


23.    Attached as Exhibit 21 is a true and correct copy of the Sandoz Global Instagram post

on October 12, 2020, which was obtained at my direction on January 25, 2025, from

https://www.instagram.com/sandozglobal/reel/CGPNhuEg0EB/.


24.    Attached as Exhibit 22 is a true and correct copy of the December 11, 2020 article,

FDA reviewers argue for Novartis ahead of Entresto advisory panel confab, by Angus Liu,

from Fierce Pharma, which was obtained at my direction on January 25, 2025, from

https://www.fiercepharma.com/marketing/where-do-you-stand-fda-reviewers-argue-for-

novartis-entresto-committee-meeting-file.


25.    Attached as Exhibit 23 is a true and correct copy of the December 16, 2020 article,

Novartis' Sandoz spotlights importance of generic drugs in new social campaign, by Beth

Snyder Bulik, from Fierce Pharma, which was obtained at my direction on January 25, 2025,

from https://www.fiercepharma.com/marketing/novartis-sandoz-spotlights-importance-generic-

drug-new-u-s-awareness-campaign.




                                                7



                                            Add159
 Case 2:25-cv-00849        Document 4-12        Filed 01/31/25     Page 8 of 23 PageID: 310




26.    Attached as Exhibit 24 is a true and correct copy of the February 16, 2021 article,

Entresto Granted Expanded Indication in Chronic Heart Failure by FDA, by Andrew

Humphreys, from PharmaLive.com, which was obtained at my direction on January 25, 2025,

from https://www.pharmalive.com/entresto-granted-expanded-indication-in-chronic-heart-

failure-by-fda/.


27.    Attached as Exhibit 25 is a true and correct copy of the April 8, 2021 “Our Purpose and

Ambition” webpage from the Sandoz — A Novartis Division website, which was obtained at

my direction on January 24, 2025, from

https://web.archive.org/web/20210408112156/https:/www.sandoz.com/.


28.    Attached as Exhibit 26 is a true and correct copy of the April 12, 2022 article, The top

20 pharma companies by 2021 revenue, by Kevin Dunleavy, from Fierce Pharma, which was

obtained at my direction on January 25, 2025, from https://www.fiercepharma.com/special-

reports/top-20-pharma-companies-2021-revenue.


29.    Attached as Exhibit 27 is a true and correct copy of the April 22, 2022 “COVID-19

Information Center” webpage from the Sandoz — A Novartis Division website, which was

obtained at my direction on January 25, 2025, from

https://web.archive.org/web/20220422231136/https:/www.sandoz.com/.


30.    Attached as Exhibit 28 is a true and correct copy of the May 3, 2022 article, 2022

American Heart Association / American College of Cardiology / Heart Failure Society of

America Guideline for the Management of Heart Failure, 145 Circulation e895 (2022), by Paul

A. Heidenreich et al., which was obtained at my direction on January 26, 2025, from

https://www.ahajournals.org/doi/epub/10.1161/CIR.0000000000001063.


                                                8



                                           Add160
 Case 2:25-cv-00849        Document 4-12        Filed 01/31/25     Page 9 of 23 PageID: 311




31.    Attached as Exhibit 29 is a true and correct copy of the July 18, 2022 article, The top

10 generic drug makers by 2021 revenue, by Kevin Dunleavy, Zoey Becker, Fraiser

Kansteiner, Angus Liu, and Eric Sagonowsky, from Fierce Pharma, which was obtained at my

direction on January 25, 2025, from https://www.fiercepharma.com/pharma/top-10-generic-

drugmakers-2021-revenue.


32.    Attached as Exhibit 30 is a true and correct copy of the July 31, 2022 article, How

Novartis Is Finding The Path To Be A Digital Winner, by Steve Denning, from Forbes, which

was obtained at my direction on January 25, 2025, from

https://www.forbes.com/sites/stevedenning/2022/07/31/how-novartis-is-finding-the-path-to-be-

a-digital-winner/.


33.    Attached as Exhibit 31 is a true and correct copy of the September 13, 2022 Trademark

Registration, US Registration No. 6,841,619, a registration of NOVARTIS for use in

connection with International Class 35, which was obtained at my direction on January 25,

2025, from

https://tsdr.uspto.gov/documentviewer?caseId=sn79330127&docId=ORC20220828021449&lin

kId=3#docIndex=2&page=1.


34.    Attached as Exhibit 32 is a true and correct copy of the September 2022 “Starting with

Entresto®” Dosing Flash Card webpage from the Entresto website, which was obtained at my

direction on January 24, 2025, from

https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/hcp-dosing-flashcard.pdf.




                                                9



                                           Add161
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25      Page 10 of 23 PageID: 312




35.    Attached as Exhibit 33 is a true and correct copy of the 2022 Novartis Annual Report,

which was obtained at my direction on January 24, 2025, from

https://www.novartis.com/sites/novartis_com/files/novartis-annual-report-2022.pdf.


36.    Attached as Exhibit 34 is a true and correct copy of the Sandoz Global Instagram post

on January 21, 2023, which was obtained at my direction on January 25, 2025, from

https://www.instagram.com/sandozglobal/p/CnrMF5kNxuP/.


37.    Attached as Exhibit 35 is a true and correct copy of the Sandoz Global Facebook post

on March 8, 2023, which was obtained at my direction on January 25, 2025, from

https://www.facebook.com/photo.php?fbid=533441622227873&set=pb.100066861194065.-

2207520000&type=3.


38.    Attached as Exhibit 36 is a true and correct copy of the April 18, 2023 article, The top

20 pharma companies by 2022 revenue, by Kevin Dunleavy, from Fierce Pharma, which was

obtained at my direction on January 25, 2025, from

https://www.fiercepharma.com/pharma/top-20-pharma-companies-2022-revenue.


39.    Attached as Exhibit 37 is a true and correct copy of the September 3, 2023 article, How

Novartis’s CEO Learned From His Mistakes and Got Help From an Unlikely Quarter, by Jared

S. Hopkins, from The Wall Street Journal, which was obtained at my direction on January 24,

2025, from https://www.wsj.com/health/pharma/how-novartiss-ceo-learned-from-his-mistakes-

and-got-help-from-an-unlikely-quarter-b087ebbb.




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                                           Add162
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25      Page 11 of 23 PageID: 313




40.    Attached as Exhibit 38 is a true and correct copy of the 2023 Novartis Annual Report,

which was obtained at my direction on January 24, 2025, from

https://www.novartis.com/sites/novartis_com/files/novartis-annual-report-2023.pdf.


41.    Attached as Exhibit 39 is a true and correct copy of the Full Prescribing Information for

Entresto as of April 2024, which was obtained at my direction on January 24, 2025, from

https://www.novartis.com/us-en/sites/novartis_us/files/entresto.pdf.


42.    Attached as Exhibit 40 is a true and correct copy of the April 15, 2024 article, The top

20 pharma companies by 2023 revenue, by Kevin Dunleavy, from Fierce Pharma, which was

obtained at my direction on January 24, 2025, from

https://www.fiercepharma.com/pharma/top-20-pharma-companies-2023-revenue.


43.    Attached as Exhibit 41 is a true and correct copy of the May 7, 2024 article, Entresto

puts Novartis at top of docs' ranking of heart disease drug makers, with Pfizer close behind, by

Andrea Park, from Fierce Pharma, which was obtained at my direction on January 25, 2025,

from https://www.fiercepharma.com/marketing/entresto-puts-novartis-top-docs-ranking-heart-

disease-drugmakers-pfizer-close-behind.


44.    Attached as Exhibit 42 is a true and correct copy of the June 2024 “Heading Home with

Entresto®” webpage from the Entresto website, which was obtained at my direction on January

24, 2025, from https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/heading-

home-digital-kit_1.pdf.




                                               11



                                            Add163
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25      Page 12 of 23 PageID: 314




45.    Attached as Exhibit 43 is a true and correct copy of the June 2024 “Before Starting

Entresto” webpage from the Entresto website, which was obtained at my direction on January

24, 2025, from https://www.entresto.com/starting-entresto.


46.    Attached as Exhibit 44 is a true and correct copy of the July 18, 2024 article, Novartis

Raises Profit Guidance as Key Drugs Boost Sales, by Helena Smolak, from The Wall Street

Journal, which was obtained at my direction on January 24, 2025, from

https://www.wsj.com/business/earnings/novartis-raises-profit-guidance-as-key-drugs-boost-

sales-d6a79f0e.


47.    Attached as Exhibit 45 is a true and correct copy of the U.S. Food & Drug

Administration approval letter for ANDA 213748 sent to MSN Pharmaceuticals Inc. on July

24, 2024, which was obtained at my direction on January 25, 2025, from

https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2024/213748Orig1s000ltr.pdf.


48.    Attached as Exhibit 46 is a true and correct copy of the July 2024 “Dosing” webpage

from the Entresto website, which was obtained at my direction on January 25, 2025, from

https://www.entrestohcp.com/safety-and-dosing/dosing.


49.    Attached as Exhibit 47 is a true and correct copy of the July 2024 Entresto In-Office

Patient Brochure, which was obtained at my direction on January 24, 2025, from

https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/english-patient-

brochure_1.pdf.


50.    Attached as Exhibit 48 is a true and correct copy of the August 20, 2024 Exhibit 2045

filed by MSN Laboratories Private Limited, MSN Life Sciences Private Limited, MSN



                                               12



                                           Add164
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25      Page 13 of 23 PageID: 315




Pharmaceuticals Inc. in Novartis Pharms. Corp. v. MSN Pharms. Inc., No. 1:22-cv-01395 (D.

Del. 2024), Dkt. No. 263-3, which was obtained at my direction on January 24, 2025, from

https://ecf.ded.uscourts.gov/doc1/04316521228.


51.    Attached as Exhibit 49 is a true and correct copy of the August 28, 2024 article, The

world’s top pharmaceutical companies — by reputation, by James Clasper, from Group

Caliber, which was obtained at my direction on January 25, 2025, from

https://www.groupcaliber.com/the-worlds-top-pharmaceutical-companies-by-reputation/.


52.    Attached as Exhibit 50 is a true and correct copy of the August 28, 2024 article, With

phase 3 win, Novartis pads case for broader use of heart med Leqvio, by Zoey Becker, from

Fierce Pharma, which was obtained at my direction on January 25, 2025, from

https://www.fiercepharma.com/pharma/novartis-pads-case-heart-med-leqvios-full-spectrum-

usage-phase-3-monotherapy-win.


53.    Attached as Exhibit 51 is a true and correct copy of the September 4, 2024 article,

Radiotherapy leader Novartis brings US isotope production in house, builds West Coast plant,

by Angus Liu, from Fierce Pharma, which was obtained at my direction on January 25, 2025,

from https://www.fiercepharma.com/manufacturing/novartis-erects-3rd-radiotherapy-facility-

us-brings-isotope-production-house-amid.


54.    Attached as Exhibit 52 is a true and correct copy of the November 12, 2024 article,

Novartis shines a light on skin disease using testimonials and digital touchpoints, by Asa

Hiken, from AdAge, which was obtained at my direction on January 24, 2025, from

https://adage.com/article/special-report-healthcare-marketing-impact-awards/novartis-

healthcare-marketing-impact-awards-2024/2585176.


                                               13



                                            Add165
Case 2:25-cv-00849        Document 4-12       Filed 01/31/25     Page 14 of 23 PageID: 316




55.    Attached as Exhibit 53 is a true and correct copy of the “25 years of Novartis – more

than 250 years of innovation” webpage from the Novartis website, which was obtained at my

direction on January 25, 2025, at https://www.novartis.com/about/25-years-novartis-more-250-

years-innovation.


56.    Attached as Exhibit 54 is a true and correct copy of the 44th Edition of Approved Drug

Products with Therapeutic Equivalence Evaluations (2024), from the U.S. Food & Drug

Administration, which was obtained at my direction on January 25, 2025, from

https://www.fda.gov/media/71474/download?attachment.


57.    Attached as Exhibit 55 is a true and correct copy of the “About Novadoz” webpage

from the Novadoz Pharmaceuticals website, which was obtained at my direction on January 25,

2025, from https://novadozpharma.com/about-us/.


58.    Attached as Exhibit 56 is a true and correct copy of the “Neomycin Sulfate / Polymyxin

B Sulfate / Hydrocortisone 3.5 – 10,000 – 1 Otic Drops 10 mL” webpage from the McKesson

website, which was obtained at my direction on January 25, 2025, from

https://mms.mckesson.com/product/653097/Sandoz-61314064511.


59.    Attached as Exhibit 57 is a true and correct copy of the “Ampicillin Sodium 500 mg / 8

mL Injection 8 mL” webpage from the McKesson website, which was obtained at my direction

on January 25, 2025, from https://mms.mckesson.com/product/547773/Sandoz-00781340795.


60.    Attached as Exhibit 58A is a true and correct copy of the “Awards and recognition:

People and society” webpage from the Novartis website, which was obtained at my direction

on January 25, 2025, from https://www.novartis.com/about/awards-and-recognition#.



                                              14



                                           Add166
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25    Page 15 of 23 PageID: 317




61.    Attached as Exhibit 58B is a true and correct copy of the “Awards and recognition:

Innovation and digital” webpage from the Novartis website, which was obtained at my

direction on January 25, 2025, from https://www.novartis.com/about/awards-and-

recognition#tabinnovation-and-digital-98096.


62.    Attached as Exhibit 59 is a true and correct copy of the “Azithromycin Tablets 500 mg

(3-Pack) by Sandoz (Rx)” webpage from the Mountainside Medical Equipment website, which

was obtained at my direction on January 25, 2025, from https://www.mountainside-

medical.com/products/azithromycin-tablets-film-coated-500-mg-3-pack-sandoz.


63.    Attached as Exhibit 60 is a true and correct copy of the “Ciprofloxacin Drops 0.3%,

5mL – Sandoz” webpage from the Keeler website, which was obtained at my direction on

January 25, 2025, from https://www.accutome.com/ciprofloxacin-drops-0-3-5ml-sandoz.


64.    Attached as Exhibit 61 is a true and correct copy of the “Desloratadine Sandoz 5 mg –

30 film-coated tablets” webpage from the My Dr. XM website, which was obtained at my

direction on January 25, 2025, from https://mydrxm.com/products/desloratadine-sandoz-5-mg-

30-film-coated-tablets.


65.    Attached as Exhibit 62 is a true and correct copy of the Drugs@FDA: FDA-Approved

Drugs webpage for ANDA 213748, which was obtained at my direction on January 25, 2025,

from

https://www.accessdata.fda.gov/scripts/cder/daf/index.cfm?event=overview.process&ApplNo=

213748.




                                               15



                                          Add167
Case 2:25-cv-00849         Document 4-12       Filed 01/31/25     Page 16 of 23 PageID: 318




66.    Attached as Exhibit 63 is a true and correct copy of the “Ampicillin Sodium 1 Gram /

15 mL Injection 15 mL” webpage from the McKesson website, which was obtained at my

direction on January 25, 2025, from https://mms.mckesson.com/product/577182/Sandoz-

00781340495.


67.    Attached as Exhibit 64 is a true and correct copy of the July 2023 “Initiation Guide for

Providers” from the Entresto website, which was obtained at my direction on January 24, 2025,

from https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/entresto-initiation-

guide-for-providers.pdf.


68.    Attached as Exhibit 65 is a true and correct copy of the “Kisqali” webpage from the

Medical Professionals Reference website, which was obtained at my direction on January 24,

2025, from https://www.empr.com/drug/kisqali/.


69.    Attached as Exhibit 66 is a true and correct copy of the “Cyclophosphamide 1 Gram

Injection 50 mL” webpage from the McKesson website, which was obtained at my direction on

January 25, 2025, from https://mms.mckesson.com/product/952048/Sandoz-00781324494.


70.    Attached as Exhibit 67 is a true and correct copy of the Novartis Instagram account,

which was obtained at my direction on January 23, 2025, from

https://www.instagram.com/novartis/.


71.    Attached as Exhibit 68 is a true and correct copy of the Novartis Facebook account,

which was obtained at my direction on January 23, 2025, from

https://www.facebook.com/novartis/.




                                               16



                                           Add168
Case 2:25-cv-00849           Document 4-12    Filed 01/31/25     Page 17 of 23 PageID: 319




72.    Attached as Exhibit 69 is a true and correct copy of the Novartis X (formerly Twitter)

account, which was obtained at my direction on January 23, 2025, from https://x.com/novartis.


73.    Attached as Exhibit 70 is a true and correct copy of the Novartis YouTube account,

which was obtained at my direction on January 23, 2025, from

https://www.youtube.com/novartis.


74.    Attached as Exhibit 71 is a true and correct copy of the “Sandoz Brimonidine Tartrate

Ophthalmic Solution 0.2% - 5mL” webpage from the Amcon website, which was obtained at

my direction on January 24, 2025, from https://amconlabs.com/product.asp?pid=7810.


75.    Attached as Exhibit 72 is a true and correct copy of “The Novartis Commitment to

Patients and Caregivers” from the Novartis website, which was obtained at my direction on

January 24, 2025, from https://www.novartis.com/it-

it/sites/novartis_it/files/NVSCommitment%202024.pdf.


76.    Attached as Exhibit 73 is a true and correct copy of the February 16, 2021 press

release, Novartis Entresto® granted expanded indication in chronic heart failure by FDA, from

the Novartis website, which was obtained at my direction on January 25, 2025, from

https://www.novartis.com/news/media-releases/novartis-entresto-granted-expanded-indication-

chronic-heart-failure-fda.


77.    Attached as Exhibit 74 is a true and correct copy of the “Amazon Pharmacy: How it

Works” webpage from the Amazon Pharmacy website, which was obtained at my direction on

January 24, 2025, from https://pharmacy.amazon.com/how-it-works.




                                              17



                                           Add169
Case 2:25-cv-00849       Document 4-12      Filed 01/31/25     Page 18 of 23 PageID: 320




78.   Attached as Exhibit 75 is a true and correct copy of the “Entresto, 24 MG – 26 MG

Tablet” webpage from the Amazon Pharmacy website, which was obtained at my direction on

January 24, 2025, from https://pharmacy.amazon.com/Novartis-ENTRESTO-24-MG-

TABLET/dp/B084BPW9XK?ref_=sr_1_1&s=amazon-

pharmacy&keywords=entresto&dib_tag=se&dib=eyJ2IjoiMSJ9.khwo4XN5dsyn039G5LCCFS

zgAWN8HEh1YqSnLQK4ydM.c4OTJRHnPGWJS6plwLG44AMDPH_4zHh0VzqyujcSKxc&

qid=1733521429&sr=1-1.


79.   Attached as Exhibit 76 is a true and correct copy of the “Entresto, 49 MG – 51 MG

Tablet” webpage from the Amazon Pharmacy website, which was obtained at my direction on

January 25, 2025, from https://pharmacy.amazon.com/Novartis-ENTRESTO-49-MG-51-MG-

TABLET/dp/B084BYD8TB?ref_=sr_1_1&s=amazon-

pharmacy&keywords=entresto&dib_tag=se&dib=eyJ2IjoiMSJ9.khwo4XN5dsyn039G5LCCFS

zgAWN8HEh1YqSnLQK4ydM.c4OTJRHnPGWJS6plwLG44AMDPH_4zHh0VzqyujcSKxc&

qid=1733521429&sr=1-1.


80.   Attached as Exhibit 77 is a true and correct copy of the “Entresto, 97 MG – 103 MG

Tablet” webpage from the Amazon Pharmacy website, which was obtained at my direction on

January 25, 2025, from https://pharmacy.amazon.com/Novartis-ENTRESTO-97-MG-

TABLET/dp/B084BVQYD6?ref_=sr_1_1&s=amazon-

pharmacy&keywords=entresto&dib_tag=se&dib=eyJ2IjoiMSJ9.khwo4XN5dsyn039G5LCCFS

zgAWN8HEh1YqSnLQK4ydM.c4OTJRHnPGWJS6plwLG44AMDPH_4zHh0VzqyujcSKxc&

qid=1733521429&sr=1-1.




                                            18



                                         Add170
Case 2:25-cv-00849           Document 4-12        Filed 01/31/25     Page 19 of 23 PageID: 321




81.       Attached as Exhibit 78 is a true and correct copy of the Search results for “Entresto”

webpage from the Amazon Pharmacy website, which was obtained at my direction on January

24, 2025, from https://www.amazon.com/s?k=entresto&i=amazon-pharmacy&ref=nb_sb_noss.


82.       Attached as Exhibit 79 is a true and correct copy of the Search results for “Coreg”

webpage from the Amazon Pharmacy website, which was obtained at my direction on January

24, 2025, from https://www.amazon.com/s?k=coreg&i=amazon-

pharmacy&crid=SQ7W07KCOUY2&sprefix=coreg%2Camazon-

pharmacy%2C62&ref=nb_sb_noss_1.


83.       Attached as Exhibit 80 is a true and correct copy of the “Carvedilol, 25 MG Tablet”

webpage from the Amazon Pharmacy website, which was obtained at my direction on January

24, 2025, from https://pharmacy.amazon.com/Carvedilol-Generic-Coreg-Oral-

Tablet/dp/B084BQJ36S?ref_=sr_1_1&s=amazon-

pharmacy&keywords=coreg&crid=SQ7W07KCOUY2&sprefix=coreg%2Camazon-

pharmacy%2C62&dib_tag=se&dib=eyJ2IjoiMSJ9.79AdMXYxxTcADTVV_FpF31BX8u-

M70H2Wi7IPcZLgKfdh-sBjxx0BriUoYnudYsdP1aDakdVA6kv-

rNFEQQDZQ.SEi6GleGltqOXnPRY6CyeL76Rk9koxAP7mYb6lmcKHw&qid=1733521728&

sr=1-1.


84.       Attached as Exhibit 81 is a true and correct copy of the June 2022 article,

Democratizing data at Novartis through clinical trial data access, by Gabriel S. Eichler,

Georges Imbert, Janice Branson, Rene Balibey, and Jason M. Laramie, which was obtained at

my direction on January 24, 2025, from

https://www.sciencedirect.com/science/article/abs/pii/S1359644622000770.



                                                  19



                                              Add171
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25      Page 20 of 23 PageID: 322




85.    Attached as Exhibit 82 is a true and correct copy of the April 2019 article, Novartis

Access: a small step towards increased access for non-communicable disease care, by Imran

Manji and Sonak D. Pastakia, from The Lancet Global Health, which was obtained at my

direction on January 24, 2025, from

https://www.thelancet.com/journals/langlo/article/PIIS2214-109X(19)30049-X/fulltext.


86.    Attached as Exhibit 83 is a true and correct copy of the November 11, 2022 article,

Novartis: Pursuing tomorrow’s therapies for cancer, from Science.org, which was obtained at

my direction on January 24, 2025, from https://www.science.org/content/article/novartis-

pursuing-tomorrow-s-therapies-cancer.


87.    Attached as Exhibit 84 is a true and correct copy of the Search results for “Carvedilol”

webpage from the MediPond website, which was obtained at my direction on January 24, 2025,

from https://medipond.com/catalogsearch/result/?q=carvedilol.


88.    Attached as Exhibit 85 is a true and correct copy of the Search results for “Coreg”

webpage from the MediPond website, which was obtained at my direction on January 24, 2025,

from https://medipond.com/catalogsearch/result/?q=coreg.


89.    Attached as Exhibit 86 is a true and correct copy of the “Top Selling” webpage from

the MediPond website, which was obtained at my direction on January 24, 2025, from

https://medipond.com/.


90.    Attached as Exhibit 87 is a true and correct copy of the Search results for

“Dapagliflozin” webpage from the Drugs.com website, which was obtained at my direction on

January 24, 2025, from https://www.drugs.com/search.php?searchterm=dapagliflozin.



                                               20



                                           Add172
Case 2:25-cv-00849        Document 4-12        Filed 01/31/25     Page 21 of 23 PageID: 323




91.    Attached as Exhibit 88 is a true and correct copy of the “Find Drugs & Conditions”

webpage from the Drugs.com website, which was obtained at my direction on January 24,

2025, from https://www.drugs.com/.


92.    Attached as Exhibit 89 is a true and correct copy of the “Today on Medscape” webpage

from the Medscape website, which was obtained at my direction on January 24, 2025, from

https://www.medscape.com/?ecd=ppc_google_acq-brand_mscp_englang-top8-

int&gad_source=1&gclid=EAIaIQobChMI-

IbR6MKligMVrTUIBR18RxMTEAAYASAAEgK5aPD_BwE.


93.    Attached as Exhibit 90 is a true and correct copy of the Search results for “Farxiga”

webpage from the Medscape website, which was obtained at my direction on January 24, 2025,

from https://search.medscape.com/search?q=farxiga&plr=ref.


94.    Attached as Exhibit 91 is a true and correct copy of the “dapagliflozin (RX”)” webpage

from the Medscape website, which was obtained at my direction on January 26, 2025, from

https://reference.medscape.com/drug/farxiga-dapagliflozin-999899#91.


95.    Attached as Exhibit 92 is a true and correct copy of the Full Prescribing Information for

Novadoz Pharmaceuticals LLC’s Sacubitril and Valsartan as of July 2024, which was obtained

at my direction on January 21, 2025, from

https://dailymed.nlm.nih.gov/dailymed/fda/fdaDrugXsl.cfm?setid=44db8114-622e-41f6-96a1-

447d47b0267c&type=display.


96.    Attached as Exhibit 93 is a true and correct copy of the Drug Label Information for

Novadoz Pharmaceuticals LLC’s Sacubitril and Valsartan as of July 31 2024, which was



                                               21



                                            Add173
Case 2:25-cv-00849         Document 4-12       Filed 01/31/25      Page 22 of 23 PageID: 324




obtained at my direction on January 21, 2025, from

https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=44db8114-622e-41f6-96a1-

447d47b0267c.


97.    Attached as Exhibit 94 is a true and correct copy of the Full Prescribing Information for

Novadoz Pharmaceuticals LLC’s Sacubitril and Valsartan as of July 2024 downloaded from

Sacubitril and Valsartan Drug Label Information, which was obtained at my direction on

January 21, 2025, from https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=44db8114-

622e-41f6-96a1-447d47b0267c.


98.    Attached as Exhibit 95 is a true and correct copy of the October 17, 2024 Public Letter

to the Honorable Richard G. Andrews from Daniel M. Silver, Esq. on behalf of Novartis

regarding Discovery Dispute filed by Novartis Pharmaceuticals Corporation in Novartis

Pharmaceuticals Corporation v. MSN Pharmaceuticals Inc. et al. Patent Litigation, No. 1:20-

md-02930 (D. Del. 2024), Dkt. No. 1580, which was obtained at my direction on January 23,

2025, from https://ecf.ded.uscourts.gov/doc1/04316580993.


99.    Attached as Exhibit 96 is a true and correct copy of the March 16, 2021 “Generic

Drugs: Questions & Answers” webpage from the U.S. Food & Drug Administration website,

which was obtained at my direction on January 29, 2025, from

https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-

answers.


100.   On January 30, 2025, at 6:37 p.m. EST, counsel for Plaintiffs provided notice to

Defendants of Plaintiffs’ application for an order to show cause for a temporary restraining




                                                22



                                            Add174
Case 2:25-cv-00849         Document 4-12          Filed 01/31/25    Page 23 of 23 PageID: 325




order and preliminary injunction by emailing Defendants’ counsel of record in the other

pending litigations pertaining to MSN’s launch of a generic version of ENTRESTO®.


101.   Defendants’ counsel responded at 10:30 p.m. EST, indicating that they are not available

to appear before the Court on Friday, January 31, 2025, but that they would respond “later

tomorrow afternoon with [] availability to appear in court.”


102.   Given that MSN could launch as early as next week, Counsel for Plaintiffs is available

Friday, January 31 through Wednesday, February 5, for a conference at the Court’s

convenience to discuss Plaintiffs’ application.




       I declare under penalty of perjury that the foregoing is true and correct.

Executed this 30th day of January, 2025, in New York, New York.


                                              By:      /s/ Megan K. Bannigan
                                                       Megan K. Bannigan


                                                       DEBEVOISE & PLIMPTON LLP
                                                       66 Hudson Boulevard
                                                       New York, New York 10001
                                                       (mkbannigan@debevoise.com)
                                                       (212) 909-6000

                                                       Attorney for Plaintiffs Novartis AG and
                                                       Novartis Pharmaceuticals Corporation




                                                  23



                                            Add175
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 1 of 56 PageID: 326




                 EXHIBIT 1




                                 Add176
 Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 2 of 56 PageID: 327




Exhibit      Name                                 Image

  I.A      FARXIGA®




 LB         LASIX®




 LC       VASOTEC®




 l.D      VERQUVO®




                                  Add177
Case 2:25-cv-00849    Document 4-13   Filed 01/31/25   Page 3 of 56 PageID: 328




1.E       COREG®




l.F     JARDIANCE®




l.G       Valsartan




l.H      PRINIVIL®




l.I     LOSARTAN®




                                      2




                                  Add178
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 4 of 56 PageID: 329




                 EXHIBIT 1A




                                 Add179
       ~ Drugs.com"
          Case 2:25-cv-00849SearchDocument 4-13                                                     Filed 01/31/25                      Page 5 ofAllv     El
                                                                                                                                                  56 PageID: 330
                                                                                                                                                             Register                 Sign In

       ~ Knowmore.Besure.                               Browse all medications: A B C D E F G H I J K L M N O P Q RS TU V W X Y Z 0-9             Advanced Search

       Drugs A-Z         Pill Identifier      Interaction Checker       Compare Drugs            N ews       Pro Edit ion         More...                                     Help & Support




       Home    Farxiga                                                                                                   ~ Pnnt     I,'! save
                                                                                                                                                  DRUG STATUS



       Farxiga c:J•)                                                                                                                                      Availability
                                                                                                                                                          Prescription only

       Pronunciation: FAR-Sff-GUH                                                                                                                         Pregnancy & Lactation
       Generic name: dapagliflozin                                                                                                                        Risk data available

       Dosage form: oral tablets                                                                                                                    N~ CSA Schedule"                     V
       Drug class: SGLT-2 inhibitors                                                                                                               '-  Not a controlled drug

                                                                                                                                                  ~ Approval History
       ()     Medically reviewed by Carmen Po11e, BPharm. Last updated on Sep 2. 2024.                                                                                                   V
                                                                                                                                                  \:!:::;) FDA approved 2014

       Uses       Side effects             Before t aking     Dosage          What to avoid             Interact ions         FAQ
                                                                                                                                                User Reviews & Ratings

                                                                                                                                                 4.7/10 -                         160 Reviews

       What is Farxiga?
                                                                                                                                                 Related N ews
       Farxiga (dapagliflozin) is an oral medication that may be given to certain people w ith diabetes, heart disease,                                         Weight Loss Meds Help Stroke
       or kidney disease to improve their outcomes. Specifically, Farxiga is used to:                                                                           Survivors Prevent Stroke
                                                                                                                                                            •   Recurrence, Death

         • Improve blood sugar control in adults and child ren aged 10 years and older with type 2 diabetes
           mellitus alongside diet and exercise                                                                                                  Images


         • Lower the risk of going to hospital for heart failure in adults with type 2 diabetes who also have
           cardiovascular disease or multiple risk factors for cardiovascular disease




                                                                                                                                                 ••
         • Reduce the risk of cardiovascular death, hospitalization for heart failure, and urgent heart failure visits in
           adults with heart failure

         • Lower the risk of further worsening of kidney disease, end-stage kidney disease (ESKD). death due to
           cardiovascular disease, and hospitalization for heart failure in adults with chronic kidney disease at risk
           of progression.

                                                                                                                                                  Farxiga 10 mg (1428 10)
       Farxiga mechanism of action involves preventing glucose reabsorption in the kidneys, and increasing how
       much is excreted in the urine. Farxiga works by inhibiting sodium-glucose cotransporter 2 (SGLT2), which is
                                                                                                                                                                                 View larger
       present in the proximal renal tubules and reabsorbs filtered glucose. By inhibiting this, Farxiga promotes the                                                              images
       excretion of glucose in the urine.

       Farxiga also works by reducing the amount of sodium reabsorbed by the kidneys and increasing how much
       reaches the distal tubule. This is thought to influence several physiological functions including lowering the
       preload and afterload of the heart, downregulating sympathetic activity, and decreasing pressure inside the
       kidneys.


       Farxiga first gained FDA approval on January 8, 2014. There is no Farxiga generic.




       Farxiga side effects
       The most common side effect s of Farxiga are:

         • Female genital yeast Infections (vaginal thrush)




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Capture URL: https://www.drugs.com/farxiga.html
Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                                                                     Page 1 of 9

                                                                                             Add180
                        Case 2:25-cv-00849                 Document 4-13               Filed 01/31/25              Page 6 of 56 PageID: 331
       Farxiga side effects
       The most common side effects of Farxiga are:

         • Female genital yeast Infections (vaginal thrush)

         • Urinary tract infectlons

         • Nasopharyngitis (a runny or stuffy nose).


       Serious side effects
       Farxiga can cause the following serious side effects.

       Diabetic ketoacidosis (increased ketones in your blood or urine) In people with type 1 diabetes and other
       ketoacidosis. Farxiga can cause ketoacidosis that can be life-threatening and may lead to death. Ketoacidosls
       is a serious condition that needs to be treated in a hospital. People with type 1 diabetes have a high risk of
       getting ketoacidos1s. People with type 2 diabetes or pancreas problems also have an increased risk of
       getting ketoacidosls. Ketoacidosis can also happen In people who are sick, cannot eat or drink as usual, skip
       meals, are on a diet high in fat and low in carbohydrates (ketogenic diet), take less than the usual amount of
       insulin, or miss insulin doses, drink too much alcohol, have a loss of too much fluid from the body (volume
       depletion), or who have surgery. Ketoacidosis can happen even if your blood sugar is less than 250 mg/dl.
       Your healthcare provider may ask you to periodically check ketones in your urine or blood. Stop taking
       FARXIGA and call your healthcare provider or get medical help right away if you get any of the following:

         • nausea

         • t iredness

         • vomiting

         • t rouble breathing

         • stomach area (abdominal) pain

         • ketones in your urine or blood.

       If possible, check for ketones In your urine or blood, even if your blood sugar Is less than 250 mg/dl.


       Dehydration. Farxiga can cause some people to become dehydrated (the loss of body water and salt).
       Dehydration may cause you to feel dizzy, faint, lightheaded, or weak, especially when you stand up
       (orthostatic hypotension). There have been reports of sudden kidney injury in people w ith Type 2 diabetes
       who are taking Farxiga. You may be at a higher risk of dehydration if you:

         • take medicines to lower your blood pressure, including water pills (diuretics)

         • are on a low-salt diet

         • have kidney problems

         • are 65 years of age or older.

       Talk to your healthcare provider about what you can do to prevent dehydration including how much fluid
       you should drink daily. Call your healthcare provider right away if you reduce the amount of food or liquid
       you drink, for example, if you cannot eat or you start to lose liquid from your body, for example from
       vomiting, diarrhea, or being in the sun too long.

       Vaginal yeast infections. Women who take Farxiga may get vag inal yeast infections. Symptoms of a vaginal
       yeast infection include:

         • vaginal odor

         • white or yellowish vaglnal discharge (discharge may be lumpy or look like cottage cheese)




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Capture URL: https://www.drugs.com/farxiga.html
Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                        Page 2 of 9

                                                                                 Add181
                      Case 2:25-cv-00849                    Document 4-13                     Filed 01/31/25
       Vaginal yeast infections. Women w ho take Farxiga may get vag inal yeast infections. Symptoms of a vaginal      Page 7 of 56 PageID: 332
       yeast infection include:

         • vaginal odor

         • whit e or yellowish vaginal discharge (discharge may be lumpy or look like cottage cheese)

         • vaginal itching.

       Yeast infection of the penis (balanitis). Swelling of an unc ircumcised penis may develop in men who take
       Farxiga which makes it difficult to pull back the skin around t he t ip of the penis. Other symptoms of yeast
       infection of the penis Include:

         • redness. itching, or swelling of the penis

         • foul-smelling discharge from the penis

         • rash of t he penis

         • pain in the skin around the penis.

       Allergic reactions. Farxiga may cause an allergic reaction. Do not t ake Farxiga if you have a hist ory of
       serious hypersensitivity reactions to dapagliflozin, Farxiga, or any of the Inactive Ingredients in the tablets.
       Serious reactions, including anaphylaxis and angioedema, have been reported.

       Farxiga should not be used in patients w ith type 1 diabetes to Improve blood sugar control because it
       may increase their risk of diabetic ketoacldosis.

       Not recommended t o improve blood sugar control in people with type 2 diabetes wrth moderat e to severe
       kidney disease (an eGFR of less than 45 ml/min/1.73 m2 ) (likely to be ineffective in this setting).

       Dosages of insulin or other medications t hat Increase insulin release may need reducing to avoid the risk of
       hypoglycemia. Farxiga may increase the risk of hypoglycemia developing when combined with these
       medications.

       Serious, life-threatening cases of necrotizing fasciitis of the perineum (Fournier's Gangrene) have been
       reported in patients with diabetes prescribed Farxiga. If you develop pain or tenderness, redness. or swelling
       in your genital or perineal area, along w ith fever or malaise, see your doctor immediately.

       Some side effects may be more likely to occur in older adults.

       This is not a complet e list of side effect s and others may occur. Call your doctor for medical advice about
       side effects. You may report side effects to t he FDA at 1-800-FDA-1088.

       8 Farxiga side effects (more detail)


       Related/similar drugs

          O zempic                                      Rybelsus                                     Jardiance
          Learn about Ozempic (semaglutide)             Rybelsus tablet s are used t o improve      Jardiance (empagliflcr
          for type 2 diabet es treatment, weight        blood sugar control in adults w ith         treat type 2 diabetes.
          management , and ..                           type 2 diabetes, and may ...                disease and reduce tr

          Reviews & ratings                             Reviews & ratings                           Rev iews & ratie
          6.6 / 10                1.413 Reviews         6.4/ 10                    266 Reviews      5,3 / 10



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                                                                                       Add182
                     Case 2:25-cv-00849                    Document 4-13                  Filed 01/31/25          Page 8 of 56 PageID: 333
                      View more                                    View more




       Before taking this medicine
       You should not use Farxiga If you are allergic to dapagLiflozin. or if you have:

         • severe kidney disease (or if you are on dialysis)

         • diabetic ketoacldosis (call your doctor for treatment).

       To make sure Farxlga Is safe for you, tell your doctor if you:

         • have type 1 diabetes or have had diabetic ketoac:idosis

         • have polycystic kidney disease

         • have a decrease in your insulin dose

         • have a serious infection

         • have a history of infection of the vagina or penis

         • have liver problems

         • have a history of urinary tract Infections or problems w ith urination

         • are on a low sodium (salt) diet. Your healthcare provider may ask you to change your diet

         • are going to have surgery. Your healthcare provider may stop your Farxiga before you have surgery. Talk
           to your healthcare provider if you are having surgery about when to stop taking Farxiga and when to
           start it again

         • are eating less or there is a change In your diet

         • are dehydrated

         • have or have had problems with your pancreas. including pancreatftis or surgery on your pancreas

         • drink alcohol very often or drink a lot of alcohol in the short term ("binge" drinking)

         • are pregnant or plan to become pregnant

         • are breastfeeding or plan to breastfeed.


       Pregnancy
       Farxiga may cause harm to an unborn baby, especially the developing kidneys of an unborn baby. if you
       become pregnant while taking Farxiga, your healthcare provider may switch you to a different medicine to
       cont rol your blood sugar. Talk to your healthcare provider about the best way to control your blood
       sugar if you plan to become pregnant or while you are pregnant.


       Breastfeeding
       It is not known if Farxiga passes into your breast milk. You should not breastfeed if you take Farxiga.

       O Farxigs!_~nancy and breastfeeding warning:;_ (more detail)


       How should I take Farxiga?
       Take Farxiga exactly as your doctor prescribed. Follow all directions on your prescription label and read all
       medication guides or instruction sheets. Your doctor may occasionally change your dose.




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                       Page 4 of 9

                                                                                    Add183
              Case 2:25-cv-00849                            Document 4-13               Filed 01/31/25              Page 9 of 56 PageID: 334
       How should I take Farxiga?
       Take Farxiga exact ly as your doctor prescribed. Follow all directions 011 your prescription label and read all
       medication guides or instruction sheets. Your doctor may occasionally change your dose.

         • Farxiga is taken 1 time per day.

         • You may take Farxlga w ith or without food.

         • Your treatment may include dietary changes, exercise, weight control, and special medical care.

       Your blood sugar will need to be checked often. and you may also need to test the level of ketones In your
       urine. Farxiga can cause life-threatening ketoac idosis. Even if your blood sugar is normal. contact your
       doctor If a urine test shows t hat you have high ketones In the urine.

       During prolonged illness, you may become dehydrated. Call your doctor If you are sick w1th vomiting or
       diarrhea or if you eat or drink less than usual




       Farxiga dosing information
       Patients should be well hydrated before starting t reatment w ith Farxiga.

       Recommended Farxiga dose for adults and children aged 10 and older for Type 2 diabetes to improve
       blood sugar control

         • Initial dose: Farxiga 5 mg once daily

         • May increase to 10 mg orally once a day for additional glycemic control if a lower dose has been
           t olerated

         • Maximum dose: Farxiga 10 mg/day

       Usual adult dose of Farxiga for heart failure and kidney disease

         • Initial and maintenance dose: Farxiga 10 mg orally once a day

         • Maximum dose: Farxlga 10 mg/day.

       8 Detailed Farxiga dosage information


       Should Farxiga be stopped for surgery?
       The Farxiga Package Insert recommends withholding Farxiga for at least 3 days. if possible. before major
       surgery or procedures associated with prolonged fasting. Farxiga should be restarted once the person is
       clinically stable and has started eating or receiving nut rition again.




       What happens if I miss a dose?
       Take the medicine as soon as you can, but skip the missed dose If it is almost t ime for your next dose. Do
       not take two doses at one t ime.




       What happens if I overdose?
       Seek emergency medical attention or call the Poison Help line at 1-800-222-122"2.




       What should I avoid while taking Farxiga?



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Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                         Page 5 of 9

                                                                                    Add184
       What happens if I overdose?
             Case 2:25-cv-00849 Document 4-13                                          Filed 01/31/25              Page 10 of 56 PageID: 335
       Seek emergency medical attention or call the Poison Help line at 1-800- 222- 1222.




       What should I avoid while taking Farxiga?
       Avoid drinking alcohol.

       /\void getting up too f~st from a sitting or lying position. or you m~y fed dizzy.




       What other drugs will affect Farxiga?
       Other drugs may increase or decrease the effects of Farxiga on lowering your blood sugar. Tell your doctor
       about all your current medicines and any you start or stop using, especially:

         • lnsuLin or other oral diabetes medicines

         • A diuretic or "water pill", such as furosem ide or HCTZ

         • Lithium.

       Farxiga w ill Increase urinary glucose excretion and will lead to positive urine glucose tests. Use alternative
       ways to monitor glycemic control. It also interferes with some other laboratory assays.

       This List Is not complete. Other drugs may interact w ith dapagliflozln, including prescription and over-the-
       counter medicines, vitamins. and herbal products. Not all possible drug interactions are listed here.

       8 Farxiga drug interactions (more detail)



          Does Farxiga interact with my other drugs?
          Enter medications to view a detailed interaction report using our Drug Interaction Checker.


            Farxiga




       Farxiga and Medicare
                                                      +    Enter a drug name


                                                                                                           -
       Because of the prescription drug law, known as the Inflation Reduction Act, Medicare can negotiate directly
       with drug companies to Improve access to some of the costliest single-source brand-name Medicare Part B
       and Part D drugs.

       Farxiga is one of 10 drngs covered under Medicare Part D that were selected in 2024 for the first cycle of
       negotiation based on Total Expenditures under Part D and other criteria as required by the law. Negotiations
       with participating drug companies are ongoing, and any negotiated prices for the first cycle of negotiation Is
       effective from 2026.




       Storage
       Store at room temperature 20"C to 25'C (68"F to 77' F) away from moisture and heat. Excursions are
       permitted between 15' C and 30'C (59'F and 86'F).




       Farxiga ingredients
         • Active: dapagliflozin,




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                         Page 6 of 9

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       St ore at room temperature 20°C to 25°C (68°F to 77°F) away trom moisture and heat. Excursions are
                   Case15°C
       permitted between 2:25-cv-00849            Document 4-13
                            and 30°C (59°F and 86°F).                                    Filed 01/31/25                 Page 11 of 56 PageID: 336


       Farxiga ingredients
         • Act ive: dapagliflozin.

         • Inactive: microcryst alline cellulose. anhydrous lactose. crospovidone, silicon dioxide, and magnesium
           stearate. Film coat incr polyvinyl alcohol, t itanium dioxide, polyethylene glycol, t alc, and yellow iron
           oxide.

       Available as Farxiga 5 mg and Farxiga 10 mg tablet s.




       Who makes Farxiga?
       AstraZeneca Pharmaceuticals LP. makes Farxiga.




       Popular FAQ

       Does Farxiga cause weight loss?                                                                                   V




       How long does It take for Farxiga to work?                                                                        V




       Can Farxiga cause kidney damage?                                                                                  V




       What is Farxiga used for and how does it work ?                                                                   V



       Can Farxiga cause constipation?                                                                                   V




       More FAQ
         • Why does Farxiga cause yeast infections?

         • What are the ingredient drugs contained in Oternmet XR?

       View more FAQ __



       Ref erences

         1. Farxiga Package Insert

         2 Farxiga Prescribing Information




       Was t his page helpful?         ib    a;;:i




       More about Farx.iga (dapagliflozin)
         • Check interactions

         • Compare alternatives

         • Pricing & coupons

         • Reviews (160)




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                              Page 7 of 9

                                                                                   Add186
                   Case 2:25-cv-00849
         • Check interactions                          Document 4-13                    Filed 01/31/25        Page 12 of 56 PageID: 337
         • Compare alternatives

         • Pricing & coupons

         • Reviews (160)

         • Drug Images

         • Side effects

         • Dosage informat ion

         • Patient tips

         • During pregnancy

         • Support group

         • FDA approval history

         • Drug class: SGLT-2 inhibitors

           Breastfeeding

         • En espa~ol


       Professional resources
         • Farxlga prescribing information

         • Dapagllflozln (AHFS Monograph)


       Related treatment guides
         • Heart Failure

         • Chronic Kidney Disease

         • Type 2 Diabetes




       Further information
       Always consult your healthcare provider to ensure the information displayed on this page applies to your
       personal circumstances.

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Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                               Page 8 of 9

                                                                                Add187
         • During pregnancy
                         Case 2:25-cv-00849                                Document 4-13                  Filed 01/31/25         Page 13 of 56 PageID: 338
         • Support group

         • FDA approval history

         • Drug class: SGLT-2 inhibitors

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         • En espanol


       Professional resources
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         • Heart Failure

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         • Type 2 Diabetes




       Further information
       Always consult your healthcare provider to ensure the information displayed on this page applies to your
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Capture timestamp (UTC): Fri, 24 Jan 2025 21:52:30 GMT                                                                                                                                      Page 9 of 9

                                                                                                 Add188
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 14 of 56 PageID: 339




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                                                                                                                                     DRUG STATUS



       Lasix c:'.l•>
                                                                                                                                     0        Availability
                                                                                                                                              Prescription only

       Generic name: furosemide [ fur-OH-se-mide ]                                                                                            Pregnancy & Lact ation
       Drug class: Loop diuretics                                                                                                             Risk data available


       .Qi    Medically reviewed by 5.Qphia Entring!:I PharmD Last updated on Apr 4, 2023.
                                                                                                                                      N/-;y CSA Schedule"
                                                                                                                                     '-       Not a controlled drug
                                                                                                                                                                                 V


                                                                                                                                     ~ Approval History
                                                                                                                                                                                 V
       Uses         Warnings          Before taking     Dosage       Side effects        Interactions    FAQ                         \:!::::,) FDA approved 1966

                                                                                                                                     ( ? \ WADAClass
                                                                                                                                     ~ Anti-Doping Classification                v

       What is Lasix?
                                                                                                                                   User Reviews & Ratings
       Lasix is a loop diuretic (water pill} that prevents your body from absorbing too much salt, causing it to be
                                                                                                                                   6.4 I 10                             56 Reviews
       passed in your urine. Lasix treats fluid retention (edema} in people w ith congestive heart failure, liver
       disease, or kidney disorders such as nephrotic syndrome.
                                                                                                                                   Images
       Lasix is also used t o treat high blood pressure (hypertension}.




       Warnings
       You should not use Lasix if you are unable to urinate.

       Using more than your recommended dose will not make this medicine more effective. High doses of
       furosemide may cause irreversible hearing loss.

                                                                                                                                     l.aslx 40 mg (LASIX® 40)
       Before using Lasix, tell your doctor if you have kidney disease, enlarged prostate, urination problems,
       cirrhosis or other liver disease. an electrolyte imbalance. high cholesterol. gout. lupus. diabetes. or an allergy
       to sulfa drugs.                                                                                                                                                View larger
                                                                                                                                                                        images

       Tell your doctor if you have recently had an MRI (magnetic resonance imaging} or any type of scan using a
       radioactive dye that is injected into your veins. Do not take more of this medication than is recommended.

       If you are being treated for high blood pressure, keep using Lasix even if you feel fine. High blood pressure
       often has no symptoms.

       Tell your doctor about all your other medicines. Some drugs should not be used w ith Lasix.




       Before taking this medicine
       You should not use Lasix if you are allergic to furosemide, if you are unable to urinate or have hepatic
       cirrhosis.

       To make sure Lasix is safe for you, tell your doctor if you have ever had:

         • an electrolyte imbalance (such as low levels of potassium or magnesium in your blood);




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       You should not use Lasix if you are allergic to furosemide , if you are unable to urinate or have hepatic
       cirrhosis.   Case 2:25-cv-00849                   Document 4-13                 Filed 01/31/25              Page 16 of 56 PageID: 341

       To make sure Lasix is safe for you, tell your doctor if you have ever had:

         • an electrolyte imbalance (such as low levels of potassium or magnesium in your blood);

         • enlarged prostate, bladder obstruction, o r other urination problems;

         • gout;

         • lupus,

         • diabetes;

         • an allergy to sulfa drugs;

         • kidney disease; or

         • cirrhosis or other liver disease.

       Tell your doctor if you have an MRI (magnetic resonance imaging) or any type of scan using a radioactive
       dye t hat is Injected into a vein. Contrast dyes and furosemide can harm your kidneys.

       It is not known if furosem ide will harm an unborn baby. Tell your doctor If you are pregnant or plan to
       become pregnant.

       It may not be safe to breastfeed while using Lasix. Ask your doctor about any risk. Lasix may slow breast
       milk production.

       O Lasix pregnancy and breastfeeding warning~ (more detail)


       How should I use Lasix?
       Take Lasix exactly as prescribed by your doctor. Follow all directions on your prescription label and read alt
       medication guides or instruction sheets.

       Do not use more than your recommended dose. High doses of furosemide may cause irreversible hearing
       loss.

       Doses are based on weight in children and teenagers. Your child's dose may change if the child gains or
       loses weight.

       Lasix will make you urinate more often and you may get dehydrated easlly. Follow your doctor's instructions
       about using potassium supplements or getting enough salt and potassium in your diet.

       Your blood pressure will need to be checked often and you may need other medical te.sts.

       If you have high blood pressure, keep using Lasix even if y ou feel well. High blood pressure often has no
       symptoms.


       If you need surgery, tell the surgeon ahead of time that you are using Lasix.

       Store at room temperature away from moisture, heat, and light.




       Dosing Information
       Usual Adult Dose of Lasix: for Ascites:

       Oral: Initial dose: 20 to 80 mg orally once; may repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dose: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am ;inn 7 om\.




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:54:32 GMT                                                                                         Page 2 of 8

                                                                                    Add191
                   Case
       Usual Adult Dose    2:25-cv-00849
                        of Lasix for Ascites:             Document 4-13                 Filed 01/31/25                  Page 17 of 56 PageID: 342
       Oral: Initial dose: 20 to 80 mg orally once: may repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dose: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am and 2 pm).

       Usual Adult Dose of Lasix for Congestive Heart Failure:

       Oral: Initial dose: 20 to 80 mg orally once: may repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dose: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am and 2 pm).

       Usual Adult Dose of Lasix for Edema:

       Oral: Initial dose: 20 to 80 mg orally once: may ,repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dose: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am and 2 pm).

       Usual Adult Dose of Lasix for Nephrotic Syndrome:

       Oral: lnltl.al dose: 20 to 80 mg orally once; may ,repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dose: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am and 2 pm).

       Usual Adult Dose of Lasix: for Renal Failure:

       Oral: Initial dose: 20 to 80 mg orally once; may repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dose: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am and 2 pm).

       Usual Adult Dose of Lasix for Liver Cirrhosis:

       Oral: Initial dose: 20 to 80 mg orally once: may repeat with the same dose or increase by 20 or 40 mg no
       sooner than 6 to 8 hours after the previous dose until the desired diuretic effect has been obtained.
       Maintenance dos.e: Administer the dose that provided the desired diuretic effect once or twice a day (e.g., at
       8 am and 2 pm).

       Comments:
       -Edema may be most efficiently and safely mobilized by giving this drug on 2 to 4 consecutive days each
       week.
       -When doses greater than 80 mg/day are given for prolonged periods of time. careful clinical observation
       and laboratory monitoring are particularly advisable.

       Usual Adult D ose of Lasix for Pulmonary Edema:

       Oral: Initial dose: 80 mg/day, usually divided into 40 mg orally twice a day

       Use: Treatment of hypertension alone or in combination with other antihypertensive agents.

       Maximum Adult dose: 600 mg/day in patients with clinically severe edematous states.

       Usual Pediatric Dose for Edema:

       Oral: Initial dose: 2 mg/kg orally once: if the diuretic response to the initial dose Is not satisfactory, may
       increase. bv 1 or 2 mq/kq and administer no sooner than 6 to B hours after the previous dose.




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:54:32 GMT                                                                                              Page 3 of 8

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                           Case 2:25-cv-00849                                         Document 4-13
       Maximum Adult dose: 600 mg/day in patients with clinically severe edematous states.
                                                                                                                                     Filed 01/31/25              Page 18 of 56 PageID: 343

       Usual Pediatric Dose for Edema:

       Oral: Initial dose: 2 mg/kg orally once; if the diuretic response to the initial dose Is not satisfactory, may
       increase by 1 or 2 mg/kg and administer no sooner than 6 to 8 hours after the previous dose.
       Maintenance dose: Adjust t o minimum effective dose.


       Maximum dose: 6 mg/kg

       Use: Treatment o f edema associated w ith congestive heart failure, cirrhosis of the liver and renal disease,
       including the nephrotic syndrome, especially when an agent w ith greater diuretic potential is desired.

       O Detailed Lasix dosage information


       What happens if I miss a dose?
       Lasix is sometimes used only once, so you may not be on a dosing schedule. If you are using t he medication
       regularly, use the medicine as soon as you can, but skip the missed dose if it is almost time for your next
       dose. Do not use two doses at one time.




       What happens if I overdose?
       Seek emergency medical attention or call the Poison Help line at 1-800- 222-1222.

       Overdose symptoms may include feeling very thirsty or hot, heavy sweating, hot and dry skin, extreme
       weakness, or faint ing.




       What should I avoid while using Lasix?
       Avoid getting up t oo fast from a sitting or lying position, or you may feel dizzy.

       Avoid becoming dehydrated. Follow your doctor's Instructions about the type and amount of liquids you
       should drink while you are using Lasix.

       Drinking alcohol with this medicine can cause side effects.

       Lasix could make you sunburn more easily. Avoid sunlight or tanning bed s. Wear protective clothing and use
       sunscreen (SPF 30 or higher) when you are outdoors.

       If you have high blood pressure, ask a doctor or pharmacist before taking any medicines that can raise your
       blood pressure, such as diet pills or cough-and-cold medicine.




       Lasix side effects
       Get emergency medical help if you have signs of an allergic reaction to Lasix (hives, difficult breathing,
       swelling in your face or throat) or a severe skin reaction (fever, sore throat, burning eyes, skin pain, red or
       purple skin rash with blistering and peeling).

       Lasix may cause serious side effects. Call your doctor at o nce if you have:

         • a light-headed feeling, like you might pass out;

         • ringing in your ears, hearing loss;

         • muscle spasms or contractions;

         •   n=-IP c:llin PAC:\/ hn1ic:inn 11n11c: 11::.I hlllPriinn·




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:54:32 GMT                                                                                                                                       Page 4 of 8

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       Las1x may cause serious s1ae errects. Lall your aoctor at once 1r you nave:
                       Case 2:25-cv-00849                  Document 4-13               Filed 01/31/25            Page 19 of 56 PageID: 344
         • a light-headed feeling, like you might pass out;

         • ringing in your ears, hearing loss:

         • muscle spasms or contractions;

         • pale skin, easy bruising, unusual bleeding:

         • high blood sugar - increased thirst, increased urination, dry mouth, fruity breath odor:

         • kidney problems - swelling, urinating less, feeling tired or short of breath

         • signs of liver or pancreas problems - loss of appetite, upper stomach pain (that may spread to your
           back), nausea or vomiting, dark urine, jaundice (yellowing of the skin or eyes): or

         • signs of an electrolyte imbalance - increased thirst or urination, constipation, muscle weakness, leg
           cramps. numbness or t ingling, feeling jittery, fluttering In your chest.

       Common Lasix side effects may include:

         • diarrhea, constipation, loss of appetite;

         • numbness or ting Ling;

         • headache, dizziness; or

         • blurred vision.

       This is not a complete list of side effects and others may occur. Call your doctor for medical advice about
       side effects. You may report side effects to FDA at 1-800-FDA-1088.

       O Lasix side effects (more detail)


       What other drugs will affect Lasix?
       Sometimes it is not safe to use certain medicines at the same time. Some drugs can affect your blood levels
       of other drugs you use, which may increase side effects or make the medicines less effective

       If you also take sucralfate, take your Lasix dose 2 hours before or 2 hours after you take sucralfate.

       Tell your doctor about all your other medicines. especially:

         • another diuretic, especially ethacrynic acid;

         • rnethotrexate;

         • chloral hydrate;

         • lit hium;

         • phenytoin:

         • an antibiotic;

         • cancer medicine, such as cisplatin;

         • heart or blood pressure medicine; or

         • NSAIDs (nonsteroidal anti-inflammatory drugs) - aspirin, ibuprofen (Advil, Motrin), naproxen (Aleve),
           celecoxib, diclofenac, indomethacin, meloxicam, and others.

       This list Is not complet e. Other drugs may interact w ith furosemide, Including prescription and over-the-
       count er medicines, Vitamins, and herbal products. Not all possible drug Interactions are listed here.

       0 Lasix drug Interactions (more detail)




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Capture timestamp (UTC): Fri, 24 Jan 2025 21:54:32 GMT                                                                                       Page 5 of 8

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       This list is notCase   2:25-cv-00849
                        complete.                       Document
                                  Other drugs may interact                4-13
                                                           w ith furosemide, includingFiled  01/31/25
                                                                                      prescript ion and over-the-Page 20 of 56 PageID: 345
       counter medicines, vitamins, and herbal products. Not all possible drug interactions are listed here.

       O Lasix drug Interactions (more detail)


          Does Lasix interact with my other drugs?
          Enter medications to view a detailed interact ion report using our Drug Interaction Checker.


            Lasix




       Popular FAQ
                                                     +    Enter a drug name


                                                                                                         -
       Should you drink a lot of water when taking Lasix?                                                      V




       More FAQ
         • Are losartan and losartan potassium the same or different drugs?

         • How long after taking Lasix would you expect to urinate?

         • Can you take Lasix for weight loss?

         • What are the equivalent dosages of bumetanide, furosemide & torsemide?

       View more FAQ ...



       References

         1. Lasix Prescnbing Information




       Was t his page helpful?         cb   IQ




       More about Lasix (furosemide)
         • Check interactions

         • Compare alternatives

         • Reviews (56)

         • Drug images

         • Side effects

         • Dosage information

         • Patient tips

         • During pregnancy

                                             Discover a Treatment Option


                      r1                     if you are affected by Ulcerative Colitis, help may be at hand.

                                                 Learn more




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                                                                                Add195
                   Case 2:25-cv-00849
         • During pregnancy                              Document 4-13               Filed 01/31/25             Page 21 of 56 PageID: 346
         • Generic availability

         • Support group

         • Drug class: loop diuretics

         • Breastfeeding

         • [n espaf\ol


       Patient resources
         • Lasix (Furosemide Injection) advanced reading


       Other brands

       Furoscix


       Professional resources
         • Lasix prescribing Information

         • Furosemide (AHFS Monograph)


       Other brands

       Furoscix


       Related treatment guides
         • Heart Failure

         • Edema

         • Ascites

         • High Blood Pressure




       Further information
       Remember. keep this and all other medicines out of t he reach of children, never share your medicines with
       others, and use Lasix only for the for the indication prescribed.


       Always consult your healthcare provider to ensure the information displayed on this page applies to your
       personal circumstances.

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Capture timestamp (UTC): Fri, 24 Jan 2025 21:54:32 GMT                                                                                      Page 7 of 8

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       Professional
                Caseresources
                       2:25-cv-00849                         Document 4-13                    Filed 01/31/25             Page 22 of 56 PageID: 347
         • Lasix prescribing information

         • Furosemide (AHFS Monograph)


       Other brands

       Furoscix


       Related treatment guides
         • Heart Failure

         • Edema

         • Ascites

         • High Blood Pressure




       Further information
       Remember, keep this and all other medicines out of t he reach of children, never share your medicines with
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       Always consult your healt hcare provider to ensure the information displayed on t his page applies to your
       personal circumstances.

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                                                If you are affected by Ulcerative Colitis, help may be at hand.

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Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 23 of 56 PageID: 348




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       &'@ Drugs.com"
            Case 2:25-cv-00849Search
                                  Document 4-13 Filed 01/31/25 Page 24 ofAll 56                          v
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                                                                                   G                   Advanced Search

       Dr ugs A-Z        Pill Ident ifier   Interaction Checker    Compare Drugs           N ews    Pro Edition       More ...                                     Help & Support




       Home    Vasotec                                                                                       ~ Pnnt       I,'! save
                                                                                                                                        DRUG STATUS



       Vasotec c:J,i                                                                                                                    0      Availability
                                                                                                                                               Prescription only

       Generic name: enalapril [ e-NAL-a-pril ]                                                                                                Pregnancy & Lact ation
       Dosage form: oral tablet (10 mg; 2.5 mg; 20 mg; 5 mg).                                                                                  Risk data available
       Drug class: Angiotensin Converting Enzyme Inhibitors                                                                              N~ CSA Schedule"                        V
                                                                                                                                        '-  Not a controlled drug
              Medically reviewed by Melisa Puc key, BPharm. Last updated on Mar 1. 2024.
                                                                                                                                        ~ Approval History
                                                                                                                                                                                 V
                                                                                                                                        \:!::::,) FDA approved 1985
       Uses       Warnings            Before taking     Dosage       Side effects          Interactions     FAQ

                                                                                                                                      U ser Reviews & Ratings

                                                                                                                                      4 Reviews
       What is Vasotec?
       Vasotec (enalapril) is used alone or in combinat ion with other medications to treat high blood pressure in                    Images

       adults and children at least 1 month old.

       Vasot ec can also be used t o prevent and treat congestive congestive heart failure in adults.


       Vasot ec belongs to a class of medications called anglotensin-converting enzyme (ACE) inhibitors. Enalapril
       works by decreasing certain chemicals that tighten t he blood vessels, so blood flows more smoothly and
       the heart can pump blood more efficiently.




       Warnings                                                                                                                         Vasotec 10 mg (VASO 10)

       Do not use Vasotec if you are pregnant. If you become pregnant, stop taking this medicine and t ell
       your doctor right away.                                                                                                                                        View larger
                                                                                                                                                                        images

       Tell your doctor about all your other medicines. Some drugs should not be used with Vasotec.

       If you have diabetes, do not use enalapril together with any medicat ion that contains aliskiren (such as
       Tekturna or Tekamlo).

       You should not use Vasotec if you have ever had angioedema. Do not take Vasotec w ithin 36 hours before
       or after taking any medicine that contains sacubatril (such as Entresto).

       Enalapril can affect your heart or your electrolyte levels. Call your doct or if you have chest pain, pounding
       heartbeats or fluttering in your chest , a slow heart rate or weak pulse, a t ingly feeling. muscle weakness, or
       muscle tightness or contraction.




       Before taking this medicine
       You should not use Vasotec. if you are allergic to enalapril or to any ot her ACE (angiotensin converting
       enzyme) inhibit or such as benazepril, captoprll, fosinopril, trandolapril, lisinopril, moexipri l, perindopril,
       quinapril, or ramipril.

       Oo not use V;,sotec within 36 hours hefore or ;ifter t;ikinn medic.in? th;,t cont;,ins sarnbitril /such ;is




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:01:23 GMT                                                                                                                           Page 1 of 7

                                                                                       Add199
       Before taking this medicine
               Case 2:25-cv-00849                           Document 4-13                Filed 01/31/25                 Page 25 of 56 PageID: 350
       You should not use Vasotec. if you are allergic to enalapril or to any other ACE (angiotensin converting
       enzyme) inhibitor such as benazepril, captoprll, fosinopril. trandolapril, lisinopril, moexipril, perindopril,
       quinapril, or ramipril

       Do not use Vasot ec within 36 hours before or after taking medicine that contains sacubitril (such as
       Entresto).

       Do not use Vasot ec if you have a history of angioedema (severe allergic reaction).

       To make sure Vasot ec is safe for you, tell your doctor if you have ever had:

         • heart disease, heart problems such as a recent heart attack;

         • low blood pressure;

         • stomach pain;

         • low white blood cell count;

         • if you are on a low-salt diet;

         • diabetes;

         • kidney disease (or if you are on dialysis); or

         • liver disease.

       You may also need to avoid taking Vasotec with aliskiren if you have kidney disease.

       Stop using this medicine and t ell yo ur doctor right away if you become pr egnant. Enalapril can cause
       injury or death to the unborn baby if you use the medicine during your second or third trimester.

       Do not breastfeed.

       8 Vasotec r,1regnancy and breastfeeding warning:; (more detail)


       How should I use Vasotec?
       Take Vasotec exactly as prescribed by your doctor. Follow all directions on your prescription label and read
       all medication guides or instruction sheets. Your doctor may occasionally change your dose.

       Vasot ec tablets are taken by mouth.

       You may t ake Vasotec tablets with or without food.

       Call your doct or if you have ongoing vomiting or diarrhea, or if you are sweating more t han usual You can
       easily become dehydrated while taking Vasotec. This can lead to very low blood pressure, an electrolyte
       imbalance, or kidney failure.

       Your blood pressure will need to be checked often and you may need frequent blood tests.

       Tell your doctor if you have a planned surgery.

       If you have high blood pressure, keep using Vasotec even If you feel well. High blood pressure often has no
       symptoms.

       St ore Vasot ec tablets t ightly closed at room temperature, away from moisture and heat




       Dosing information
       Usual Adult Dose for Hypertension:




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:01:23 GMT                                                                                              Page 2 of 7

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                   Case
       Store Vasotec tablets 2:25-cv-00849              Document
                             t ightly closed at room temperature,       4-13
                                                                  away from        Filed
                                                                            moisture       01/31/25
                                                                                     and heat.                          Page 26 of 56 PageID: 351


       Dosing information
       Usual Adult Dose for Hypertension:


       Initial dose: 5 mg orally once a day
       Maintenance dose: 10 to 40 mg orally per day as a single dose or in 2 divided doses
       Maximum dose: 40 mg orally daily as a single dose or in 2 divided doses


       In combination with diuretics:
       Initial dose: 2.5 mg orally once a day
       If feasible, the diuretic should be discontinued 2 to 3 days prior to initiation of therapy with enalapril. If
       required, diuretic therapy may be gradually resumed.

       Usual Adult Dose for Congestive Heart Failure:

       Initial dose: 2.5 mg orally once a day
       Maintenance dose: 2.5 to 20 mg daily in 2 divided doses
       Maximum dose: 40 mg orally per day in 2 divided doses


       Comments:
       - Treatment is usually combined with diuretics and digitalis.
       -Doses should be titrated upward, as tolerated. over a period of a few days or weeks.

       Usual Adult Dose for Left Ventricular Dysfunction:

       Initial dose: 2.5 mg orally twice a day
       Maintenance dose: 20 mg orally per day in 2 divided doses


       Comments:
       -After the initial dose, the patient should be observed for at least 2 hours and until blood pressure has
       stabilized for at least an addit ional hour.
       -If possible. the dose of any concomitant diuretic should be reduced which may diminish the likelihood of
       hypotension.

       Usual Pediatric Dose for Hypertension:

       Children 1 month to 17 years:
       Initial dose: 0.08 mg/kg/day (up to 5 mg) in 1 to 2 divided doses. Adjust dosage based on patient response.
       Maximum dose: Doses greater than 0.58 mg/kg (40 mg) have not been evaluated in pediatric patients.


       Comment:
       -Not recommended in neonates and in pediatric pat ients with glomerular filtration rate less than 30 mUmin,
       as no data are available.

       8 Detailed Vasotec dosage information


       What happens if I miss a dose?
       Take the medicine as soon as you can, but skip the missed dose If it is almost t ime for your next dose. Do
       not take two doses at one time.




       What happens if I overdose?
       Seek emergency medical attention or call the Poison Help line at 1-800-222-1222.




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       Take the medicine as soon as you can, but skip the missed dose If it is almost t ime for your next dose. Do
       not take two Case
                    doses at2:25-cv-00849
                            one time.                      Document 4-13                Filed 01/31/25            Page 27 of 56 PageID: 352


       What happens if I overdose?
       Seek emergency medical attention or call the Poison Help line at 1-800- 222-1222.




       What should I avoid while using Vasotec?
       Avoid getting up t oo fast from a sitting or lying position, or you may feel dizzy.

       Do not use potassium supplements or salt substitutes, unless your doctor has told you to.

       Avoid becoming overheated or dehydrated during exercise, in hot weather, or by not drinking enough fluids.
       Follow your doctor's instructions about the type and amount of liquids you should drink. In some cases,
       drinking too much liquid can be as unsafe as not drinking enough.




       Vasotec side effects
       Get emergency medical help if you have signs of an allergic reaction to Vasotec: hives, severe stomach
       pain, difficulty breathing, swelLing of your face, lips. tongue, or throat.

       Enalapril may cause serious side effects. Call your doctor at o nce if you have:

         • a Light-headed feeling, like you might pass out;

         • high blood potassium - nausea. weakness, tingly feeling. chest pain, irregular heartbeats, loss of
           movement;

         • low white blood cell counts - fever, mouth sores, skin sores, sore t hroat, cough;

         • kidney problems - swelling, urinating less, feeling tired or short of breath; or

         • liver problems - loss of appetite, stomach pain (upper right side), tiredness, itching, dark urine, clay-
           colored stools, jaundice (yellowing of the skin or eyes) .

       Common Vasotec side effects may include:

         • cough, diarrhea;

         • chest pain, dizziness, tiredness;

         • headache, nausea;or

         • low blood pressure.

       This is not a complete list of side effects and others may occur. Call your doctor for medical advice about
       side effects. You may report side effects to FDA at 1-800-FDA-1088.

       O Vasotec side effects (more detail)


       What other drugs will affect Vasotec?
       Enalapril can harm your kidneys. especially if you also use certain medicines for infections, cancer,
       osteoporosis.

       Tell your doctor about all your other medicines, especially:

         • a diuretic or "water pill" that may increase blood potassium such as spironolactone, t riamterene,
           amiloride;




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:01:23 GMT                                                                                        Page 4 of 7

                                                                                     Add202
       osteoporosis.
                     Case 2:25-cv-00849                    Document 4-13                 Filed 01/31/25                Page 28 of 56 PageID: 353
       Tell your doctor about all your other medicines, especially:

         • a diuretic or "wat er pill" t hat may increase blood potassium such as spironolactone, t riamterene,
           amiloride:

         • NSAIDs (nonsteroidal anti-inflammatory drugs) - aspirin, ibuprofen (Advil, Motrin), naproxen (Aleve).
           celecoxib. diclofenac. indomethacin, meloxicam, and others:

         • medicine to prevent organ transplant rejection such as t emsirolimus, sirolimus, or everolimus: or

         • heart or blood pressure medication.

       This list is not complet e. Ot her drugs may int eract w ith enalapril, including prescription and over-t he-
       counter medicines, vitamins, and herbal products. Not all possible drug interactions are listed here.

       O Vasotec drug interactions (more detail)


           Does Vasot ec int eract wit h my other drugs?
           Enter medications to view a detailed int eract ion report using our Drug Interaction Checker.


            Vasotec




       Ingredients
                                                      +     Enter a drug name


                                                                                                              -
       Active ingredient: enalapril maleate.
       Inactive ingredients: lactose, magnesium stearate, sodium bicarbonat e, and starch. The 10 mg and 20 mg
       t ablets also contain iron oxides.



       Manufacturer
       Valeant Pharmaceuticals North America LLC, Bridgewater, NJ 08807, USA.



       Frequently asked questions
         • Do ACE inhibitors make COVID-19 worse?



       References
         1. Vasotec Product Label




       More about Vasotec (enalapril)
         • Check interactions

         • Compare alternatives

         • Pricing & coupons

         • Reviews (4)

         • Drug images

         • Side effects

         • Dosage information




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:01:23 GMT                                                                                             Page 5 of 7

                                                                                    Add203
       More about Vasotec (enalapril)
                    Case 2:25-cv-00849                  Document 4-13              Filed 01/31/25             Page 29 of 56 PageID: 354
         • Check interactions

         • Compare alternatives

         • Pricing & coupons

         • Reviews (4)

         • Drug Images

         • Side effects

         • Dosage information

         • During pregnancy

         • Generic availability

         • Drug class: Angiotensin Converting Enzyme Inhibitors

         • Breastfeeding

         • En espanol


       Patient resources

       Other brands

       Epaned


       Professional resources
         • Vasotec prescribing information

         • Enalapril (AHFS Monograph)


       Oth er brands

       Epaned


       Related t reatment guides
         • High Blood Pressure

         • Hypertensive Emergency

         • Diabetic Kidney Disease

         • Heart Fallure

         • Left Vent ricular Dysfunction




       Further information
       Remember, keep this and all other medicines out of the reach of children, never share your medicines with
       others, and use Vasotec only for the indication prescribed.

       Always consult your healthcare provider to ensure the information displayed on this page applies to your
       personal circumstances.

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                                                                              Add204
         • Vasotec Case     2:25-cv-00849
                   prescribing information                   Document 4-13                   Filed 01/31/25              Page 30 of 56 PageID: 355
         • Enalapril (AHFS Monograph)


       Other brands

       Epaned


       Related treatment guides
         • High Blood Pressure

         • Hypertensive Emergency

         • Diabetic Kidney Disease

         • Heart Failure

         • Left Ventricular Dysfunction




       Further information
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       Jan 2025), ASHP (updated 12 Jan 2025) and ot hers

                                                Discover a Treatment Option
                                                lf you are affected by Granulomatosls w ith Pol yangiitis, help may be at hand.

                                                [ Learn more




Document title: Vasotec: Uses, Dosage &amp; Side Effects - Drugs.com
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Capture timestamp (UTC): Fri, 24 Jan 2025 22:01:23 GMT                                                                                                                                Page 7 of 7

                                                                                      Add205
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 31 of 56 PageID: 356




                 EXHIBIT 1D




                                 Add206
                 Case 2:25-cv-00849                    Document 4-13                         Filed 01/31/25                   Page 32 of 56 PageID: 357

 a~~on pharmacy          Home   How It works         Ways to save        (D Help                                                                                               Sign up I Sign In




                                  Verquvo, 5 MG Tablet
                                                                                                                                     Average insurance price
                                   Rx Pre:i.criptlon n~qulred   FSA or HSA eligible                                                  sl l oo

                                   Form Oral Tablet                                                                                  To get your exact price, transfer your p rescription or
                                                                                                                                     call your insurance provider. Details

                                   Strength      0                                                                                                               OR

                                    5 MG v
                                                                                                                                     Buy without insurance
                                   Frequency                                                                                         -13% $7 0 7 67 ($707.67/month)
                                     1 tablet per day v                                                                              Retail price: ~
                                                                                                                                     Save $106.53 with Prime. Details
                                   Supply    0
                                     30 days (30 tablets) v                                                                          ® En ter your ZIP Code to see your del ivery
                                                                                                                                     etlglblllty

                                                                                                                                     Fast, free delivery
                                  How Amazon Pharmacy works




                                  .--
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                                                                1. Sign up for Amazon Pharmacy
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                                                                We can work With your Insurance and current p harmacy to get
                                                                your prescription.


                                                                                                                                                     Get care and re quest prescriptions
                                                                                                                                       one           online or in person
                                                                3. Get your meds delivered                                             medical
                                                                                                                                                     Get st a rted ,
                                                                Have a question? Our pharmacists are available 24/7.




                                      Learn more about how ,t wo1 ks




                                  About this medication

                                  VERICIGUAT (VER e SIG ue at) lowers the r isk of deat h and reduces the need for
                                  hospitalization caused by heart failure. It works by relaxing your b lood vessels and
                                  lowering the b lood pressure In your lungs, which m akes It easier for your heart to
                                  pump blood to the rest of your body.




                                   J          How should you use this medication?


                                  Take this medlc.atlon by mouth with water. Take It as directed on the prescription label
                                  at the same time every day, Take It with food. Swa'ltow the tablet whole. You may
                                  crush the tablet and put the contents In water. swallow t he medication and water
                                  right away. Keep taking this medication unless your care team tells you to stop. Talk to
                                  your care team about the use of this medtcatlon In children. Special care may be
                                  needed .




                                   ~ What are the possible side effects of this medicine?




Document title: Amazon Pharmacy: Merck Sharp &amp; Dohme VERQUVO 5 MG TABLET (1 Tablet)
Capture URL: https://pharmacy.amazon.com/dp/B09KWJ3X15?
Capture timestamp (UTC): Fri, 24 Jan 2025 22:02:14 GMT                                                                                                                               Page 1 of 2

                                                                                      Add207
                 Case 2:25-cv-00849                     Document 4-13                          Filed 01/31/25                       Page 33 of 56 PageID: 358
                                       Learn more about how it works



                                  About this medication

                                  VERICIGUAT {VER e SIG ue at) lowers the risk of death and reduces the need for
                                  hospitalization caused by heart failure. It works by relaxing your b lood vessels and
                                  lowering the. b lood pressure in your lungs, which makes It easler for your heart t o
                                  pump blood to the rc~t of your body.




                                      ~ How should you use this medication?

                                  Take this medication by mouth with water. Take It a_s directed on the prescription label
                                  at the same time every day. Take It with food, swallow the tablet whole, You may
                                  crush the tablet and put the contents In water. Swallow the medication and wa ter
                                  right away. Keep taking this medication unless your care team tells you t o stop. Talk to
                                  your care team about the u.se of this med[catlon fn children. Special care may be
                                  nee ded.




                                      ~ What are the possible side effects of this medicine?

                                  Side effects that you should report to your care team as soon as possible:

                                  • Allergic reactfons--skin rash, ltdllng, h ives, swelllng of the face1 IJps, tong.u e, or
                                    throat
                                  • Low blood pressure--drzzlness, fee.Ung faint or Ughtheaded, b lurry 1./lslon
                                  • Low red blood cell level--unusual weakness or fatlguej d lzziness1 headache, trouble
                                    breathing




                                      @.., What may interact with this medicine?
                                         0

                                  Our pharmacists will che ck to see If this medication wlll cau;e any Interactions with
                                  the Information In your profile.
                                  Do not take this medicat ion with any of the follow·1ng:

                                  • Rloclguat Th is me.dlcatJon may also Interact w1th the followlng:
                                  •    Avanaftl
                                  •    Sildenaftl
                                  •    Tadalaftl
                                  •    Vardenaftl




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                                  This ls a summary of lnfonnat lon about thfs product. It is not medical advice. Ask your health care
                                  professional for complete lnfonnation about this product and your individual health needs.




Document title: Amazon Pharmacy: Merck Sharp &amp; Dohme VERQUVO 5 MG TABLET (1 Tablet)
Capture URL: https://pharmacy.amazon.com/dp/B09KWJ3X15?
Capture timestamp (UTC): Fri, 24 Jan 2025 22:02:14 GMT                                                                                                          Page 2 of 2

                                                                                        Add208
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 34 of 56 PageID: 359




                 EXHIBIT 1E




                                 Add209
            full PrescOOir.g informat lOll For He.attiiGlre Professkmals
                           Case 2:25-cv-00849                                 Document 4-13                            Filed 01/31/25                        Page 35 of 56 PageID: 360
                                                                                                                          ABOLJT COREG® COREG® FAQs CHOOSEBRAND COREG® COPAY SAVINGS CARD




                                                 You 1ve Got This.
                 If you've been diagnosed with hypertension, heart failure or have suffered a recent
                               heart attack, COREG can help you get back to your life.


                                                         Get Your Savings Card




                                                                           3 Steps to Getting Brand-Name COREG®
                                                       I?<

                                             [ ~Dd
                                     Ask Your Doctor
                                                                                                             [~__: ]
                                                                                                    Get Your Copay Card
                                                                                                                                                                  3.125 mg      6.25 mg           12.5 mg           25 mg




                  Ask your doctor to prescribe brand name COREG®, no                      Get your Copay Savings Card, you may pay as little as                     Make Sure You Have Brand
                        substitutions and indicate 'DAWl' on your                                     $5.00 for your prescription.
                                       prescription.
                                                                                                                                                                         Name COREG®
                                                                                                              Copay Savings Card                                 To ensure you get this brand name medication, look
                                                                                                                                                                  for the distinctive shape and marking of COREG®.
                                                                                                                                                                  3.125 mg tablets are white, oval-shaped with "3B"
                                                                                                                                                                   embossed. Larger doses appear elongated, white,
                                                                                                                                                                                 with a smaller oval inside.




                                                                                                      What is COREG?
                                1
                        If vrn 1vp hPPn rti;:innn<;:Prl with hvnPrtPn<;:ion hP.1rt f;:iihirP nr h,1vp <;:1 1ffprprl A rPrPnt hP;:irt ;:itt;:irk (ORF(. r;:in hPln vrn 1npt h;:irk t n vn11r lifP rnRFC r;:in hPln lnwPr hinh

    Select Safety Information for COREG®

    Do not abruptly stop taking COREG®, as it may lead to acute exacerbation of coronary artery disease upon cessation of t herapy. Bradycardia, hypotension, worsening heart failure/fluid retention
    may occur. Discuss these symptoms with your doctor. Tell your doctor about all the medications you take. Certain other medications may affect how COREG® works.
                          COREG for Hypertension                                             COREG for Heart Attack that Reduced                                  COREG for Heart Failure




Document title: COREG® Home - Coreg® (carvedilol) Tablets
Capture URL: https://coreg.com/
Capture timestamp (UTC): Fri, 24 Jan 2025 22:03:19 GMT                                                                                                                                                                         Page 1 of 3

                                                                                                               Add210
                   If you've been diagnosed with hypertension, heart failure or have suffered a recent heart attack, COREGcan help you get back to your life. COREGcan help lower high
                      Case 2:25-cv-00849                        Document 4-13 Filed 01/31/25 Page 36 of 56 PageID: 361
                                         blood pressure to combat hypertension and can improve survival for patients with post-heart attack LVD or heart failure.

                                                                                    See what COREGcan do for you.



                    COREG for Hypertension                                   COREG for Heart Attack that Reduced                      COREG for Heart Failure
                                                                             How Well Your Heart Pumps
                    Hypertension is another name for high blood
                    pressure - a disease that causes the heart to            If you've had a heart attack that reduced how            If you have heart failure, COREG can help.
                    work harder than normal and puts a strain on             well your heart pumps, you are probably                  COREGis in the dass of drugs called beta-
                    the heart and arteries. Left untreated,                  worried about your health. But many people               blockers, and is approved by the FDA for the
                                                                             who have had a heart attack that reduced how             treatment of mild, moderate, or severe heart
                    hypertension can eventually lead to serious
                    conditions, such as heart attack, stroke, heart          well your heart pumps recover and are able to            failure. It helps to lower the heart rate and
                    failure or kidney failure.                               enjoy life as they did before.                           make the heart pump better. COREG can help
                                                                                                                                      people with heart failure live longer and stay
                     COREG can effectively lower blood pressure              COREGcan help improve your heart health.                 out of the hospital.
                    without worsening blood sugar or cholesterol             Adding COREGto your current therapy could
                    levels.                                                  help prevent another heart attack.



                                                                                            FIM:iiM                                                  Fiiii:iiM
                                   """"*
                                                               Taking Control of Your Heart Health Plan
                                                                                                                                                                                               0




                                         Talking with Your Doctor >                                                                    Taking COREG >



          IMPORTANT SAFETY INFORMATION AND INDICATIONS
          Do not abruptly stop taking COREG®, as it may lead to acute exacerbation of coronary artery disease upon cessation of therapy.
          Bradycardia, hypotension, worsening heart failure/fluid retention may occur. Discuss these symptoms with your doctor.
          Tell your doctor about all the medications you take. Certain other medications may affect how COREG® works.


          Do not take COREG® if you have any of the following:



             •   Bronchial asthma or related bronchospastic conditions
             •   Second- or third-degree AV block.
             •   Sick sinus syndrome.
             •   Severe bradycardia (unless permanent pacemaker in place).
             •   Patients in cardiogenic shock or decompensated heart failure requiring the use of IV inotropictherapy
             •   Severe hepatic (liver) impairment.
             •   History of serious hypersensitivity reaction (e.g., Stevens-Johnson syndrome, anaphylactic reaction, angioedema) to carvedilol or any of the components of COREG®_



          SIDE EFFECTS



Document title: COREG® Home - Coreg® (carvedilol) Tablets
Capture URL: https://coreg.com/
Capture timestamp (UTC): Fri, 24 Jan 2025 22:03:19 GMT                                                                                                                                   Page 2 of 3

                                                                                            Add211
                                                    ,....-   .
                     Case 2:25-cv-00849                            Document 4-13                  Filed 01/31/25                 Page 37 of 56 PageID: 362



                                          Talking with Your Doctor>                                                                   Taking COREG 1



          IMPORTANT SAFETY INFORMATION AND INDICATIONS
          Do not abruptly stop taking COREG®,as it may lead to acute exacerbation of coronary artery disease upon cessation of therapy.
          Bradycardia, hypotension, worsening heart failure/fluid retention may occur. Discuss these symptoms with your doctor.
          Tell your doctor about all the medications you take. Certain other medications may affect how COREG® works.

          Do not take COREG® if you have any of the following:


             •   Bronchial asthma or related bronchospastic conditions
             •   Second- or third-degree AV block.
             •   Sick sinus syndrome.
             •   Severe bradycardia (unless permanent pacemaker in place).
             •   Patients in cardiogenic shock or decompensated heart failure requiring the use of IV inotropict herapy
             •   Severe hepatic (liver) impairment.
             •   History of serious hypersensitivity reaction (e.g., Stevens-Johnson syndrome, anaphylacticreaction. angioedema) to carvedilol or any of the components of COREG®.



          SIDE EFFECTS                                                                                                                                                                     0
          The most commonly reported side effects were:                                                                                                                                    TT


             •   Allergy
             •   chest pain, discomfort, tightness, or heaviness
             •   dizziness. lightheadedness, or fainting
             •   generalized swelling or swelling of the feet, ankles, or lower legs
             •   pain
             •   shortness of breath
             •   slow heartbeat
             •   weight gain


          You are encouraged to report negative side effects of prescription drugs to the FDA


          Visit www.fda.gov/medwatch or call 1-800-FDA-1088.


          These highlights do not include all the information needed to use COREG® safely and effectively. See full prescribing information for COREG®.

          Please read the accompanying Medication Guide for COREG®, including the information about birth defects if taken during pregnancy, and discuss it with your doctor.
          The physician Prescribing Information also is available.




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Document title: COREG® Home - Coreg® (carvedilol) Tablets
Capture URL: https://coreg.com/
Capture timestamp (UTC): Fri, 24 Jan 2025 22:03:19 GMT                                                                                                                               Page 3 of 3

                                                                                                Add212
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 38 of 56 PageID: 363




                 EXHIBIT 1F




                                 Add213
       &'@ Drugs.com~
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                                  Document 4-13 Filed 01/31/25 Page 39 ofAUv                                 56- PageID: Register
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       Drugs A-Z        Pill Identifier      Interaction Checker   Compare Drugs       News       Pro Edition      More...                                         Help & Support




       Home   Pill Identifier   Search    s 10 Loqo                                                       ® Pnnt     I,'! Save
                                                                                                                                      DRUG STATUS



       S 10 Logo Pill - yellow round, 9mm                                                                                             0      Availability
                                                                                                                                             Prescription only

       Generic Name: empagliflozin                                                                                                           Pregnancy & Lactation
                                                                                                                                             Risk data available
       Pill with imprint S 10 Logo is Yellow, Round and has been identified as Jardiance 10 mg. It is supplied by
                                                                                                                                     ( N/A) CSA Schedule•                         V
       Boehringer lngelheim Pharmaceuticals, Inc.                                                                                    '-     Not a controlled drug

                                                                                                                                      ~ Approval History
       Jardiance is used in the treatment of Chronic Kidney Disease: Heart Failure: Type 2 Diabetes; Cardiovascular                   \.::.) Drug history at FDA
                                                                                                                                                                                  V

       Risk Reduction and belongs to the drug class SGLT- 2 inhibitors. Risk cannot be ruled out during pregnancy.
       Jardiance 10 mg is not a controlled substance under the Controlled Substances Act (CSA).




       Images for S 10 Logo

                                                                   Jardiance

                                                                   Generic Name: empagliflozin

                                                                   Imprint: S 10 Logo

         (,,!                    .., ,-               : '·,i       Strength: 10 mg

                                                                   Color: Yellow
                                                                                                                                 User Reviews & Ratings

                                                                   Size: 9.00 mm                                                 5.3 / 10                              322 Reviews


                                                                   Shape: Round

                                                                   Availability: Prescription only                               We r ecomme nd

                                                                                                                                 Medi-Dose/EPS A nnounces New Label Color
                                                                   Drug Class:
                                                                                                                                 for Medication Requiring Specia l Handling
                                                                   SGLT-2 inhibitors                                              J~ Phr\rn ~ cist   2'1 1

                                                                                                                                 Let's Get to the Point! C
                                                                   Pregnancy Category:




          ••
                                                                                                                                 Ma I ew Grls:5 r1e1, US P arma -is~ 2008
                                                                   C - Risk cannot be ruled out
                                                                                                                                 Generic Pharmace ut icals 2009: The Road
                                                                   CSA Schedule:                                                 Ahead
                                                                                                                                 Gr      s.tfH P LLC IJ5 P d mac1"'1- ...o   ti
                                                                   Not a controlled drug
                                                                                                                                 Graphic Changes Aid Ident ification of Active
                                                                   Labeler / Supplier:                                           OTC Ingredients ,,,.
                                                                                                                                 E     .:cl ff f/,F'lldn~ bl _ 11:
                                                                   Boehringer lngelheim Pharmaceuticals, Inc.
                                                                                                                                 New Pantoprazole Oral Liquid Option
                                                                   National Drug Code (NOC):
                                                                   00597-0152                                                    Medi-Dose®, Inc./ EPS ®, Inc. Announces
                                                                                                                                 LiquiDose® Direct Thermal Butterfly Labels
                                                                                                                                 in Five New Colors


                                                                   F·M+ii              Add to Drug List         Print            ,, --11 rm..ici~t :: uo

                                                                                                                                 Med i-Dose(R), Inc. / EPS(R). Inc. Announces
                                                                                                                                 LiquiDose(R) Direct Thennal Butterfly La bels
                                                                                                                                 in Five New Colors
                                                                   Get help with Imprint Code FAQs.
                                                                                                                                 is ~hanr:aost 20 _0




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:04:37 GMT                                                                                                                            Page 1 of 4

                                                                                   Add214
                                                                                                                       rvl~UI - U U!>~'J'.Y, II IL . / 1:r::, 1,19 , IIIL. A.l lllUU IIL~!>

                                                                                                                       LiquiDose® Direct Thermal Butterfly Labels
                    Case 2:25-cv-00849                Document 4-13               Filed 01/31/25             Page 40 inofFive
                                                                                                                           56NewPageID:
                                                                                                                                 Colors ~ 365
                                                               1·1%13            Add to Drug List       Print          us Pharmacist 2020

                                                                                                                       Medi-Dose( R), Inc. / EPS(Rl. Inc. Anno unces
                                                                                                                       LiquiDose(R) D irect Thennal Butterfly Labels
                                                                                                                       in Five New Colors C
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                                                                                                                       Changes in Generic Pill Appearance Affect
                                                                                                                       Medication Adherence C
                                                                                                                       By staff, US Pharmacist, 2020




                                                                                                                                            TRENDCI:J

                                                                                                                       Related News
                                                                                                                                             Weight Loss Meds Help Stroke
                                                                                                                                             Survivors Prevent Stroke
                                                                                                                                             Recurrence, Death




       Related images for "S 10 Logo"


                                                           @S12
                                                           1000M

                                                                                        No image available




         Synjardy                            Synjardy XR                           Gabapentin




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                                                                              Add215
                    Case 2:25-cv-00849                  Document 4-13                Filed 01/31/25             Page 41 of 56 PageID: 366
        3. Top-Rated Pain Pills for Fast Relief           >     4. Best Sleeping Pills for Insomnia                 >


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       More about Jardiance (empagliflozin)
         • Check interactions

         • Compare alternatives

         • Pricing & coupons

         • Reviews (322)

         • Drug Images

         • Side effects

         • Dosage information

         • Patient t ips

         • During pregnancy

         • Support group

         • FDA approval history

         • Drug class: SGLT-2 inhibitors

         • Breastfeeding

         • En espanol


       Patient resources
         • Jardiance drug information


       Professional resources
         • Jardiance prescribing information

         • EmpagUflozin (AHFS Monograph)


       Related treatment guides
         • Chronic Kidney Disease

         • Heart Failure

         • Type 2 Diabetes

         • Cardiovascular Risk Reduction




       Further information
       Always consult your healt hcare provider to ensure the information displayed on t his page applies to your
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                                                                                Add216
                   Case 2:25-cv-00849
         • Breastfeeding                                     Document 4-13                   Filed 01/31/25              Page 42 of 56 PageID: 367
         • En espa~ol


       Patient resources
         • Jardiance drug information


       Professional resources
         • Jardiance prescribing information

         • Empagliflozin (AHFS Monograph)


       Related treatment guides
         • Chronic Kidney Disease

         • Heart Failure

         • Type 2 Diabetes

         • Cardiovascular Risk Reduction




       Further information
       Always consult your healt hcare provider to ensure the information displayed on this page applies to your
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       Jan 2025), ASHP (updated 12 Jan 2025) and ot hers

                                                Discover a Treatment Option
                                                If you are affected by Diabetes, Type 2, help may be at hand.

                                                [ Learn more




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                                                                                      Add217
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 43 of 56 PageID: 368




                 EXHIBIT 1G




                                 Add218
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       Home    Pill Identifier   Search     HH 342                                                            ~ Pnnt     lei. save
                                                                                                                                       DRUG STATUS



       HH 342 Pill - brown capsule/oblong, 11mm                                                                                                 Availability
                                                                                                                                                Prescription only

       Pill with imprint HH 342 is Brown, Capsule/Oblong and has been identified as Valsartan 80 mg. It is supplied                             Pregnancy & Lactation
                                                                                                                                                Risk data available
       by Solco Healt hcare U.S., LLC.
                                                                                                                                       I~   ) CSA Schedule*
                                                                                                                                                                              V
       Valsartan is used in t he treat ment of High Blood Pressure: Left Ventricular Dysfunction; Heart Failure; Heart                 \._,I Not a controlled drug

       Attack and belongs to the drug class angiotensin receptor blockers. There is posit ive evidence of human                        ~ Approval History
                                                                                                                                                                              V
                                                                                                                                       ~ Drug history at FDA
       fetal risk during pregnancy. Valsartan 80 mg is not a controlled subst ance under t he Controlled Substances
       Act (CSA).




       Images for HH 342

                                                                      Valsartan
                                                                      Imprint: HH 342

                                                                      Strength: 80 mg

                                                                      Color: Brown

                                                                      Size: 11.00 mm
                                                                                                                                     User Reviews & Ratings
                                                                      Shape: Capsule/Oblong                                          5.6 / 10                           150 Reviews

                                                                      Availability: Prescription only
                                                                                                                                     Related N ews
                                                                      Drug Class:                                                                   One Type of Blood Pressure
                                                                      Angiotensin recept or blockers                                                Med May Help Prevent Post-
                                                                                                                                                    Stroke Epilepsy

                                                                      Pregnancy Category:
                                                                      D - Positive evidence of risk

                                                                      CSA Schedule:
                                                                      Not a controlled drug

                                                                      Labeler / Supplier:
                                                                      Solco Healthcare U.S., LLC

                                                                      Manufacturer: Zhejiang Huahai Pharmaceutical
                                                                      Co., Lt d

                                                                      N ational Drug Code (NOC):
                                                                      43547-0368

                                                                      Inactive Ingredients:
                                                                      microcrystalline cellulose, crospovidone, silicon
                                                                      dioxide, magnesium stearat e, tit anium dioxide,
                                                                      polyethylene glycol 3350, magnesium silicat e,
                                                                      nolvvinvl ;ilcohol. ferric oxide vPllow. ferric nxidP




Document title: HH 342 Pill Brown Capsule/Oblong - Pill Identifier
Capture URL: https://www.drugs.com/imprints/hh-342-23594.html
Capture timestamp (UTC): Fri, 24 Jan 2025 22:05:36 GMT                                                                                                                         Page 1 of 4

                                                                                      Add219
                                                               43547-0368
                    Case 2:25-cv-00849                  Document 4-13                    Filed 01/31/25          Page 45 of 56 PageID: 370
                                                               Inactive Ingredients:
                                                               microcrystalline cellulose, crospovidone, silicon
                                                               dioxide, magnesium stearate, titanium dioxide,
                                                               polyethylene glycol 3350, magnesium silicate,
                                                               polyvinyl alcohol, ferric oxide yellow, ferric oxide
                                                               red

                                                               Not e: lnuctivc ingredient s miJy v.Jry.




                                                               F•M'iiii                Add to Drug List     Print


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       More about valsartan
         • Check interactions

         • Compare alternatives

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         • Reviews (150)

         • Drug images

         • Side effects

         • Dosage information

         • Patient tips

         • During pregnancy

         • Support group

         • Drug class: angiotensin receptor blockers

         • Breastfeeding

         • En espal'\ol


       Patient resources
         • Valsartan drug information




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:05:36 GMT                                                                                       Page 2 of 4

                                                                                  Add220
       Patient resources
                 Case 2:25-cv-00849                           Document 4-13                  Filed 01/31/25              Page 46 of 56 PageID: 371
         • Valsartan drug information

         • Valsartan Tablets

         • Valsartan Capsules


       Other brands

       Dlovan, Prexxartan


       Professional resources
         • Valsartan monograph

         • Valsartan Oral Solution (FDA)


       Other brands

       Dlovan, Prexxartan


       Related treatment guides
         • High Blood Pressure

         • Left Ventricular Dysfunction

         • Heart Failure

         • Heart Attack




       Further information
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Document title: HH 342 Pill Brown Capsule/Oblong - Pill Identifier
Capture URL: https://www.drugs.com/imprints/hh-342-23594.html
Capture timestamp (UTC): Fri, 24 Jan 2025 22:05:36 GMT                                                                                                                               Page 3 of 4

                                                                                      Add221
         • valsarran LapsULes
                     Case 2:25-cv-00849                      Document 4-13                    Filed 01/31/25             Page 47 of 56 PageID: 372
       Other brands

       Diovan, Prexxartan


       Professional resources
         • Valsartan monograph

         • Valsartan Oral Solution (FDA)


       Other brands

       Diovan, Prexxartan


       Related treatment guides
         • High Blood Pressure

         • Left Ventricular Dysfunction

         • Heart Failure

         • Heart Attack




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                                                Discover a Treatment Option
                                                If you are affected by Diabetes, Type 2, help may be at hand.

                                                [ Learn more




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                                                                                      Add222
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 48 of 56 PageID: 373




                 EXHIBIT 1H




                                 Add223
       &'@ Drugs.com·
              Case 2:25-cv-00849Search
                                    Document 4-13 Filed 01/31/25 Page 49 ofAUv                                 56- PageID: Register
                                                                                                                             374                                      Sign In

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       Drugs A-Z         Pill Identifier      Interaction Checker   Compare Drugs         News        Pro Edition    More...                                    Help & Support




       Home    Pill Identifier   Search    MSD 106 PRINIVIL                                                   ® Pnnt I,'! Save
                                                                                                                                   DRUG STATUS



       MSD 106 PRINIVIL Pill yellow u- shape, 10mm                                                                                          Availability
                                                                                                                                            Prescription only

       Generic Name: lisinopril                                                                                                             Pregnancy & Lactation
                                                                                                                                            Risk data available
       Pill with imprint MSD 106 PRINIVIL is Yellow, U-shape and has been identified as Prinivil 10 mg. It is
                                                                                                                                   ( N/A J CSA Schedule*                 V
       supplied by Merck & Company Inc.                                                                                            '-      Not a controlled drug

                                                                                                                                   ~ Approval History
       Prinivil is used in the treatment of Heart Attack; High Blood Pressure; Heart Failure and belongs to the drug               ~ Drug history at FDA
                                                                                                                                                                         V

       class Angiotensin Converting Enzyme Inhibit ors. There is positive evidence of human fetal risk during
       pregnancy. Prinivil 10 mg is not a controlled substance under the Controlled Substances Act {CSA).




       Images for MSD 106 PRINIVIL

                                                                    Prinivil
                                                                    Generic Name: lisinopril

                                                                    Imprint: MSD 106 PRINIVIL

                                                                    Strength: 10 mg

                                                                    Color: Yellow
                                                                                                                                 User Reviews & Ratings

                                                                    Size: 10.00 mm                                               5.8 / 10                           11 Reviews


                                                                    Shape: U-shape

                                                                    Availability: Prescription only

                                                                    D rug Class:
                                                                    Angiotensin Converting Enzyme Inhibitors

                                                                    Pregnancy Category:
                                                                    D - Positive evidence of risk

                                                                    CSA Schedule:
                                                                    Not a controlled drug

                                                                    Labeler / Supplier:
                                                                    Merck & Company Inc.

                                                                    National Drug Code (NDC):
                                                                    00006-0106 (Discontinued)

                                                                    Inactive Ingredients:
                                                                    calcium phosphate dihydrate dibasic, mannitol.
                                                                    magnesium stearate, corn st arch, ferric oxide
                                                                    yellow

                                                                    Note: Inact ive ingredients may vary.




Document title: MSD 106 PRINIVIL Pill Yellow U-shape - Pill Identifier
Capture URL: https://www.drugs.com/imprints/msd-106-prinivil-193.html
Capture timestamp (UTC): Fri, 24 Jan 2025 22:06:49 GMT                                                                                                                    Page 1 of 3

                                                                                      Add224
                    Case 2:25-cv-00849                Document
                                                          Inactive 4-13
                                                                   Ingredients:Filed 01/31/25                 Page 50 of 56 PageID: 375
                                                             calcium phosphate dihydrate dibaslc, mannitol,
                                                             magnesium stearate, corn starch, ferric oxide
                                                             yellow

                                                             Note: Inactive ingredients may vary.



                                                             F•M'Hii               Add to Drug List    Print


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       Was this page helpful?      rf:J       19



       More about Prinivil (lisinopril)
         • Check interactions

         • Compare alternatives

         • Reviews (l l)

         • Drug images

         • Side effects

         • Dosage information

         • Patient tips

         • During pregnancy

         • Drug class: Angiotensin Converting Enzyme Inhibitors

         • Breastfeeding

         • En espanol


       Patient resources
         • Prinivil drug information


       Other brands

       Zestril, Obrelis


       Professional resources
         • Prinivil prescribing information

         • Lisinopril (AHFS Monograph)




Document title: MSD 106 PRINIVIL Pill Yellow U-shape - Pill Identifier
Capture URL: https://www.drugs.com/imprints/msd-106-prinivil-193.html
Capture timestamp (UTC): Fri, 24 Jan 2025 22:06:49 GMT                                                                                    Page 2 of 3

                                                                              Add225
       rCILl~l1L I ~:,uu1 \.,~:,

                     Case
         • Prlnivil drug      2:25-cv-00849
                         Information                         Document 4-13                    Filed 01/31/25              Page 51 of 56 PageID: 376

       Other brands

       Zestril, Qbrells


       Professional resources
         • Prlnivil prescribing information

         • lisinopril (AHFS Monograph)

       Other brands

       Zestril, Obrells


       Related treatment guides
         • Heart Attack

         • Heart Failure

         • High Blood Pressure



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                                                                                       Add226
Case 2:25-cv-00849   Document 4-13   Filed 01/31/25   Page 52 of 56 PageID: 377




                 EXHIBIT 1I




                                 Add227
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       Home   Pill Identifier   Search     E 46                                                                 ~ Pnnt     I,'! Save
                                                                                                                                         DRUG STATUS



       E 46 Pill - green oval, 10mm                                                                                                            Availability
                                                                                                                                               Prescription only

       Pill with imprint E 46 is Green, Oval and has been identified as Losartan Potassium 50 mg. It is supplied by                            Pregnancy & Lact ation
                                                                                                                                               Risk data available
       Aurobindo Pharma.
                                                                                                                                         C, CSA Schedule*
       Losartan is used in the treatment of High Blood Pressure; Diabetic Kidney Disease and belongs to the drug                        Q      Not a controlled drug
                                                                                                                                                                             V



       class angiotensin receptor blockers. There is posit ive evidence of human fetal risk during pregnancy.                            ~ Approval History
                                                                                                                                                                             V
                                                                                                                                         ~ Drug history at FDA
       Losartan 50 mg is not a controlled substance under the Controlled Substances Act (CSA}.




       Images for E 46

                                                                       Losartan Potassium
                                                                       Imprint: E 46

                                                                       Strength: 50 mg

                                                                       Color: Green

                                                                       Size: 10.00 mm

                                                                       Shape: Oval                                                     U ser Reviews & Ratings

                                                                                                                                       4.5/10 -                        570 Reviews
                                                                       Availability: Prescription only

                                                                       Drug Class:                                                     Related News
                                                                       Angiotensin recept or blockers                                              One Type of Blood Pressure
                                                                                                                                                   Med May Help Prevent Post-
                                                                       Pregnancy Category:                                                         Stroke Epilepsy

                                                                       D - Positive evidence of risk

                                                                       CSA Schedule:
                                                                       Not a controlled drug

                                                                       Labeler / Supplier:
                                                                       Aurobindo Pharma

                                                                       National Drug Code (NOC):
                                                                       65862-0202

                                                                       Inactive Ingredients:
                                                                       microcrystalline cellulose, lactose monohydrate,
                                                                       corn starch, low substituted hydroxypropyl
                                                                       cellulose, magnesium stearate, hydroxypropyl
                                                                       cellulose, hypromellose 2910 (6 mPa.s). titanium
                                                                       dioxide, FD&C Blue No. 2, D&C Yellow No. 10,
                                                                       water

                                                                       Note: Inactive ingredients may vary.




Document title: E 46 Pill Green Oval 10mm - Pill Identifier
Capture URL: https://www.drugs.com/imprints/e-46-16422.html
Capture timestamp (UTC): Fri, 24 Jan 2025 22:07:49 GMT                                                                                                                        Page 1 of 4

                                                                                        Add228
                                                               corn starch, low substituted hydroxypropyl
                   Case 2:25-cv-00849                 Document     4-13 Filed 01/31/25 Page 54 of 56 PageID: 379
                                                          cellulose, magnesium stearate, hydroxypropyl
                                                               cellulose, hypromellose 2910 (6 mPa.s), titanium
                                                               dioxide, FD&C Blue No. 2, D&C Yellow No. 10,
                                                               water

                                                               Note: Inactive ingredients may vary.




                                                               f •M'Hii              Add to Drug List        Print



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       Related images for "E 46"




         Cytotec                              Lisdexamfetamine Dimesylate              Lisdexamfetamine Dimesylate




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       More about losartan
        • Check interactions

        • Compare alternatives

        • Pricing & coupons




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                                                                                Add229
         • CompareCase     2:25-cv-00849
                  alternat ives                         Document 4-13                Filed 01/31/25             Page 55 of 56 PageID: 380
         • Pricing & coupons

         • Reviews (570)

         • Drug images

         • Side effects

         • Dosage informat ion

         • Patient t ips

         • During pregnancy

         • Support group

         • Drug class: angiotensin receptor blockers

         • Breastfeeding

         • En espanol


       Patient resources
         • Losartan drug information


       Other brands

       Cozaar


       Professional resources
         • Losartan Potassium monograph

         • Losartan (FDA)


       Other brands

       Cozaar


       Related treatment guides
         • High Blood Pressure

         • Diabetic Kidney Disease

         • Alport Syndrome




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Capture timestamp (UTC): Fri, 24 Jan 2025 22:07:49 GMT                                                                                      Page 3 of 4

                                                                                Add230
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         • LosartanCase    2:25-cv-00849
                   drug information                          Document 4-13                   Filed 01/31/25              Page 56 of 56 PageID: 381

       Other brands

       Cozaar


       Professional resources
         • Losartan Potassium monograph

         • Losartan (FDA)


       Other brands

       Cozaar


       Related treatment guides
         • High Blood Pressure

         • Diabetic Kidney Disease

         • Alport Syndrome




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                                                                                      Add231
Case 2:25-cv-00849   Document 4-44   Filed 01/31/25   Page 1 of 3 PageID: 757




                EXHIBIT 32




                                Add232
Case 2:25-cv-00849   Document 4-44   Filed 01/31/25   Page 2 of 3 PageID: 758




                         ENTRESTO IS AVAILABLE IN THREE DOSAGE STRENGTHS1



                         LOW                                                    RECOMMENDED                                             TARGET DOSE
                         STARTING DOSE                                          STARTING DOSE                                           97/103 mg
                         24/26 mg twice daily                                   49/51 mg twice daily                                    twice daily
                         Pills shown not actual size.


                         Please click here for full Prescribing
                         Information, including Boxed WARNING.
                                                                                                         Entresto®
                                                                                                         (sacubitril/valsartan) tablets
                                                                                                         24126mg • 49151mg • 971103mg

                         For complete dosing
                         information, scan here:

                                                                                                                                                                   Document title: Digital Dosing Card 09-22.pdf
                                                                                                       Capture URL: https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/hcp-dosing-flashcard.pdf
                                                                                                                                                      Capture timestamp (UTC): Fri, 24 Jan 2025 19:44:54 GMT


                                Add233
                                              Case 2:25-cv-00849   Document 4-44   Filed 01/31/25   Page 3 of 3 PageID: 759




             Entresto®
             (sacubitril/valsartan) tablets
             24126mg • 49151mg • 971103mg


  For complete dosing information, scan here or visit:                                                                                                                                        1111
                                                                                                                                                                                                             a
                                                                                                                                                                                                             1111


  www.EntrestoHCP.com
                                                                                                                                                                                              ■ ■                ■




  Please click here for full Prescribing Information,
  including Boxed WARNING.                                                                                                    Reference: 1. ENTRESTO [prescribing information]. East Hanover, NJ: Novartis
                                                                                                                              Pharmaceuticals Corp.

                                                                                                                              ENTRESTO and the ENTRESTO logo are registered trademarks of Novartis AG.

tb NOVARTIS
  Novartis Pharmaceuticals Corporation
  East Hanover, New Jersey 07936-1080                                         © 2022 Novartis                                                      9/22                                                                               229104
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                                                                                                                                                             Capture URL: https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/hcp-dosing-flashcard.pdf
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                                                                              Add234
Case 2:25-cv-00849   Document 4-54   Filed 01/31/25   Page 1 of 6 PageID: 1468




                EXHIBIT 42




                                 Add235
         Case 2:25-cv-00849         Document 4-54          Filed 01/31/25     Page 2 of 6 PageID: 1469



                                                                            Entresto®
                                                                            (sacubitril/valsartan) tablets
                                                                            24126mg • 49151mg • 971103mg




                                  HEADING HOME
                                 WITH ENTRESTO®
                                         Follow the 4 steps below




1 Start                        2 Follow up                   3 Prepare                              4 Prioritize
Start taking your ENTRESTO     Follow up within 7 to 14      Prepare for your doctor                Prioritize Heart Failure.
prescription as soon as        days to lower the risk of     visit. Fill out the enclosed           It’s an ongoing condition
advised by your doctor. See    hospitalization.              Doctor Discussion Guide                that can get worse
inside to learn how to save.   Schedule an appointment       and note any symptoms and              over time and needs
                               and stay on top of it!        questions you may have.                your attention.


What is ENTRESTO?
ENTRESTO is a prescription medicine used to treat adults with long-lasting (chronic) heart failure to help reduce
the risk of death and hospitalization. ENTRESTO works better when the heart cannot pump a normal amount of
blood to the body.
IMPORTANT SAFETY INFORMATION
What is the most important information I should know about ENTRESTO?
ENTRESTO can harm or cause death to your unborn baby. Talk to your doctor about other ways to treat heart
failure if you plan to become pregnant. Tell your doctor right away if you become pregnant during treatment with
ENTRESTO.
See additional Important Safety Information throughout and on page 5. Please click here for full
Prescribing Information.
                                                                                                       Document Title: Heading Home with Entresto
                                                                                 Capture Url: https://www.entrestohcp.com/sites/entrestohcp_com/
                                                                                                    files/ documents/heading-home-digital-kit_1.pdf
                                                                                       Capture timestamp (UTC): Fri, 24 Jan 2025 17:47:24 GMT

                                                    Add236
            Case 2:25-cv-00849                 Document 4-54      Filed 01/31/25   Page 3 of 6 PageID: 1470

                                       HOW TO TAKE ENTRESTO®
    ENTRESTO is a twice-daily medicine. You should take your dose of ENTRESTO exactly as prescribed by your
   doctor. ENTRESTO is usually given with other Heart Failure medicines in place of an ACE inhibitor or other ARB.
  Take ENTRESTO every day as prescribed. If you stop taking ENTRESTO, the medicine will stop working for you.


                                 ENTRESTO is a tablet that comes in the following doses:



                                  24/26 mg                 49/51 mg                   97/103 mg




        If you have been prescribed ENTRESTO and are currently taking an ACE inhibitor*:



                                 STOP                          WAIT                          GO

                           Stop taking your                    Wait for                Start taking
                                 ACE                             36                    ENTRESTO,
                              inhibitor*                        hours                 as prescribed
        *
            Such as enalapril or lisinopril.




IMPORTANT SAFETY INFORMATION (cont)
Tell your doctor about all the medicines you take, including prescription and over-the-counter medicines, vitamins,
and herbal supplements. Especially tell your doctor if you take potassium supplements or a salt substitute;
nonsteroidal anti-inflammatory drugs (NSAIDs); lithium; or other medicines for high blood pressure or heart problems
such as an ACE inhibitor, ARB, or aliskiren.




Do not take ENTRESTO if you:
• are allergic to any of the ingredients in ENTRESTO
• have had an allergic reaction including swelling of your face, lips, tongue, throat (angioedema), or trouble breathing
  while taking a type of medicine called an angiotensin-converting enzyme (ACE) inhibitor or angiotensin II receptor
  blocker (ARB)
See additional Important Safety Information
throughout and on page 5. Please click here
                                                                                     ' :, Entresto·
                                                                                                    (sacubitril/valsartan) tablets
for full Prescribing Information.                                                                   24126mg • 49151mg • 971103mg
                                                                                                           Document Title: Heading Home with Entresto
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                                                                                                        files/ documents/heading-home-digital-kit_1.pdf
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                                                           Add237
         Case 2:25-cv-00849         Document 4-54          Filed 01/31/25      Page 4 of 6 PageID: 1471

                         HELPFUL TOOLS FOR
                   GETTING STARTED ON ENTRESTO®


                               En~~~I
                               SUPPORT DESIGNED WITH YOU IN MIND




Sign up for free lifestyle and treatment support
The ENSPIRE Program from ENTRESTO® provides tips and tools to support you as you manage your Heart Failure,
including resources that can help you keep track of your medications, stay active, and eat healthier.


Ways to enroll in the ENSPIRE Program from ENTRESTO®

           Call 1-888-368-7378
                                                                                          Click here to enroll.
           (Monday–Friday, excluding holidays,
           8:00 am to 8:00 pm ET)



     Additional Resources
     The resources below will help you understand what to expect with ENTRESTO
     and prepare for your next appointment.
     • Download the Doctor Discussion Guide here
     • Download the brochure “Getting Started on ENTRESTO” here




IMPORTANT SAFETY INFORMATION (cont)
Do not take ENTRESTO if you (cont):
• take an ACE inhibitor medicine. Do not take ENTRESTO for at least 36 hours before or after you take an ACE inhibitor
  medicine. Talk with your doctor or pharmacist before taking ENTRESTO if you are not sure if you take an ACE
  inhibitor medicine
• have diabetes and take a medicine that contains aliskiren
See additional Important Safety Information                                       ~~• Entresto®
throughout and on page 5. Please click here                                       •, ,           (sacubitril/valsartan) tablets
for full Prescribing Information.                                                                24126mg • 49151mg • 971103mg
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                                                                                                     files/ documents/heading-home-digital-kit_1.pdf
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                                                      Add238
              Case 2:25-cv-00849                       Document 4-54                   Filed 01/31/25                 Page 5 of 6 PageID: 1472

30-Day Free Trial Offer
For all patients (regardless of insurance) when initiating treatment.                                                            30-0AY
                                                                                                                                 FREE
This voucher is good for a 30-day (maximum 60 tablets, one-time use)
                                                                                                                                                       BIN   001341
                                                                                                                                TRIAL                  PCN OHS


free trial of ENTRESTO® at no cost to you. One per patient. Limitations apply.                                                  OFFER                  GRP OH7143181
                                                                                                                                                       ID    P28100138186




                    Just bring these pre-activated codes to your
                    pharmacy with a valid prescription to redeem!


$10 Co-Pay Offer
                               - - -
• For eligible commercially/privately insured patients.
  Pay as little as $10 for up to a 90-day fill
                                                                                       - - - -~                                              0-
• To sign up call 1-888-368-7378 or click here
Once you sign up, your co-pay registration will automatically be renewed at the beginning of each calendar year (annual limit of $4100).
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See patient stories, recipes, and helpful tips for living with
Heart Failure on our YouTube channel and Facebook page

         11 Facebook.com/entresto                                    @entresto_sacubitril_valsartan                           a YouTube.com/LivingWithHF
                               Visit our website to learn more about these offers and to enroll.



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US patients who have limited or no prescription drug coverage and cannot afford the cost of their medication. If
eligible, Novartis medications may be available for free.
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IMPORTANT SAFETY INFORMATION (cont)
Before taking ENTRESTO tell your doctor about all of your medical conditions, including if you:
• have a history of hereditary angioedema
• have kidney or liver problems
• have diabetes
• are pregnant or plan to become pregnant; are breastfeeding or plan to
  breastfeed. You should not breastfeed during treatment with ENTRESTO
See additional Important Safety Information                                                                                ~~ t Entresto®
throughout and on page 5. Please click here                                                                                •, ,            (sacubitril/valsartan) tablets
for full Prescribing Information.                                                                                                          24126mg • 49151mg • 971103mg
                                                                                                                                                Document Title: Heading Home with Entresto
                                                                                        4                                 Capture Url: https://www.entrestohcp.com/sites/entrestohcp_com/
                                                                                                                                             files/ documents/heading-home-digital-kit_1.pdf
                                                                                                                                Capture timestamp (UTC): Fri, 24 Jan 2025 17:47:24 GMT

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         Case 2:25-cv-00849             Document 4-54       Filed 01/31/25      Page 6 of 6 PageID: 1473
What is ENTRESTO®?                                              Tell your doctor about all the medicines you take,
ENTRESTO is a prescription medicine used to treat               including prescription and over-the-counter medicines,
adults with long-lasting (chronic) heart failure to help        vitamins, and herbal supplements. Especially tell
reduce the risk of death and hospitalization. ENTRESTO          your doctor if you take potassium supplements or a
works better when the heart cannot pump a normal                salt substitute; nonsteroidal anti-inflammatory drugs
amount of blood to the body.                                    (NSAIDs); lithium; or other medicines for high blood
                                                                pressure or heart problems such as an ACE inhibitor,
IMPORTANT SAFETY INFORMATION                                    ARB, or aliskiren.
What is the most important information I should know            What are the possible side effects of ENTRESTO?
about ENTRESTO?                                                 ENTRESTO may cause serious side effects including:
ENTRESTO can harm or cause death to your unborn                 • swelling of your face, lips, tongue, and throat
baby. Talk to your doctor about other ways to treat heart         (angioedema) that may cause trouble breathing
failure if you plan to become pregnant. Tell your doctor          and death. Get emergency medical help right away
right away if you become pregnant during treatment                if you have symptoms of angioedema or trouble
with ENTRESTO.                                                    breathing. Do not take ENTRESTO again if you have
Do not take ENTRESTO if you:                                      had angioedema while taking ENTRESTO
• are allergic to any of the ingredients in ENTRESTO            • people who are Black or who have had angioedema
• have had an allergic reaction including swelling                and take ENTRESTO may have a higher risk of
  of your face, lips, tongue, throat (angioedema), or             having angioedema
  trouble breathing while taking a type of medicine             • low blood pressure (hypotension), which is
  called an angiotensin-converting enzyme (ACE)                   common, and your risk of low blood pressure is
  inhibitor or angiotensin II receptor blocker (ARB)              greater if you also take water pills (diuretics). Call
• take an ACE inhibitor medicine. Do not take                     your doctor if you become dizzy or lightheaded, or
  ENTRESTO for at least 36 hours before or after                  you develop extreme tiredness (fatigue)
  you take an ACE inhibitor medicine. Talk with your            • kidney problems, which are common, and can be
  doctor or pharmacist before taking ENTRESTO if you              serious and can lead to kidney failure
  are not sure if you take an ACE inhibitor medicine            • increased amount of potassium in your blood
• have diabetes and take a medicine that                          (hyperkalemia), which is common
  contains aliskiren                                            The most common side effects also include cough
                                                                and dizziness.
Before taking ENTRESTO tell your doctor about all of
                                                                You are encouraged to report negative side effects
your medical conditions, including if you:
                                                                of prescription drugs to the FDA. Visit www.fda.gov/
• have a history of hereditary angioedema
                                                                medwatch, or call 1-800-FDA-1088.
• have kidney or liver problems
• have diabetes
• are pregnant or plan to become pregnant; are
  breastfeeding or plan to breastfeed. You should not
  breastfeed during treatment with ENTRESTO



                                                                                                    Entresto®
                                                                                                    (sacubitril/valsartan) tablets
                                                                                                    24126mg •49151mg • 971103mg

Please click here for full Prescribing Information, including Boxed WARNING.

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      Novartis Pharmaceuticals Corporation
      East Hanover, New Jersey 07936-1080               © 2024 Novartis                     6/24                            441424
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Case 2:25-cv-00849   Document 4-110   Filed 01/31/25   Page 1 of 9 PageID: 3820




                     EXHIBIT 96




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                           Case 2:25-cv-00849                       Document 4-110                     Filed 01/31/25                     Page 2 of 9 PageID: 3821
      On Oct . 1, 2024, the FDA began implementing a reorganization impact ing many parts of the agency. We are in the process of updating FDA.gov content to
      reflect t hese changes.


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  /    Gener ic Drugs: Questions & Answers




                                                       Generic Drugs: Questions & Answers
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                                                   • What are generic drugs?                                                 q (Sale                                      03/16/ 2021

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         Approved Drugs:                           • How does FDA ensure generic medicines                                    ~        {leclive
         Questions and
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                                                   • Why_ does a generic drug look different from
         Prescript ion Drugs                           the brand drugl
         and Over-the-
                                                   • Why_ do generic medicines often cost less than the brand?
         Counter (OTC)
         Drugs: Quest ions                         • What standards must generic medicines meet to receive FDA aggroval?
         and Answers
                                                   • J..s....g_generic of my_ brand-name medicine available?

         Generic Drugs:                            • How does FDA monitor side effects or safety_ issues with generic
         Questions &                                   medicines?
         Answers
                                                   • Where can I find more information about generic medicines?

                                                What are generic drugs?
                                                A generic drug is a medication created to be the
                                                same as an already marketed brand-name drug in
                                                dosage form, safety, strength, route of
                                                administration, quality, performance
                                                characteristics, and intended use. These
                                                similarities help to demonstrate bioequivalence, which means that a generic
                                                medicine works in the same way and provides the same clinical
                                                benefit a s the brand-name medicine. In other words, you can take a
                                                generic med icine as an equal substitute for its brand-name counterpart.

                                            Additional Resource

                                                   • Generic Drug Facts
                                                       At-a-glance information on generic medicines, including why they may
                                                       look different or cost less than brand-name medicines.



                                                How does FDA ensure generic medicines work the same
                                                as brand-name medicines?



Document title: Generic Drugs: Questions & Answers | FDA
Capture URL: https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-answers
Capture timestamp (UTC): Wed, 29 Jan 2025 14:42:45 GMT                                                                                                                                  Page 1 of 8

                                                                                               Add242
                                         look different or cost less than brand-name medicines.
                   Case 2:25-cv-00849                Document 4-110              Filed 01/31/25           Page 3 of 9 PageID: 3822

                                   How does FDA ensure generic medicines work the same
                                   as brand-name medicines?
                                   Any generic medicine must perform the same in the body as the brand-name
                                   med icine. It must be the same as a brand-name medicine in dosage, form and
                                   route of administration, safety, effectiveness, strength, and labeling (with
                                   certain limited exceptions). It must also meet the same high standards of
                                   quality and manufacturing as the brand-name product, and it must be and
                                   quality, taken and used in the same way as well. This standard applies to all
                                   generic med icines.

                                   Generic medicines use the same active ingredients as brand-name medicines
                                   and work the same way, so they have the same r isks and benefits as the
                                   brand-name med icines. The FDA Generic Drugs Program conducts a rigorous
                                   review to ensure generic medicines meet these standards, in addition to
                                   conducting inspections of manufacturing plants and monitoring drug safety
                                   after the generic medicine has been approved and brought to market.

                                   A generic drug may have certain minor differences from the brand-name
                                   product, such as different inactive ingredients.

                                   It is important to note that there will always be a slight, but not med ica lly
                                   significant, level of expected variability- just as there is for one batch of brand-
                                   name medicine compared with the next batch of brand-name product. This
                                   variability can and does occur during manufacturing, for both brand-name and
                                   generic med icines. When a medicine, generic or brand-name, is mass
                                   produced, very small variations in purity, size, strength, and other parameters
                                   are permitted. FDA li mits how much variability is acceptable.

                                   For example, a very large resea rch study~ comparing generics with brand-
                                   name medicines, found that there were very sma ll differences (approximately
                                   3.5%) in absorption into the body between generic and brand-name medicines.
                                   Some generics were absorbed slightly more, some slightly less. This amount of
                                   difference is expected and clinically acceptable, whether for one batch of
                                   brand-name med icine tested against another batch of the same brand, or for a
                                   generic tested against a brand-name medicine.

                                Additional Resource

                                      • Research study: Clinical e~uiva lence of generic and brand-name drug~
                                         used in cardiovascular disease
                                        A study of 38 published clin ical trials showed no evidence that brand-name
                                         heart medicines worked any better than generic heart medicines.



                                   Why does a generic drug look different from
                                   the brand drug?
                                   Trademark laws in the United States do not allow a generic drug to look exactly
                                   li ke other drugs already on the market. Generic medicines and brand-name
                                   med icines share the same active ingredient, but other characteristics, such as
                                   colors and flavorings, that do not affect the performance, safety, or                              II
Document title: Generic Drugs: Questions & Answers | FDA
Capture URL: https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-answers
Capture timestamp (UTC): Wed, 29 Jan 2025 14:42:45 GMT                                                                               Page 2 of 8

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                                   the brand drug?
                   Case 2:25-cv-00849                Document 4-110              Filed 01/31/25           Page 4 of 9 PageID: 3823
                                   Trademark laws in the United States do not allow a generic drug to look exactly
                                   li ke other drugs already on the ma rket. Generic medicines and brand-name
                                   med icines share the same active ingredient, but other characteristics, such as
                                   colors and flavorings, that do not affect the performance, safety, or
                                   effectiveness of the generic medicine, may be different.

                                Addi t ional Resource


                                      • The im1=1ortance of the Rh',lsical characteristics of generic drug~
                                         Read a discussion of FDA's guidance recommending that generic
                                        applicants design and develop generic drugs with a similar size and shape
                                        to the brand name product.



                                   Why do generic medicines often cost less than the brand-
                                   name medicines?
                                   Generic drugs are approved only after a rigorous review by FDA and after a set
                                   period of time that the brand product has been on the market exclusively. This
                                   is because new drugs, like other new products, are usually protected by
                                   patents that prohibit others from making and selling copies of the same drug.

                                   Generic drugs tend to cost less than their brand-name counterparts because
                                   generic drug applicants do not have to repeat animal and clinical (human)
                                   studies that were required of the brand-name medicines to demonstrate safety
                                   and effectiveness. This abbreviated pathway is why the application is called an
                                   "abbreviated new drug application ."

                                   The reduction in upfront research costs means that, although generic
                                   med icines have the same therapeutic effect as their branded counterparts,
                                   they are typically sold at substantial discounts, an estimated 80 to 85% less,
                                   compared with the price of the brand-name medicine. According to the IMS
                                   Health Institute, generic drugs saved the U.S. healthcare system nearly $2.2
                                   trillion from 2009 to 2019~.

                                   When multiple generic compan ies are approved to market a single product.
                                   more competition exists in the marketplace, which typically results in lower
                                   prices for patients.

                                   Bringing more drug competition to the market and addressing the high cost of
                                   med icines is one of FDA's top priorities. In 2017, FDA announced the Drug
                                   Competition Action Plan (DCAP) to further encourage robust and t imely market
                                   competition for generic drugs and help bring greater efficiency and
                                   t ransparency to the generic d rug review process, without sacrificing the
                                   scientific rigor underlying our generic drug program.

                                   What standards must generic medicines meet to receive
                                   FDA approval?
                                   Drug companies must submit an abbreviated new drug application (ANDA) to
                                   FDA for approval to market a generic drug that is the same as (or bioequivalent
                                   to) the brand product. FDA reviews the application to ensure drug companies
                                   have demonstrated that the generic medicine can be substituted for the brand-
                                   name medicine that it copies.                                                                      II
Document title: Generic Drugs: Questions & Answers | FDA
Capture URL: https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-answers
Capture timestamp (UTC): Wed, 29 Jan 2025 14:42:45 GMT                                                                               Page 3 of 8

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                                                                          drug application 5 of 9toPageID: 3824
                                   FDA for approval to market a generic drug that is the same as (or bioequivalent
                                   to) the brand product. FDA reviews the application to ensure drug companies
                                   have demonstrated that the generic medicine can be substituted for the brand-
                                   name medicine that it copies.

                                   An ANDA must show the generic medicine is equivalent to the brand in the
                                   following ways:

                                      • The active ingredient is the same as that of the brand-name
                                        drug/innovator drug.

                                           o An active ingredient in a medicine is the component that makes it
                                              pharmaceutically active - effective against the illness or condition it
                                              is treating.

                                           o Generic drug companies must provide scientific evidence that shows
                                              that their active ingredient is the same as that of the brand-name
                                              medicine they copy, and FDA must review that evidence.
                                      • The generic medicine is the same strength.

                                      • The medicine is the same type of product (such as a tablet or an
                                         injectable).

                                      • The medicine has the same route of administration (such as oral or
                                        topical).

                                      • It has the same use ind ications.

                                      • The inactive ingredients of the medicine are acceptable.

                                           o Some differences, which must be shown to have no effect on how the
                                              medicine functions, are allowed between the generic and the brand-
                                              name product.

                                           o Generic drug companies must submit evidence that all the ingred ients
                                              used in their products are acceptable, and FDA must review that
                                              evidence.

                                      • It lasts for at least the same amount of time.

                                           o Most medicines break down, or deteriorate, over t ime.

                                           o Generic drug companies must do months-long "stability tests" to show
                                              that their products last for at least the same amount of time as the
                                              brand-name product.

                                      • It is manufactured under the same strict standards as the brand-name
                                         medicine.

                                           o It meets the same batch requirements for identity, strength, purity,
                                              and quality.

                                           o The manufacturer is capable of making the medicine correctly and
                                              consistently.

                                                ■   Generic drug manufacturers must explain how they intend to
                                                    manufacture the medicine and must provide evidence that each
                                                    step of the manufacturing process will produce the same result
                                                    each time. FDA scientists review those procedures, and FDA
                                                    inspectors go to the generic drug manufacturer's facility to verify
                                                    that the manufacturer is capable of making the medicine
                                                    consistently and to check that the information the manufacturer        II
Document title: Generic Drugs: Questions & Answers | FDA
Capture URL: https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-answers
Capture timestamp (UTC): Wed, 29 Jan 2025 14:42:45 GMT                                                                    Page 4 of 8

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                                                     manufacture the medicine and must provide evidence that each
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                                                          of the manufacturing process01/31/25       Page
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                                                     each time. FDA scientists review those procedures, and FDA
                                                     inspectors go to the generic drug manufacturer's facility to verify
                                                     that the manufacturer is capable of making the medicine
                                                     consistently and to check that the information the manufacturer
                                                     has submitted to FDA is accurate.
                                                 ■   Often, different companies are involved (such as one company
                                                     manufacturing the active ingredient and another company
                                                     manufacturing the finished medicine). Generic drug
                                                     manufacturers must produce batches of the medicines they want
                                                     to market and provide information about the manufacturing of
                                                     those batches for FDA to review.

                                      • The container in which the medicine will be shipped and sold is
                                        appropriate.

                                      • The label is the same as the brand-name medicine's label.
                                           o The drug information label for the generic medicine should be the

                                               same as the brand-name label. One exception is if the brand-name
                                               drug is approved for more than one use and that use is protected by
                                               patents or exclusivities. A generic medicine can omit the protected
                                               use from its labeling and only be approved for a use that is not
                                               protected by patents or exclusivities, so long as that removal does not
                                               take away information needed for safe use. Labels for generic
                                               medicines can also conta in certain changes when the drug is
                                               manufactured by a different company, such as a different lot number
                                               or company name.

                                      • Relevant patents or exclusivities are addressed.

                                           o   As an incentive to develop new medicines, drug companies are
                                               awarded patents and exclusivities that may delay FDA approval of
                                               applications for generic med icines. FDA must comply w ith the delays
                                               in approval that the patents and exclusivities impose.

                                   The ANDA process does not, however, require the drug applicant to repeat
                                   costly animal and clinical (human studies) on ingredients or dosage forms
                                   already approved for safety and effectiveness. This allows generic medicines to
                                   be brought to market more quickly and at lower cost, allowing for increased
                                   access to medications by the public.

                                Additional Resources

                                      • What Is the AP-P-roval Process for Generic Drugs?
                                         Deta iled information on the critical factors the FDA reviews to make sure a
                                        generic medicine is as safe and effective as the brand-name drug.


                                      • The Generic Drug...6P-P-roval Process, CDER Conversation
                                        An interview on how FDA reviews generic medicines with Ted Sherwood,
                                         Director, Office of Regulatory Operations, Office of Generic Drugs, Center
                                        for Drug Evaluation and Research.


                                      • What Makes a Generic the Same as a Brand-Name Drug?
                                         Download a hlgh-resolution,_P-rintable PDF of this infographic (PDF - 431
                                                                                                                                  II
Document title: Generic Drugs: Questions & Answers | FDA
Capture URL: https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-answers
Capture timestamp (UTC): Wed, 29 Jan 2025 14:42:45 GMT                                                                           Page 5 of 8

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                                        An interview on how FDA reviews generic medicines with Ted Sherwood,
                   Case 2:25-cv-00849       Document
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                                        for Drug Evaluation and Research.


                                      • What Makes a Generic the Same as a Brand-Name Drug?
                                         Download a hlgh-resolution,_printable PDF of t his infographic (PDF - 431
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                                   Is a generic of my brand-name medicine available?

                                   In addition to asking your local pharmacist for assistance, there are three ways
                                   to find out if there is a generic of your brand-name medicine available:

                                      • Use Drug~@FDA, a catalog of FDA-approved d rug products, including their
                                        drug labeling.

                                           o    First, search by brand name.

                                           o    Second, select the brand name product and note which products are
                                                listed under the section labeled "Therapeutic Equivalents for ... "

                                           o    Products that include an ANDA (not NDA) number next to the name
                                                are generic products.

                                      • Use the on line version of the Orange Book.

                                           o    First, search by proprietary or brand name. Note the active ingredient
                                                name.

                                           o    Second, search again by the active ingredient name.

                                           o    Scroll right to find the dosage form (for example: tablet) and strength.

                                           o    Next, scroll right to the TE Code column. If the TE column contains a
                                                code beginning with "A," FDA has approved generic equivalents.

                                           o    Finally, look at the column "Appl No." If the letter"/:>:' appears before
                                                the number, that product is an FDA-approved generic for the brand-
                                                name drug.
                                           o    For very recent approvals, consult First Generic Drug-81wrovals.

                                   If you are unable to locate a generic of your brand-name medicine, it may be
                                   that the brand-name medicine is still within the period of time when it has
                                   exclusive rights to the marketplace, which allows drug companies to recoup
                                   their costs for the initial research and marketing of the brand-name or
                                   innovator drug. It is only after both patent and other periods of exclusivity are
                                   resolved that FDA can approve a generic of the brand-name med icine.

                                   How Does FDA monitor side effects or safety issues with
                                   generic medicines?
                                   FDA takes several actions to ensure safety and quality before and after a new
                                   or generic medicine is approved. When a generic drug application is submitted,            II
Document title: Generic Drugs: Questions & Answers | FDA
Capture URL: https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-answers
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                   Case 2:25-cv-00849                                   Document 4-110                                                   Filed 01/31/25                                           Page 8 of 9 PageID: 3827
                                   How Does FDA monitor side effects or safety issues with
                                   generic medicines?
                                   FDA takes several actions to ensure safety and quality before and after a new
                                   or generic medicine is approved. When a generic drug application is submitted,
                                   FDA conducts a thorough examination of the data submitted by the applicant
                                   and evaluates information obtained by FDA investigators while inspecting the
                                   related testi ng and manufacturing facilities to ensure that every generic drug
                                   is safe, effective, high quality, and substitutable to the brand name drug .

                                   FDA staff continually monitors all approved drug products, including generics,
                                   to make certain the medicines at all levels of the supply chain, from active
                                   pharmaceutical ingred ients (APl s) to products being sold to consumers, are
                                   safe, effective, and high quality.

                                   FDA also monitors and investigates reports of negative patient side effects or
                                   other reactions. The investigations may lead to changes in how a product
                                   (brand-name and generic) is used or manufactured, and FDA w ill make
                                   recommendations to health care professionals and the public if the need
                                   arises.

                                   MedWatch is the FDA's medical product safety reporting program. Health
                                   professiona ls, patients and consumers can use MedWatch to voluntarily report
                                   a serious adverse event , product quality problem, product use/medication
                                   error, or therapeutic inequ ivalence/failure that is suspected to be associated
                                   with the use of an FDA-regulated drug, biologic, medical device, dietary
                                   supplement or cosmetic.

                                   Additional Resource

                                        • Postmarketing Surveillance of Generic Drugs
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                                   Where can I find more information about generic
                                   medicines?
                                   Contact your doctor, pharmacist, or other health care provider for information
                                   on generic medicines. For more information, you can also:

                                        • Visit the FDA Generic Drugs Program

                                        • Call 1-888-INFO-FDA

                                   1 Davit et al. Comparing generic and innovator drugs: a review of 12 years of

                                   bioequivalence data from the United States Food and Drug Administration. Ann
                                   Pharmacother. 2009;43(10):1583-97.

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                                       Association for Accessible Medicines. 2020 Generic Drug & Biosimilars Access
                                   & Savings in the U.S. ReRort C?. Available from:                                                                                                                                           II
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                                                      inequ ivalence/failure that 01/31/25
                                                                                  is suspected toPage   9 of 9 PageID: 3828
                                                                                                  be associated
                                          with the use of an FDA-regulated drug, biologic, medical device, dietary
                                          supplement or cosmetic.

                                          Additional Resource

                                               • Postmarketing Surveillance of Generic Drugs
                                                 Download a high-resolution, wintable PDF of this infographic (PDF - 282
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                                          Where can I find more information about generic
                                          medicines?
                                          Contact your doctor, pharmacist, or other health care provider for information
                                          on generic medicines. For more information, you can also:

                                               • Visit the FDA Generic Drugs Program
                                               • Call 1-888-INFO-FDA

                                          1 Davit et al. Comparing generic and innovator drugs: a review of 12 years of

                                          bioequivalence data from the United States Food and Drug Administration. Ann
                                          Pharmacother. 2009;43(10):1583-97 .

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                                              Association for Accessible Medicines. 2020 Generic Drug & Biosimilars Access
                                          & Savings in the U.S. ReJ;!ort 8'. Available from:
                                          httJ;1://www.imshealth.com/en/thought-leadershiR{guintilesims-institute/reJ;1orts
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                                          Resources

                                               • Orange Book
                                               • First Generic Drug..8Rwovals

                                               • Patient Education Information



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Capture timestamp (UTC): Wed, 29 Jan 2025 14:42:45 GMT                                                                                                                                        Page 8 of 8

                                                                                                         Add249
Case 2:25-cv-00849-EP-JRA    Document 13-7   Filed 02/06/25   Page 1 of 9 PageID:
                                    4201



                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


 NOVARTIS AG, NOVARTIS
 PHARMACEUTICALS CORPORATION,                   No. 25-CV-00849-EP-JRA
             Plaintiffs,
       v.
 NOVADOZ PHARMACEUTICALS LLC,
 MSN PHARMACEUTICALS INC., MSN
 LABORATORIES PRIVATE LIMITED,
             Defendants.


DECLARATION OF RAVIKUMAR NITHIYANANDAM IN OPPOSITION
TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTIVE RELIEF


      1.    I am Executive Vice President at Defendants MSN Pharmaceuticals Inc.

(“MSN Pharmaceuticals”) and MSN Laboratories Private Limited (“MSN

Laboratories”; together with MSN Pharmaceuticals, “MSN”). I have held this

position since 2016.

      2.    As Executive Vice President of MSN, I am familiar with and

responsible for MSN’s research and development activities, including for its

products that are released in the United States through our distribution partner

Novadoz Pharmaceuticals LLC (“Novadoz”) under the NOVADOZ trademark. In

particular, I was responsible for the product development of MSN’s sacubitril-



                                       1



                                   Add250
Case 2:25-cv-00849-EP-JRA     Document 13-7     Filed 02/06/25   Page 2 of 9 PageID:
                                     4202



valsartan (Entresto generic) product. I make this declaration based on my personal

knowledge.

Development of MSN’s sacubitril-valsartan (Entresto generic) product

      3.     MSN began developing its generic equivalent to Novartis’s Entresto

medication in approximately 2017. MSN submitted its application for U.S. Food

and Drug Administration (“FDA”) approval of that drug on July 7, 2019, using the

abbreviated new drug application (“ANDA”) process for generic medications that

are bioequivalent and functionally identical to their branded counterpart.

      4.     To be eligible for FDA approval through an ANDA, a generic drug must

contain the same active ingredient(s) as the branded drug and must be in the same

dosage form (e.g., tablet, capsule, or liquid). It must also deliver the same dose of

the active ingredient as the branded drug in the same amount of time, which is known

as “bioequivalence.”

      5.     As a result of these requirements, MSN’s product, like Entresto, comes

in three different tablet forms, each containing a different dose (24/26 mg tablet;

49/51 mg tablet; and 97/103 mg tablet) of the active ingredients sacubitril and

valsartan.

      6.     Every ANDA application must also contain a description of the physical

appearance of the finished dosage form so FDA, as part of the approval process, can

assess its efficacy and the extent to which the applicant has complied with the


                                         2



                                      Add251
Case 2:25-cv-00849-EP-JRA                   Document 13-7                   Filed 02/06/25                   Page 3 of 9 PageID:
                                                   4203



regulatory preference for generics that visually reference their branded equivalents.

Thus, MSN’s 2019 ANDA contained the following images and other information

about the MSN’s tablets’ proposed appearance:

            Sacubitril and Valsartan Tablets, 24 mg/ 26 mg, 49 mg / 51 mg and
            97 mg/ 103 mg                                                                                   ~~
            ANDA# 213748
            3,2,P, I Description and Composition of lhe Drug Product                                    Module 3: Quality
            PARAMETERS             REFEREN CE LISTED DRUG                         PROPOSED DRUG PRODUCT
            Strengths              24 mg/26 mg. 49 t11g/ 5 1 mg and               24 mg/ 26 mg. 49 mg/ 5 1 mg and
                                          97 mg/ 103 mg                                   97 mg/ 103 mg
            Configur;ition
            24 mg/ 26 mg. 49
            mg/ 51 mg a11d             Boule of6<J's a11d 180 's                     Boule of60's a11d 180' s
            97 mg/ 103 mg


             24 mg/26 mg
                                                   I                          L                        ,_
                                                                                                                  -   ~1
                               'C II-- :I
                                                                                       J
                                   ~   -    --
                                                                    -   ~




                                                                            '- - -
             49 mg/ 5 1 mg
                                                                                              ~        ,lliil - - ~



             97 mg/ 103 mg


             Dimensions
             24 mg/26 mg
             49 mg/ 5 1 mg
             97 mg/ 103 mg
                               ~  '              13.35 X 5.33
                                                 )3_25 X 5.30
                                                 15.34 X 6.)2
                                                                   ~ :l     "ii               ft'
                                                                                                       -~


                                                                                           10.00 X 4.00 111111
                                                                                           13.00 X 5. 10 111111
                                                                                           15.00 X 5.90 IIUll
                                                                                                                      ,I


            Acth1c
                                        Socubitril and Valsartan                     Sacubitril and Va lsartan
            ln~rcdicnl



      7.     MSN has made no changes to the appearance of its generic Entresto

pills since submitting its ANDA. I understand that, in 2021, MSN provided samples

to Novartis for testing. Those samples would have had the same physical attributes

as shown in the image above, and the same physical attributes as the pills MSN now

intends to market.

      8.     In selecting the shapes and colors of the tablets, MSN followed FDA

guidance that generic tablets and capsules should have similar physical

                                                                   3



                                                            Add252
Case 2:25-cv-00849-EP-JRA       Document 13-7     Filed 02/06/25   Page 4 of 9 PageID:
                                       4204



characteristics to their branded equivalent. Indeed, in our experience, if we submit

an ANDA for tablets that are significantly different in appearance from the branded

drugs, FDA will require us to submit a special justification for that change.

      9.       There are several other reasons why MSN followed this FDA guidance

in developing the tablets for its generic version of Entresto:

      10.      First, the shape, sizes and colors of these pills communicate important

functional information to patients. MSN followed the common practice of using

different colored pills to denote different doses of its drug. And MSN chose colors

that reference the colors used for Entresto pills so that patients taking MSN’s generic

equivalent will be able to rely on visual cues they are familiar with from past practice

to identify what drug and which dose they are taking.

      11.      Additionally, MSN used very common colors that are ubiquitous in the

pharmaceutical industry and are therefore readily available to procure and source

efficiently.

      12.      Second, MSN’s pills are ovaloid-shaped because that shape is very easy

for patients to swallow. Ovaloid-shaped pills are also easier and more cost-effective

for MSN to manufacture, including because they allow for a simpler mold design,

more efficient use of the mold space, and more efficient coating and packaging

processes. Indeed, hundreds if not thousands of other drug companies choose that

ovaloid shape for their tablets for these functional reasons.

                                           4



                                       Add253
Case 2:25-cv-00849-EP-JRA      Document 13-7      Filed 02/06/25   Page 5 of 9 PageID:
                                      4205



      13.    Third, MSN’s selection of pill sizes was driven entirely by functional

and regulatory concerns. MSN followed the common industry practice of using a

larger pill size to indicate a higher dose, again providing the functional benefit of

making it easier for patients to know what dose they are taking. This also has a

regulatory benefit, because the regulatory approval process is streamlined when pill

size within a product family varies proportionally with the dose.          MSN thus

developed a high-dose pill in an industry-standard size that was similar to the size

of the high-dose Entresto pill, as FDA recommends, and then developed medium-

and low-dose pills that were proportionally smaller according to the smaller doses.

      14.    Finally, MSN took appropriate steps to ensure there were no intellectual

property rights associated with the appearance of Entresto pills and confirmed that

Novartis owned no federal or state trademark registrations relating to the appearance

of Entresto pill shapes, sizes, or colors. Based on my years of experience working

in the pharmaceutical industry, I am aware that there is a small number of oral

medications for which manufacturers actually engage in consumer advertising that

calls out the shape and/or color of the medication as having brand significance. One

example is Nexium, which is marketed as the “purple pill.” I am not aware, however,

of Novartis ever engaging in this type of consumer advertising for Entresto or

otherwise claiming that it owned exclusive rights in the common shapes, sizes, and

colors of Entresto pills before it filed this lawsuit.

                                           5



                                       Add254
Case 2:25-cv-00849-EP-JRA     Document 13-7    Filed 02/06/25   Page 6 of 9 PageID:
                                     4206



      15.   Although MSN followed the FDA guidance in relying on certain

functional features of the Entresto pill configuration, MSN’s pills also differ in

appearance from Entresto in important respects that distinguish these as generic

products not produced by Novartis. For example:

            a.    The markings on the pills are completely different. Entresto pills

                  are all marked “NVR” on one side (presumably meaning

                  “Novartis”). MSN’s pills are marked “M” instead. On the other

                  side, Entresto low, medium, and high dose pills are marked “LZ,”

                  “L1,” and “L11” respectively. MSN’s pills are marked “S1,” “S2,”

                  and “S3” instead.

            b.    MSN’s pills come in three different sizes, whereas the low and

                  medium doses of Entresto come in pills that are the same size (and

                  only the highest dose comes in a larger pill).

            c.    The colors used on MSN’s pills are darker than those used for

                  Entresto pills. For example, whereas the Entresto low dose pill is

                  “violet white,” MSN’s low dose pill is a noticeably darker purple.

      16.   In addition, none of MSN’s labels or packaging materials refer to the

brand names Entresto or Novartis in any way but instead use the separate brand name

NOVADOZ that is registered and has been used by Novadoz for more than six years.




                                         6



                                      Add255
Case 2:25-cv-00849-EP-JRA      Document 13-7     Filed 02/06/25   Page 7 of 9 PageID:
                                      4207



These differences in appearance ensure that MSN’s generic pills can easily be

differentiated from branded Entresto pills in the market.

      17.    At no point did MSN or any of its affiliated companies seek to create

any confusion in the marketplace about the source or affiliation of its generic

products with Novartis or Entresto. The opposite is true. MSN, like other generics,

does not engage in traditional consumer-facing marketing activities—it provides a

generic equivalent to the branded product in the distribution channel and relies on

its independent reputation as a reliable provider of safe and affordable alternatives

to branded drugs.

      18.    Not surprisingly, the appearance of every other FDA-approved Entresto

generic drug for which that information is publicly available has obviously been

driven by these same functional and regulatory considerations. A chart showing the

visual parameters included in other generic manufacturers’ ANDAs and comparing

them to the parameters used by MSN and by Entresto is attached hereto as Exhibit

1. As shown in the chart:

             a.     Every other generic manufacturer differentiates the three dosages

                    by using different colored pills;

             b.     Every other generic manufacturer uses a “violet white” or “off

                    white” color for its low dose pill;




                                          7



                                      Add256
Case 2:25-cv-00849-EP-JRA         Document 13-7      Filed 02/06/25   Page 8 of 9 PageID:
                                         4208



               c.      Every other generic manufacturer uses a “pale yellow” or “light

                       yellow” color for its medium dose pill;

               d.      Every other generic manufacturer uses a “light pink” color for its

                       high dose pill;

               e.      Every other generic manufacturer’s high dose pill is 15 mm in

                       size;

               f.      Every other generic manufacturer’s medium and low dose pills

                       are smaller than the high dose pill;

               g.      Three of the other generic manufacturers use an oval shape for

                       some or all of their pills.

      19.      Under its existing FDA approval, MSN cannot modify the physical

   attributes of its generic Entresto pills without undertaking extensive further

   research.        Any modification of the surface area would change the pills’

   dissolution profile, which would influence the rate and extent of absorption of

   the active ingredients. Therefore, any material change in the dissolution profile

   would require further studies to demonstrate that the modified pills are still

   bioequivalent to Entresto. This process would take years to complete and

   substantial additional financial resources.




                                              8



                                          Add257
Case 2:25-cv-00849-EP-JRA      Document 13-7      Filed 02/06/25   Page 9 of 9 PageID:
                                      4209




      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.




                                        N-~
                                       Ravikumar Nithiyanandam




                                         9




                                      Add258
Case 2:25-cv-00849-EP-JRA   Document 13-8   Filed 02/06/25   Page 1 of 3 PageID:
                                   4210




        EXHIBIT 1




                                  Add259
                  Case 2:25-cv-00849-EP-JRA                   Document 13-8       Filed 02/06/25           Page 2 of 3 PageID:
                                                                     4211



                                      Sacubitril and Valsartan Tablets – Innovator and Generics comparison
Parameters    ENTRESTO                 MSN Laboratories        Torrent         Laurus Labs Limited Ascend            Alembic
              (NOVARTIS                Private Limited         Pharmaceuticals                     Laboratories, LLC Pharmaceuticals Inc.
              PHARMS CORP)             (Novadoz                Limited
                                       Pharmaceuticals
                                       LLC)
NDA/ANDA NDA 207620                    ANDA 213748             ANDA 213604       ANDA 213676               ANDA 213674            ANDA 213682
#
Description
24 mg/ 26 mg Violet white              Purple colored, oval Violet white         Violet white color,       Off white to light     white to off white,
             unscored, ovaloid,        shaped, biconvex,    colored, round       oval shaped, biconvex     pink unscored,         modified capsule
             biconvex, film-coated     film coated tablets  shaped, biconvex,    film-coated tablets       ovaloid, biconvex,     shaped, biconvex film-
             tablets debossed with     one side debossed    film coated tablet   debossed with “S5” on     film-coated tablets,   coated tablets
             “NVR” on one side         with “M” and other   with beveled         one side and plain on     “SV5” on one side      debossed with “725”
             and “LZ” on the           side debossed with   edges, unscored,     the other side            and plain on the       on one side and “L” on
             other side.               “S1” and free from   debossed with                                  other side             the other side.
                                       physical defects.    “U4” on one side
                                                            and plain on the
                                                            other side.
49 mg / 51    Pale yellow unscored,    Light yellow to      Pale yellow          Pale yellow color, oval   Pale yellow to         light yellow to yellow,
mg            ovaloid, biconvex,       yellow colored, oval colored, oval        shaped, biconvex film-    yellow unscored,       modified capsule
              film-coated tablets      shaped, biconvex,    shaped, biconvex,    coated tablets            ovaloid, biconvex,     shaped, biconvex film-
              debossed with            film coated tablets film coated tablet    debossed with “S1” on     film-coated tablets,   coated tablets
              “NVR” on one side        one side debossed    with beveled         one side and plain on     “SV1” on one side      debossed with “726”
              and “L1” on the other    with “M” and other edges, unscored,       the other side.           and plain on the       on one side and “L” on
              side.                    side debossed with debossed with                                    other side             the other side.
                                       “S2” and free from “U5” on one side
                                       physical defects.    and plain on other
                                                            side.
97 mg/ 103    Light pink unscored,     Light pink to pink   Light pink           Light pink color, oval    Light pink to pink     light pink to pink,
mg            ovaloid, biconvex,       colored, oval        colored, oval        shaped, biconvex film-    unscored, ovaloid,     modified capsule
              film-coated tablets      shaped, biconvex,    shaped, biconvex,    coated tablets            biconvex, film-        shaped, biconvex film-
              debossed with            film coated tablets film coated tablet    debossed with “S2” on     coated tablets,        coated tablets
              “NVR”                    one side             with beveled         one side and plain on     “SV2” on one side      debossed with “L727”
                                       debossed with “M” edges, unscored,        the other side.           and plain on the       on one side and plain
                                       and other side       debossed with                                  other side             on the other side.




                                                                     Add260
                  Case 2:25-cv-00849-EP-JRA                   Document 13-8          Filed 02/06/25          Page 3 of 3 PageID:
                                                                     4212


               on one side and         debossed with “S3”      “U7” on one side
               “L11” on the other      and free from           and plain on other
               side                    physical defects.       side.

Dimensions
(Rounded)
24 mg/ 26 mg   13 mm                   10 mm                   6 mm                 9 mm                     10 mm                 9 mm
49 mg / 51     13 mm                   13 mm                   11 mm                12 mm                    13 mm                 12 mm
mg
97 mg/ 103     15 mm                   15 mm                   15 mm                15 mm                    15 mm                 15 mm
mg
Shape          OVAL (ovaloid           OVAL                    24 mg/26 mg –        OVAL (biconvex)          OVAL (Ovaloid         CAPSULE (biconvex)
               biconvex)                                       ROUND                                         biconvex)

                                                               49 mg / 51 mg
                                                               and 97 mg/ 103
                                                               mg - OVAL
                                                               (biconvex tablet
                                                               with beveled
                                                               edges)

DailyMed       https://dailymed.nlm.   https://dailymed.nlm    https://dailymed.n   https://dailymed.nlm.n   https://dailymed.nl   https://dailymed.nlm.ni
Link           nih.gov/dailymed/dru    .nih.gov/dailymed/d     lm.nih.gov/dailym    ih.gov/dailymed/drugI    m.nih.gov/dailymed    h.gov/dailymed/drugIn
               gInfo.cfm?setid=000     rugInfo.cfm?setid=4     ed/drugInfo.cfm?s    nfo.cfm?setid=b47b5c     /drugInfo.cfm?setid   fo.cfm?setid=5928f17
               dc81d-ab91-450c-        4db8114-622e-41f6-      etid=59b7a07a-       7e-1c20-429c-9560-       =98d838f6-03a9-       4-83e5-4c74-b15a-
               8eae-8eb74e72296f       96a1-447d47b0267c       96ee-44b1-8dae-      07f5f06cdce3             43e9-b8dd-            138338a70295
                                                               2b42169aa2c5                                  8882c6df1631
Exhibit with   Carrero Decl. Ex. 7 Carrero Decl. Ex.           Carrero Decl.        Carrero Decl. Ex. 10 Carrero Decl. Ex.         Carrero Decl. Ex. 12
DailyMed                           8                           Ex. 9                                     11
Webpages
and Drug
Label
Information




                                                                       Add261
Case 2:25-cv-00849-EP-JRA   Document 13-46   Filed 02/06/25   Page 1 of 34 PageID:
                                     6545



                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY


  NOVARTIS AG, NOVARTIS
  PHARMACEUTICALS CORPORATION,                 No. 25-CV-00849-EP-JRA
             Plaintiffs,
        v.
  NOVADOZ PHARMACEUTICALS LLC,
  MSN PHARMACEUTICALS INC., MSN
  LABORATORIES PRIVATE LIMITED,
             Defendants.

         DECLARATION OF MARTIN SHIMER IN OPPOSITION

 TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                                   Add262
Case 2:25-cv-00849-EP-JRA               Document 13-46           Filed 02/06/25        Page 2 of 34 PageID:
                                                 6546




                                      TABLE OF CONTENTS


 I.      PROFESSIONAL BACKGROUND ...................................................... 3
 II.     THE FDCA DRUG APPROVAL PROCESS .......................................... 7
 III.    GENERIC DRUG APPROVAL PROCESS ............................................ 9
 IV.     BENEFICIAL ASPECTS OF GENERIC DRUGS TO THE PUBLIC....... 11
 V.      FDA GUIDANCE DOCUMENTS....................................................... 15
 VI.     FDA GUIDANCE REGARDING THE APPEARANCE OF GENERIC
         DRUG TABLETS ............................................................................. 17
 VII. COLOR CODING OF TABLETS SERVES AN IMPORTANT FUNCTION
      ........................................................................................................ 20
 VIII. IRREPARABLE HARM TO MSN ...................................................... 30




                                                   Add263
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 3 of 34 PageID:
                                       6547



 I.      PROFESSIONAL BACKGROUND

         1.    I received a Bachelor of Science in Pharmacy from the University of

 Maryland at Baltimore in 1993. I received a Certificate in Public Health from

 Georgetown University in 2009. I received the Certificate in Public Health while I

 was employed by the United States Food & Drug Administration (“FDA”).

         2.    In July 2000, I was Commissioned as an Officer in the United States

 Public Health Service and accepted an assignment with FDA’s Office of Generic

 Drugs (“OGD”). 1 While serving in OGD, I served in multiple positions until my

 retirement in July 2022.

         3.    From July 2000 through August 2003, I worked as a Consumer Safety

 Officer in the Regulatory Support Branch of OGD. During this period, I reviewed

 newly submitted Abbreviated New Drug Applications (“ANDAs”) to determine

 whether the applications were satisfactory and satisfied the requirements for filing

 acceptance and technical discipline review.

         4.    In August 2003, I was promoted to Branch Chief of the Regulatory

 Support Branch. I spent ten years in this role and supervised a team of roughly 8 to

 16 individuals with responsibility for performing ANDA filing reviews. During this

 time, I developed expertise in the legal requirements for ANDA sponsors. In 2005, I


 1     Office of Generic Drugs, U.S. Food & Drug Admin,
      https://www.fda.gov/about-fda/cder-offices-and-divisions/office-generic-drugs
      (last visited Feb. 4, 2025).
                                          3



                                      Add264
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 4 of 34 PageID:
                                       6548



 assumed responsibility for reviewing ANDAs to ensure that all legal requirements

 were satisfied prior to FDA taking an approval action.

       5.    In April 2013, I was promoted to the Deputy Director of the Division

 of Labeling and Program Support. In that role, I assisted the Division Director with

 oversight of all project managers, labeling reviewers, the Regulatory Support

 Branch, and the Orange Book2 staff. I served in this role for roughly 18 months from

 April 2013 until October 2014. During this time, I had direct oversight of the legal

 review for ANDA submissions.

       6.    During the 2013 to 2014 time period, OGD was reorganized. As part of

 this process, I was promoted to Deputy Director of the Division of Legal and

 Regulatory Support in October 2014, and I served in this role until my retirement on

 June 30, 2022. In this role, I was tasked with building and training the Patent and

 Exclusivity Team. As its name would suggest, this team was responsible for the

 same legal requirement review mentioned previously.         However, it was also

 responsible for administering the provisions including exclusivity for Competitive

 Generic Therapies; administering, and granting prioritization of original and


 2 The “Orange Book” is a publication titled “Approved Drug Products with
   Therapeutic Equivalence Evaluations” that identifies FDA-approved drugs and
   related patent and exclusivity information. Approved Drug Products with
   Therapeutic Equivalence Evaluations, U.S. Food & Drug. Admin.,
   https://www.fda.gov/drugs/drug-approvals-and-databases/approved-drug-
   products-therapeutic-equivalence-evaluations-orange-book (last visited Feb. 4,
   2025).
                                          4



                                      Add265
Case 2:25-cv-00849-EP-JRA      Document 13-46     Filed 02/06/25   Page 5 of 34 PageID:
                                        6549



 supplemental ANDAs; and assisting with resolving drug shortages involving

 ANDAs.

       7.     During my 22 years at FDA, I also developed expertise in many areas

 related to regulation of ANDAs, their review, and the resolution of issues that impact

 ANDAs. More specifically, those areas included:

            a. All aspects of the administration of the Orange Book;

            b. Member of the Center for Drug Evaluation and Research (“CDER”)

              Exclusivity Board from the board’s inception until my retirement;

            c. Coordinator of the President’s Emergency Plan for AIDS Relief

              (“PEPFAR”) for the OGD;

            d. Contributor for Generic Drug User Fee Act (“GDUFA”) I negotiations

              that ran from October 1, 2012 through September 30, 2017; and

            e. Member of negotiating term for GDUFA II that ran from October 1,

              2017, through September 30, 2022.

       8.     While at FDA, I was exposed to and gained experience dealing with a

 broad range of issues related to FDA policy, FDA practice, and regulatory

 compliance. I was also exposed to and gained experience addressing issues related

 to drug misbranding.

       9.     In July 2022, I joined Lachman Consultant Services, Inc. (“Lachman”)

 as the Executive Director of Regulatory Services. At Lachman, I oversee the


                                           5



                                       Add266
Case 2:25-cv-00849-EP-JRA      Document 13-46     Filed 02/06/25    Page 6 of 34 PageID:
                                        6550



 members of the regulatory team, serve as a consultant to industry, and assist clients

 with any number of issues that may arise with respect to their applications. In my

 current role at Lachman, I regularly advise clients on issues related to FDA practice

 and regulatory compliance.

       10.    Based on my experience at the FDA and in the industry, I am intimately

 familiar with the regulatory steps, approvals and authorizations required before a

 company can commercially market a generic or authorized generic drug product,

 including the additional regulatory steps, approvals, and authorizations required

 after the FDA approves a company’s ANDA.

       11.    I provide this declaration in opposition to the motion for a preliminary

 injunction brought by Plaintiffs Novartis AG and Novartis Pharmaceutical

 Corporation (collectively, “Novartis”) against Defendants Novadoz Pharmaceuticals

 LLC, MSN Pharmaceuticals Inc., and MSN Laboratories Private Limited

 (collectively, “MSN”).

       12.    Attached as Exhibit A is my curriculum vitae. It contains a description

 of my educational background, professional achievements, qualifications,

 publications.

       13.    A list of the prior expert testimony I have offered in the last five years

 is attached as Exhibit B.




                                           6



                                       Add267
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 7 of 34 PageID:
                                       6551



       14.   My employer Lachman Consulting is being compensated at $750 per

 hour for my work on this case. My compensation is not contingent on the outcome

 of this litigation or upon any opinions that I may express.

       15.   I considered certain case-related documents in preparing this

 declaration. The specific information I have considered is cited in the footnotes of

 the text. Information not cited in the footnotes which I considered while developing

 this declaration are listed below:

       16.    Complaint, filed in Novartis v. Novadoz Pharmaceuticals, LLC, No.

 25-CV-00849 (D.N.J. Jan. 30, 2025), ECF 1.

       17.   Memorandum of Law in Support of Novartis’s Preliminary Injunction

 Motion filed in filed in Novartis v. Novadoz Pharmaceuticals, LLC, No. 25-CV-

 00849 (D.N.J. Jan. 31, 2025), ECF 4-1.

       18.   Declaration of Dr. Arash Nayeri filed in Support of Novartis’s

 Preliminary Injunction Motion filed in Novartis v. Novadoz Pharmaceuticals, LLC,

 No. 25-CV-00849 (D.N.J. Jan. 31, 2025), ECF 4-11.

       19.   ANDA 213748 from MSN Laboratories Private Limited (Novadoz

 Pharmaceuticals LLC).

       20.   Novartis Pharms. Corp. v. Becerra, No. 24-CV-02234 (DLF), 2024

 WL 4492072, at *1 (D.D.C. Oct. 15, 2024).


 II.   THE FDCA DRUG APPROVAL PROCESS

                                          7



                                      Add268
Case 2:25-cv-00849-EP-JRA       Document 13-46      Filed 02/06/25   Page 8 of 34 PageID:
                                         6552



       21.    The Federal Food, Drug, and Cosmetic Act (“FDCA”) requires that any

 drug product introduced into interstate commerce must be the subject of an approved

 application. 3   For new or “brand” drugs, the sponsor submits a New Drug

 Application (“NDA”) to FDA for review and approval. 4 In this case, the “sponsor”

 is the pharmaceutical company seeking approval of the new drug. 5 Before an NDA

 is submitted, a sponsor spends many years conducting research and testing the

 product. This pre-submission process consists of discovery and preclinical testing

 and then phases I, II, and III of development. 6 In total, this process, can, on average,

 take at least 10 years. 7 Once completed, a sponsor is then able to submit the NDA

 to FDA for review. 8 If FDA determines that the drug is both safe and effective for



 3 21 U.S.C. § 355(b)(1), (j).
 4 21 U.S.C. § 355(b)(1).
 5 New Drug Application (NDA), U.S. Food & Drug Admin.,
   https://www.fda.gov/drugs/types-applications/new-drug-application-
   nda#:~:text=The%20NDA%20application%20is%20the,become%20part%20of
   %20the%20NDA (last updated Jan. 21, 2022).
 6 The Drug Development Process, U.S. Food & Drug Admin.,
   https://www.fda.gov/patients/learn-about-drug-and-device-approvals/drug-
   development-process (last updated Jan. 4, 2018).
 7 See Cong. Budget Off., Research and Development in the Pharmaceutical
   Industry 2 (April 2021), available at https://www.cbo.gov/publication/57126.
   Gaurav Agrawal, Felix Bader, Jan Gunther, and Stephan Wurzer, Fast to first-
   in-human: Getting new medicines to patients more quickly, McKinsey & Co.
   (Feb. 10, 2023), https://www.mckinsey.com/industries/life-sciences/our-
   insights/fast-to-first-in-human-getting-new-medicines-to-patients-more-quickly.
 8 The Drug Development Process, supra note 6.

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                                        Add269
Case 2:25-cv-00849-EP-JRA      Document 13-46    Filed 02/06/25   Page 9 of 34 PageID:
                                        6553



 the intended use and patient population, the NDA will be approved, and the product

 can be legally marketed in the United States. 9 Brand drugs are often subject to

 periods of both regulatory exclusivity and, separately, patent protection. 10

 III.   GENERIC DRUG APPROVAL PROCESS

        22.    Generic drugs are approved via an abbreviated process. The application

 required to legally market a generic drug product is referred to as an ANDA. 11

 ANDAs rely upon the FDA’s previous finding of safety and efficacy for an NDA and

 therefore are not required to undertake the same clinical development and trial

 process. 12 ANDA sponsors are required to establish that their drug product is both a

 pharmaceutical equivalent of and bioequivalent to a Reference Listed Drug

 (“RLD”). 13




 9 Step 4: FDA Drug Review, U.S. Food & Drug Admin.,
    https://www.fda.gov/patients/drug-development-process/step-4-fda-drug-
    review.
 10 Frequently Asked Questions on Patents and Exclusivity, U.S. Food & Drug
    Admin., https://www.fda.gov/drugs/development-approval-process-
    drugs/frequently-asked-questions-patents-and-exclusivity.
 11 See 21 U.S.C. § 355(j); Abbreviated New Drug Application (ANDA),U.S. Food
    & Drug Admin., https://www.fda.gov/drugs/types-applications/abbreviated-
    new-drug-application-anda (last updated Dec. 16, 2022).
 12 21 U.S.C. § 355(j)(2)(A)(i); 21 C.F.R. § 314.3(b) (defining “Reference listed
    drug”), § 314.94(a)(3).
 13 21 U.S.C. § 355(j)(2)(A)(i)-(iv); 21 C.F.R. § 314.94(a)(4)-(7).

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                                       Add270
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 10 of 34 PageID:
                                       6554



       23.    Pharmaceutical equivalence means that a drug contains identical

 amounts of the identical active ingredient, has the same dosage form, strength, route

 of administration, and conditions of use as an existing NDA. 14      Bioequivalence

 means that the ANDA product has established that its rate and extent of absorption

 of a drug is not significantly different to a Reference Listed Drugs when

 administered at the same dose. 15

       24.    In order to establish bioequivalence, an ANDA sponsor must first

 formulate and develop its drug product and then conduct testing in subjects referred

 to as in-vivo testing. 16 The classic bioequivalence study is where a subject first

 receives a dose of the test product (the ANDA product for which approval is being

 sought). Samples of the subject’s blood are then taken at pre-defined time intervals,

 and those samples are then analyzed for the content of the drug. This same subject

 then receives a dose of the RLD with the same intervals of sampling. These results

 are then compared statistically and if certain criteria are met the products are

 considered bioequivalent.




 14 Orange Book Preface, U.S. Food & Drug Admin,
    https://www.fda.gov/drugs/development-approval-process-drugs/orange-book-
    preface#:~:text=Pharmaceutical%20equivalents%20are%20drug%20products,r
    equire%20a%20reservoir%20or%20overage (last updated Sept. 11, 2024).
 15 Id.
 16 Id.

                                          10



                                       Add271
Case 2:25-cv-00849-EP-JRA     Document 13-46    Filed 02/06/25   Page 11 of 34 PageID:
                                       6555



       25.   Generally, bioequivalence testing is required for most solid oral dosage

 forms that act systemically in the human body. 17 FDA’s regulations require that the

 most accurate, sensitive, and reproducible method for establishing bioequivalence

 be utilized by applicants.

       26.   To assist ANDA sponsors with developing ANDAs and provide FDA’s

 current thinking on the most accurate, sensitive, and reproducible method for

 establishing bioequivalence, FDA generally publishes a specific type of guidance

 outlining the number and type of bioequivalence studies that ANDA sponsors should

 conduct to establish bioequivalence of their proposed product to a branded RLD.

 This guidance is referred to as Product Specific Guidance (PSG). FDA published

 the original version of the PSG for ENTRESTO® in April 2016 and updated the

 PSG in October 2024. 18

 IV.   BENEFICIAL ASPECTS OF GENERIC DRUGS TO THE PUBLIC

       27.   In order to assure timely access to generic drugs, FDA published the

 Drug Competition Action Plan with the stated goal to “further encourage robust,

 timely market competition for generic drugs and help bring greater efficiency and

 transparency to the generic drug review process, without sacrificing the scientific




 17 Id.
 18 U.S. Food & Drug Admin., Draft Guidance on Sacubitril; Valsartan (2024).

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                                      Add272
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 12 of 34 PageID:
                                       6556



 rigor underlying our generic drug program.”19 Moreover, FDA communicated that

 the overall goal of the Plan was to “spur competition that improves consumer’s

 access to the medicines they need.” 20

       28.    Even though FDA does not play a role in the setting of drug prices, FDA

 recognizes that robust competition in the pharmaceutical industry via availability of

 high-quality generic products enhances patient access to certain drug therapies due

 to the reduction in prices associated with multiple approved ANDAs that compete

 among themselves and with the branded RLD based on price.

       29.    FDA published a report in December 2019 titled “Generic Competition

 and Drug Prices: New Evidence Linking Greater Competition and Lower Generic

 Drug Prices.” 21 This report analyzed the impact of the number of generic market

 entrants, where those entrants must first achieve FDA approval, greatly influences

 the price of drug products. 22 When a single generic competitor enters the market, a

 price reduction of approximately 39% than the branded price is realized but once six



 19 FDA Drug Competition Action Plan, U.S. Food & Drug Admin.
    https://www.fda.gov/drugs/guidance-compliance-regulatory-information/fda-
    drug-competition-action-plan (last updated Jan. 15, 2025).
 20 Id.
 21 Ryan Conrad, Ph.D. & Randall Lutter, Ph.D., Generic Competition and Drug
    Prices: New Evidence Linking Greater Generic Competition and Lower Genetic
    Drug Prices, U.S. Food & Drug Admin. (Dec. 2019),
    https://www.fda.gov/media/133509/download.
 22 Id. at 2.

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                                       Add273
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 13 of 34 PageID:
                                       6557



 or more generic competitors have entered the market price reduction of 95% in

 comparison to the branded price can be realized. 23 In part, FDA’s analysis was based

 on data from the Center for Medicare and Medicaid Services (CMS), where the cost

 savings from generic competition are realized by the federal government in the form

 of reduced medication expenditures for beneficiaries. 24

       30.    Novartis received approval for all three strengths of ENTRESTO®

 Tablets on July 7, 2015 and while FDA has approved 11 ANDAs for generic versions

 of ENTRESTO® between May 28, 2024 and present, none of these ANDAs have

 commenced marketing. Thus, Novartis has benefitted from almost 10 years of

 monopoly pricing for ENTRESTO® Tablets. It cannot be disputed that

 ENTRESTO® is both an effective therapy for patients and is expensive.

 ENTRESTO® was one of the first ten branded RLD products the Federal

 Government selected for mandatory price negotiations under the Inflation Reduction

 Act (IRA). Drugs may be subject to the IRA if they have been approved for at least

 7 years and do not face any generic competition, both of these criteria apply to

 ENTRESTO®. Based on a November 1, 2023 Fact Sheet published by the Assistant

 Secretary for Planning and Evaluation (ASPE), approximately 521,000 enrollees in




 23 Id. at 2–3.
 24 Id. at 5.

                                          13



                                       Add274
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 14 of 34 PageID:
                                       6558



 Medicare Part D received ENTRESTO® therapy at a cost of approximately $2.5

 billion.

       31.    To protect the “golden goose” that is ENTRESTO®, Novartis has

 engaged in multiple tactics to first convince FDA not to approve generics of

 ENTRESTO® unless ANDAs met certain conditions deemed critical by Novartis.

 Novartis submitted two Citizens Petitions to FDA, the first in 2019 broadly claiming

 that ANDAs needed to meet certain requirements for establishing sameness of the

 active ingredients sacubitril and valsartan, and then in 2022 Novartis submitted their

 second petition challenging the ability of ANDA applicants to remove language from

 their proposed labels, as permitted by section 505(j)(2)(A)(viii) of the Federal Food

 Drug & Cosmetic Act.

       32.     Novartis’s allegations in the 2022 Citizen’s Petition was that FDA

 could not permit removal of protected dosing information as doing so would result

 in a generic product with labeling that was “less safe” than ENTRESTO®. FDA

 summarily denied both of Novartis’s petitions with fulsome responses on May 28,

 2024 for the 2019 Citizen’s Petition 25 and July 24, 2024 for the 2022 petition. 26



 25 U.S. Food & Drug Admin., FDA-2019-P-1893-0010, Final Response Letter
    from FDA CDER to Novartis Pharmaceuticals Corporation (May 28, 2024),
    https://www.regulations.gov/document/FDA-2019-P-1893-0010.
 26 U.S. Food & Drug Admin, FDA-2022-P-2228-0015, Final Response Letter
    from FDA CDER to Novartis Pharmaceuticals Corporation (Jul. 24, 2024),
    https://www.regulations.gov/document/FDA-2022-P-2228-0015.
                                          14



                                       Add275
Case 2:25-cv-00849-EP-JRA    Document 13-46     Filed 02/06/25   Page 15 of 34 PageID:
                                      6559



       33.     After Novartis’s failure to convince FDA to delay generic approvals

 failed via the submission of Citizen’s Petitions, Novartis sued FDA on July 30, 2024

 in the United States District Court for the District of Columbia claiming that FDA’s

 approval of MSN’s ANDA violated the Administrative Procedures Act (APA). In a

 Memorandum Opinion dated October 13, 2024, the United States District Court for

 the District of Columbia granted Summary Judgment in favor of FDA’s finding that

 FDA did not violate the APA, the Federal Food Drug & Cosmetic Act, or FDA’s

 implementing regulations. That case is now on appeal at the DC Circuit Court of

 Appeals, which recently denied Novartis’s motion for an injunction pending appeal.

 Still undeterred, Novartis brought yet another suite in the USDC for the District of

 Columbia on January 13, 2025, CA No. 25-90. In this most recent suit, that to the

 best of my knowledge remains pending with the Court as of the date of this report,

 though the Court denied Novartis’s request for emergency injunctive relief. Novartis

 again asks the Court to compel FDA to convert final approval of MSN’s ANDA to

 tentative approval citing a pediatric exclusivity period that went into effect on

 January 15, 2025 upon expiration of US Patent No. 8,101,659. Novartis is leaving

 no stone unturned with respect to attempting to keep MSN’s product from entering

 the market.

 V.    FDA GUIDANCE DOCUMENTS




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                                      Add276
Case 2:25-cv-00849-EP-JRA      Document 13-46     Filed 02/06/25    Page 16 of 34 PageID:
                                        6560



       34.    FDA develops guidance documents to explain the agency’s current

 position, interpretation, or policy in relation to a regulatory issue. 27 These guidance

 documents can address any number of practices, policies, expectations, procedures,

 or scientific matters related to the development, submission, review, approval and

 lifecycle maintenance of drug products. 28 All FDA guidance documents include a

 disclaimer that the recommendations contained within a guidance are not legally

 binding (with some limited exceptions). 29

       35.    FDA publishes guidances to assist regulated industry with

 understanding FDA’s views on how industry can most effectively reach their

 regulatory goals. 30 Generally speaking, sponsors that follow FDA’s guidances when

 submitting their applications will experience a smoother review because the

 application sponsor is attempting to conform with FDA’s most current position and

 interpretation of regulatory requirements.

       36.    Guidance documents are initially published as draft guidances with an

 associated comment period to permit industry to comment on the content of the




 27 Background: FDA Good Guidance Practices, U.S. Food & Drug Admin.,
    https://www.fda.gov/regulatory-information/guidances/background-fda-good-
    guidance-practices (last updated Dec. 17, 2024).
 28 Id.
 29 Id.
 30 Id.

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                                        Add277
Case 2:25-cv-00849-EP-JRA    Document 13-46     Filed 02/06/25   Page 17 of 34 PageID:
                                      6561



 guidance or to ask additional clarifying questions for FDA to consider prior to

 issuance of a final guidance. 31 In some instances, FDA will follow an initial draft

 guidance with a draft Questions and Answers guidance to address questions received

 on the initial draft guidance. 32 This tactic is most frequently employed when FDA

 receives numerous comments on an initial draft guidance which may happen when

 FDA is changing its regulatory expectations for applicants. All FDA guidance are

 issued in accordance with FDA’s Good Guidance Practice regulations at 21 CFR

 10.115. 33

 VI.   FDA GUIDANCE REGARDING THE APPEARANCE OF GENERIC
       DRUG TABLETS

       37.    To communicate expectations to the generic industry with respect to the

 physical characteristics of generic drug products, which would be substituted for

 their branded counterpart, FDA published Guidance for Industry titled “Size, Shape,

 and Other Physical Attributes of Generic Tablets and Capsules” in June 2015

 (Physical Attribute Guidance). 34


 31 U.S. Food & Drug Admin, Draft Report and Plan on Best Practices for
    Guidance 5–6 (last visited Feb. 5, 2025),
    https://www.fda.gov/media/175121/download?attachment.
 32 See id. at 21.
 33 See id. at 5.
 34 U.S. Food & Drug Admin., Size, Shape, and Other Physical Attributes of
    Generic Tablets and Capsules: Guidance for Industry (June 2015),
    https://www.fda.gov/media/87344/download.
                                         17



                                      Add278
Case 2:25-cv-00849-EP-JRA     Document 13-46      Filed 02/06/25   Page 18 of 34 PageID:
                                       6562



       38.    FDA stated that the purpose for issuance of this guidance was that the

 FDA was “concerned that differences in physical characteristics (e.g. size and shape

 of the tablet or capsule) may affect patient compliance and acceptability of

 medication regimens or could lead to medication errors. We believe these patient

 safety concerns are important, and we are recommending that generic drug

 manufacturers consider physical attributes when they develop quality target product

 profiles (QTPPs) for their generic product candidates.” 35

       39.    Thus, in order for a generic drug product to have a similar safety profile

 when compared to a branded Reference Listed Drug (RLD) the ANDA sponsor

 developing the generic must consider certain physical attributes including the size

 and shape of the generic product. FDA considers information from sponsors when

 the sponsor submits their ANDA to FDA for approval. FDA’s Physical Attribute

 Guidance directs ANDA sponsors to submit information on the size of a tablet or

 capsule product in a specific section of an ANDA titled Description and Composition

 of the Drug Product of the ANDA, section 3.2.P.1 and states that FDA may request

 samples for evaluation of the physical attributes of the tablet or capsule. 36

       40.    FDA’s Physical Attribute Guidance includes a discussion of certain

 safety concerns related to swallowing oral tablets and capsules. Both the size and


 35 See id. at 1.
 36 Id. at 6.

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                                       Add279
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 19 of 34 PageID:
                                       6563



 shape of oral tablets and capsules impact a patient’s ability to readily swallow these

 dosage forms while reducing difficulty or adverse events. 37 The Physical Attribute

 Guidance includes the following recommendation “For comparable ease of

 swallowing as well as patient acceptance and compliance with treatment regimens,

 the Agency recommends that generic oral tablets and capsules intended to be

 swallowed intact should be of similar size to the corresponding RLD.” 38 FDA’s

 Physical Attribute Guidance provides recommendations for differences in the largest

 dimension and the overall volume of the tablet or capsule. 39

       41.     FDA’s Physical Attribute Guidance also recognizes that the shape of a

 tablet or capsule is an important characteristic, noting that studies have shown that

 oval tablets may be easier to swallow and have faster esophageal transit times than

 round tablets of the same weight. 40 Patient compliance or adherence to their

 medication regimen may also be influenced by the size and shape of a tablet or

 capsule. 41

       42.     Safety concerns related to the physical attributes of generic products

 have been studied by academics, where those findings generally suggest that patients


 37 Id. at 2–6.
 38 Id. at 4.
 39 Id. at 5.
 40 Id. at 5–6.
 41 Id. at 3.

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                                       Add280
Case 2:25-cv-00849-EP-JRA    Document 13-46     Filed 02/06/25   Page 20 of 34 PageID:
                                      6564



 will have greater confidence in taking a generic product when it is similar in

 appearance to the branded RLD. 42

       43.   ANDA sponsors that either ignore or choose not to follow FDA

 Guidance with respect to the Physical Attribute Guidance run the risk of receiving

 deficiencies from FDA ranging from comments issued in the context of an

 Information Request to a Complete Response Letter (CRL) refusing to approve the

 ANDA. 43 Because FDA considers Physical Attributes to correlate to the safety

 profile of a product, issuance of a CRL will often require the ANDA sponsor to

 reformulate their product to ensure that the safety profile of the generic product

 matches that of the branded RLD.

 VII. COLOR CODING OF TABLETS SERVES AN IMPORTANT
      FUNCTION

       44.    In my experience, prudent developers of generic drugs know that

 compliance with FDA Guidance documents will often result in a smoother review

 of their ANDA with fewer questions from FDA. Alternatively, developers of generic

 drugs that do not comply with FDA Guidance will often experience protracted



 42 See Kesselheim, Aaraon S. et al., Variations in Pill Appearance of Antiepileptic
    Drugs and the Risk of Nonadherence, 173 JAMA Internal Medicine (2013).
 43 U.S. Food & Drug Admin., Information Requests and Discipline Review
    Letters Under GDUFA: Guidance for Industry (Oct. 2022),
    https://www.fda.gov/media/109915/download; 21 C.F.R. 314.3
    https://www.ecfr.gov/current/title-21/part-314/section-314.3#p-
    314.3(Complete%20response%20letter).
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                                      Add281
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 21 of 34 PageID:
                                       6565



 reviews with many questions and deficiencies that could have been easily avoided.44

 Because FDA has indicated that attributes such as size and shape should be

 considered as part of a QTPP analysis, generic developers will consider these

 attributes and endeavor to develop products that comply with FDA guidance

 including similarities with respect to size and shape.

       45.    Based upon my 22-year career in the Office of Generic Drugs, ANDA

 sponsors routinely consider using color schemes for their generic products that are

 similar to the branded RLD. Similarities in color scheme help ensure that patients

 are more readily able to further distinguish differences in products that have similar

 size and shape characteristics. 45

       46.    This practice is evident with the ENTRESTO® products where the 24

 mg/26 mg tablet and the 49 mg/51 mg tablet are both oval tablets with dimensions

 of 13.1 mm x 5.2 mm. With identical physical dimensions, a difference in color or




 44 See U.S. Food & Drug Admin., Good ANDA Submission Practices: Guidance
    for Industry at 29 (Jan. 2022), https://www.fda.gov/media/110689/download
    (describing various submissions that are required when the ANDA differs from
    product-specific guidelines).; Kurt R. Karst, “Size Matters,” Says FDA, When it
    Comes to Generic Drug-RLD Sameness, FDA Law Blog (Jan. 4, 2012),
    https://www.thefdalawblog.com/2012/01/size-matters-says-fda-when-it-comes-
    to-generic-drug-rld-sameness/ (describing letters issued by OGDs to companies
    with pending ANDAs regarding tablet size differences).
 45 See Kesselheim, supra note 42.

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                                       Add282
Case 2:25-cv-00849-EP-JRA      Document 13-46       Filed 02/06/25   Page 22 of 34 PageID:
                                        6566



 some other attribute (e.g. scoring or beveling) helps to ensure that patients are able

 to distinguish between different doses.

       47.    While ANDA sponsors are not required to employ the same color

 scheme as the RLD, there is a sound reason for ANDA sponsors to follow this

 practice as they are helping to ensure that patients are able to distinguish doses for

 similar products using the same functional cues as the color scheme of the branded

 RLD that a patient had been accustomed to receiving.

       48.    It doesn’t take much imagination to realize the uncertainty that would

 arise if manufacturers of generic drugs simply chose to use a handful of tablet sizes

 and a single shape and color for all of their generic products. This would result in a

 world of patients taking either round or oval tablets, in two or three sizes from around

 9 mm to 17 mm, which were all a single color where that color would likely be white.

 How could a patient being treated for heart failure, the primary indication of

 ENTRESTO®, with a generic of ENTRESTO® be able to distinguish their heart

 failure medication, from the medication they use to treat their kidney failure, their

 diabetes, their acid reflux, their seizures, and chronic arthritis. It is certainly not an

 uncommon occurrence for many patients to be treated with half a dozen or more oral

 medications to treat multiple disease states. Patients rely upon visual cues and other

 distinguishing factors such as color and shape to both identify the kind of medication

 they are taking and how many times a day they take that medication. These factors


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                                         Add283
Case 2:25-cv-00849-EP-JRA      Document 13-46     Filed 02/06/25    Page 23 of 34 PageID:
                                        6567



 are critical to ensure that patients are taking the right drug at the right time for the

 right condition. 46

       49.    There are numerous examples of drug products where to visually

 distinguish different strengths of drug products for patients both the branded RLD

 and generic manufacturers utilize the same color scheme across the spectrum of

 strengths to enhance patient safety. Certain drug products with many strengths

 provide particularly useful examples.

       50.    One such product that remains in the marketplace is Synthroid®

 (levothyroxine) tablets, produced by AbbVie, Inc., which are available in 0.025 mg,

 0.05 mg, 0.075 mg, 0.88 mg, 0.1 mg, 0.112 mg, 0.125 mg, 0.137 mg, 0.15 mg, 0.175

 mg, 0.2 mg and 0.3 mg. Synthroid’s tablets are all round tablets with the following

 colors: 0.025 mg is orange, 0.050 mg is white, 0.075 mg is purple, 0.88 mg is green,

 0.1 mg is yellow, 0.112 mg is red, 0.125 mg is brown, 0.137 mg is blue(turquoise),

 0.15 mg is blue, 0.175 mg is purple(lilac), 0.2 mg is pink, and 0.3 mg is green. 47




 46 Greene JA, Kesselheim AS. Why do the same drugs look different? Pills, trade
    dress, and public health. N Engl J Med. 2011 Jul 7;365(1):83-9. doi:
    10.1056/NEJMhle1101722. PMID: 21732842.
 47 Label for Synthroid, AbbVie, Inc. available at DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=1e11ad30-1041-
    4520-10b0-8f9d30d30fcc (last visited Feb. 5, 2025). Images for all charts are
    from Drugs.com. See Declaration of Jacquellena T. Carrero (“Carrero Decl.”),
    Ex. 3.
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                                        Add284
Case 2:25-cv-00849-EP-JRA          Document 13-46          Filed 02/06/25    Page 24 of 34 PageID:
                                            6568




       51.        Consistent with the practice and guidance discussed above, several

 entities who have filed ANDA’s for this product follow the same color-coding

 scheme:

             a. ANDA 212399 from Accord Healthcare, Inc. is available as a 7 mm

                  round tablet employing the same color scheme, 48

                                                 Levothyroi:ine
                                      Accord Healthcare Inc. ANDA 212399




       0.025 mg         0.05 mg        0.075 mg            0.088mg          0.1mg        0.112 mg




       0.125 mg         0.137 mg       0.15mg              0.175 mg         0.2mg         0.3 mg




 48 Label for Levothyroxine Sodium, Accord Healthcare, Inc.. available at
    DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=a6233381-3043-
    4e9a-aaa6-a6b105e5142b (last visited Feb. 5, 2025).
                                                  24



                                             Add285
Case 2:25-cv-00849-EP-JRA         Document 13-46          Filed 02/06/25      Page 25 of 34 PageID:
                                           6569



            b. ANDA 210831 from Amneal Pharmaceuticals LLC is available as a 9

                 mm round tablets employing the same color scheme with exception of

                 its 0.112 mg which is described as dark pink, 49

                                              Levotb}TOxine
                                    Amneal Pbanns. LLC ANDA 210831




                                     0.o75mg            0.088 mg




      0.125 mg         0.137 mg       0.15mg            0.175 mg      0.2mg            0.3 mg




            c. ANDA 209713 from Lupin Pharmaceuticals, Inc. is available as a 6

                 mm round tablet employing the same color scheme with exception of

                 its 0.112 mg which is described as pink. 50




 49 Label for Levothyroxine Sodium, Amneal Pharmaceuticals NY LLC. available
    at DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=b0efcd19-42a3-
    4ddb-af5a-16cd073a492a (last visited Feb. 5, 2025).
 50 Label for Levothyroxine Sodium, Lupin Pharmaceuticals, Inc.. available at
    DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=18717e58-89fb-
    4e2f-93b6-d6ac3e988d37 (last visited Feb. 5, 2025).
                                                 25



                                               Add286
Case 2:25-cv-00849-EP-JRA      Document 13-46                    Filed 02/06/25   Page 26 of 34 PageID:
                                        6570



                                                LevothtTo:rine
                                  Lu in Phann., Inc. ANDA 209713




                                                        CD   0.088 mg



                  L23


                   0.137 mg           0.15 mg                0.175 mg




       52.   Novartis’s own products also aren’t immune from having ANDA

 sponsors employ the same physical attributes as Novartis’s branded RLD. One such

 Novartis example is their product marketed under the proprietary name Myfortic®

 (mycophenolic sodium) Delayed-release Tablets NDA 50791. Novartis’ most

 recently updated labeling and drug listing information available on DailyMed

 describes Myfortic® Delayed-release Tablets, 180 mg as 10 mm, round, green,

 tablets and 360 mg as 18 mm, oval (ovaloid), orange, tablets. 51

                   ~ (mycophenolic sodium) Delayed-Release Tablets
                              Novartis Pharm. Co . NDA 50791




                              180mg                                 360mg




 51 Label for Myfortic, Novartis Pharms. Corp., available at DailyMed, Nat. Inst.
    of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=eed26501-890d-
    4ff6-88e7-6dbea4726e53 (last visited Feb. 5, 2025).
                                                    26



                                                Add287
Case 2:25-cv-00849-EP-JRA      Document 13-46    Filed 02/06/25   Page 27 of 34 PageID:
                                        6571



       53.     Like the other examples noted above, filers of ANDA reference these

 color combinations in keeping with the FDA guidance:

             a. ANDA 216637 from Novugen Pharma (USA) LLC is available in 180

               mg as 10 mm, round, green tablets and 360 mg as 18 mm, oval

               (ovaloid), orange, tablets. 52

             b. ANDA 214376 from Slate Run Pharmaceuticals LLC is available as

               10 mm, round, green, tablets, and 360 mg as 17 mm, oval, orange,

               tablets. 53

             c. ANDA 202555 from Accord Healthcare Inc. is available in 180 mg as

               10 mm round, green tablets and 360 mg as 17 mm, oval(oblong),

               orange tablets. 54




 52 Label for Mycophenolic Acid Tablet, Delayed Release, Novugen Pharma
    (USA) LLC, available at DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=cbc3e916-09e2-
    4e6e-9e5e-98375f5e6d41 (last visited Feb. 5, 2025).
 53 Label for Mycophenolic Acid Tablet, Delayed Release, Slate Run
    Pharmaceuticals LLC, available at DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=c1ce92ef-4102-
    1487-e053-2995a90ac521 (last visited Feb. 5, 2025).
 54 Label for Mycophenolic Acid Tablet, Delayed Release, Accord Healthcare Inc.,
    available at DailyMed, Nat. Inst. of Health,
    https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=dc24aa15-330c-
    4698-872f-159d7e582b4b (last visited Feb. 5, 2025).
                                            27



                                        Add288
Case 2:25-cv-00849-EP-JRA       Document 13-46        Filed 02/06/25      Page 28 of 34 PageID:
                                         6572



                                  Mycophenolic s«.dium
                           Accord Healthcare ln.c. ANDA 202555




                            ISO .mg                      360mg




       54.   Other ANDAs for Entresto also follow the size and color dosing

 regimes.

       55.   I understand that at least 17 other companies have also filed ANDAs

 to release a generic version of Entresto and as of February 5, 2025, FDA had

 approved 11 ANDAs from different ANDA sponsors. 55

       56.   Consistent the practices noted above, the publicly available

 information regarding these ANDAs show that they also follow the color schemes

 and sizes of Novartis’ Entresto product: 56

              Sacubitril and Valsartan Tablets – Innovator and Generics comparison
  Parameter ENTRESTO     MSN            Torrent   Laurus Labs       Ascend       Alembic
  s         (NOVARTI     Laboratories   Pharmaceu Limited           Laboratories Pharmaceutica
            S PHARMS     Private        ticals                      , LLC        ls Inc.
            CORP)        Limited        Limited
                         (Novadoz
                         Pharmaceuti
                         cals LLC)



 55 See U.S. Food & Drug Admin., Orange Book: Approved Drug Products with
    Therapeutic Equivalence Evaluations,
    https://www.accessdata.fda.gov/scripts/cder/ob/index.cfm (last visited Feb. 5,
    2025) (database listing approved ANDAs for sacubitril and valsartan tablets).
 56 For sources of information contained in this chart, see Carrero Decl. Exs. 7–12.

                                              28



                                          Add289
Case 2:25-cv-00849-EP-JRA               Document 13-46          Filed 02/06/25       Page 29 of 34 PageID:
                                                 6573


  NDA/        NDA 207620       ANDA            ANDA           ANDA 213676      ANDA             ANDA 213682
  ANDA #                       213748          213604                          213674

  Description
  24 mg/ 26 Violet white       Purple          Violet white   Violet white     Off white to     white to off
  mg          unscored,        colored, oval   colored,       color, oval      light pink       white, modified
              ovaloid,         shaped,         round          shaped,          unscored,        capsule shaped,
              biconvex,        biconvex,       shaped,        biconvex film-   ovaloid,         biconvex film-
              film-coated      film coated     biconvex,      coated tablets   biconvex,        coated tablets
              tablets          tablets one     film coated    debossed with    film-coated      debossed with
              debossed         side debossed   tablet with    “S5” on one      tablets,         “725” on one
              with “NVR”       with “M” and    beveled        side and plain   “SV5” on one     side and “L” on
              on one side      other side      edges,         on the other     side and plain   the other side.
              and “LZ” on      debossed with   unscored,      side             on the other
              the other        “S1”            debossed                        side
              side.                            with “U4”
                                               on one side
                                               and plain on
                                               the other
                                               side.
  49 mg /     Pale yellow      Light yellow    Pale yellow    Pale yellow      Pale yellow      light yellow to
  51 mg       unscored,        to yellow       colored,       color, oval      to yellow        yellow,
              ovaloid,         colored, oval   oval shaped,   shaped,          unscored,        modified
              biconvex,        shaped,         biconvex,      biconvex film-   ovaloid,         capsule shaped,
              film-coated      biconvex,       film coated    coated tablets   biconvex,        biconvex film-
              tablets          film coated     tablet with    debossed with    film-coated      coated tablets
              debossed         tablets one     beveled        “S1” on one      tablets,         debossed with
              with “NVR”       side debossed   edges,         side and plain   “SV1” on one     “726” on one
              on one side      with “M” and    unscored,      on the other     side and plain   side and “L” on
              and “L1” on      other side      debossed       side.            on the other     the other side.
              the other        debossed with   with “U5”                       side
              side.            “S2”            on one side
                                               and plain on
                                               other side.
  97 mg/      Light pink       Light pink to   Light pink     Light pink       Light pink to    light pink to
  103 mg      unscored,        pink colored,   colored,       color, oval      pink             pink, modified
              ovaloid,         oval shaped,    oval shaped,   shaped,          unscored,        capsule shaped,
              biconvex,        biconvex,       biconvex,      biconvex film-   ovaloid,         biconvex film-
              film-coated      film coated     film coated    coated tablets   biconvex,        coated tablets
              tablets          tablets one     tablet with    debossed with    film-coated      debossed with
              debossed         side            beveled        “S2” on one      tablets,         “L727” on one
              with “NVR”       debossed with   edges,         side and plain   “SV2” on one     side and plain
              on one side      “M” and         unscored,      on the other     side and plain   on the other
              and “L11” on     other side      debossed       side.            on the other     side.
              the other side   debossed with   with “U7”                       side
                               “S3”            on one side
                                               and plain on
                                               other side.
  Dimen-
  sions
  (Roun-
  ded)
  24 mg/ 26   13 mm            10 mm           6 mm           9 mm             10 mm            9 mm
  mg



                                                      29



                                                  Add290
Case 2:25-cv-00849-EP-JRA          Document 13-46             Filed 02/06/25        Page 30 of 34 PageID:
                                            6574


  49 mg /     13 mm        13 mm            11 mm           12 mm             13 mm            12 mm
  51 mg
  97 mg/      15 mm        15 mm            15 mm           15 mm             15 mm            15 mm
  103 mg
  Shape       OVAL         OVAL             24 mg/26        OVAL              OVAL             CAPSULE
              (ovaloid                      mg –            (biconvex)        (Ovaloid         (biconvex)
              biconvex)                     ROUND                             biconvex)

                                            49 mg / 51
                                            mg and 97
                                            mg/ 103 mg
                                            - OVAL
                                            (biconvex
                                            tablet with
                                            beveled
                                            edges)

  DailyMed https://daily   https://dailym   https://daily   https://dailyme   https://dailym   https://dailyme
  Link     med.nlm.nih.    ed.nlm.nih.go    med.nlm.nih     d.nlm.nih.gov/d   ed.nlm.nih.go    d.nlm.nih.gov/d
           gov/dailymed    v/dailymed/dr    .gov/dailym     ailymed/drugIn    v/dailymed/dr    ailymed/drugIn
           /drugInfo.cf    ugInfo.cfm?s     ed/drugInfo.    fo.cfm?setid=b    ugInfo.cfm?s     fo.cfm?setid=5
           m?setid=000     etid=44db811     cfm?setid=5     47b5c7e-1c20-     etid=98d838f     928f174-83e5-
           dc81d-ab91-     4-622e-41f6-     9b7a07a-        429c-9560-        6-03a9-43e9-     4c74-b15a-
           450c-8eae-      96a1-            96ee-44b1-      07f5f06cdce3      b8dd-            138338a70295
           8eb74e72296     447d47b0267      8dae-                             8882c6df163
           f               c                2b42169aa2                        1
                                            c5
  Exhibit   Carrero        Carrero          Carrero         Carrero           Carrero          Carrero
  with      Decl. Ex. 7    Decl. Ex. 8      Decl. Ex.       Decl. Ex. 10      Decl. Ex.        Decl. Ex. 12
  DailyMed
  Web-                                      9                                 11
  pages and
  Drug
  Label
  Infor-
  mation

        57.     It is readily apparent from these examples that ANDA which follow

 the physical attributes, including color, of a branded RLD are routinely reviewed

 and approved by FDA and are available in the marketplace.

 VIII. IRREPARABLE HARM TO MSN

        58.     I understand that Novartis has asked the Court for a preliminary

 injunction enjoining and restraining Defendants from distributing a generic

 sacubitril/valsartan drug.

                                                    30



                                               Add291
Case 2:25-cv-00849-EP-JRA     Document 13-46     Filed 02/06/25   Page 31 of 34 PageID:
                                       6575



       59.    The effect of such an order would mean that MSN could not launch its

 product and all its investment in research and development over years would be

 placed at risk.

       60.    First, there is no way to simply change the size, shape, and color of the

 tablet without essentially starting over with the entire process at the FDA for

 regulatory approval. Reformulation of a developed product to change the physical

 attributes of the product amounts to an ANDA sponsor needing to completely restart

 development of a specific product.57 FDA Guidance on this matter clearly states that

 changes in color, size, or shape would need to be submitted as a Prior Approval

 Supplement (PAS) to an approved ANDA. 58 Such a PAS would need to include

 new exhibit batches, and a minimum of 6 months of stability under accelerated

 conditions (40 degrees Centigrade/ 75% relative humidity) and ambient

 conditions(25 C/60% RH). Notably, prior to manufacturing exhibit batches, MSN

 would need to develop the new product to determine what size and shape is feasible

 and whether transition to a new size and shape required any alterations to the

 formulation of the product, this development work would precede exhibit batch

 manufacturing. It is also highly likely that the Office of Generic Drugs would require


 57 SUPAC-IR Questions and Answers about SUPAC-IR Guidance, U.S. Food &
    Drug Admin. (Feb. 18, 1997), https://www.fda.gov/regulatory-
    information/search-fda-guidance-documents/supac-ir-questions-and-answers-
    about-supac-ir-guidance.
 58 Id.

                                          31



                                       Add292
Case 2:25-cv-00849-EP-JRA      Document 13-46     Filed 02/06/25    Page 32 of 34 PageID:
                                        6576



 the ANDA sponsor to complete a new fasting bioequivalence study comparing the

 new proposed product to the branded RLD. FDA’s review of the PAS would be

 governed by the Generic Drug User Fee Act III Commitment Letter. Because there

 are already 11 ANDAs that have been approved by FDA for generic versions of

 ENTRESTO®, a hypothetical PAS submitted by MSN would not be eligible for

 priority review, with the resulting review from FDA being completed in either 6

 months or 10 months. The 6-month timeframe would apply if there was no facility

 referenced in the PAS that required FDA inspection and the 10-month review would

 apply if any inspection was needed.

       61.     Second, in my experience, any delay in bringing a generic to market

 would have devasting consequences as it would place the generic sponsor at a

 competitive disadvantage with other generics able to launch. Generally speaking,

 the first ANDA applicant that is able to enter into the highly competitive generic

 marketplace is at a distinct advantage over other ANDA applicants that enter the

 market at a later date. This concept is generally referred to as the first-mover

 advantage. The first sponsor to enter the market is generally able to enter into

 purchasing contracts in advance of competitors and as previously stated in paragraph

 19, the first sponsor to enter the generic marketplace is usually able to sell their

 product at a higher price for a period of time until other competitors are able to enter

 the market.


                                           32



                                        Add293
Case 2:25-cv-00849-EP-JRA    Document 13-46     Filed 02/06/25   Page 33 of 34 PageID:
                                      6577



       62.   In essence, Novartis asks this Court to effectively overturn an approval

 decision for a drug product that FDA has reviewed and approved thus determining

 that MSN’s product is an equivalent of and provides a similar safety profile to

 ENTRESTO®.

       63.   Novartis thus asks this Court to return MSN to development of their

 product with the goal of developing a product that is less similar to ENTRESTO®

 and may in FDA’s view, per concepts communicated by FDA in the Physical

 Attribute Guidance, result in a product that is less safe or more confusing for

 patients.




                                         33



                                      Add294
Case 2:25-cv-00849-EP-JRA    Document 13-46      Filed 02/06/25   Page 34 of 34 PageID:
                                      6578



              I declare under penalty of perjury under the laws of the United States of

        America that the foregoing is true and correct.


        Dated: February 6, 2025




                                       Add295
Case 2:25-cv-00849-EP-JRA           Document 17-1    Filed 02/10/25    Page 1 of 23 PageID:
                                            6669




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
_____________________________________

NOVARTIS AG,
NOVARTIS PHARMACEUTICALS
CORPORATION,
                                                  Civil Action No. 25-849
                      Plaintiffs,
       v.

NOVADOZ PHARMACEUTICALS LLC,
MSN PHARMACEUTICALS INC., and
MSN LABORATORIES PRIVATE
LIMITED,

                  Defendants.
_____________________________________




                   Rebuttal Expert Declaration of Dr. Arash Nayeri, MD
            In Further Support of Plaintiffs’ Motion for a Preliminary Injunction


                                       February 10, 2025




                                          Add296
Case 2:25-cv-00849-EP-JRA                                    Document 17-1                       Filed 02/10/25                    Page 2 of 23 PageID:
                                                                     6670




I.           INTRODUCTION............................................................................................................. 2

II.          ASSIGNMENT.................................................................................................................. 6

III.         SUMMARY OF CONCLUSIONS .................................................................................. 6
       A. Patients Should Have The Opportunity To Make Informed Decisions Regarding The Pros and Cons of
          Generic Drugs. ................................................................................................................................................8

       B. Mr. Clark’s Assessment of Clinical Reasons For Similarities In Physical Attributes of Generics and Brand
          Drugs Are Either Overstated or Divorced From The Relevant Context: Treatment of Heart Failure With A
          Sacubitril / Valsartan Drug. ........................................................................................................................... 11

       C. The Manner In Which Entresto Is Prescribed Means That It Is Unnecessary For Patients To Rely On
          Color-Coding to Determine Which Dose They Must Take. .......................................................................... 14

       D. Online Resources Incorporating Both Images of The Drugs and Prescribing Information For The Drugs
          Could Lead To Consumer Confusion and A Resulting Mis-Dosing of Entresto........................................... 14

       E. Consumer Confusion Could Lead To Patient Harm. ..................................................................................... 15

       F.    Entresto Prescribers Are Not Limited To Cardiologists. ............................................................................... 16

       G. HCPs May Have Increased Confidence In An Authorized Generic Released From The Manufacturer of The
          Brand Drug. ................................................................................................................................................... 17




                                                                                     1




                                                                             Add297
Case 2:25-cv-00849-EP-JRA                    Document 17-1               Filed 02/10/25           Page 3 of 23 PageID:
                                                     6671



I.        Introduction

1.        I submit this rebuttal expert declaration on behalf of Novartis AG and Novartis
Pharmaceuticals Corp. (together “Novartis”). I have been asked by counsel for Plaintiffs to offer
opinions relevant to this matter based on my expertise as a cardiologist, clinical researcher, and
regular prescriber of Entresto, to rebut the opinions offered by Todd Clark and Dr. Hossein
Ardehali, as well as the arguments made by Defendants Novadoz Pharmaceuticals, LLC
(“Novadoz Pharma”), MSN Pharmaceuticals Inc. (“MSN Pharma”), and MSN Laboratories
Private Limited (“MSN Labs,” and together with Novadoz Pharma and MSN Pharma, “MSN”)
in their Opposition to Novartis’s Order to Show Cause for Preliminary Injunctive Relief.
Novartis AG v. Novadoz Pharms. LLC, et al., Case No. 25 CV 0849 (D.N.J. Feb. 6, 2025), ECF
No. 13.

2.        On January 30, 2025, I submitted an expert declaration (“Opening Declaration” 1) in
support of the application for a temporary restraining order and motion for preliminary
injunction that Novartis filed that same day. My qualifications, experience, and compensation,
including a copy of my curriculum vitae and a summary of the background of this case, is
included in my Opening Declaration.

3.        On February 6, 2025, Todd Clark and Dr. Hossein Ardehali submitted expert declarations
(respectively, the “Clark Declaration,” 2 and “Ardehali Declaration” 3), on behalf of Defendants.

4.        Based on my review of the Clark Declaration:

                   a)        Mr. Clark opines that “[s]imilarities in physical attributes between generic
          pharmaceuticals and RLDs serve clinical purposes, the most important of which are




1    Expert Declaration of Dr. Arash Nayeri, MD In Support of Plaintiffs’ Order to Show Cause for a Temporary Restraining
     Order and Motion for Preliminary Injunction. Novartis AG v. Novadoz Pharms. LLC, et al., Case No. 25 CV 0849 (D.N.J.
     Jan. 30, 2025), ECF No. 4-11.
2    Declaration of Todd Clark, MBA, MS In Opposition to Plaintiffs’ Motion for Preliminary Injunctive Relief. Novartis AG v.
     Novadoz Pharms. LLC, et al., Case No. 25 CV 0849 (D.N.J. Feb. 6, 2025), ECF No. 13-40.
3    Declaration of Hossein Ardehali, M.D., PH.D. In Opposition to Plaintiffs’ Motion for Preliminary Injunctive Relief.
     Novartis AG v. Novadoz Pharms. LLC, et al., Case No. 25 CV 0849 (D.N.J. Feb. 6, 2025), ECF No. 13-49.


                                                               2




                                                         Add298
Case 2:25-cv-00849-EP-JRA                Document 17-1        Filed 02/10/25      Page 4 of 23 PageID:
                                                 6672



        reductions in medication errors, increased therapeutic adherence, and maintenance of the
        placebo effect.” 4

                              i)     With respect to medication errors, Mr. Clark asserts that color-
        coding has been adopted to improve patient safety in the context of asthma inhalers and
        anesthetic drugs (which are used in the high-pressure, fast-moving environments of
        intensive care and surgical wards), as well as for ocular medications (which patients had
        difficulty distinguishing).5 He also notes that some countries have adopted color coding
        for short, intermediate, and long-acting insulin, confusion of which can lead to serious
        adverse events. 6

                              ii)    With respect to adherence, Mr. Clark opines that “clinically
        important adherence behaviors are boosted when generic pharmaceuticals and RLDs have
        similar physical attributes.” 7 He specifically points to studies showing a 53% increase in
        adherence failure in seizure patients following a change in color, and a 58% increase in
        discontinuation of the prescribed therapy for heart attack patients following a change in
        shape or color. 8

                              iii)   With respect to the placebo effect, Mr. Clark opines that the
        physical attributes of a drug “play a role in the psychologically mediated but
        physiologically measurable placebo effect,” and that “[r]esearch suggests that the placebo
        effect is related to a conditioned response and, therefore, it may be more vulnerable to
        disruption where patients have become accustomed to a drug’s physical appearance over
        time.” 9 Mr. Clark points to examples of colors that he asserts have specific placebo
        effects, including “red or pink in liquid medicines,” which ‘ha[ve] been shown to
        enhance the placebo-driven suppression of gastric acid,” blues which “tend to have a



4   Clark Declaration ¶ 50.
5   Clark Declaration ¶¶ 51–52.
6   Clark Declaration ¶ 53.
7   Clark Declaration ¶ 55.
8   Clark Declaration ¶ 55.
9   Clark Declaration ¶ 17.


                                                       3




                                                  Add299
Case 2:25-cv-00849-EP-JRA                      Document 17-1        Filed 02/10/25    Page 5 of 23 PageID:
                                                       6673



          sedative effect,” yellows which “are associated with relief of depression,” and greens
          which are associated “with relief of anxiety.” 10

                    b)         Mr. Clark opines that problems with dosing Entresto are “very unlikely to
          occur.” 11 He asserts that, “[i]f MSN’s generic can be safely prescribed without reference
          to the titration labeling, it necessarily follows that its branded therapeutic equivalent
          Entresto can as well.” 12

                    c)         In addition, Mr. Clark opines that “any alleged ‘loss of patient autonomy’
          prioritizes the needs of the less than 5% of patients who choose to remain on brand drugs
          over the 95% who switch to generics. Thus, the benefits offered by continuity of
          appearance between Entresto and the MSN generic far outweigh any hypothetical
          downsides. And . . . switching to a therapeutically equivalent generic has no medical
          significance.” 13

5.        Based on my review of the Ardehali Declaration:

                    a)         Dr. Ardehali opines that “it is not realistic to believe that any healthcare
          professionals (HCPs) could inadvertently confuse drugs and prescribe the wrong
          medication based on the drugs’ ‘appearance or confusingly similar manufacturer
          names.’” 14 In making prescribing decisions, “HCPs may consult online resources such as
          Medscape,” but “those searches are mostly designed to learn about the drug, the dosage
          of the drug and its potential side effects.” 15 Dr. Ardehali also asserts that “HCPs rarely
          use [] search engines to look for the appearance of drugs because it does not influence




10   Clark Declaration ¶ 57.
11   Clark Declaration ¶ 19; see also id. at ¶¶ 67–71.
12   Clark Declaration ¶ 71.
13   Clark Declaration ¶ 19; see also id. at ¶¶ 80–81.
14   Ardehali Declaration ¶ 26(a); see also id. at ¶¶ 27–30.
15   Ardehali Declaration ¶ 29.


                                                               4




                                                           Add300
Case 2:25-cv-00849-EP-JRA                Document 17-1         Filed 02/10/25      Page 6 of 23 PageID:
                                                 6674



         their prescribing decisions.” 16 Many HCPs will use the “chemical drug name,” rather
         than the “brand names” to search for and prescribe medications. 17

                   b)        Dr. Ardehali opines that “[t]here is no legitimate public safety risk that
         patients could be harmed because a confused HCP could prescribe an incorrect dosing
         regimen based on Entresto’s label rather than MSN’s.” 18 This is because “[p]hysicians
         who prescribe Entresto are mainly cardiologists and they are fully aware of the
         limitations in pharmacological treatment of heart failure patients.” 19 “In patients with low
         blood pressure or who have not tolerated ACEis or ARBs, if [physicians] are considering
         a medication that reduces blood pressure, [they] either exclude them or start at a low dose
         and adjust as needed.” 20

                   c)        In addition, Dr. Ardehali opines that “[m]any HCPs are not aware of the
         manufacturer of most of the drugs they prescribe. And even if they were, it would make
         no difference to the clinical judgment of HCPs . . . HCPs do not concern themselves with
         the identity of the drug products they describe. HCPs focus on the patients’ diagnosis and
         the drugs that can be used to treat patients’ conditions, and their familiarity is with the
         chemical drug name (e.g., sacubitril/valsartan) like those mentioned above, not the party
         who made the drug.” 21

                   d)        He also asserts that “[t]he introduction of the generic version [of Entresto]
         will increase competition, resulting in lower prices and better treatment options for
         patients.” 22




16   Ardehali Declaration ¶ 29.
17   Ardehali Declaration ¶ 28.
18   Ardehali Declaration ¶ 26(b).
19   Ardehali Declaration ¶ 33.
20   Ardehali Declaration ¶ 34.
21   Ardehali Declaration ¶ 31.
22   Ardehali Declaration ¶ 38.


                                                       5




                                                   Add301
Case 2:25-cv-00849-EP-JRA          Document 17-1         Filed 02/10/25     Page 7 of 23 PageID:
                                           6675



II.    Assignment

6.     I have been asked by counsel to respond to the opinions of Mr. Clark and Dr. Ardehali
summarized in Section I above, and specifically to:

               a)      Correct key misrepresentations of my opinions from the Opening
       Declaration;

               b)      Address Dr. Ardehali’s opinions on the advantages of a new generic
       version of Entresto;

               c)      Respond to Mr. Clark’s opinions concerning the clinical significance of
       similarities in appearance between a generic and brand drug, and evaluate whether
       Entresto and any generic version of Entresto must be nearly identical;

               d)      Respond to Dr. Ardehali’s opinions concerning HCPs prescribing
       decisions and to both Dr. Ardehali’s and Mr. Clark’s opinions concerning potential
       patient harm; and

               e)      Assess the degree to which a manufacturer name might influence
       prescribing decisions for generic drugs.

7.     In reaching my opinions I have relied on my review of publicly available sources as well
as case documents, and have relied on my training, experience, and education. I reserve the right
to address additional issues as requested by counsel in future declarations or reports.

III.   Summary of Conclusions

8.     Based on my expertise as a cardiologist, clinical researcher, and regular prescriber of
Entresto, I have reached the following rebuttal opinions:

               a)      There are both pros and cons to generic drugs. Although generic
       medicines can be a more cost-effective treatment and contain the same active ingredients
       as their branded counterparts, they can also present higher risks of contamination, may
       not always result in the same clinical outcomes, and—due to the presence of different
       inactive ingredients—may trigger sensitivities or intolerances in some patients. Although

                                                  6




                                             Add302
Case 2:25-cv-00849-EP-JRA         Document 17-1         Filed 02/10/25      Page 8 of 23 PageID:
                                          6676



      the benefits of a generic can be great, the mere existence of these potential disadvantages
      means that it is paramount that patients are able to distinguish between a generic and its
      branded counterpart and, accordingly, make an informed decision as to whether they are
      comfortable preceding with a generic option. In short, it is vital that patients are free of
      confusion so that they can exercise autonomy over their treatment in this regard.

             b)      Dr. Ardehali misstates my opinion as to how HCPs might confuse Entresto
      and MSN’s generic, when using online resources incorporating images of both drugs:

                     i)      I have not opined that HCPs are likely to prescribe an incorrect
      dosing regimen based on Entresto’s label. Instead, I have opined that an HCP may
      inadvertently rely upon MSN’s label (or the information on that label made available
      through an online resource like Drugs.com) in making prescribing decisions regarding
      Entresto.

                     ii)     In addition, I have not opined that HCPs will make prescribing
      decisions based on images. Instead, my Opening Declaration explains that images that
      appear as search results collected from a search for the name of a drug (either the
      chemical name or the brand name), may confuse HCPs and lead them to linked
      informational pages for the wrong drug.

             c)      Any suggestion that HCPs do not rely on FDA-approved prescribing
      information in making prescribing decisions is inaccurate. Even experienced HCPs
      consult labels and may—where they mistakenly refer to the MSN generic’s prescribing
      information—fail to prescribe Entresto pursuant to the directed dosing regimen for
      patients naïve to or on low doses of ACEis and ARBs. Even though the FDA has
      approved MSN’s generic, confusion between the drugs based on their nearly identical
      appearance, use of the Novadoz name, and reliance on the wrong label could result in
      incremental patient harm in the form of negative side effects that would not have
      occurred but for the confusion.

             d)      Prescribers of Entresto (which is prescribed not only in urban, research-
      based hospitals but also in smaller community hospitals and clinics) are not immune to


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                                            Add303
Case 2:25-cv-00849-EP-JRA                   Document 17-1             Filed 02/10/25          Page 9 of 23 PageID:
                                                    6677



          confusion or error. The HCPs who make prescribing decisions are not limited to
          cardiologists; this group also includes physicians focused on internal medicine or family
          medicine, physician assistants, and nurse practitioners who may not be as familiar with
          the dosing regimen directed by Entresto’s FDA-approved label and prescribing
          information and may be more prone to confusion.

                    e)       While HCPs prioritize factors including clinical guidelines, research on
          clinical efficacy, and individual patient need in making prescribing decisions, HCPs are
          aware of drug manufacturer names and may have increased confidence in an authorized
          generic released from the manufacturer of the brand drug.

                    f)       Patients taking Entresto are prescribed one dose at a time, as tolerated, and
          that dose changes only when they are prescribed a different dose in consultation with an
          HCP. Patients do not take multiple doses at the same time, such that they would need to
          rely upon color-coding to determine which dose to take.

      A. Patients Should Have The Opportunity To Make Informed Decisions Regarding
      The Pros and Cons of Generic Drugs.

9.        It is undeniable that generic drugs can yield good results for many patients. Generic drugs
are often a less expensive, yet “bioequivalent” option—which means they contain the same
active ingredients and many times the generic medication “works in the same way and provides
the same clinical benefit as the brand-name medicine.” 23

10.       However, generic drugs also present disadvantages. For example, generic drugs are often
produced in factories in countries with cheaper labor, such as India or China. Poor conditions at
factories have sometimes led to contamination of drugs, leading to recalls in the United States. 24
Although U.S.-based brand name drug manufacturers are not immune to these issues, their rates



23    Generic Drugs: Questions & Answers, FDA, https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-
      drugs-questions-answers (accessed Feb. 8, 2025).
24    White CM. Generic Drugs Not as Safe as FDA Wants You to Believe. Ann Pharmacother. 2020 Mar;54(3):283-286; see
      also Safeguarding Pharmaceutical Supply Chains in a Global Economy, FDA, https://www.fda.gov/news-
      events/congressional-testimony/safeguarding-pharmaceutical-supply-chains-global-economy-10302019 (accessed Feb. 9,
      2025).


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                                                        Add304
Case 2:25-cv-00849-EP-JRA                    Document 17-1             Filed 02/10/25           Page 10 of 23 PageID:
                                                      6678



 of recall are lower. 25 A fairly recent and prominent example includes the FDA recall of generic
 valsartan (commonly used for both heart failure and hypertension) due to the presence of N-
 Nitrosodiethylamine (NDEA), an impurity known to be associated with higher rates of cancer. 26
 This recall demonstrates the dangers of contamination; researchers have determined the NDEA
 impurity was created by a change in manufacturing method in 2012 by an overseas generic
 manufacturer, but the impurity was not detected until 2018, when the recall was issued. 27 In
 addition to exposing many patients to a possible carcinogen, the recall process thereafter led to
 interruption of therapy for these same patients. 28

 11.       In addition, although generics are bioequivalent to their branded counterparts, they are
 not identical in chemical composition. Generic drugs contain different inactive ingredients to
 which some patients may have sensitivities or intolerances. 29

 12.       Despite Mr. Clark’s assertion that less than 5% of patients choose to remain on brand
 drugs as opposed to generic options, 30 it is my opinion that this percentage is higher for a more
 important drug with life-saving potential. For reasons including possible adverse reactions to
 “inactive” ingredients in the generic, many patients do prefer taking brand drugs. As an example,
 with the introduction of generic dapagliflozin, the majority of my patients have chosen to remain
 on brand Farxiga, even when aware of the generic option. I personally have honored, and will
 continue to honor, patient requests for the brand drug.



 25    Jimenez D. Generic Drug Safety: US Regulators Struggle to Keep up with a Global Market, Pharmaceutical Technology,
       https://www.pharmaceutical-technology.com/features/generic-drug-safety-us-regulators-struggle-global-market/?cf-view
       (accessed Feb. 10, 2025).
 26
       11/21/2018: UPDATE – FDA alerts patients and health care professionals to Mylan’s recall of valsartan products due to
       NDEA, FDA, https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-angiotensin-ii-
       receptor-blocker-arb-recalls-valsartan-
       losartan#:~:text=Update%20%5B11/21/2018,that%20treats%20the%20same%20condition (accessed Feb. 9. 2025).
 27    Farrukh MJ, Tariq MH, Malik O, Khan TM. Valsartan recall: global regulatory overview and future challenges. Therapeutic
       advances in drug safety. 2019 Jan;10:2042098618823458.
 28    Devine JW, Tadrous M, Hernandez I, Mukhopadhyay N, Rothenberger SD, Callaway Kim K, Gellad WF, Suda KJ. Effects
       of the valsartan recall on heart failure patients: A nationwide analysis. Pharmacoepidemiology and Drug Safety. 2024
       Apr;33(4):e5777.
 29    Reker D, Blum SM, Steiger C, Anger KE, Sommer JM, Fanikos J, Traverso G. "Inactive" ingredients in oral medications.
       Sci Transl Med. 2019 Mar 13;11(483):eaau6753; Kelso JM. Potential food allergens in medications. J Allergy Clin
       Immunol. 2014 Jun;133(6):1509-18.; Swerlick RA, Campbell CF. Medication dyes as a source of drug allergy. J Drugs
       Dermatol. 2013 Jan;12(1):99-102.
 30    Clark Declaration ¶ 19.


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                                                         Add305
Case 2:25-cv-00849-EP-JRA             Document 17-1        Filed 02/10/25      Page 11 of 23 PageID:
                                               6679



 13.       In addition, I personally have purchased brand drugs (including over-the-counter drugs
 for pain and allergy relief) and know that many of my colleagues with similar medical training
 also make similar decisions, on a case-by-case basis. From an ethical perspective with regard to
 patient autonomy, I find it indefensible that I should maintain my right to make that decision for
 my own healthcare but that patients’ rights should be neglected under the guise of enhancing
 overall patient compliance with generics so similar in appearance that they are passed off as their
 branded counterparts.

 14.       Despite this concern, any attempts by MSN’s experts to frame my opinions as an attack
 on generics generally is a distortion of my opinions. The key point is that generics can be good
 options when they are provided responsibly, in a manner that is not likely to confuse consumers
 and deprive them of vital autonomy over their own medical treatment.

 15.       I have no objections to expanding access to sacubitril / valsartan to all patients who need
 it. However, I do object to a generic option that misleadingly copies the appearance of Entresto
 and uses the Novadoz name in a confusing manner. Access can be expanded without this
 misleading behavior, which infringes upon patient autonomy.

 16.       In my experience and in the experience of my colleagues, Entresto has had a very
 competitive insurance update, and many patients are receiving it with adequate insurance
 coverage.

 17.       I disagree with the suggestion in MSN’s Opposition brief that a change in patient co-pays
 would necessarily cause a patient to understand that their Entresto medication had been
 substituted for a generic. 31 If a consumer believed they were receiving Entresto, due to the nearly
 identical appearance and branding of MSN’s generic, they could just as easily assume other
 causes for any pricing change, including a change in Medicare coverage phases, the effect of
 price negotiations under the Inflation Reduction Act, a discount or coupon applied by their
 pharmacy, an update to their insurance coverage, or any number of other rationales for change in
 drug pricing.




 31    Defs.’ Mem. at 35.


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                                                Add306
Case 2:25-cv-00849-EP-JRA                      Document 17-1              Filed 02/10/25           Page 12 of 23 PageID:
                                                        6680



       B. Mr. Clark’s Assessment of Clinical Reasons For Similarities In Physical Attributes
       of Generics and Brand Drugs Are Either Overstated or Divorced From The Relevant
       Context: Treatment of Heart Failure With A Sacubitril / Valsartan Drug.

 18.       Mr. Clark identifies three primary “clinical reasons” for similarities in appearance
 between generic and brand drugs: (1) the reduction of medical errors through standardized color
 coding, (2) the promotion of patient adherence to their treatment regimens, and (3) reliance on
 the placebo effect of certain physical features. None of these rationales justifies a generic drug
 nearly identical in appearance to Entresto.

 19.       As to the reduction of medical errors, Mr. Clark’s examples provide contexts in which
 color coding has been applied—ranging from medications used in a fast-paced, emergency
 settings (i.e., inhalers and anesthetic drugs) to ocular medications that patients had a difficult
 time visually distinguishing.

 20.       These examples are factually distinguishable from the context in which a patient would
 use a sacubitril / valsartan drug (like Entresto).

 21.       Unlike the inhalers and anesthetic drugs Mr. Clark references, Entresto is a drug that I
 most often prescribe to patients for use outside of emergent, hospital settings. 32 Patients usually
 take the Entresto tablets twice a day, indefinitely under non-emergent conditions. Similarly, to
 the extent a patient takes Entresto while in the hospital, it is under non-emergent conditions; an
 HCP would generally only administer Entresto to a patient who is hemodynamically stable and
 with stable renal function. As a result, errors that accompany the administration of medicines in
 fast-paced, urgent environments are less likely in connection with the administration of Entresto
 and color coding is not comparably necessary here.

 22.       In addition, I am not aware of any FDA-mandated requirements for color coding systems
 in the context of heart failure treatments, like those Mr. Clark describes for ophthalmics.




 32    Entresto, Entresto, https://www.entresto.com/ (accessed Feb. 8, 2025) (showing patient testimonials, depicting patients who
       take Entresto but are carrying on with their lives).


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                                                           Add307
Case 2:25-cv-00849-EP-JRA                     Document 17-1           Filed 02/10/25          Page 13 of 23 PageID:
                                                       6681



 23.         As to patient adherence, Mr. Clark fails to cite a single study that supports the proposition
 that a generic drug must be nearly identical in appearance to the brand drug to encourage patient
 adherence. While patient adherence is important, as I note in my Opening Declaration, it can be
 preserved in other ways—including by informing patients as to potential changes and providing
 clear information on the clinical efficacy of any new generic that they may receive. 33

 24.         The 2003 and 2013 studies that Mr. Clark cites on adherence 34 are not the only available
 literature on the issue of adherence—which is subject to debate. A 2020 study of 1000 patients
 on preferences for and experiences with pill appearance changes found that only 12% of patients
 believed a change in their pill appearance negatively impacted their compliance to some
 degree. 35 Of the patients studied, 82% answered that they would prefer to be notified about
 changes in their pill appearance, but less than half of all patients were ever notified of such
 changes. 36

 25.         Overall, this highlights two important ideas regarding the impact of changes in pill
 appearances. First, the possible impact on compliance involves a much smaller percentage of
 patients than identified by the citations to which Dr. Clark points. Second, patients explicitly
 voice their preference for transparency and disclosure—expressing a preference for notifications
 regarding changes in their pharmaceuticals. Unfortunately, the data illustrates that this preference
 is often not honored. 37 As a result, clear differences in pill appearances are vital to ensure that
 patients can detect a change and in turn make an informed decision as to treatment.

 26.         Finally, as to the placebo effect, Mr. Clark’s suggestion that physical features like color
 may have a placebo effect lacks any persuasive support in the context of heart failure treatment.
 In the context of heart failure treatment—as opposed to something like pain control—the notion
 that the color of a pill could have a placebo effect is farfetched. Heart failure is a chronic



 33    Opening Declaration ¶¶ 29(e), 52–53.
 34    Clark Declaration ¶ 55.
 35    Barenie RE, Kesselheim AS, Gagne JJ, Lu Z, Campbell EG, Dutcher SK, Jiang W, Sarpatwari A. Preferences for and
       experiences with pill appearance changes: national surveys of patients and pharmacists. Am J Manag Care. 2020
       Aug;26(8):340-347.
 36    Id.
 37    Id.


                                                             12




                                                        Add308
Case 2:25-cv-00849-EP-JRA                    Document 17-1            Filed 02/10/25           Page 14 of 23 PageID:
                                                      6682



 condition requiring treatment of the problem—not merely the symptoms. For example, in
 PARADIGM-HF, 38 the primary outcome of the study was a composite of death from
 cardiovascular causes or hospitalization for heart failure. These are clinical outcomes for which
 the trial design did not even entertain the need to include a placebo control group given no good
 medical rational to expect a placebo benefit in heart failure patients. A “placebo” effect is more
 likely to occur in the context of treatment of symptoms like a headache or stomachache. In my
 experience as a clinician, I have never heard concern from a colleague regarding the need to
 maintain a possible placebo effect in the treatment of heart failure.

 27.       Moreover, if the intent is to maintain a “placebo” effect by deceiving a consumer into
 believing they are still taking a brand name drug, when in fact they are taking a nearly identically
 appearing generic drug, this is a violation of patient autonomy.

 28.       Given that the three clinical reasons for continuity in physical appearance that Mr. Clark
 offers do not hold up in the context of heart failure treatment, generic sacubitril / valsartan pills
 do not need to be nearly identical in appearance to Entresto to be effective. As a result, Mr.
 Clark’s assertion that a failure to maintain continuity of appearance for the sake of ensuring
 patient awareness of a switch between the branded drug and generic (and relatedly ensuring
 patient autonomy over medical treatment), is somehow prioritizing the 5% of patients who would
 choose to remain on a brand if given the option, does not hold up. This “either / or” approach—
 the suggestion that either we can prioritize patients who choose generics by offering generic
 drugs that look the same as branded drugs, or we can prioritize patients who choose to remain on
 brand drugs by offering generic products with visual differences that preserve patient
 autonomy—is a logical fallacy. 39 It is entirely possible to offer effective generic drugs that do
 not appear nearly identical to their branded counterparts.




 38    See Opening Declaration ¶ 14 (explaining that PARADIGM-HF was a landmark trial published in the New England Journal
       of Medicine in 2014, involving Entresto); see also McMurray JJ, Packer M, Desai AS, Gong J, Lefkowitz MP, Rizkala AR,
       Rouleau JL, Shi VC, Solomon SD, Swedberg K, Zile MR. PARADIGM-HF Investigators and Commitees. Angiotensin-
       neprilsyin inhibitors versus enalapril in heart failure. N Engl J Med. 2014 Sep. 11;371(11):993-1004.
 39    Clark Declaration ¶ 19.


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                                                         Add309
Case 2:25-cv-00849-EP-JRA                    Document 17-1              Filed 02/10/25          Page 15 of 23 PageID:
                                                      6683



       C. The Manner In Which Entresto Is Prescribed Means That It Is Unnecessary For
       Patients To Rely On Color-Coding to Determine Which Dose They Must Take.

 29.       As explained in my Opening Declaration, Entresto comes in three doses—(1) a 24/26 mg
 “Low Starting Dose,” (2) a 49/51 mg “Recommended Starting Dose,” and (3) a 97/103 mg
 “Target Dose”. 40 The doses come in different colors and sizes. 41

 30.       Based on my experience prescribing Entresto, consultation of Entresto’s FDA-approved
 prescribing information, and assessment of patient needs, I usually initially prescribe one of the
 two starting doses of Entresto (either the Low Starting Dose or Recommended Starting Dose)
 twice daily, as tolerated by each patient. 42 After two to four weeks, I generally check in with the
 patient to determine if they are tolerating their starting dose. If they are, I prescribe them a higher
 dose. Ultimately, some patients progress to taking the Target Dose twice a day indefinitely,
 while other patients remain on one of the lower doses.

 31.       A patient is prescribed only one dose of Entresto at a time. If a patient is switched to a
 new dose, they remove any prior doses from their medication cycle.

 32.       Because I only prescribe one dose of Entresto at a time, and patients only take one dose
 of Entresto (twice daily) at a time, patients do not need to distinguish between doses daily.

       D. Online Resources Incorporating Both Images of The Drugs and Prescribing
       Information For The Drugs Could Lead To Consumer Confusion and A Resulting Mis-
       Dosing of Entresto.

 33.       Dr. Ardehali’s Declaration mischaracterizes my opinions as to how HCPs may use online
 resources. I have not offered the opinion that HCPs search by, or rely upon, pictures to prescribe
 medications to patients. Instead, it is my opinion that HCPs—particularly the younger generation
 of physicians that I have helped to train—search online for either the chemical or brand name of



 40    Opening Declaration, ¶ 16.
 41    Entresto Prescribing Information, Entresto,
       https://www.entrestohcp.com/sites/entrestohcp_com/files/documents/entresto.pdf#page= ((accessed Feb. 10, 2024).
 42    Safety & Dosing, Entresto, https://www.entrestohcp.com/safety-and-dosing/dosing (accessed Feb. 10, 2024).


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                                                          Add310
Case 2:25-cv-00849-EP-JRA                   Document 17-1            Filed 02/10/25          Page 16 of 23 PageID:
                                                     6684



 a drug and obtain results that are a mix of both information and photographs (often with links
 leading to information). 43

 34.       Where images of Entresto and MSN’s generic are nearly identical, an HCP could easily
 click on a linked photograph of MSN’s generic, believing it to be Entresto and believing it will
 lead to information about Entresto. That HCP then could consult the information on the linked
 page—including relevant information on dosing (which Dr. Ardehali agrees physicians look to
 the internet for 44)—and prescribe Entresto without the benefit of the modified dosing regimen
 for patients naïve to or on low doses of ACEis and ARBs that is included on Entresto’s label.

 35.       As explained in my Opening Declaration, when you search for the compound name of a
 drug on Drugs.com, its leads to search results including images from a Pill Identifier, which are
 comprised of a mix of images of both the generic and branded medications side-by-side. 45 Once
 MSN’s generic is launched and informational pages on the generic are available on resources
 like Drugs.com alongside informational pages on Entresto, an HCP looking for prescribing
 information specific to Entresto could mistakenly click on the image of MSN’s generic, and
 make prescribing decisions for Entresto based on the information on the linked pages associated
 with the generic drug.

       E. Consumer Confusion Could Lead To Patient Harm.

 36.       As I explained in my Opening Declaration, Entresto has been a powerful addition to the
 medical treatment of heart failure, with the promise of improved patient survival. This impactful
 drug—in spite of its clear benefits—presents risks for possible adverse events. In PARADIGM-
 HF, 46 the rates of symptomatic hypotension (a/k/a low blood pressure) were higher with Entresto
 than with Enalrapril (a standard ACEi). In my opinion, this highlights a higher risk of adverse
 events if there is confusion regarding the dosing of this drug compared to some of the other
 drugs used in the treatment of heart failure.


 43
       See Opening Declaration ¶¶ 30–35.
 44    Ardehali Declaration ¶ 29.
 45    Opening Declaration ¶ 35.
 46    See Opening Declaration ¶ 14 (explaining that PARADIGM-HF was a landmark trial published in the New England Journal
       of Medicine in 2014, involving Entresto).


                                                             15




                                                        Add311
Case 2:25-cv-00849-EP-JRA               Document 17-1       Filed 02/10/25       Page 17 of 23 PageID:
                                                 6685



 37.       This means that the possibility of negative side effects stemming from a failure to abide
 by Entresto’s directed modified dosing regimen for patients naïve to or on low doses of ACEis
 and ARBs is even more pronounced. As I noted in my Opening Declaration, those potential side
 effects include hypotension, electrolyte imbalance, and renal injury or failure. 47

 38.       The FDA’s approval of the MSN Drug does not mean these side effects are not a
 concern. Where a confused HCP mistakenly relies upon the MSN generic drug’s label, they may
 prescribe Entresto at the Recommended Starting Dose, rather than the Low Starting Dose. In
 other words, confusion as to source caused by the appearance of the drugs (and uses of Novadoz,
 where the manufacturer name is present), could lead the HCP to make a prescribing choice they
 may not have otherwise made and to expose their patient to increased risks of side effects they
 may not otherwise have incurred if not for the HCP confusion.

 39.       I am not challenging the FDA’s approval of the MSN generic drug or otherwise
 suggesting it is unsafe for use. However, it is my opinion that inadvertent use of the MSN
 prescribing information for prescriptions of Entresto could heighten the potential for harm to
 patients taking Entresto. Even if MSN’s generic is an FDA approved option, HCPs should be
 free from confusion in making prescribing decisions concerning Entresto to safely care for their
 patients.

       F. Entresto Prescribers Are Not Limited To Cardiologists.

 40.       Mr. Clark’s assertions that Entresto prescribers are “sophisticated health professionals
 who have presumably experienced generic entry for previously brand-only therapies many
 times,” 48 and Dr. Ardehali’s general finding that HCPs are too familiar with Entresto to make
 errors, 49 disregard the reality of who is actually prescribing Entresto.

 41.       In my experience at two large tertiary care hospitals, care for heart failure patients is not
 restricted to cardiologists or heart failure specialists. Instead, in both an inpatient and outpatient
 setting, midlevel providers such as physicians’ assistants and nurse practitioners, play a role in


 47    Opening Declaration ¶ 17.
 48    Clark Declaration ¶ 70.
 49    Ardehali Declaration ¶¶ 33–34.


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                                                 Add312
Case 2:25-cv-00849-EP-JRA                     Document 17-1              Filed 02/10/25           Page 18 of 23 PageID:
                                                       6686



 the care of heart failure patients and often make prescribing decisions for these patients. 50 There
 are also HCPs who have recently finished their medical training and may be new to this class of
 drug. These providers may be particularly prone to confusion and be less familiar with the
 intricacies of Entresto dosing.

 42.       I am also aware of other smaller hospitals and clinic systems without cardiology presence
 where the care of patients with heart failure is carried out by internal medicine or family
 medicine physicians who also use Entresto but may not be as familiar with the drug. Therefore, I
 do not believe that it is valid to state that because many cardiologists should already be familiar
 with this drug, the risk of confusion and improper dosing (particularly in patients naïve to ACEis
 and ARBs) is negligible. Mr. Clark’s and Dr. Ardehali’s opinions do not extend to all
 prescribers, especially those with less heart failure training.

 43.       The risks here must be taken seriously; the reality is that there are less experienced
 providers prescribing Entresto to an ever-growing population of patients for whom the modified
 dosing regimen is relevant. The expanded coverage and use of Entresto (even prior to the
 introduction of generics) has been shown to lead to more first-time users of Entresto without
 prior use of ACEis or ARBs. 51 This means the population of patients for whom the modified
 dosing regimen is relevant is growing. Moreover, the hypotensive effect of Entresto—which is
 exacerbated by starting a patient on a dose that is too high—appears to be more marked than it is
 in other heart failure drugs. 52 As a result, the risk of adverse events with dosing that does not
 adhere to the Entresto prescribing information is high.

       G. HCPs May Have Increased Confidence In An Authorized Generic Released From
       The Manufacturer of The Brand Drug.

 44.       Dr. Ardehali’s opinion that an HCP’s prescribing decisions would never be influenced by
 the impression that the brand drug manufacturer is releasing an “authorized generic” disregards

 50    King-Dailey K, Frazier S, Bressler S, King-Wilson J. The Role of Nurse Practitioners in the Management of Heart Failure
       Patients and Programs. Curr Cardiol Rep. 2022 Dec;24(12):1945-1956..
 51    Srivastava PK, Klomhaus AM, Greene SJ, et al. Angiotensin Receptor-Neprilysin Inhibitor Prescribing Patterns in Patients
       Hospitalized for Heart Failure. JAMA Cardiol. 2024 Dec 11. doi:10.1001/jamacardio.2024.3815.
 52    McMurray JJ, Packer M, Desai AS, Gong J, Lefkowitz MP, Rizkala AR, Rouleau JL, Shi VC, Solomon SD, Swedberg K,
       Zile MR; PARADIGM-HF Investigators and Committees. Angiotensin-neprilysin inhibition versus enalapril in heart failure.
       N Engl J Med. 2014 Sep 11;371(11):993-1004.


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                                                          Add313
Case 2:25-cv-00849-EP-JRA                    Document 17-1             Filed 02/10/25          Page 19 of 23 PageID:
                                                      6687



 that there are actual chemical differences between a generic drug and an authorized generic drug
 that might make HCPs more willing to use the authorized generic (as opposed to a generic) and
 refrain from prescribing the brand drug only.

 45.       As discussed in Section III(A) above, a normal generic drug is “bioequivalent” to the
 brand drug—meaning it possesses the same active ingredients but may differ as to inactive
 ingredients. By contrast, an authorized generic “is the exact same drug as the branded product.” 53
 In other words, an authorized generic is identical with respect to both active and inactive
 ingredients, alleviating concerns that some patients may have sensitivities to or intolerances of
 distinct inactive ingredients.

 46.       Moreover, HCPs may be more likely to trust brands of which they are aware and that
 they know have experience successfully producing the brand drugs they usually prescribe. This
 is particularly relevant for a drug with a strong marketing force like Entresto. Many cardiologists
 like myself and other HCPs have received brochures and prescribing information concerning
 Entresto, bearing both the Entresto and Novartis trademarks.

 47.       I personally have seen advertisements in different contexts—including television, online,
 and print advertisements—highlighting that Novartis manufactures Entresto. I am confident that
 many of my colleagues recognize that Novartis manufactures Entresto and that many of my
 colleagues are aware of the historical ties between Novartis and Sandoz.

 48.       As a result, I do believe that consumer confusion stemming from uses of Novadoz—and
 the potential suggestion that Novartis, by nature of its historical ties with Sandoz, is releasing an
 authorized generic drug—is likely to impact prescribing decisions. While prescribing decisions
 are first and foremost driven by factors including clinical efficacy and patient need, the
 misimpression that Novartis is releasing an authorized generic is likely to play a role in
 prescribing decisions by making HCPs more comfortable with the generic option. It is also my
 concern that this seemingly purposeful effort to confuse HCPs jeopardizes the opportunity for an




 53    FDA List of Authorized Generic Drugs, FDA, https://www.fda.gov/drugs/abbreviated-new-drug-application-anda/fda-list-
       authorized-generic-drugs (accessed Feb. 9, 2025).


                                                              18




                                                         Add314
Case 2:25-cv-00849-EP-JRA          Document 17-1          Filed 02/10/25      Page 20 of 23 PageID:
                                            6688




  informed prescriber/patient discussion regarding treatment options without any clear benefit to
  the HCP or the patient.



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         I declare under penalty of perjury that the foregoing is comprised of true and correct
    statements of my expert opinions.


         Signed this 10th day of February, 2025, in     LcS AflJe fer     /LL




          Arash Nayen, MD




                                                   19




                                              Add315
Case 2:25-cv-00849-EP-JRA          Document 17-1       Filed 02/10/25      Page 21 of 23 PageID:
                                            6689



                              Appendix A – Materials Considered
 In addition to the materials listed in Appendix B of my Opening Declaration, I have considered
 the following materials in support of my rebuttal opinions:


 Legal Documents
 Declaration of Hossein Ardehali, M.D., PH.D. In Opposition to Plaintiffs’ Motion for
        Preliminary Injunctive Relief, Novartis AG v. Novadoz Pharms. LLC, et al., Case No. 25
        CV 0849 (D.N.J. Feb, 6, 2025), ECF No. 13-49.
 Declaration of Todd Clark, MBA, MS In Opposition to Plaintiffs’ Motion for Preliminary
        Injunctive Relief, Novartis AG v. Novadoz Pharms. LLC, et al., Case No. 25 CV 0849
        (D.N.J. Feb, 6, 2025), ECF No. 13-40.
 Expert Declaration of Dr. Arash Nayeri, MD In Support of Plaintiffs’ Order to Show Cause for a
        Temporary Restraining Order and Motion for Preliminary Injunction, Novartis AG v.
        Novadoz Pharms. LLC, et al., Case No. 25 CV 0849 (D.N.J. Jan. 30, 2025), ECF No. 4-
        11.
 Opposition to Novartis’s Order to Show Cause for Preliminary Injunctive Relief, Novartis AG v.
 Novadoz Pharms. LLC, et al., Case No. 25 CV 0849 (D.N.J. Feb. 6, 2025), ECF No. 13.


 Academic Papers
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        recalls in the U.S. pharmaceutical industry. Journal of Operations Management. 2018
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                                                20




                                            Add316
Case 2:25-cv-00849-EP-JRA          Document 17-1        Filed 02/10/25    Page 22 of 23 PageID:
                                            6690



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                                                  21




                                               Add317
Case 2:25-cv-00849-EP-JRA        Document 17-1       Filed 02/10/25     Page 23 of 23 PageID:
                                          6691



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                                           Add318
     Case 2:25-cv-00849-EP-JRA      Document 17-2     Filed 02/10/25   Page 1 of 23 PageID:
                                            6692



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



Novartis AG, Novartis Pharmaceuticals             Civil Action No. 2:25-cv-00849
Corporation,

Plaintiffs,

v.

Novadoz Pharmaceuticals LLC, MSN
Pharmaceuticals Inc., MSN Laboratories Private
Limited,

Defendants,




              EXPERT REBUTTAL DECLARATION OF MARK ROBBINS, PH.D., J.D.

                                        February 10, 2025




                                             Add319
Case 2:25-cv-00849-EP-JRA                        Document 17-2                  Filed 02/10/25               Page 2 of 23 PageID:
                                                         6693



                                                 TABLE OF CONTENTS


I.        ASSIGNMENT............................................................................................................... 1

II.       REPLY OPINIONS ....................................................................................................... 1
     A.   Defendants’ Experts Do Not Address My Opinions Regarding the Potential for
          Patients to Believe that the Novadoz Generic is Entresto or is Associated with
          Entresto .............................................................................................................................1
     B.   Defendants Misconstrue My Opinions When Stating that Entresto’s Appearance
          is Functional ......................................................................................................................2
     C.   Defendants’ Experts Fail to Focus on the Relevant Context of Patients Taking
          Entresto for Chronic Heart Failure ...................................................................................3
     D.   Defendants’ Experts Fail to Recognize that the FDA Does Not Encourage
          Generics to Copy Brand Drugs in All Aspects of Pill Appearance, and Further,
          They Ignore that the FDA Has Emphasized the Importance of Trade Dress
          Protectability for Pill Appearance.....................................................................................4
     E.   Mr. Clark Inappropriately Dismisses the Substantial Number of Patients Whose
          Choice Could be Undermined by the Alleged Visual Similarities between
          Entresto and the Novadoz Generic ...................................................................................7
     F.   Mr. Clark’s Empirical Analysis of Generic-Brand Drug Appearance Is Flawed .............9
     G.   Mr. Shimer’s Argument for Maintaining Color Consistency Across Strengths Is
          Flawed .............................................................................................................................12
     H.   Defendants Misrepresent and Misconstrue My Opinions ...............................................16




                                                              Add320
Case 2:25-cv-00849-EP-JRA                Document 17-2            Filed 02/10/25         Page 3 of 23 PageID:
                                                 6694




            I.    ASSIGNMENT

1.       I have been retained by counsel for Novartis AG and Novartis Pharmaceuticals Corporation
         (together, “Novartis” or “Plaintiffs”) in the above-captioned matter. On January 30, 2025,
         I submitted an expert declaration (“Robbins Declaration”). 1                   On February 6, 2025,
         Novadoz Pharmaceuticals LLC, MSN Pharmaceuticals Inc., and MSN Laboratories Private
         Limited (collectively, “Novadoz” or “Defendants”) filed a Memorandum of Law in
         Opposition to Plaintiffs’ Order to Show Cause for Preliminary Injunctive Relief, and
         Defendants’ experts, Hossein Ardehali, M.D., Ph.D.; Todd Clark, MBA, MS; and Martin
         Shimer, filed declarations in opposition to Plaintiffs’ Motion for Preliminary Injunctive
         Relief. 2

2.       I have now been asked to review Defendants’ Opposition Memorandum, the Ardehali
         Declaration, the Clark Declaration, and the Shimer Declaration, to rebut the opinions
         offered by Mr. Clark, Dr. Ardehali, and Mr. Shimer, and to rebut the arguments made by
         Defendants.


          II.     REPLY OPINIONS

         A.     Defendants’ Experts Do Not Address My Opinions Regarding the Potential
         for Patients to Believe that the Novadoz Generic is Entresto or is Associated with
         Entresto

3.       The Robbins Declaration explained my opinion that “to the degree that the [Novadoz]
         generic is similar in appearance to Entresto®, and patients perceive it as such, this creates
         the potential for Defendants to unfairly benefit from patients’ inability to distinguish the
         two drugs.” 3 I further explained that “a patient that has been using Entresto® may not

1
     Expert Declaration of Mark Robbins, Ph.D., J.D., January 30, 2025. I incorporate by reference my qualifications,
     my statement of independence, and my compensation from the Robbins Declaration.
2
     Memorandum of Law in Opposition to Plaintiffs’ Order to Show Cause for Preliminary Injunctive Relief,
     February 6, 2025 (“Defendants’ Opposition Memorandum”); Declaration of Hossein Ardehali, M.D., Ph.D. in
     Opposition to Plaintiffs’ Motion for Preliminary Injunctive Relief, February 6, 2025 (“Ardehali Declaration”);
     Declaration of Todd Clark, MBA, MS in Opposition to Plaintiffs’ Motion for Preliminary Injunctive Relief,
     February 6, 2025 (“Clark Declaration”); Declaration of Martin Shimer in Opposition to Plaintiffs’ Motion for
     Preliminary Injunctive Relief, February 6, 2025 (“Shimer Declaration”).
3
     Robbins Declaration, ¶ 25.
                                                          1




                                                    Add321
Case 2:25-cv-00849-EP-JRA               Document 17-2          Filed 02/10/25          Page 4 of 23 PageID:
                                                6695



         realize that they have been switched to a generic product if that generic has a similar
         appearance, and if the manufacturer name on the bottle (‘Novadoz’) is perceived as similar
         to ‘Novartis’ (or if they do not pay attention to the manufacturer name on the bottle).” 4

4.       Defendants’ experts do not address these opinions. Mr. Clark instead offers the opinion
         that such confusion would not be harmful to patients because it has “no medical
         significance.” 5 Dr. Ardehali focuses on the behavior of healthcare professionals and the
         benefits of generic availability.6 Mr. Shimer also focuses on “beneficial aspects of generic
         drugs to the public,” among other topics. 7 None of these experts address potential harm to
         Novartis based on the possibility of patient confusion between Entresto and the Novadoz
         Generic.


         B.    Defendants Misconstrue My Opinions When Stating that Entresto’s
         Appearance is Functional

5.       In support of their claim that “the colors and sizes of Entresto pills communicate crucial
         functional information to patients,” 8 Defendants write that “[e]ven Novartis’s own experts
         acknowledge that patients – particularly those with chronic conditions like those treated
         with Entresto – ‘rely on pill appearance to help identify which medication to take.’” 9 This
         completely misconstrues my opinions. To be clear, my use of the language “help identify
         which medication to take” refers to patients relying on pill appearance to know that they
         are taking Entresto (i.e., the medication that they have been prescribed and have been
         taking for chronic heart failure). 10 In other words, this relates to patients identifying that
         their medication continues to be from the same source that it has been from in the past, i.e.,
         the maker of Entresto (whether patients recognize that maker as Novartis or not).




4
     Robbins Declaration, ¶ 25.
5
     Clark Declaration, Section IV.C and ¶ 19.
6
     Ardehali Declaration, ¶ 26.
7
     Shimer Declaration, Section IV.
8
     Defendants’ Opposition Memorandum, p. 13.
9
     Defendants’ Opposition Memorandum, p. 14, citing Robbins Declaration, ¶¶ 13-15.
10
     Robbins Declaration, ¶¶ 13-15.
                                                       2




                                                  Add322
Case 2:25-cv-00849-EP-JRA                Document 17-2           Filed 02/10/25         Page 5 of 23 PageID:
                                                 6696



         C.    Defendants’ Experts Fail to Focus on the Relevant Context of Patients
         Taking Entresto for Chronic Heart Failure

6.       As I explain in this section, Defendants’ experts attempt to apply findings from the
         pharmaceutical industry broadly that are unlikely to be relevant to the specific context of
         Entresto, which is a medication for a chronic condition, taken indefinitely. 11

7.       Mr. Clark points to other categories of medications where the FDA or another regulatory
         body has established color standards. 12 For example, for ophthalmic, or drugs delivered
         directly to the eye, Mr. Clark writes that “the FDA has taken steps to ensure that generic
         pharmaceuticals comply with the color-coding system,” 13 and “caps for eye drops have
         also been governed by a class-based color-coding system.” 14 In the present matter the
         relevant context is the one Entresto faces as an oral tablet taken for a chronic condition.15
         It is my understanding that the FDA has not implemented a color coding scheme for
         Entresto, and as I discuss below in Section II.D, the FDA does not generally require a color
         scheme.

8.       Mr. Clark claims to analyze whether “the color and shape of the Entresto tablet are common
         among U.S. pharmaceuticals,” by searching on Drugs.com’s Pill Identifier feature for drugs
         that had either the shape or color used by any strength of the Entresto pills and finding
         “approximately 100 prescription drugs that share one or more of Entresto’s color or
         shape.” 16 This search is flawed first in that it ignores that the relevant perspective, in terms
         of whether patients use color and shape to know that they are taking Entresto, is the
         perspective of the patient. The relevance to patients of a general search on Drugs.com is
         unclear. Second, Mr. Clark searches all medications on Drugs.com, which according to
         promotions for the Drugs.com Pill Identifier App, include “more than 24,000 Rx/OTC
         medications.” 17 While Defendants and their expert Mr. Clark opine that Entresto patients
         take multiple pills and therefore might be exposed to similar-looking pills from other

11
     Robbins Declaration, ¶¶ 13-15.
12
     Clark Declaration, ¶¶ 16, 51. Mr. Clark cites examples from anesthesia, ophthalmic drugs, asthma inhalers, and
     insulin products.
13
     Clark Declaration, ¶ 16.
14
     Clark Declaration, ¶ 52.
15
     Robbins Declaration, ¶ 14.
16
     Clark Declaration, ¶¶ 83-84.
17
     “Pill Identifier,” Drugs.com, available at: https://www.drugs.com/pill_identification.html.
                                                         3




                                                   Add323
Case 2:25-cv-00849-EP-JRA                  Document 17-2            Filed 02/10/25         Page 6 of 23 PageID:
                                                   6697



          categories, they have cited no evidence and provide no examples to support the
          understanding that this can occur to any appreciable degree. 18


          D.      Defendants’ Experts Fail to Recognize that the FDA Does Not Encourage
          Generics to Copy Brand Drugs in All Aspects of Pill Appearance, and Further, They
          Ignore that the FDA Has Emphasized the Importance of Trade Dress Protectability
          for Pill Appearance

9.        Mr. Clark relies in part on the FDA guidance for the understanding that patient adherence
          to a medication regimen improves when there are “[s]imilarities in physical attributes
          between generic pharmaceuticals and [reference-listed drugs (‘RLDs’)].” 19 Mr. Shimer
          also claims that the FDA guidance acknowledges the role of a tablet or capsule’s size and
          shape in patient adherence, stating that “[p]atient compliance or adherence to their
          medication regimen may also be influenced by the size and shape of a tablet or capsule.” 20
          The Defendants’ experts’ opinions, however, are overly simplified and do not take into
          consideration the limitations expressed in the FDA guidance, as I explain in this section.

10.       The FDA does not mandate that generics must look identical (or even nearly identical) to
          their brand-name counterparts. In fact, the FDA publications, including the very guidance
          cited by Defendants’ experts, echo this understanding. The FDA Guidance titled “Size,
          Shape, and Other Physical Attributes of Generic Tablets and Capsules,” which
          Defendants’ experts rely on, does not recommend requiring a generic pill to match the
          brand drug in both size and shape. Rather, it recommends that certain physical attributes,
          such as size and shape, are “similar,” while noting other physical attributes “should be
          considered.” 21 Moreover, as Mr. Shimer recognized, 22 this recommendation stems from

18
      Defendants’ Opposition Memorandum, p. 15; Clark Declaration, Sections V.A-V.B.
19
      Clark Declaration, p. 24. Mr. Clark also cites the 2022 Final FDA Guidance titled “Size, Shape, and Other
      Physical Attributes of Generic Tablets and Capsules,” which expresses concern that differences in physical
      characteristics, such as the size and shape of tablets or capsules, could impact patient compliance, medication
      acceptability, or potentially lead to medication errors. See Clark Declaration, p. 31.
20
      Shimer Declaration, pp. 18-19.
21
      See, e.g., “[T]he Agency recommends that generic oral tablets and capsules intended to be swallowed intact should
      be of a similar size to the corresponding RLD.” “Guidance for Industry: Size, Shape, and Other Physical
      Attributes of Generic Tablets and Capsules (October 2022 version),” FDA, p. 4, available at
      https://www.fda.gov/media/161902/download. See also, “Guidance for Industry: Size, Shape, and Other Physical
      Attributes of Generic Tablets and Capsules (June 2015 version),” FDA, p. 4, available at
      https://www.fda.gov/media/87344/download. I understand that Mr. Clark and Mr. Shimer cite the October 2022
      version and the June 2015 version of the guidance in their declarations, respectively.
22
      Shimer Declaration, pp. 18-19.
                                                           4




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Case 2:25-cv-00849-EP-JRA                  Document 17-2            Filed 02/10/25         Page 7 of 23 PageID:
                                                   6698



          the FDA’s concern that significant changes in a generic drug’s physical attributes may
          affect a patient’s ability to swallow the medication. 23 The guidance does not suggest that
          generic and brand drugs must look alike to be safe and effective.

11.       The FDA guidance also makes no recommendations regarding color.                               Mr. Shimer
          acknowledged this in his declaration, stating that “ANDA sponsors are not required to
          employ the same color scheme as the RLD.” 24 An FDA report titled “Generic Drug Facts”
          confirms that “[generics] can look different,” 25 that “[a]llowable differences in size, shape,
          and color do not impact how medications work,” and that “[g]eneric medicines may look
          different than the brand-name drugs they duplicate.” 26 Mr. Clark’s own analysis is also
          consistent with this publication in that, notwithstanding the flaws I describe in Section II.F
          below, he finds that the majority of brand-generic drug pairs differ in at least one of the
          four physical attributes he examined. 27 This further demonstrates that Novadoz could be
          consistent with the FDA guidance, make reasonable adjustments to the physical attributes
          of its generic drug, and still avoid trade dress infringement, rather than mimicking
          Entresto’s appearance.

12.       Mr. Clark’s opinions are further flawed in that they present an overly simplified
          understanding of the multiple considerations relevant to pill appearance regulatory
          decisions. While adherence is one consideration (as noted in the Robbins Declaration),
          patient choice and brand drug manufacturers’ intellectual property rights are also relevant
          considerations for regulatory bodies. 28 For example, an FDA article titled “Generic Drugs:
          Questions & Answers” states that “[t]rademark laws in the United States do not allow a


23
      “For comparable ease of swallowing as well as patient acceptance and compliance with treatment regimens, the
      Agency recommends that generic oral tablets and capsules intended to be swallowed intact should be of a similar
      size to the corresponding RLD” and “we recommend manufacturing tablets and capsules that have a similar shape
      or have a shape that has been found to be easier to swallow compared with the shape of the RLD.” “Guidance
      for Industry: Size, Shape, and Other Physical Attributes of Generic Tablets and Capsules (October 2022 version),”
      FDA, pp. 4-5, available at https://www.fda.gov/media/161902/download. See also, “Guidance for Industry: Size,
      Shape, and Other Physical Attributes of Generic Tablets and Capsules (June 2015 version),” FDA, pp. 4-5,
      available at https://www.fda.gov/media/87344/download.
24
      Shimer Declaration, p. 22.
25
      “Generic Drug Facts,” FDA, available at https://www.fda.gov/media/107601/download.
26
      “Generic Drug Facts,” FDA, available at https://www.fda.gov/media/107601/download.
27
      Clark Declaration, pp. 50-51 and Exhibit 3. Calculator: 55.9% = 100% - 44.1%.
28
      Robbins Declaration, p. 9. See, e.g., “Generic Drugs - Specific Labeling Resources,” FDA, available at
      https://www.fda.gov/drugs/fdas-labeling-resources-human-prescription-drugs/generic-drugs-specific-labeling-
      resources.
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Case 2:25-cv-00849-EP-JRA                  Document 17-2            Filed 02/10/25          Page 8 of 23 PageID:
                                                   6699



          generic drug to look exactly like other drugs already on the market.” 29 Additionally, a
          Comment and Response published in the Annals of Internal Medicine, cited in the Robbins
          Declaration, discusses the legal protections associated with the appearance of the brand-
          name drugs. 30 In the Comment, FDA staff at the Office of Generic Drugs responded to a
          proposal that brand and generic drugs should look similar, by noting that “[t]he legal
          protections for characteristics of drug products known as ‘trade dress’ are extensive. Even
          color can constitute a defensible trademark.” 31 They further elaborated that a regulatory
          requirement mandating generic drugs to match the brand-name drug’s size, shape, and
          color could “effectively eliminate the ability to market a generic product in many cases,
          thus restricting or limiting patient access to more affordable medicines.” 32                         These
          statements undermine the assertions made by Defendants’ experts that the FDA supports
          generic drugs adopting the physical appearance of brand drugs.

13.       Further, as noted in the Robbins Declaration, and in scholarly literature, adherence is
          affected by a number of factors including “patient factors, providers, and routine aspects
          of health care delivery, such as medication burden.” 33 Mr. Clark largely ignores these other
          factors for adherence.

14.       In any event, it is worth noting that the FDA guidance represents, in the FDA’s own words,
          “the Agency’s current thinking on a topic,” rather than a legal requirement that companies
          must adhere to. 34 As also stated in the FDA’s Good Guidance Practices regulation,
          “[g]uidance documents do not establish legally enforceable rights or responsibilities. They
          do not legally bind the public or FDA.” 35 Therefore, even if the FDA guidance did

29
      “Generic Drugs: Questions & Answers,” FDA, available at https://www.fda.gov/drugs/frequently-asked-
      questions-popular-topics/generic-drugs-questions-answers.
30
      Robbins Declaration, FN 13.
31
      “Burden of Change in Generic Pill Appearance,” Annals of Internal Medicine, Comments and Responses,
      December 2014, Vol. 161, No. 11, p. 839.
32
      “Burden of Change in Generic Pill Appearance,” Annals of Internal Medicine, Comments and Responses,
      December 2014, Vol. 161, No. 11, p. 839.
33
      Robbins Declaration, FN 13.
34
      According to the guidance Mr. Clark cites on size, shape, and physical attributes of generic tablets and capsules,
      “[t]his guidance…does not establish any rights for any person and is not binding on FDA or the public.” Rather,
      a company “can use an alternative approach if it satisfies the requirements of the applicable statutes and
      regulations” and the “FDA’s guidance documents do not establish legally enforceable responsibilities.” See
      “Guidance for Industry: Size, Shape, and Other Physical Attributes of Generic Tablets and Capsules (October
      2022 version),” FDA, p. 2, available at https://www.fda.gov/media/161902/download.
35
      “Good Guidance Practices Regulation,” FDA, pp. 2-3, available at https://www.ecfr.gov/current/title-21/chapter-
      I/subchapter-A/part-10/subpart-B/section-10.115.
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                                                      Add326
Case 2:25-cv-00849-EP-JRA                 Document 17-2          Filed 02/10/25         Page 9 of 23 PageID:
                                                  6700



          recommend that generic drugs identically or nearly identically copy brand drugs in all
          aspects of pill appearance (which is not the case), it is unclear how such guidance could be
          used as justification for an allegedly illegal act (in this case, alleged trade dress
          infringement). The FDA’s responsibility focuses on safety and efficacy of pharmaceutical
          products, 36 and, as Mr. Clark recognizes in his declaration, “[t]he FDA is not specifically
          charged with regulating the color or shape of medicinal products.” 37


          E.     Mr. Clark Inappropriately Dismisses the Substantial Number of Patients
          Whose Choice Could be Undermined by the Alleged Visual Similarities between
          Entresto and the Novadoz Generic

15.       Mr. Clark claims that “5% of patients [] choose to remain on brand drugs [as opposed to]
          95% who switch to generics,” 38 and that “more than 90%” of Entresto patients are likely
          to be switched to a generic. 39          Mr. Clark’s reliance on these statistics to support
          understanding around what portion of patients would choose to stay on Entresto (assuming
          they have agency to make the decision) is flawed. The cited 5 percent statistic is drawn
          from a study that estimated what portion of prescriptions submitted to CVS Caremark
          Insurance were marked “dispense as written” for a portion of 2009. 40 Mr. Clark fails to
          mention that the study reporting this statistic noted that “[s]ubstantial variation in dispense
          as written requests were seen by medication class,” and that “[t]he odds of requesting
          dispense as written was 78.5% greater for specialists than generalists.” 41

16.       Further, the study Mr. Clark cites for the 5 percent aggregate percentage encompasses a
          broad range of medication classes, including those in which multiple generics have been
          available in the market for years, factors that likely contribute to higher generic adoption


36
      “What We Do,” FDA, available at https://www.fda.gov/about-fda/what-we-do.
37
      Clark Declaration, p. 31.
38
      Clark Declaration, pp. 9, 13-14 citing Shrank, W., et al., “The Consequences of Requesting ‘Dispense as
      Written,’” The American Journal of Medicine, 2011, Vol. 124, No. 4, p. 310.
39
      Clark Declaration, pp. 9, 14 citing “Generic and Biosimilar Drugs Generate $408 Billion in Savings For
      America’s Patients and Health-Care System in 2022,” Associate for Accessible Medicines, available at
      https://accessiblemeds.org/resources/press-releases/generic-biosimilar-drugs-generate-408-billion-savings-
      2022/.
40
      Shrank, W., et al., “The Consequences of Requesting ‘Dispense as Written,’” The American Journal of Medicine,
      2011, Vol. 124, No. 4.
41
      Shrank, W., et al., “The Consequences of Requesting ‘Dispense as Written,’” The American Journal of Medicine,
      2011, Vol. 124, No. 4.
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                                                    Add327
Case 2:25-cv-00849-EP-JRA                  Document 17-2           Filed 02/10/25         Page 10 of 23 PageID:
                                                    6701



           and acceptance. For example, lisinopril, an antihypertensive medication 42 that represents
           one of the most commonly prescribed drug classes in the study sample, was approved by
           the FDA under the brand name Zestril on May 19, 1988. 43 The FDA later approved generic
           versions of lisinopril for several manufacturers as early as July 1, 2002, including Teva
           Pharmaceuticals, Watson Laboratories, and others. 44 Mr. Clark provides no basis to
           assume that the cited 5 percent aggregate percentage is predictive of the portion of Entresto
           patients who would elect to stay with Entresto if the Novadoz generic were to enter the
           marketplace as the first generic option. A study by Kesselheim et al. found that “[w]hereas
           evidence does not support the notion that brand-name drugs used in cardiovascular disease
           are superior to generic drugs, a substantial number of editorials counsel against the
           interchangeability of generic drugs.” 45 In fact, a study examining the use of generic
           cardiovascular medications among elderly Medicare beneficiaries finds that the generic
           substitution rates for beta-blockers, thiazide diuretics, and ACE inhibitors—each of which
           is used to treat CHF—are 86.6 percent, 92.0 percent, and 59.0 percent, respectively. These
           rates are lower than the 95 percent substitution rate suggested by Mr. Clark. 46

 17.       Even if one were to accept the assumption that only 5 percent of Entresto patients would
           want to stay with Entresto upon the entry of the Novadoz generic, it is instructive to
           consider what this figure represents in terms of the number of patients. Novartis’ annual
           report for 2023 noted that Entresto had at that point “reached more than 2 million patients
           in the US.” 47 Five percent of that figure is over 100,000 patients, and the passage of time
           since 2023 points to an even larger number of patients that have benefited from Entresto.


 42
       “Once-Daily Zestril (Lisinopril),” Zestril.com, available at https://www.zestril.com/.
 43
       Shrank, W., et al., “The Consequences of Requesting ‘Dispense as Written,’” The American Journal of Medicine,
       2011, Vol. 124, No. 4, p. 313. See also, “Generic Zestril Availability,” Drugs.com, available at
       https://www.drugs.com/availability/generic-zestril.html.
 44
       “Generic Zestril Availability,” Drugs.com, available at https://www.drugs.com/availability/generic-zestril.html.
       See also, “Teva Announces Approval of Lisinopril Tablets and Lisinopril HCTZ Tablets,” Tevapharm.com,
       available      at       https://ir.tevapharm.com/news-and-events/press-releases/press-release-details/2002/Teva-
       Announces-Approval-of-Lisinopril-Tablets-and-Lisinopril-HCTZ-Tablets/default.aspx.
 45
       Kesselheim, Aaron S., et al., “Clinical Equivalence of Generic and Brand-Name Drugs Used in Cardiovascular
       Disease: A Systematic Review and Meta-analysis,” JAMA, 2008, Vol. 300, p. 2.
 46
       Federman, Alex D., et al., “Use of Generic Cardiovascular Medications by Elderly Medicare Beneficiaries
       Receiving Generalist or Cardiologist Care,” Medical Care, 2007, Vol. 45, pp. 109, 111, and 114.
 47
       “Novartis            Annual             Report          2023,”           Novartis,          available         at
       https://www.novartis.com/sites/novartis_com/files/novartisannual-report-2023.pdf, p. II (“Other standout
       performers include Entresto, our treatment for heart failure and hypertension that has now reached more than 2
       million patients in the US.”).
                                                            8




                                                      Add328
Case 2:25-cv-00849-EP-JRA                   Document 17-2             Filed 02/10/25          Page 11 of 23 PageID:
                                                     6702



           Mr. Clark’s view that “the benefits offered by continuity of appearance between Entresto
           and the MSN generic far outweigh any hypothetical downsides” 48 fails to appreciate the
           importance of patient awareness about changes to their medication and patient agency to
           determine what medication to take, which is an important benefit that I discussed in the
           Robbins Declaration. 49

 18.       Finally, Mr. Clark’s view that “any alleged ‘loss of patient autonomy’ prioritizes the needs
           of the less than 5% of patients who choose to remain on brand drugs over the 95% who
           switch to generics” 50 is flawed. The ideal approach is one that gives all patients the
           opportunity to exercise their agency, which may involve accepting the generic or,
           alternatively, may involve staying with the brand drug. Facilitating agency for all patients
           taking Entresto, including those who would ultimately choose to accept generic
           substitution and those who would ultimately reject generic substitution, does not require
           prioritizing the needs of some patients over others.


           F.    Mr. Clark’s Empirical Analysis of Generic-Brand Drug Appearance Is
           Flawed

 19.       Mr. Clark claims that “[a]n extensive study of real-world product design practices shows
           that generic pharmaceuticals share most of the physical attributes of their RLDs,” and that
           “44% [of generics] were the same as the corresponding brand drug[.]” 51 To support these
           claims, Mr. Clark cites to a survey he conducted in 2018 that analyzed the visual
           appearance of 370 generic drugs and their corresponding RLDs (“generic-RLD pairs”). 52
           As I explain below, this analysis is flawed for several reasons.

 20.       First, Mr. Clark categorizes generic-RLD pairs as being the same color when the colors are
           different. 53 For example, Mr. Clark treats orange and peach as the same color for brand


 48
       Clark Declaration, p. 9.
 49
       Robbins Declaration, FN 13.
 50
       Clark Declaration, p. 9.
 51
       Clark Declaration, pp. 9-10.
 52
       Mr. Clark states in his declaration that this analysis includes 375 pairs, however, his Exhibit 3 relies on a reduced
       sample with 370 pairs. See Clark Declaration, pp. 44-45; Clark Exhibit 3 (0013-43), p. 19.
 53
       The product characteristics included in Exhibit 3.E are color, shape, score, size, and imprint code. See Clark
       Declaration, Exhibit 3.E. Note: my opinions provided in this section and throughout this declaration do not seek
       to identify certain characteristics as “different” or “similar” to the fact finder. I am merely responding to
       Defendants’ experts’ opinions.
                                                              9




                                                        Add329
Case 2:25-cv-00849-EP-JRA               Document 17-2         Filed 02/10/25        Page 12 of 23 PageID:
                                                 6703



           Levaquin and Dr. Reddy’s generic levofloxacin product (Figure 1), 54 and for brand
           Flomax and Zydus’s generic tamsulosin hydrochloride product (Figure 2). 55
                                           Figure 1
                 Brand Levaquin and Dr. Reddy’s Generic Levofloxacin (500mg) 56




                         Levaquin (500mg)                             Levofloxacin (500mg)



                                         Figure 2
             Brand Flomax and Zydus’s Generic Tamsulosin Hydrochloride (0.4mg) 57




                                 Flomax (0.4mg)              Tamsulosin Hydrochloride (0.4mg)
 21.       Second, Mr. Clark categorizes generic-RLD pairs as having the same shape when the
           shapes are different. For example, Mr. Clark treats a biconvex capsule as the same shape
           as an oval capsule for brand Zestril and Eon’s generic lisinopril (Figure 3), 58 and he



 54
       Clark Exhibit 3 (0013-43), p. 114.
 55
       Clark Exhibit 3 (0013-43), p. 137.
 56
       The RLD Levaquin color is listed as “ORANGE(PEACH),” and the Dr. Reddy’s generic levofloxacin color is
       listed as “ORANGE.” See Clark Exhibit 3 (0013-43), p. 114.
 57
       The RLD Flomax color is listed as “GREEN, ORANGE,” and the Zydus generic tamsulosin hydrochloride color
       is listed as “GREEN (GREEN), ORANGE (PEACH).” See Clark Exhibit 3 (0013-43), p. 137.
 58
       Clark Exhibit 3 (0013-43), p. 189.
                                                       10




                                                  Add330
Case 2:25-cv-00849-EP-JRA               Document 17-2          Filed 02/10/25        Page 13 of 23 PageID:
                                                 6704



          categorizes brand Valium and Teva’s generic diazepam product as the same shape, even
          though Valium has a “V-shaped” carveout in the interior (Figure 4). 59
                                             Figure 3
                         Brand Zestril and Eon’s Generic Lisinopril (5mg) 60




                         Zestril (5mg)                               Lisinopril (5mg)

                                            Figure 4
                        Brand Valium and Teva’s Generic Diazepam (10mg) 61




                              Valium (10mg)                            Diazepam (10mg)




 59
      “VALIUM-diazepam                     tablet,”            DailyMed,              available               at
      https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=554baee5-b171-4452-a50a-41a0946f956c;
      “DIAZEPAM                      tablet,”               DailyMed,               available                 at
      https://dailymed.nlm.nih.gov/dailymed/drugInfo.cfm?setid=48aa32cb-047a-414a-822e-82a5f26d8817.
 60
      The RLD Zestril shape is listed as “CAPSULE (biconvex),” and the Eon generic lisinopril shape is listed as
      “OVAL.” Biconvex refers to a shape that is convex on both sides. Clark Exhibit 3 (0013-43), p. 189. See
      “Biconvex,” Merriam-Webster.com, available at https://www.merriam-webster.com/dictionary/biconvex.
 61
      The RLD Valium shape is listed as “ROUND,” and the Teva generic diazepam shape is listed as “ROUND.” See
      Clark Exhibit 3 (0013-43), p. 231.
                                                       11




                                                   Add331
Case 2:25-cv-00849-EP-JRA                   Document 17-2            Filed 02/10/25          Page 14 of 23 PageID:
                                                     6705



 22.       Third, in addition to the flaws identified above, Mr. Clark assumes that there is a “size
           match” for pills that differ in size by 20% or less. 62 Mr. Clark bases his assessment of size
           differences on the FDA recommendation that there be a maximum size difference of 20%
           between branded and generic drugs. 63 However, Mr. Clark provides no support for the
           understanding that patients consider brand and generic pills that differ by less than 20% in
           size to be a “match.”

 23.       An additional error in Mr. Clark’s sample for his analysis is the inclusion of capsule drugs,
           further increasing the likelihood of Mr. Clark overestimating the relevant share of similar
           generic-RLD pairs. Generic-RLD pairs of tablets, such as Entresto®, are likely to be less
           similar in shape than capsules because tablets can be manufactured in a greater variety of
           shapes than capsules.

 24.       As a result of the errors discussed above, Mr. Clark overestimates the share of generic
           drugs that share similar features with corresponding branded drugs. For Mr. Clark’s
           analysis to be informative about the prevalence of similarities between generic and brand
           drugs, he would, at least, need to properly identify common attributes. Moreover, it is
           unclear what conclusions can be reached from the statistics in Mr. Clark’s study because,
           for reasons discussed above, his sample is not representative.


           G.     Mr. Shimer’s Argument for Maintaining Color Consistency Across Strengths
           Is Flawed

 25.       Mr. Shimer claims that “[t]here are numerous examples of drug products where to visually
           distinguish different strengths of drug products for patients both the branded RLD and
           generic manufacturers utilize the same color scheme across the spectrum of strengths to
           enhance patient safety.” 64 While in general, I agree with Mr. Shimer’s observation that


 62
       Clark Exhibit 3 (0013-43), p. 21; Clark Declaration, ¶ 96 (“For size, any difference of less than 20% is considered
       a match[.]”).
 63
       Clark Declaration, ¶ 96. The FDA article that Mr. Clark cites recommends that the (1) “[i]f the RLD is less than
       17 mm,” then the generic should be “[n]o more than 20 percent larger than the RLD in any single dimension [and]
       [n]o more than 40 percent larger than the volume of the RLD,” and (2) “[i]f the RLD is equal to or greater than
       17 mm,” then the generic should be “[n]o larger than the RLD in any single dimension [and] [n]o larger than the
       volume of the RLD.” See Guidance for Industry: Size, Shape, and Other Physical Attributes of Generic Tablets
       and Capsules. FDA June 2015, pp. 4-5. I also note that pill size can be at least partially driven by the strength of
       the dosage form.
 64
       Shimer Declaration, p. 23.
                                                             12




                                                        Add332
Case 2:25-cv-00849-EP-JRA                   Document 17-2            Filed 02/10/25          Page 15 of 23 PageID:
                                                     6706



           some manufacturers use different colors across different strengths of the same drug, this
           statement does not support a broader claim that generics should copy all physical
           appearance elements of their brand counterparts. Copying across all elements is neither
           necessary to preserve safety nor necessary to be a viable option in the marketplace, as
           shown by the examples I provided in the Robbins Declaration, 65 and also by the additional
           examples I provide below, which are specific to drugs with multiple strengths.

 26.       It is instructive to consider the examples in Exhibit 2 to the Declaration of Jacquellena T.
           Carrero. 66 According to the Carrero Declaration, Exhibit 2 attached to that declaration lists
           “pills that, like Entresto, use colors functionally to indicate dosage information.”67
           However, while the exhibit includes multiple examples of drugs that use different colors
           for different dosages, it fails to address whether these color arrays are consistent across
           brand and generic versions of the same drug.

 27.       My review of the first three drugs listed in the Carrero Declaration’s Exhibit 2 demonstrates
           that differences exist across brand and generic pairs. 68 For example, for the first drug in
           the Carrero Declaration’s Exhibit 2, valsartan, brand Diovan has a distinct color from Solco
           Healthcare’s generic valsartan product for each of the three doses (See Figure 5). Exhibit
           1 to the present declaration demonstrates that this is the case for each of the first three drugs
           in the Carrero Declaration’s Exhibit 2.




 65
       Robbins Declaration, ¶¶ 23-24.
 66
       Declaration of Jacquellena T. Carrero in Opposition to Plaintiffs’ Motion for Preliminary Injunctive Relief,
       February 6, 2025 (“Carrero Declaration”), Exhibit 2.
 67
       Carrero Declaration, ¶ 5.
 68
       I did not conduct an exhaustive analysis of Carrero Declaration’s Exhibit 2, as the first three rows were more than
       sufficient to establish the point that generics need not copy the color arrays of their branded counterpart drug for
       multiple dosage strengths.
                                                             13




                                                        Add333
Case 2:25-cv-00849-EP-JRA                 Document 17-2           Filed 02/10/25         Page 16 of 23 PageID:
                                                   6707



                                           Figure 5
            Brand Diovan and Solco Healthcare’s Generic Valsartan (different doses) 69
                       Dose             Diovan               Valsartan
                                       Novartis          Solco Healthcare


                           80mg




                           160mg




                           320mg




 28.       Unlike the Carrero Declaration’s Exhibit 2, Mr. Shimer’s report does provide a comparison
           between a branded drug with multiple dosage strengths, Synthroid, and some generic
           levothyroxine products. 70 However, Mr. Shimer’s comparison fails to address the fact that,
           as I explained in the Robbins Declaration, 71 other levothyroxine products do not copy the
           appearance of Synthroid across its dosage strengths.

 29.       Figure 6 below illustrates this point by comparing three different Synthroid doses with
           generic levothyroxine products from Mylan and Provell. Mylan’s generic levothyrozine
           product retains Synthroid’s color scheme but changes the pill’s shape (as I explained in the


 69
       See Carrero Declaration Exhibit 2; “NVR DV Pill- red egg-shape,10 mm,” Drugs.com, available at
       https://www.drugs.com/imprints/nvr-dv-8166.html; “NVR DX Pill – orange egg-shape,13 mm,” Drugs.com,
       available at https://www.drugs.com/imprints/nvr-dx-8167.html; “NVR DXL Pill – purple egg-shape, 16mm,”
       Drugs.com, available at https://www.drugs.com/imprints/nvr-dxl-1199.html. The 80mg Diovan color is listed on
       Drugs.com – the source used in the Carrero Declaration – as “Red,” while the 80mg Solco Healthcare valsartan
       product is listed as “Brown;” the 160mg Diovan color is listed on Drugs.com as “Orange,” while the 160mg Solco
       Healthcare valsartan product is listed as “Yellow;” and the 320mg Diovan color is listed on Drugs.com as
       “Purple,” while the 320mg Solco Healthcare valsartan product is listed as “Brown.”
 70
       Shimer Declaration, ¶¶ 50-51. Synthroid is a narrow therapeutic index (“NTI”) drug. See “Important Update
       toe the Prescribing Information for SYNTHROID® (levothyrozine sodium) tablets, for oral use,” Synthroid,
       available at: https://www.synthroid.com/content/dam/synthroid/pdf-
       documents/consumer_lch_source_document.pdf.
 71
       Robbins Declaration, ¶ 23, and Figure 9.
                                                          14




                                                     Add334
Case 2:25-cv-00849-EP-JRA               Document 17-2          Filed 02/10/25        Page 17 of 23 PageID:
                                                 6708



           Robbins Declaration), 72 whereas Provell’s generic maintains the same shape as Synthroid,
           but all doses are white in color. Exhibit 2 to the present declaration expands this example
           to all doses of Synthroid, demonstrating (i) that generics do not need to copy the brand
           drug’s appearance across dosage strengths to have a viable presence in the marketplace,
           and (ii) that varying colors between doses from the same manufacturer is not a requirement
           either.
                                          Figure 6
      Brand Synthroid and Generic Levothyroxine from Mylan and Provell (different doses) 73
             Dose              Synthroid                  Levothryoxine              Levothryoxine
                           Abbot Laboratories                Mylan                      Provell


           0.025mg




            0.05mg




           0.075mg




 30.       Mr. Shimer notes study findings that “generally suggest that patients will have greater
           confidence in taking a generic product when it is similar in appearance to the branded
           RLD.” 74 By this statement, Mr. Shimer fails to consider that such “greater confidence”
           may well be driven by patient belief that the similar-looking generic is in fact the brand


 72
       Robbins Declaration, ¶ 23, and Figure 9.
 73
       See Carrero Declaration Exhibit 3. “M L 4 Pill – orange capsule/oblong, 9mm,” Drugs.com, available at
       https://www.drugs.com/imprints/m-l-4-7221.html; “M L 5 Pill – white capsule/oblong, 9mm,” Drugs.com,
       available at https://www.drugs.com/imprints/m-l-5-7222.html; “M L 6 Pill – purple capsule/oblong, 9 mm,”
       Drugs.com, available at https://www.drugs.com/imprints/m-l-6-7223.html; “EM 25 Pill – white round, 7mm,”
       Drugs.com, available at https://www.drugs.com/imprints/em-25-29644.html; “EM 50 Pill – white round, 7mm,”
       Drugs.com, available at https://www.drugs.com/imprints/em-50-29645.html; m 75 Pill – white round, 7mm,”
       Drugs.com, available at https://www.drugs.com/imprints/em-75-29646.html.
 74
       Shimer Declaration, ¶ 42.
                                                        15




                                                   Add335
Case 2:25-cv-00849-EP-JRA                   Document 17-2            Filed 02/10/25          Page 18 of 23 PageID:
                                                     6709



           drug, or is associated with the brand drug, as explained in the Robbins Declaration. 75 Both
           similar-looking and unsimilar-looking generics are FDA-approved, so objective safety and
           efficacy considerations cannot explain Mr. Shimer’s “greater confidence” interpretation. 76

 31.       Mr. Shimer also states that “[w]ith identical physical dimensions, a difference in color or
           some other attribute … helps to ensure that patients are able to distinguish between
           different doses” of Entresto. 77 By the very same logic, visual differences can help patients
           distinguish between brand and generic drugs when substitution has occurred, and
           conversely, the absence of visual differences may result in patients failing to distinguish
           between the brand and generic when substitution has occurred, as I explained in the
           Robbins Declaration. 78


           H.       Defendants Misrepresent and Misconstrue My Opinions

 32.       Defendants’ Opposition Memorandum misinterprets and misrepresents multiple of my
           opinions in the Robbins Declaration. For example:

           •        Defendants state that “[t]he ovaloid shapes that Novartis and MSN (and other
                    generic manufacturers) chose for their tablets are functional because they make pills
                    easier to (1) manufacture and (2) swallow… The availability of thousands of
                    ovaloid pills on the market confirms the usefulness of that shape… Novartis’s own
                    expert acknowledges that ovals and capsules are common, functional pill shapes
                    rather than purely ornamental source signifiers,” citing the Robbins Declaration.79
                    Again, Defendants’ Opposition Memorandum misconstrues my opinions.
                    Nowhere in the cited paragraph of the Robbins Declaration do I claim that an oval
                    pill shape, or any pill shape, is functional (which I understand is a legal
                    determination to be made by the fact-finder). 80 The Robbins Declaration cited 12

 75
       Robbins Declaration, Section III.
 76
       Mr. Shimer discusses ease of pill swallowing in paragraphs 40 and 41 of his declaration, but couches his “greater
       confidence” interpretation in the broad language “similar in appearance” with no explicit mention of ease of
       swallowing. In any event, ensuring ease of swallowing does not require similarity in all pill appearance attributes.
 77
       Shimer Declaration, ¶ 46.
 78
       Robbins Declaration, Section III.
 79
       Defendants’ Opposition Memorandum, pp. 15-16, citing Robbins Declaration, ¶ 12. Defendants also state that
       “Novartis’ own expert cites Entresto’s basic ovaloid shape as one of twelve ‘common tablet shapes,’” citing the
       Robbins Declaration. See Defendants’ Opposition Memorandum, p. 17, citing Robbins Declaration, ¶ 12.
 80
       Robbins Declaration, ¶ 12.
                                                             16




                                                        Add336
Case 2:25-cv-00849-EP-JRA                Document 17-2           Filed 02/10/25         Page 19 of 23 PageID:
                                                  6710



                   “common” tablet shapes, 81 and provided numerous examples of pills with various
                   shapes including diamond, oval, round with a “V” interior space, round, and
                   rectangular in Figures 4-9. 82 Further, Defendants’ reference to “ovals” disregards
                   that there are many variations on what it means to be “oval.” The Carrero
                   Declaration Exhibit 1 lists a number of pills that are “oval/oblong,” but which vary
                   in shape, demonstrating variation within the broader “oval” category and
                   opportunity for one “oval” pill to be distinct from another. 83 Pills Ms. Carrero has
                   identified as “oval/oblong” are shown below in Figure 7:

                                              Figure 7
                       “Oval/Oblong” Pills in Carrero Declaration, Exhibit 184




               Entresto                              Valsartan                             Estradiol


          •        Defendants claim that “[e]ven Novartis’s paid expert does not purport to opine that
                   relevant patients actually have come to associate the alleged trade dress exclusively
                   with Novartis and instead merely speculates about how pill shapes in advertising
                   could be perceived as a visual cue for Entresto,” citing the Robbins Declaration.85
                   To be clear, my assignment for the Robbins Declaration did not include an analysis
                   of the alleged trade dress or an empirical analysis of what patients think of it. 86 As
                   I wrote in the Robbins Declaration, “[i]mages of pill design can reinforce that visual
                   cues like shape and color are intended by the manufacturer to serve as a reference
                   point for patients to identify the particular medication they are prescribed, e.g.,

 81
      Robbins Declaration, ¶ 12, Figure 1.
 82
      Robbins Declaration, Figures 4-9.
 83
      Carrero Declaration, Exhibit 1.
 84
      Carrero Declaration, Exhibit 1.
 85
      Defendants’ Opposition Memorandum, p. 20, citing Robbins Declaration, ¶ 17.
 86
      Similarly, Defendants’ other experts do not opine on or empirically analyze what patients think of the alleged
      trade dress.
                                                         17




                                                    Add337
Case 2:25-cv-00849-EP-JRA              Document 17-2        Filed 02/10/25       Page 20 of 23 PageID:
                                                6711



                   Entresto” 87 and “[d]rug appearance may be especially important for patients with
                   chronic conditions, such as patients with chronic heart failure that may be
                   prescribed Entresto®, because (i) intuitively, a patient taking the same prescribed
                   medication (e.g., Entresto®) repeatedly over a longer period will have a greater
                   familiarity with the appearance of that medication than with a pill they take for a
                   short period, all else equal; and (ii) patients with chronic conditions are more likely
                   to take multiple medications relative to other patients.” 88 Thus, while Defendants
                   focus on familiarity with pill appearance from advertising, they neglect that the
                   Robbins Declaration also discussed familiarity arising from the patient’s
                   experience of taking Entresto repeatedly for a chronic condition and “rely[ing], at
                   least in part, on pill appearance to ensure that they are taking the particular
                   medication they have been prescribed (e.g., Entresto®).” 89

                                    [SIGNATURE ON NEXT PAGE]




 87
      Robbins Declaration, ¶ 17.
 88
      Robbins Declaration, ¶ 14.
 89
      Robbins Declaration, ¶ 14.
                                                     18




                                                 Add338
  Case 2:25-cv-00849-EP-JRA        Document 17-2        Filed 02/10/25     Page 21 of 23 PageID:
                                            6712



         I declare under penalty of perjury that the foregoing is comprised of true and correct
33.      statements of my expert opinions.

         Signed this 10th day of February, 2025.
34.




                                                                  _________________________
                                                                         Mark Robbins, Ph.D., J.D.




                                                   19




                                             Add339
                       Case 2:25-cv-00849-EP-JRA                                Document 17-2                    Filed 02/10/25                 Page 22 of 23 PageID:
                                                                                         6713

                                                                                                 Exhibit 1

Name             Labeler/Supplier     Dose            Image                  Brand Name Labeler/Supplier           Dose           Image                Source                               Description


                                                                                                                                                       https://www.drugs.com/imprints
                                           80 mg                                                                       80 mg
                                                                                                                                                       /nvr-dv-8166.html


                                                                                                                                                                                            Different color
                 Solco Healthcare                                                            Novartis                                                  https://www.drugs.com/imprints       scheme across
  Valsartan                               160 mg                                 Diovan                               160 mg
                 US, LLC                                                                     Pharmaceuticals                                           /nvr-dx-8167.html                    dosages and
                                                                                                                                                                                            different shape.


                                                                                                                                                       https://www.drugs.com/imprints
                                          320 mg                                                                      320 mg
                                                                                                                                                       /nvr-dxl-1199.html



                                                                                                                                                       https://www.drugs.com/imprints
                                           25 mg                                                                       25 mg
                                                                                                                                                       /zoloft-25-mg-450.html


                                                                                                                                                                                            Similar color
                                                                                                                                                       https://www.drugs.com/imprints       scheme across
  Sertraline     Cipla USA, Inc.           50 mg                                 Zoloft      Pfizer Inc.               50 mg
                                                                                                                                                       /zoloft-50-mg-448.html               dosages, different
                                                                                                                                                                                            shape.


                                                                                                                                                       https://www.drugs.com/imprints
                                          100 mg                                                                      100 mg
                                                                                                                                                       /zoloft-100-mg-449.html



                                                                                                                                                       https://www.drugs.com/imprints
                                          0.5 mg                                                                       0.5 mg                          /k-roche-1-2-k-klonopin-
                                                                                                                                                       290.html
                                                                                                                                                                                            Different color
                                                                                                                                                                                            scheme for some
            Qualitest
                                                                                                                                                       https://www.drugs.com/imprints       dosages, similar
 Clonazepam Pharmaceuticals,               1 mg                                 Klonopin     Roche Laboratories         1 mg
                                                                                                                                                       /k-roche-1-k-klonopin-289.html       shape but with
            Inc.
                                                                                                                                                                                            distinctive "K"
                                                                                                                                                                                            cutout.
                                                                                                                                                       https://www.drugs.com/imprints
                                           2 mg                                                                         2 mg                           /k-roche-2-k-klonopin-
                                                                                                                                                       7041.html
                                                                        =======- •                                                                     ~
Notes and Sources:
[A] Images for generic drugs are sourced directly from Exhibit 2 of the Carrero Declaration. I do not intend for this analysis to be exhaustive and study the first three entries in the Exhibit.
[B] I find the brand drug for each generic drug listed in Exhibit 2 of the Carrero Declaration via Drugs@FDA.
[C] I source all images for brand drugs via drugs.com, at the links in the 'Source' column.




                                                                                               Add340
                                            Case 2:25-cv-00849-EP-JRA                                                   Document 17-2                        Filed 02/10/25                Page 23 of 23 PageID:
                                                                                                                                 6714

                                                                                                                                                 Exhibit 2

Brand Name       Labeler/Supplier Dose                   Image                 Source                Generic Name         Labeler/Supplier         Dose      Image        Source           Generic Name    Labeler/Supplier     Dose     Image        Source

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.025 mg                          com/imprints/synthr                                                    0.025 mg              https://www.drugs.                                       0.025 mg            com/imprints/em-
                                                                        oid-25-7430.html                                                                             com/imprints/m-l-4-                                                           25-29644.html
                                                                                                                                                                          7221.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.05 mg                           com/imprints/synthr                                                    0.05 mg               https://www.drugs.                                       0.05 mg             com/imprints/em-
                                                                        oid-50-7431.html                                                                             com/imprints/m-l-5-                                                           50-29645.html
                                                                                                                                                                          7222.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.075 mg                          com/imprints/synthr                                                    0.075 mg              https://www.drugs.                                       0.075 mg            com/imprints/em-
                                                                        oid-75-7432.html                                                                             com/imprints/m-l-6-                                                           75-29646.html
                                                                                                                                                                          7223.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.088 mg                          com/imprints/synthr                                                    0.088 mg              https://www.drugs.                                       0.088 mg            com/imprints/em-
                                                                        oid-88-7433.html                                                                             com/imprints/m-l-7-                                                           88-29647.html
                                                                                                                                                                          7224.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.1 mg                            com/imprints/synthr                                                    0.1 mg                https://www.drugs.                                       0.1 mg              com/imprints/em-
                                                                        oid-100-7434.html                                                                            com/imprints/m-l-8-                                                           100-29648.html
                                                                                                                                                                          7225.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.112 mg                          com/imprints/synthr                                                    0.112 mg              https://www.drugs.                                       0.112 mg            com/imprints/em-
                                                                        oid-112-7440.html                                                                            com/imprints/m-l-9-                                                           112-29649.html
                                                                                                                                                                                                               Provell
                                                                                                     Levothyroxine             Mylan                                      7226.html        Levothyroxine
Synthroid       Abbott Laboratories                                                                                                                                                                        Pharmaceuticals,
                                                                                                        Sodium             Pharmaceuticals                                                    Sodium
                                                                        https://www.drugs.                                                                                                                      LLC                              https://www.drugs.
                                      0.125 mg                          com/imprints/synthr                                                    0.125 mg              https://www.drugs.                                       0.125 mg            com/imprints/em-
                                                                        oid-125-7435.html                                                                            com/imprints/m-l-                                                             125-29650.html
                                                                                                                                                                        10-7227.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.137 mg                          com/imprints/synthr                                                    0.137 mg              https://www.drugs.                                       0.137 mg            com/imprints/em-
                                                                        oid-137-7429.html                                                                            com/imprints/m-l-                                                             137-29651.html
                                                                                                                                                                       15-16350.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.15 mg                           com/imprints/synthr                                                    0.15 mg               https://www.drugs.                                       0.15 mg             com/imprints/em-
                                                                        oid-150-7436.html                                                                            com/imprints/m-l-                                                             150-29652.html
                                                                                                                                                                        11-7228.html

                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.175 mg                          com/imprints/synthr                                                    0.175 mg              https://www.drugs.                                       0.175 mg            com/imprints/em-
                                                                        oid-175-7437.html                                                                            com/imprints/m-l-                                                             175-29653.html
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                                                                        https://www.drugs.                                                                                                                                                       https://www.drugs.
                                      0.2 mg                            com/imprints/synthr                                                    0.2 mg                https://www.drugs.                                       0.2 mg              com/imprints/em-
                                                                        oid-200-7438.html                                                                            com/imprints/m-l-                                                             200-29654.html
                                                                                                                                                                        13-7230.html

                                                                        https://www.drugs.
                                      0.3 mg                            com/imprints/synthr                                                    0.3 mg                https://www.drugs.
                                                                        oid-300-7439.html                                                                            com/imprints/m-l-
                                                                                                                                                                        14-7231.html

Notes and Sources:
[A] I find two generic drugs for Synthroid. I do not intend for this analysis to be exhaustive as there are several generic drugs available for Synthroid.
[B] I source all images for brand drugs via drugs.com, at the links in the 'Source' column.




                                                                                                                                             Add341
Case 1:20-md-02930-RGA           Document 1824 Filed 04/01/25           Page 1 of 3 PageID #:
                                          66978



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 In re Entresto (SacubitrilNalsartan) Patent                 C.A. No. 20-2930-RGA
 Litigation


 NOVARTIS PHARMACEUTICALS
 CORPORATION,

        Plaintiff,

        v.                                                   C.A. No. 19-2053-RGA

 MSN PHARMACEUTICALS INC., MSN
 LABORATORIES PRIVATE
 LIMITED, MSN LIFE SCIENCES
 PRIVATE LIMITED,

        Defendants.


                                     FINAL JUDGMENT

       WHEREAS Plaintiff Novartis Pharmaceuticals Corporation ("Novartis") in the above-

captioned suit has asserted that Defendants MSN Pharmaceuticals Inc., MSN Laboratories

Private Limited, and MSN Life Sciences Private Limited (collectively "MSN") infringed claims

1-4 ofNovartis's U.S. Patent No. 8,101,659 ("'659 Patent") ("Asserted Claims of the '659

Patent") by filing Abbreviated New Drug Application ("ANDA") No. 213748;

       WHEREAS Novartis has asserted that MSN' s generic sacubitril/valsartan products as

described in MSN's ANDA No. 213748 ("MSN's ANDA Products") infringe the Asserted

Claims of the '659 Patent;

       WHEREAS the Court on July 21, 2023 entered final judgment that the Asserted Claims

of the '659 Patent were infringed and were not invalid for non-enablement or obviousness, but

were invalid for lack of written description (20-md-2930, D.I. 1120);

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                                           Add342
Case 1:20-md-02930-RGA           Document 1824 Filed 04/01/25               Page 2 of 3 PageID #:
                                          66979



       WHEREAS Novartis appealed the Court's July 21, 2023 final judgment to the Federal

Circuit in Appeal Nos. 23-2218 and 23-2221 (consolidated under Appeal No. 23-2218);

       WHEREAS the Federal Circuit on January 10, 2025 issued an opinion and judgment in

Novartis's favor (Appeal No. 23-2218, D.I. 106, 107) affirming the Court's holdings that the

Asserted Claims of the '659 Patent were not invalid for non-enablement or obviousness, and

reversing the Court's finding that the Asserted Claims were invalid for lack of written

description, and the Federal Circuit has now issued the mandate in Appeal No. 23-2218;

       WHEREAS the '659 Patent expired on January 15, 2025, but Novartis has been awarded

under 21 U.S.C. § 355a(c) an additional marketing exclusivity period of six months after the date

the patent expires and MSN's ANDA is subject to that pediatric exclusivity;

       IT IS HEREBY ORDERED, DECREED, AND ADJUDGED:

       1.      Judgment is entered in Novartis's favor that MSN's filing of ANDA No. 213748,

               including any amendments or supplements thereto, infringed the Asserted Claims

               of the '659 Patent under 35 U.S.C. § 271(e)(2).

       2.      Judgment is entered in Novartis's favor that any use, sale, offer for sale,

               manufacture, and/or importation into the United States ofMSN's ANDA Products

               during the '659 Patent's term would infringe the Asserted Claims of the '659

               Patent.

       3.     Judgment is entered in Novartis' s favor and against Defendants MSN

              Pharmaceuticals Inc., MSN Laboratories Private Limited, and MSN Life Sciences

              Private Limited that claims 1-4 of the '659 Patent were not proven to be invalid.

       4.     Defendants MSN Pharmaceuticals Inc., MSN Laboratories Private Limited, and

              MSN Life Sciences Private Limited, and their affiliates, subsidiaries, and each of



                                                 2




                                             Add343
Case 1:20-md-02930-RGA        Document 1824 Filed 04/01/25             Page 3 of 3 PageID #:
                                       66980



           their officers, agents, servants and employees and those acting in privity or in

           concert with one or more of the MSN Defendants, are enjoined from commercial

           marketing and sale ofMSN's ANDA Products until FDA resets the effective

           approval date ofMSN's ANDA No. 213748 to no earlier than July 16, 2025, the

           date after the expiration of pediatric exclusivity awarded to Novartis pursuant to

           21 U.S.C. § 355a. This injunction shall be effective immediately.

     5.    In accordance with 35 U.S.C. § 27l(e)(4)(A), the effective date of any approval of

           MSN's ANDA No. 213748 shall be no earlier than July 16, 2025, the date after

           the expiration of pediatric exclusivity awarded to Novartis pursuant to 21 U.S.C.

           § 355a.

     6.    This Court shall retain jurisdiction to resolve any remaining disputes arising from

           this case or out of this final judgment.

     7.    Each party shall bear its own costs and attorney fees.




                                           /s/ Richard G. Andrews
                                          UNITED STATES DISTRICT JUDGE




                                             3




                                         Add344
       CERTIFICATE OF COMPLIANCE AND BAR MEMBERSHIP

      The foregoing filing complies with the relevant type-volume, typeface, and

type style requirements of the Federal Rules of Appellate Procedure because it has

been prepared using a proportionally spaced typeface, including serifs, in 14-point

Times New Roman font using Microsoft Word and includes 5,197 words, excluding

the parts exempted by the Rules.

      Pursuant to Local Appellate Rules 28.3(d) and 46.1(e), I hereby certify that I

am an active member in good standing of the Bar of the United States Court of

Appeals for the Third Circuit.

Dated: May 28, 2025                              /s/ Deanne E. Maynard
                                                     Deanne E. Maynard
                          CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Third Circuit by using the

CM/ECF system on May 28, 2025.

       I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

Dated: May 28, 2025                                /s/ Deanne E. Maynard
                                                       Deanne E. Maynard




sf-6683075
